              Case 3:20-mc-05026 Document 1-1 Filed 08/05/20 Page 1 of 191



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 8
                            UNITED STATES DISTRICT COURT
 9                         WESTERN DISTRICT OF WASHINGTON
                                     AT TACOMA
10

11   In Re:                                  Case No.: 3:20-mc-05026

12   DMCA SUBPOENA TO CLOUDFLARE,            DECLARATION IN SUPPORT OF
     INC.,                                   REQUEST FOR DMCA SUBPOENA TO
13
                                             CLOUDFLARE, INC.
14               Service Provider.

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     DECLARATION IN SUPPORT OF                           FREEMAN LAW FIRM, INC.
     REQUEST FOR DMCA SUBPOENA                            1107 ½ Tacoma Avenue South
     TO CLOUDFLARE, INC. - 1                                   Tacoma, WA 98402
                                                       (253) 383-4500 - (253) 383-4501 (fax)
                  Case 3:20-mc-05026 Document 1-1 Filed 08/05/20 Page 2 of 191



 1           I, ANIS BABA, hereby declare as follows:

 2           1.      I am the Director of MG Premium Ltd (hereinafter, “MG”) and am authorized to

 3   act on its behalf. I have personal knowledge of the facts contained herein and, if called upon to

 4   do so, could and would testify competently thereto.

 5           2.      I submit this declaration in support of MG’s request for issuance of a Subpoena

 6   by the Clerk of this Court, pursuant to the Digital Millennium Copyright Act (“DMCA”), 17

 7   U.S.C. § 512(h) to Cloudflare, Inc. (“Cloudflare”), relating to the posting of MG’s copyrighted

 8   material on the domain, GoUnlimited.to, a webpage hosted by Cloudflare.

 9           3.      I have personal knowledge of the copyrights owned by MG and the ongoing

10   infringements of those copyrights that occur on the internet. I also have personal knowledge of

11   the countless instances that MG’s copyrighted works have been posted without MG authorization

12   to GoUnlimited.to.

13           4.      On July 28, 2020, authorized agent for MG Jason Tucker issued and served a

14   copyright infringement notification on Cloudflare’s DMCA Agent relating to posts on

15   GoUnlimited.to. Pursuant to Section 512(c)(3)(A), the notification was properly signed by MG’s

16   agent, identified the copyrighted material being infringed, set forth a listing of the 845 URLs

17   containing posts of infringing material, confirmed that such use of MG’s copyrighted works was

18   not authorized by MG, and gave contact information such that the DMCA Agent could reach him

19   with questions. A true and correct copy of the July 28, 2020 notification is attached as Exhibit A.

20           5.      The purpose of the DMCA Subpoena is to obtain information sufficient to

21   identify alleged infringers who, without authorization from MG, posted material to the webpage

22   GoUnlimited.to, which infringed copyrights held by MG. The information received as a result of

23   the Subpoena will only be used by MG to protect its rights under Title 17 of the United States

24   Code.

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     DECLARATION IN SUPPORT OF                                        FREEMAN LAW FIRM, INC.
     REQUEST FOR DMCA SUBPOENA                                         1107 ½ Tacoma Avenue South
     TO CLOUDFLARE, INC. - 2                                                Tacoma, WA 98402
                                                                    (253) 383-4500 - (253) 383-4501 (fax)
               Case 3:20-mc-05026 Document 1-1 Filed 08/05/20 Page 3 of 191



 1          I declare under penalty of perjury under the laws of the United States of America that the

 2   foregoing is true and correct.

 3          DATED this 5th            day of August, 2020, at Nicosia, Cyprus.

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                                            ANIS BABA
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     DECLARATION IN SUPPORT OF                                         FREEMAN LAW FIRM, INC.
     REQUEST FOR DMCA SUBPOENA                                          1107 ½ Tacoma Avenue South
     TO CLOUDFLARE, INC. - 3                                                 Tacoma, WA 98402
                                                                     (253) 383-4500 - (253) 383-4501 (fax)
 Case 3:20-mc-05026 Document 1-1 Filed 08/05/20 Page 4 of 191




                     Exhibit A
Copies of Notifications Issued Pursuant to
         17 U.S.C. § 512(c)(3) to
      Registered DMCA Agent for
   Service Provider Cloudflare, Inc.
                  Case 3:20-mc-05026 Document 1-1 Filed 08/05/20 Page 5 of 191


Jason Tucker

From:                           Jason Tucker
Sent:                           Tuesday, July 28, 2020 2:23 PM
To:                             abuse@cloudflare.com
Subject:                        DMCA Takedown Notice for Copyright Infringement – MG – 845 Links



via Email:

RE: DMCA Takedown Notice for Copyright Infringement – MG – 845 Links

Dear Copyright Agent,

I, Jason Tucker, hereby declare under penalty of perjury under the laws of the United States of America that to
the best of my knowledge and belief the following is true and correct and I have the authority to act on behalf of
the owner of the copyrights involved.

I have a good faith belief that the use of materials identified below is not authorized by the Owner and therefore
infringes on its rights pursuant to Copyright Law. Pursuant to this notification, you should immediately take
steps to locate and remove and/or disable access to the content that is on your system.

If you are a service provider, you may otherwise be liable for copyright infringement if, upon obtaining
knowledge or awareness of infringing material being stored upon your network, you do not act expeditiously to
remove, or disable access to, the material.

My contact information is as follows:
MG Premium Ltd.
c/o: Battleship Stance, Inc. - Jason Tucker
Address:                                 , Phoenix, AZ 85016 USA
Email:

Location of original works owned by and registered to MG Premium Ltd: http://www.realitykings.com

This correspondence and all of its contents is without prejudice to MG Premium Ltd. or any of their affiliated
company's rights and remedies, all of which are expressly reserved.

Sincerely,

s/Jason Tucker

Jason Tucker
Agent for MG Premium Ltd.; MG Limited Cyprus; MG Content DP Ltd; MG Content RK Limited; MG
Freesites Ltd


Links to Infringing Material that we request be REMOVED:
https://gounlimited.to/003m16khh309/trueamateurs.20.06.05.hayliexo.mp4
https://gounlimited.to/00cfdpq64neg/0xxx.ws_FakeHostel.20.02.21.Jennifer.Mendez.And.Adara.Love.XXX.10
80p.MP4-KTR.mp4
                                                        1
                Case 3:20-mc-05026 Document 1-1 Filed 08/05/20 Page 6 of 191
https://gounlimited.to/00gtafyfktfe
https://gounlimited.to/00o0chxbi10n/Www.brazzersbox.in_WeLikeToSuck.20.06.05.Lily.Cat.Lovely.Lily.XXX
.SD.MP4-KLEENEX.mp4
https://gounlimited.to/00selm1atb1p/_WeLiveTogether_-_Emily_Willis,_Scarlett_Bloom,_Liv_Wild_-
  Color Me Horny (PervyVideos.com).mp4
https://gounlimited.to/0129frubgbdz/publicpickups.20.02.01.sasha.coxx.supporting.the.arts.mp4
https://gounlimited.to/012ku9519par/www.0xxx.ws_TrueAmateurs.20.03.19.Danika.Mori.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/01bc5qhgqh31/Jane_Wilde,_Emily_Willis_-_Face-To-
Face Emily & Jane (RKPrime 11 06 2020 1080p) VHQ [CENTURION].mp4
https://gounlimited.to/01ctzw321rnx/RK Prime.20.06.06.Bailey.Brooke.Surprised.By.The.Big.Package.XXX.1
080p.mp4
https://gounlimited.to/01srodlxvfsl/Vina.Sky.Anal.In.The.Sun.TeensLoveHugeCocks.mp4
https://gounlimited.to/01yticvc551c/PornstarsLikeItBig_-_Amia_Miley_-
  Laying Pipe For A Pornstar (18 04 2018).mp4
https://gounlimited.to/023xq8btw4zk/www.0xxx.ws Lesbea.20.06.01.Cindy.Shine.And.Alina.Crystall.XXX.10
80p.MP4-KTR.mp4
https://gounlimited.to/026otq52wevv/www.0xxx.ws_IKnowThatGirl.20.04.03.Kendra.Spade.Kendras.Squirting
.Workout.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/02hyzkywwdri/Www.brazzersbox.in TeamSkeetXCamSoda.20.06.04.Alexis.Monroe.Un
derwater.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/02mxzkzjp90q/Bailey.Brooke.Surprised.By.The.Big.Package.RKPrime.hardcore.mp4
https://gounlimited.to/038iew90i81i
https://gounlimited.to/03cxpwel5jgk/FakeTaxi_Sabrina_Spice_ALLWAYSWELL.mp4
https://gounlimited.to/03hxhv42opni/www.0xxx.ws DaneJones.20.06.07.Best.Of.Creampies.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/03k8o7b9nrge/Halle_Hayes_-
_A_Wild_&_Crazy_Cock_Stuffing_Party_(BrazzersExxtra.01.06.2020.720p)_VHQ_[CENTURION].mp4
https://gounlimited.to/03lrdghbq9n1/Www.brazzersbox.in_BrazzersExxtra.20.06.14.Nicolette.Shea.School.Of.
Hard.Knockers.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/03qrxpae381x/Casca Akashova, Xander Corvus -
_All_Dolled_Up_Beauty_Queen_Edition_-_Pornstars_Like_It_Big_-_Brazzers.mp4
https://gounlimited.to/045sl66waohx/[DaneJones]_Alexis_Crystal_(Sweet_sexy_school_uniform_roleplay_/_0
6.09.2020).mp4
https://gounlimited.to/04qkcfkf09nw/[Brazzers] Luna Star - Honeymoon Rubdown (06.06.2020).mp4
https://gounlimited.to/04svbo5t2q8u/[FakehubOriginals] Best Of Ebony Babes (05.31.2020).mp4
https://gounlimited.to/05kuwbqeuq3z
https://gounlimited.to/05rk2u4vh9ww/DigitalPlayground.20.06.01.Vanessa.Sky.Falling.From.Grace.Part.3.XX
X.1080p.MP4-KTR.mp4
https://gounlimited.to/05vlchj4vomw/Luna Star, Markus Dupree - Honeymoon Rubdown -
  Dirty Masseur - Brazzers.mp4
https://gounlimited.to/064i4754h65w/[TeensLoveHugeCocks]_Dolly_Little_(A_Little_Love_/_06.11.2020).mp
4
https://gounlimited.to/0660wk726w5b/www.0xxx.ws_DaneJones.20.06.09.Alexis.Crystal.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/06ch27i628kp/www.0xxx.ws BrazzersExxtra.20.06.09.Best.Of.Brazzers.Sharing.Stepsib
lings.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/06no1eqc5y0y/RealWifeStories_Portia_Paris_.mp4
https://gounlimited.to/06oiq7zveuux
https://gounlimited.to/06vhxytpzm94/FakehubOriginals.20.06.08.Best.Of.Cosplay.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/072m7kjgtehi/[DirtyMasseur] Luna Star (Honeymoon Rubdown / 06.06.2020).mp4
                                                   2
                 Case 3:20-mc-05026 Document 1-1 Filed 08/05/20 Page 7 of 191
https://gounlimited.to/073q1ip24crb
https://gounlimited.to/07etcwpr5r2i/BigWetButts.20.06.16.Angela.White.Jean.Queen.XXX.SD.MP4-
KLEENEX.mp4
https://gounlimited.to/07spyhoufd51/RealityKings_-_RKPrime_presents_Abella_Danger_-
 The Pirate Gets The Booty         02.06.2020.mp4
https://gounlimited.to/07tcl710renz/SneakySex - Gabriela Lopez - Family Road Trip Dick.mp4
https://gounlimited.to/080f5vc7e04u/[FakeHostel]_Jennifer_Mendez,_Adara_Love_-
_Sex_Preacher_(21.02.2020)_rq.mp4
https://gounlimited.to/080xaodup7kf/We.Live.Together.-
.Emily.Willis.Scarlett.Bloom.And.Liv.Wild.Color.Me.Horny.-.Reality.Kings.mp4
https://gounlimited.to/087t7gdyrh9t/Www.brazzersbox.in bangbros18.20.06.11.kira.perez.mp4
https://gounlimited.to/090tu7gbkr2x
https://gounlimited.to/091bb55zlkyn/RK_Prime.20.06.07.Rosalyn.Sphinx.And.Kylie.Kingston.Sit.On.It.XXX.1
080p.mp4
https://gounlimited.to/099o5b2azcoe/DirtyMasseur.20.06.06.Luna.Star.Honeymoon.Rubdown.XXX.1080p.MP
4-KTR.mp4
https://gounlimited.to/09lvui9hqic5/[GirlsGonePink]_Aidra_Fox,_Desiree_Dulce_(Prank_Wars_/_06.08.2020).
mp4
https://gounlimited.to/09rmf1z97k04/www.0xxx.ws_IKnowThatGirl.20.05.20.Nella.Jones.The.Interview.XXX.
1080p.MP4-KTR.mp4
https://gounlimited.to/09su59mbzztu/www.0xxx.ws HotAndMean.20.06.03.Bridgette.B.And.Kiara.Cole.Fucki
ng.Fight.Me.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/0a5kzsfchcg0/bex.20.06.09.best.of.brazzers.sharing.stepsiblings.mp4
https://gounlimited.to/0a6rs7cr01ab/welivetogether.20.06.03.lily.rader.and.zoey.taylor.poolside.mp4
https://gounlimited.to/0agjgue7tlej/www.0xxx.ws FakeTaxi.20.06.01.Mia.Rose.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/0aluojknu86w/LetsTryAnal.Mia.Bandini.1080p.mp4
https://gounlimited.to/0amti2vlq074/www.0xxx.ws_RKPrime.20.05.29.Kataljna.Kittin.Wet.Kittin.XXX.1080p.
MP4-KTR.mp4
https://gounlimited.to/0aq865dfdf0i/Www.brazzersbox.in_drilled.20.06.01.casey.calvert.learning.to.love.ass.fuc
king.mp4
https://gounlimited.to/0av7rdkvzr4m/www.0xxx.ws PublicPickUps.20.06.11.Martina.Smeraldi.New.Study.Bud
dies.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/0b0n0bo47hxa
https://gounlimited.to/0b47wtikmt5q/[BrazzersExxtra]_Best_Of_Brazzers_First_Anals_(05.06.2020).mp4
https://gounlimited.to/0b9qsf6uq6fg/[GirlsGonePink] Aidra Fox, Desiree Dulce (Prank Wars / 06.08.2020)
.mp4
https://gounlimited.to/0bim7866czk5/www.0xxx.ws_DaneJones.20.06.07.Best.Of.Creampies.XXX.1080p.MP4
-KTR.mp4
https://gounlimited.to/0bl44pnwb84z/MilfsLikeItBig_-_Sarah_Jessie_-
 Shipped and Stripped (21 07 2018).mp4
https://gounlimited.to/0bt9h18xe63j
https://gounlimited.to/0c7uqh72u4zo
https://gounlimited.to/0ckwnk7utt9d
https://gounlimited.to/0csou0s0plkg/www.0xxx.ws_DaneJones.20.06.07.Best.Of.Creampies.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/0dkew82sg860/LilHumpers.20.06.11.Alexis.Fawx.Lil.Jailbird.XXX.SD.MP4-
KLEENEX.mp4
https://gounlimited.to/0dxfb2je4jqa
https://gounlimited.to/0ebd286t5hjv/Suck_My_Disinfected_Burning_Cock_-_Lady_Dee_-
 FakeDrivingSchool - FakeHub.mp4
https://gounlimited.to/0ec02m125cgt/[RKDupes] Edible Aubrey (Meter Maid / 06.09.2020).mp4
                                                      3
                Case 3:20-mc-05026 Document 1-1 Filed 08/05/20 Page 8 of 191
https://gounlimited.to/0esqhqjtjgvq/Angela White -
_Jean_Queen_(BigWetButts.16.06.2020.720p)_VHQ_[CENTURION].mp4
https://gounlimited.to/0etwlphlyp8i/[Twistys]_Dakota_(On_Display_/_06.08.2020).mp4
https://gounlimited.to/0f7ykfwunqur
https://gounlimited.to/0ff4undk7atp/JulesJordan - Skylar Vox -
 19 Year Old Teen Skylar Vox Shows Off Her 34 DD Big Naturals.mp4
https://gounlimited.to/0fjrm3jqmtac
https://gounlimited.to/0g2d9ed8wcuo/Twistys_presents_Vina_Sky_-
_Not_a_Cloud_in_the_Sky___10.06.2020.mp4
https://gounlimited.to/0gf7phlcn1m2/www.0xxx.ws RKPrime.20.06.11.Jane.Wilde.And.Emily.Willis.Face-To-
Face.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/0gfy2tkt0u58/Big.Wet.Butts.-.Angela.White.Jean.Queen.-.Brazzers.mp4
https://gounlimited.to/0havu7p655np
https://gounlimited.to/0hg9pjl36lwd
https://gounlimited.to/0hgofpsf2qj3/twistys.20.06.17.jewelz.blu.mp4
https://gounlimited.to/0hijeh60uza4/Nadia Jay, Lala Ivey, Will Pounder - Girlfriend Meets Side Chick -
_Share_My_BF_-_Mofos.mp4
https://gounlimited.to/0i7okbx5q6zm/fakehuboriginals.20.05.31.best.of.ebony.babes.mp4
https://gounlimited.to/0icrtqlqsfrt
https://gounlimited.to/0ja6ekqyo7u1/[RKPrime] Nicolette Shea (Big Dick Energy / 06.04.2020).mp4
https://gounlimited.to/0jc95c9ngn0t/RKPrime.-.Bailey.Brooke.Surprised.By.The.Big.Package.-
.Reality.Kings.mp4
https://gounlimited.to/0jt1dg79d2pn/[BrazzersExxtra]_Valentina_Nappi_-
_Jumping_For_Jizz_(16.05.2020)_rq.mp4
https://gounlimited.to/0k2doyguq9kp
https://gounlimited.to/0l2dk494wyb3/Www.brazzersbox.in SexArt.20.06.03.Georgie.Lyall.Romantic.Getaway.
XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/0l2p54cw0snt/Vina_Sky,_JMac_-_Anal_In_the_Sun_-_Teens_Love_Huge_Cocks_-
_Reality_Kings.mp4
https://gounlimited.to/0l3ghhheyx4j/Day.With.A.Pornstar.-.Joanna.Angel.Getting.Joanna.Out.Of.The.Shower.-
.Brazzers.mp4
https://gounlimited.to/0l3k9ssrrt3y/RKPrime.20.06.02.Abella.Danger.The.Pirate.Gets.The.Booty.XXX.SD.MP4
-KLEENEX.mp4
https://gounlimited.to/0l4sldrkmn43/PublicPickUps_-_Shae_Celestine_-
 Nerdy Cutie Straddles Huge Cock (19 04 2018).mp4
https://gounlimited.to/0l6i6v04fcb6
https://gounlimited.to/0liajiyz81p8
https://gounlimited.to/0lx70fpt1s7q/Www.brazzersbox.in_SexArt.20.06.05.Ella.Hughes.Black.And.Hughes.XX
X.SD.MP4-KLEENEX.mp4
https://gounlimited.to/0m81n10kobme/Best Of Brazzers Sharing Stepsiblings Anya Olsen.mp4
https://gounlimited.to/0ma9pgjopa2c
https://gounlimited.to/0mcrot9uizyx/[LilHumpers]_Alexis_Fawx_(Lil_Jailbird_/_06.11.2020).mp4
https://gounlimited.to/0mi3j6aqxjge/PublicPickUps_-_Martina_Smeraldi_-_New_Study_Buddies.mp4
https://gounlimited.to/0mpat53bkdag/LilHumpers_-_Alexis_Fawx_-_Lil_Jailbird.mp4
https://gounlimited.to/0n1wex2351t3/www.0xxx.ws DigitalPlayground.20.06.01.Vanessa.Sky.Falling.From.Gr
ace.Part.3.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/0nhkqgksdnaj
https://gounlimited.to/0o27pfxonlwp/RealityKings_-_London_River_-_Daycare_Milf_(26_04_2018).mp4
https://gounlimited.to/0o4g25nsrycu/brazzersexxtra-halle-hayes-a-wild-and-crazy-cock-stuffi_720p.mp4
https://gounlimited.to/0p92ttayjzh1
https://gounlimited.to/0pli2n0hv4kj
                                                    4
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https://gounlimited.to/0pn3a6ae1j7f
https://gounlimited.to/0pn4l4xihnbz
https://gounlimited.to/0pp3ltnvnwmo/Www.brazzersbox.in_LetsTryAnal.20.05.29.Mia.Bandini.Come.In.For.S
ome.Tea.And.Anal.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/0pv25w8ywfq6/Www.brazzersbox.in Private.20.05.30.Martina.Smeraldi.Juicy.Ass.Teen.
Enjoys.Hard.Anal.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/0pvbfddu7gzh/[GirlsGonePink]_Aidra_Fox,_Desiree_Dulce_(Prank_Wars_/_06.08.2020
).mp4
https://gounlimited.to/0q51vpoayzb1/www.0xxx.ws_PornstarsLikeItBig.20.06.10.Casca.Akashova.All.Dolled.
Up.Beauty.Queen.Edition.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/0qd883ot4uek/www.0xxx.ws PublicPickUps.20.06.11.Martina.Smeraldi.New.Study.Bud
dies.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/0qtkgofv9i08
https://gounlimited.to/0qutm0zahqqn/Casca-Akashova-Brazzers-All-Dolled-Up:-Beauty-Queen-Edition-2020-
06-10.mp4
https://gounlimited.to/0r50r87q3r48
https://gounlimited.to/0r7fw3zo7dmc/Luna.Star.Honeymoon.Rubdown.DirtyMasseur.massage.mp4
https://gounlimited.to/0rk6yaseyb2v/www.0xxx.ws_PervMom.20.06.13.Becky.Bandini.Sticking.Up.For.Stepm
om.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/0rn55izngaxx/Twistys - Cherie Deville - A Taste Of Cherie.mp4
https://gounlimited.to/0s1v38letw93
https://gounlimited.to/0sfig421gnxm/rkprime.20.06.12.aidra.fox.a.cock.for.your.thots.mp4
https://gounlimited.to/0sjbe6pppozm/www.0xxx.ws_BrazzersExxtra.20.06.05.Best.Of.Brazzers.First.Anals.XX
X.1080p.MP4-KTR.mp4
https://gounlimited.to/0sycligy7y6h/Erito.20.06.12.Creampie.For.Harukas.Pretty.Pussy.JAPANESE.XXX.1080
p.MP4-TRASHBIN.mp4
https://gounlimited.to/0uetwcie3kzq/Simplyanal_-
_Alina_V_And_Sofia_Like_Share_My_Boyfriend_[720p_HD].mp4
https://gounlimited.to/0um0v4sdmg12/[Dirty_Masseur]_Luna_Star_-
  Honeymoon Rubdown (PervyVideos.com).mp4
https://gounlimited.to/0unwvc1uboas/RKPrime.20.06.08.Luna.Star.Fuck.My.Girl.XXX.SD.MP4-
KLEENEX.mp4
https://gounlimited.to/0ur8cirdxvww
https://gounlimited.to/0ur8cirdxvww/_Twistys_Vina_Sky_.mp4
https://gounlimited.to/0v5d8yf6py03
https://gounlimited.to/0v8x0t61odnr/[PublicPickUps] Martina Smeraldi (New Study Buddies / 06.11.2020).
mp4
https://gounlimited.to/0vdm5o41yk9t/TransAngels.20.05.29.Casey.Kisses.Spring.Cleaning.Part.2.XXX.1080p.
MP4-WEIRD.mp4
https://gounlimited.to/0vix3byc9y24/Ana Foxxx, Scott Nails - It Happened One Night Part Four -
  Elegant Anal - Babes.mp4
https://gounlimited.to/0vti54wpvzcs/www.0xxx.ws_RKPrime.20.06.08.Luna.Star.Fuck.My.Girl.XXX.1080p.M
P4-KTR.mp4
https://gounlimited.to/0vymelwepxb8/BrazzersExxtra.20.06.02.Best.Of.Brazzers.Sneakiest.Moments.XXX.SD.
MP4-KLEENEX.mp4
https://gounlimited.to/0w25a1a58pfc/[Twistys] Vina Sky (Not A Cloud In The Sky / 06.10.2020).mp4
https://gounlimited.to/0wk9oorobp1i/Alena_Croft,_Xander_Corvus_-_But_Her_Mom_Will_-
_Mommy_Got_Boobs_-_Brazzers.mp4
https://gounlimited.to/0wpkb3jw45ev
https://gounlimited.to/0wqcw8uorihy.html
https://gounlimited.to/0y6mitilhxov
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https://gounlimited.to/0ycts1ymwkth
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https://gounlimited.to/0ykl8g7rfa4l/[Twistys]_Cherie_Deville_(A_Taste_Of_Cherie_/_06.03.2020).mp4
https://gounlimited.to/0ypnzk3eza2u/DayWithAPornstar.20.05.30.Lenina.Crowne.Lenina.Gets.A.Workout.XX
X.1080p.MP4-KTR.mp4
https://gounlimited.to/0z4n77ksa4vq/Dirty.Masseur.-.Luna.Star.Honeymoon.Rubdown.-.Brazzers.mp4
https://gounlimited.to/0zbahkapd2ce/[BrazzersExxtra]_Best_Of_Brazzers_Sharing_Stepsiblings_(06.09.2020).
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https://gounlimited.to/0zdq9repx19k/Jayden-Starr-Brazzers-Surprise-Bathtub-Banging-2020-06-24.mp4
https://gounlimited.to/0zoh9o77df6k/[DaneJones] Kaisa Nord (Isolation self love and anal play / 06.04.20
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https://gounlimited.to/0zrgia8fqnrq/[RKDupes]_Edible_Aubrey_(Meter_Maid_/_06.09.2020).mp4
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https://gounlimited.to/11e722yd565c/rkprime.20.06.16.anya.ivy.one.day.fare.mp4
https://gounlimited.to/11jd9z2wwu44/[TeensLoveHugeCocks] Dolly Little (A Little Love / 06.11.2020).mp
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https://gounlimited.to/11rprkbjuggm/[RKPrime]_Jane_Wilde,_Emily_Willis_(Face-To-
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https://gounlimited.to/130njbyns5w8/mofosbsides.20.06.02.lexie.fux.porn.pleasure.mp4
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  Teens Like It Big - Brazzers.mp4
https://gounlimited.to/140szc6kqpug/daywithapornstar-lenina-crowne-gets-a-workout.mp4
https://gounlimited.to/144keej71gca/ZZ_Series_Abigail_Mac_ALLWAYSWELL.mp4
https://gounlimited.to/14cj6pxnoz2c/DayWithAPornstar.20.06.11.Siouxsie.Q.Anal.Kitchen.Cleaning.XXX.108
0p.MP4-KTR.mp4
https://gounlimited.to/14j7sq5hjucv/Pervs On Patrol - Kiara Edwards - Pervy Yoga Spy.mp4
https://gounlimited.to/14nliow319jy/BigWetButts.20.06.16.Angela.White.Jean.Queen.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/14wc9eyul2d8/Dirty_Masseur_Anissa_Kate_ALLWAYSWELL.mp4
https://gounlimited.to/156lbpjf9wsh/ZZSeries_-_Bridgette_B_-_Rich_Fucks_Part_3_(26_04_2018).mp4
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KTR.mp4
https://gounlimited.to/182q4jtevo7a/SneakySex.20.06.01.Gabriela.Lopez.Family.Road.Trip.Dick.XXX.SD.MP
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https://gounlimited.to/18nee1ylmu5n
https://gounlimited.to/18u1x7g67b5z/_RKPrime_Nicolette_Shea_Big_Dick_Energy_.mp4
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https://gounlimited.to/191mk4bzj05g/www.0xxx.ws RKPrime.20.06.09.Angela.White.Vs.Rob.Piper.XXX.108
0p.MP4-KTR.mp4
https://gounlimited.to/1958ttjenflh/trueamateurs.20.06.12.reislin.solo.mp4
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https://gounlimited.to/19fhzbhx3ezt/PervsOnPatrol - Kiara Edwards - Pervy Yoga Spy.mp4
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https://gounlimited.to/1aptr6g3ax5f/Public_Pick_Ups_Winter_Bell_ALLWAYSWELL.mp4
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https://gounlimited.to/1dh3oj6zmtcl/[FakehubOriginals] Best Of Ebony Babes (05.31.2020).mp4
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D.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/1e1sfut9183c/PervsOnPatrol_-_Kiara_Edwards_-_Pervy_Yoga_Spy.mp4
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https://gounlimited.to/1eijk7z527na/leolulu-trueamateurs-08-02-19.mp4
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_Come_In_For_Some_Tea_and_Anal___25.05.2020.mp4
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https://gounlimited.to/1i57aar4cvso/[ElegantAnal] Ana Foxxx (It Happened One Night Part 4 / 06.02.202
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https://gounlimited.to/1i59j65v5b0g/Pedicure_Her_-_Kimmy_Granger_-_LookAtHerNow_-_RealityKings.mp4
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https://gounlimited.to/1jak6yl85kj6/FakeHostel_Anissa_Kate_Lola_ALLWAYSWELL.mp4
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https://gounlimited.to/1mpp8sf860yv/Diva For A Day - Azul Hermosa - BrazzersExxtra - Brazzers.mp4
https://gounlimited.to/1myl0bh9qh7j/teenslovehugecocks.20.06.08.vina.sky.anal.in.the.sun.mp4
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Clean.Up.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/1tqiztq5pxcz/[DirtyMasseur] Luna Star (Honeymoon Rubdown / 06.06.2020).mp4
https://gounlimited.to/1txnrs4029iz
https://gounlimited.to/1tyv2ed9s18g/DaneJones_Best_Of_Intimate_Anal.mp4
https://gounlimited.to/1vq8ro8w2csl/Ariella-Ferrera-Brazzers-Best-Of-Brazzers:-Sneakiest-Moments-2020-06-
02.mp4
https://gounlimited.to/1w9znf6omuar
https://gounlimited.to/1wbgrl542owe/Hot And Mean - Bridgette B & Kiara Cole.mp4
https://gounlimited.to/1woddn67e859
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https://gounlimited.to/1wybj6jn4d5q
https://gounlimited.to/1wys1442e7ne/[BrazzersExxtra] Aubree Valentine (Soaking Wet And Fully Satisfied
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https://gounlimited.to/1x5sx3pb1lje/PervMom.20.05.30.Havana.Bleu.Rekindling.With.Stepmom.XXX.1080p.
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https://gounlimited.to/1xkd0z43ap01/www.0xxx.ws_MomXXX.20.06.13.Florane.Russell.XXX.1080p.MP4-
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https://gounlimited.to/1xm5bz9st0f0/BrazzersExxtra.20.06.01.Halle.Hayes.A.Wild.And.Crazy.Cock.Stuffing.Pa
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KTR.mp4
https://gounlimited.to/1z3a7pkunul8/www.0xxx.ws_BigWetButts.20.06.16.Angela.White.Jean.Queen.XXX.108
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d.Youll.Get.Fucked.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/20665ari7xkb/RKPrime.20.06.16.Anya.Ivy.One.Day.Fare.XXX.SD.MP4-
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https://gounlimited.to/209ayoh1tmq7
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https://gounlimited.to/20r5u6aksfoy/www.0xxx.ws_Lesbea.20.06.01.Cindy.Shine.And.Alina.Crystall.XXX.108
0p.MP4-KTR.mp4
https://gounlimited.to/21b63ijubwxf/[TeensLoveHugeCocks] Dolly Little (A Little Love / 06.11.2020).mp4
https://gounlimited.to/21fasj5ffxcm
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https://gounlimited.to/21r037upnmoj/Www.brazzersbox.in ClubSeventeen.20.05.29.Candy.Teen.Hardcore.XX
X.SD.MP4-KLEENEX.mp4
https://gounlimited.to/22s14aikfcf4/Best_Of_Brazzers_Sharing_Stepsiblings_-
_Anya_Olsen,_April_Brookes,_Ariella_Ferrera,_Casey_Calvert,_Cassidy_Banks,_Gia_Milana,_Kendall.mp4
https://gounlimited.to/22uygk0nbnih/Mommy_Got_Boobs_Katie_ALLWAYSWELL.mp4
https://gounlimited.to/23cuxbgetawb/[GirlsGonePink] Aidra Fox, Desiree Dulce (Prank Wars / 06.08.2020
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https://gounlimited.to/23e6pqw1c4fq/www.0xxx.ws_Twistys.20.06.06.Sabina.Rouge.Naked.Yoga.With.Sabina.
Rouge.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/23r2c85c5wns/fakedrivingschool.20.06.10.lady.dee.mp4
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https://gounlimited.to/24hh7vatx0oq/Joanna Angel, Small Hands - Getting Joanna Out Of The Shower -
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https://gounlimited.to/25em62u10dtj/BrazzersExxtra_Abella_Danger.mp4
https://gounlimited.to/25gbpuuu1l8c/[Twistys]_Sabina_Rouge_(Naked_Yoga_With_Sabina_Rouge_/_06.06.20
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https://gounlimited.to/25ni0jjyqz3g/www.0xxx.ws MomXXX.20.06.13.Florane.Russell.XXX.1080p.MP4-
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TRASHBIN.mp4
https://gounlimited.to/26dgsqa2456d/Brazzers Exxtra Romi Rain ALLWAYSWELL.mp4
https://gounlimited.to/27crua1yd28c/Dahlia Sky - Step Brazzers.mp4
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https://gounlimited.to/27g5mz6uli10/[GirlsGonePink] Aidra Fox, Desiree Dulce (Prank Wars / 06.08.2020
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https://gounlimited.to/27komtphqw9x/LilHumpers_-_Alexis_Fawx_-_Lil_Jailbird.mp4
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  Reality Kings.mp4
https://gounlimited.to/28wetv4x060c/RKPrime.20.06.11.Jane.Wilde.And.Emily.Willis.Face-To-
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A.Stripper.XXX.SD.MP4-KLEENEX.mp4
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  A Squirt for a cheat (04 04 2018).mp4
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erland.Bodacious.Bikini.Threesome.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/2bqqfs5r4p7y
https://gounlimited.to/2bt4xkyvu3t8/RKDupes -Making The Sale [720p HD].mp4
https://gounlimited.to/2c5mvtuqvs6r/[PervsOnPatrol] Kiara Edwards (Pervy Yoga Spy / 05.31.2020).mp4
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https://gounlimited.to/2c7o4uw7qweg/[TeensLoveHugeCocks]_Vina_Sky_(Anal_In_The_Sun_/_06.08.2020).
mp4
https://gounlimited.to/2d8ol7zfd25n
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_Connie_Carter,_Rita_Peach,_Eufrat_Mai,_Claudia_Bavel,_Lucy_Li_etc.mp4
https://gounlimited.to/2e0y6ycc0447/Bigwetbutts.20.05.31.Kagney.Linn.Karter.Anally.Reamed.in.Her.Jeans.X
XX.1080p.MP4-KTR.mp4
https://gounlimited.to/2einc586u01q/Telegram_@getnewlink_dani_daniels_Fuck_the_Law_-
_BRAZZERS.mp4
https://gounlimited.to/2emhf1a8tupc/Brazzers_-_MilfsLikeItBig_presents_Tommie_Jo_-
  MILF In The Closet        30.05.2020.mp4
https://gounlimited.to/2evll6ir1ga3/Brazzers -
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https://gounlimited.to/2ezg3lgsgi9h/[RKPrime]_Nicolette_Shea_(Big_Dick_Energy_/_06.04.2020).mp4
https://gounlimited.to/2f7dunkozi85
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p.MP4-KTR.mp4
https://gounlimited.to/2jzif9p4hh85/www.0xxx.ws_RKPrime.20.06.06.Bailey.Brooke.Surprised.By.The.Big.Pa
ckage.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/2kg39jbvjd0e
https://gounlimited.to/2l1purpej7wj
https://gounlimited.to/2lbc5iglt48y/Nicolette_Shea,_Markus_Dupree_-_Smart_Ho-me_-_Brazzers_Exxtra_-
_Brazzers.mp4
https://gounlimited.to/2ld6e19munl3/www.0xxx.ws_TrueAmateurs.20.06.05.Hayliexo.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/2lmeb7zzsbbu/Fitness Rooms Extreme Anal Yoga Girl Fucks in all Holes .mp4
https://gounlimited.to/2lov3ltvnllg/BrazzersExxtra.20.06.09.Best.Of.Brazzers.Sharing.Stepsiblings.XXX.1080p.
MP4-KTR.mp4
https://gounlimited.to/2lz4xe3nspbi/[DaneJones]_Kaisa_Nord_(Isolation_self_love_and_anal_play_/_06.04.202
0).mp4
https://gounlimited.to/2m97fe68xfyq/BrazzersExxtra - Alena Croft, Chloe Cherry -
_The_Fuckerfly_Effect_(02_07_2018).mp4
https://gounlimited.to/2mam003xruvp/Brazzers_Exxtra_-_Eliza_Ibarra_-_Cuff_Me_And_Fuck_Me.mp4
https://gounlimited.to/2metlrsort63
https://gounlimited.to/2mquac5wclm9/Aubree Valentine, Kyle Mason -
  Soaking Wet And Fully Satisfied - Brazzers Exxtra - Brazzers.mp4
https://gounlimited.to/2mxfbdjvzhtg
https://gounlimited.to/2n4qqnfaajuh/www.0xxx.ws_FakehubOriginals.20.06.08.Best.Of.Cosplay.XXX.1080p.
MP4-KTR.mp4
https://gounlimited.to/2nvm9axsvr4l
https://gounlimited.to/2o9etuehye4o
https://gounlimited.to/2ojjhy6tzr88/[PervsOnPatrol]_Kiara_Edwards_(Pervy_Yoga_Spy_/_05.31.2020).mp4
https://gounlimited.to/2q5z0o2h6sjq/Www.brazzersbox.in_vixen.20.05.29.teanna.trump.and.vicki.chase.mp4
https://gounlimited.to/2qbq9jdp9x84/Alexis_Fawx_-_Lil_Jailbird_(LilHumpers.11.06.2020.720p)_VHQ.mp4
https://gounlimited.to/2r9vjhcl5izs/RKPrime.20.06.07.Rosalyn.Sphinx.And.Kylie.Kingston.Sit.On.It.XXX.1080
p.MP4-KTR.mp4
https://gounlimited.to/2rcvxvlia1y1
https://gounlimited.to/2rwhtj4548v6
https://gounlimited.to/2s09nm7fkbhp/[DigitalPlayground]_Vanessa_Sky_(Falling_From_Grace_Part_3_/_06.01
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https://gounlimited.to/2s2eni839tz1/Erito.20.06.12.Creampie.For.Harukas.Pretty.Pussy.JAPANESE.XXX.1080
p.mp4
https://gounlimited.to/2shvsiwun066/www.0xxx.ws_PublicAgent.20.06.03.Lydia.Black.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/2sn5c2gn0u3a/brazzersexxtra-abella-danger-his-hands-are-tied.mp4
https://gounlimited.to/2ss9obrm3xwh/www.0xxx.ws BrazzersExxtra.20.06.08.Madison.Ivy.And.Kendra.Sunde
rland.Bodacious.Bikini.Threesome.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/2ssxpydfhfjy/RealityKings_-
_RKPrime_presents_Luna_Star_in_Fuck_My_Girl___08.06.2020.mp4
https://gounlimited.to/2t4i1yvznd28/Day With A Pornsta.r Josephine Jackson.mp4
https://gounlimited.to/2tb5u0t6oxgm/Www.brazzersbox.in RKDupes.20.06.05.Lesbehonest.Part.2.XXX.SD.M
P4-KLEENEX.mp4
https://gounlimited.to/2tja8jx2i1yc/Lil_Humpers.Candice.Dare.720p.mp4
https://gounlimited.to/2to3jk8zp3oc
https://gounlimited.to/2u3xrjblmifg/BigWetButts.20.05.29.Keira.Croft.25.US.Keiras.Ass.Craves.Cock.0free2all
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https://gounlimited.to/2um9zu83frew/[DontBreakMe]_Pamela_Morrison_(Breaking_Pamela_/_06.05.2020).mp
4
https://gounlimited.to/2uus7htq1qga/Phoenix.Marie.Feeling.Up.Phoenix.DayWithAPornstar.bigtits.mp4
https://gounlimited.to/2v3w9b21ul98/www.0xxx.ws TrueAmateurs.20.06.05.Hayliexo.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/2v8aug3dkwj9
https://gounlimited.to/2v8zvronpfx8/[BigWetButts]_Kagney_Linn_Karter_(Anally_Reamed_In_Her_Jeans_/_0
5.31.2020).mp4
https://gounlimited.to/2vc5h4oiz1fe/www.0xxx.ws DayWithAPornstar.20.06.11.Siouxsie.Q.Anal.Kitchen.Clea
ning.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/2vkyaoyn8qti/BrazzersExxtra.20.06.02.Abella.Danger.His.Hands.Are.Tied.XXX.1080p.
mp4
https://gounlimited.to/2vocv482zq5l/DaneJones.20.06.16.Jenny.Wild.Solo.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/2vstv1fkg726/[FakeDrivingSchool] Lady Dee (Suck My Disinfected Burning Cock /
_06.11.2020).mp4
https://gounlimited.to/2vumes60xc3b/[RKDupes]_Edible_Aubrey_(Meter_Maid_/_06.09.2020).mp4
https://gounlimited.to/2w4v4rlkr535/[FakeTaxi]_Mia_Rose_(4_Loads_of_Spunk_for_Teen_/_06.01.2020).mp4
https://gounlimited.to/2wst9urb63e2/[BigWetButts] Keira Croft (Keira's Ass Craves Cock / 05.29.2020).m
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https://gounlimited.to/2wwcxhuq99t3/Www.brazzersbox.in_IHaveAWife.20.05.29.Anissa.Kate.XXX.SD.MP4-
KLEENEX.mp4
https://gounlimited.to/2xxsn7qf0fju/[RKPrime]_Luna_Star_(Fuck_My_Girl_/_06.08.2020).mp4
https://gounlimited.to/2xz6y4mm7q01/LilHumpers.20.06.11.Alexis.Fawx.Lil.Jailbird.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/2xz8i2njv05o/sneakysex.20.06.01.gabriela.lopez.family.road.trip.dick.mp4
https://gounlimited.to/2y5tf5porehp/[Twistys]_Vina_Sky_(Not_A_Cloud_In_The_Sky_/_06.10.2020).mp4
https://gounlimited.to/2yer9jthqlsi/ZZ_Series_Nikki_Benz_ALLWAYSWELL.mp4
https://gounlimited.to/2yk0vkchyx32/rkprime.20.06.04.nicolette.shea.big.dick.energy.mp4
https://gounlimited.to/2ypbdare0hj0/DaneJones presents Alexis Crystal -
_Sweet_sexy_school_uniform_roleplay___09.06.2020.mp4
https://gounlimited.to/2zlieue1wyrn/www.0xxx.ws_TeensLoveHugeCocks.20.06.17.Makenna.Reise.Tiny.Make
nna.Takes.It.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/30eaynbbtza5/Alice Pink, Maserati - Dommed By Her Dads Girlfriend Part 1 -
  Hot And Mean - Brazzers.mp4
https://gounlimited.to/30elkf9wymt3/Martina_Smeraldi,_Erik_Everhard_-_The_Stripper_In_The_Mountains_-
_Public_Agent_-_FakeHub.mp4
https://gounlimited.to/30m9lrfynio7/DayWithAPornstar_-_Lenina_Crowne_-_Lenina_Gets_A_Workout.mp4
https://gounlimited.to/30qiat974zuv/[Brazzers Exxtra] Aubree Valentine: Soaking Wet And Fully Satisfied
  (PervyVideos.com).mp4
https://gounlimited.to/30raddl76nh9
https://gounlimited.to/314hae4xem2z
https://gounlimited.to/318cir4j3n9e
https://gounlimited.to/3199rgvx0gds/www.0xxx.ws RKPrime.20.06.09.Angela.White.Vs.Rob.Piper.XXX.1080
p.MP4-KTR.mp4
https://gounlimited.to/31mgdwki6rvf
https://gounlimited.to/31mswq60p8z5
https://gounlimited.to/31rudjhb2n1z/Www.brazzersbox.in_DayWithAPornstar.20.05.31.Kenzie.Taylor.Kenzie.
Chooses.Dick.Over.Dishes.XXX.SD.MP4-KLEENEX.mp4

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https://gounlimited.to/327qwqpvrsiz/[BrazzersExxtra] Halle Hayes -
_A_Wild_and_Crazy_Cock_Stuffing_Party_(01.06.2020)_rq.mp4
https://gounlimited.to/32ch7nvagmzm/Www.brazzersbox.in_passion.hd.20.06.13.sybil.tryst.in.the.tub.mp4
https://gounlimited.to/32dsylq8fy28/BrazzersExxtra_-_Best_Of_Brazzers_First_Anals_[720p_HD].mp4
https://gounlimited.to/32p0e9sdvgst
https://gounlimited.to/32p1lrpkry3s/teenslovehugecocks.20.06.17.makenna.reise.tiny.makenna.takes.it.mp4
https://gounlimited.to/33kwa205bzas/TrueAmateurs.20.06.08.Portia.Paris.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/345uu0veqad1
https://gounlimited.to/34gj1ijoctjd/Emily_Addison_-_Humper_Therapy.mp4
https://gounlimited.to/34krsv2n3t7b/www.0xxx.ws PublicAgent.20.06.03.Lydia.Black.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/34stenmklk12/rkprime.20.06.11.jane.wilde.and.emily.willis.face.to.face.mp4
https://gounlimited.to/350401is6rr4
https://gounlimited.to/35k2a4lmdohb/RKPrime.20.05.31.Bae.Egypt.Desperately.Seeking.Panties.XXX.SD.MP4
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https://gounlimited.to/35sewl6z15w2/TeensLoveHugeCocks.20.06.10.Dolly.Little.A.Little.Love.XXX.1080p.m
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https://gounlimited.to/360znz15tvnd/WeLiveTogether_-_Lily_Rader,_Zoey_Taylor_-_Poolside.mp4
https://gounlimited.to/36918k6emyyc/[RKPrime]_Angela_White_Vs_Rob_Piper_(06.09.2020).mp4
https://gounlimited.to/36z4ybx4v7e0/RealityKings -
  TeensLoveHugeCocks presents Vina Sky in Anal In the Sun            08.06.2020.mp4
https://gounlimited.to/374s76dnnpw4/[BigWetButts]_Remy_Lacroix_(Remy's_Ring_Toss_REMASTERED_/_
06.03.2020).mp4
https://gounlimited.to/37a7h9pk52bu/www.0xxx.ws_RKPrime.20.06.04.Nicolette.Shea.Big.Dick.Energy.XXX.
1080p.MP4-KTR.mp4
https://gounlimited.to/37edtknddsea/[DaneJones] Alina Crystall (Intimate love with gorgeous Russian / 06
.11.2020).mp4
https://gounlimited.to/37fkkowz7pxw/Nicolette_Shea,_Kyle_Mason_-_Mrs._Shea's_Room_Service_-
_Brazzers_Exxtra_-_Brazzers.mp4
https://gounlimited.to/37gcrpv210i0
https://gounlimited.to/37tdgs2x9ln0/Www.brazzersbox.in TeamSkeetExtras.20.05.30.Jill.Kassidy.Typist.XXX.
SD.MP4-KLEENEX.mp4
https://gounlimited.to/37wtyh3f2kpe/Tommie_Jo,_el_estereotipo_de_siliconada_de_Brazzers.mp4
https://gounlimited.to/386hgpxsxe9n/www.0xxx.ws_BrazzersExxtra.20.06.12.Abella.Danger.And.Kira.Noir.Ma
id.For.A.Threesome.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/398jlbs6wbqj
https://gounlimited.to/39wfoww4tsxu/DaneJones.20.06.07.Best.Of.Creampies.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/3a67wvus6tu4/www.0xxx.ws_DontBreakMe.20.06.05.Pamela.Morrison.Breaking.Pamel
a.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/3a7trs4jh6ck/www.0xxx.ws BrazzersExxtra.20.06.05.Best.Of.Brazzers.First.Anals.XXX.
1080p.MP4-KTR.mp4
https://gounlimited.to/3aj9fnr7bd63.html
https://gounlimited.to/3ayvz9mjv0uy/Look_At_Her_Now_-_Gabriella_Paltrova_&_Candice_Dare.mp4
https://gounlimited.to/3b84hh9doifc/WhenGirlsPlay.20.05.30.Alex.Blake.And.Scarlit.Scandal.XXX.1080p.MP
4-KTR.mp4
https://gounlimited.to/3bzl0mp4ajpi/ElegantAnal.-.Ana.Foxxx.It.Happened.One.Night.Part.4.mp4
https://gounlimited.to/3chwx0an0mhh/Www.brazzersbox.in_MomXXX.20.06.13.Florane.Russell.XXX.SD.MP
4-KLEENEX.mp4
https://gounlimited.to/3crltsdezhnx/publicpickups.20.06.11.martina.smeraldi.new.study.buddies.mp4
https://gounlimited.to/3dj1rnrq49c2/Www.brazzersbox.in RKPrime.20.06.12.Aidra.Fox.A.Cock.For.Your.Thot
s.XXX.SD.MP4-KLEENEX.mp4
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https://gounlimited.to/3dnyl01ml6lm/Ashley.Fires.Sock.My.Cock.BigButtsLikeItBig.anal.mp4
https://gounlimited.to/3e1k41fjulpa
https://gounlimited.to/3e4t2hmw1kxr/True_Amateurs.20.06.05.Hayliexo.XXX.1080p.mp4
https://gounlimited.to/3ebiwtddg3cj/DaneJones.20.06.09.Alexis.Crystal.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/3ec9epoaafhh
https://gounlimited.to/3fh7ees52w5x
https://gounlimited.to/3frxzkohca0d/Www.brazzersbox.in_DayWithAPornstar.20.05.30.Lenina.Crowne.Lenina.
Gets.A.Workout.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/3g1ss98r7z27/Real_Wife_Stories_Lisa_Ann_ALLWAYSWELL.mp4
https://gounlimited.to/3g512uy35l6k/RKPrime Nicolette Shea .mp4
https://gounlimited.to/3g5mshhmnkis/TeensLoveHugeCocks.20.06.08.Vina.Sky.Anal.In.The.Sun.XXX.SD.MP
4-KLEENEX.mp4
https://gounlimited.to/3ggvx21927cv/Fakehub_Originals.20.06.12.Eva.Elfie.Solo.XXX.1080p.mp4
https://gounlimited.to/3gnppvuyqq46/[JulesJordan]_Skylar_Vox_(19_Year_Old_Teen_Skylar_Vox_Shows_Of
f Her 34 DD Big Naturals / 06.01.2020).mp4
https://gounlimited.to/3gtlj5fvxczz/www.0xxx.ws DaneJones.20.06.04.Kaisa.Nord.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/3h2hqn2npret
https://gounlimited.to/3h9bh0miuobt/[PornstarsLikeItBig]_Casca_Akashova_(All_Dolled_Up_Beauty_Queen_
Edition / 06.10.2020).mp4
https://gounlimited.to/3hawpe2shzih/DayWithAPornstar.20.06.11.Siouxsie.Q.Anal.Kitchen.Cleaning.XXX.108
0p.MP4-KTR.mp4
https://gounlimited.to/3hcw60w0tj24/Rkprime.20.05.31.Bae.Egypt.Desperately.Seeking.Panties.XXX.1080p.M
P4-KTR.mp4
https://gounlimited.to/3hs071w4y34v/www.0xxx.ws RKPrime.20.06.12.Aidra.Fox.A.Cock.For.Your.Thots.XX
X.1080p.MP4-KTR.mp4
https://gounlimited.to/3i4y3tzc4ox6/www.0xxx.ws_TrueAmateurs.20.06.15.No.Face.Girl.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/3i6lupsaco1z/_StrandedTeens_Mackenzie_Mace_ALLWAYSWELL.mp4
https://gounlimited.to/3isdzo3drfgr/www.0xxx.ws DayWithAPornstar.20.06.11.Siouxsie.Q.Anal.Kitchen.Clean
ing.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/3jsqadpxrxse/rkprime.20.06.09.angela.white.vs.rob.piper.mp4
https://gounlimited.to/3jtvf9lom3y7/RealWifeStories_-_Nicolette_Shea_-
_ZZ_Kenfucky_Derby_(06_08_2018).mp4
https://gounlimited.to/3k1rgdywxxvm/LookAtHerNow Ellie Eilish Taste.mp4
https://gounlimited.to/3kbmvlkorj4v/Www.brazzersbox.in BrazzersExxtra.20.06.02.Abella.Danger.His.Hands.
Are.Tied.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/3leb36sp915n/Telegram_@getnewlink_dani_daniels_Inmate_in_my_Puss_-
_BRAZZERS.mp4
https://gounlimited.to/3lxhmvrf1n2r/[BrazzersExxtra] Abella Danger (His Hands Are Tied / 06.02.2020).m
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https://gounlimited.to/3lzjtwv96yji/Www.brazzersbox.in_deeper.20.06.11.scarlett.bloom.mp4
https://gounlimited.to/3mcq6xsraomt/www.0xxx.ws_WeLiveTogether.20.06.10.Emily.Willis.Scarlett.Bloom.A
nd.Liv.Wild.Color.Me.Horny.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/3mkvx1mu5ngo/ DaneJones Kaisa Nord.mp4
https://gounlimited.to/3mlgu7lfd3w2/MomXXX.20.06.13.Florane.Russell.31.CZ.Naughty couple break lockd
own_rules.0free2all.ws.ek84.mp4
https://gounlimited.to/3n4tm3ifgweh/Brazzers_Exxtra_-_Julie_Cash_-_Julie's_Seductive_Yoga.mp4
https://gounlimited.to/3npxz1gbfnv5/Katie_And_Kenzie_Get_Flexible_-_Katie_Kush,_Kenzie_Madison_-
 DayWithAPornstar - Brazzers.mp4

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https://gounlimited.to/3o3is8zy4aq5/We Live Together -
_Molly_Stewart_And_Aubree_Valentine_Finish_For_Me.mp4
https://gounlimited.to/3odqpflyl4za/Gia_Paige,_Tory_Lane_-_Disrespecting_The_Maid_-
_MomsInControl.mp4
https://gounlimited.to/3oy1sx2i9d6s/[BrazzersExxtra] Halle Hayes -
 A Wild And Crazy Cock Stuffing Party (01.06.2020).mp4
https://gounlimited.to/3pagh5tjlal8/MofosBSides_-_Lexie_Fux_-_Porn_Pleasure.mp4
https://gounlimited.to/3pns0y0m49ve
https://gounlimited.to/3prjsph2pn9k/_WeLiveTogether_Lily_Rader_.mp4
https://gounlimited.to/3pu3gohqjfe4/DigitalPlayground.20.06.01.Vanessa.Sky.Falling.From.Grace.Part.3.XXX.
SD.MP4-KLEENEX.mp4
https://gounlimited.to/3qtdttz05ivk/www.0xxx.ws_PublicPickUps.20.06.11.Martina.Smeraldi.New.Study.Buddi
es.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/3qvvapzbzgne/Taste_Tester_-_Ellie_Eilish_-_LookAtHerNow.mp4
https://gounlimited.to/3qy0usy9m7dg/RKPrime - Asia Rae - Boyfriend Snatcher.mp4
https://gounlimited.to/3r1z3z4vtz5u/www.0xxx.ws PervsOnPatrol.20.05.31.Kiara.Edwards.Pervy.Yoga.Spy.X
XX.1080p.MP4-KTR.mp4
https://gounlimited.to/3r78s0cqkelh/WhenGirlsPlay_Abigail_Mac.mp4
https://gounlimited.to/3r825ves3f0k
https://gounlimited.to/3r9t6xrvku7g/www.0xxx.ws RealityKings.20.04.20.Quinton.James.Gabbie.Carter.I.Fuck
ed.Your.Boyfriend.To.Make.You.Mad.XXX.720p.MP4-MaMi.mp4
https://gounlimited.to/3rb2phlh8z16/www.0xxx.ws_HotAndMean.20.06.03.Bridgette.B.And.Kiara.Cole.Fuckin
g.Fight.Me.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/3rcfkrn2rim0/Aubree.Valentine.Soaking.Wet.And.Fully.Satisfied.BrazzersExxtra.hardcor
e.mp4
https://gounlimited.to/3sim84kjsgxn/[DontBreakMe] Pamela Morrison (Breaking Pamela / 06.05.2020).mp4
https://gounlimited.to/3t34qemhriqj/[MilfsLikeItBig]_Tommie_Jo_-_MILF_In_The_Closet_(30.05.2020).mp4
https://gounlimited.to/3ts0hqtwkvrn/[FakehubOriginals]_Best_Of_Ebony_Babes_(05.31.2020).mp4
https://gounlimited.to/3ue242izysf1/ZZ_Kenfucky_Derby_-_Nicolette_Shea_-_RealWifeStories_-
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https://gounlimited.to/3ugo8lftfn9k
https://gounlimited.to/3uh0e5hhsbp5/www.0xxx.ws_HotAndMean.20.06.03.Bridgette.B.And.Kiara.Cole.Fucki
ng.Fight.Me.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/3ui25umiut5i/HotAndMean_-_Bridgette_B,_Kiara_Cole_-_Fucking_Fight_Me.mp4
https://gounlimited.to/3v9qq0bn35qs/MilfsLikeItBig - Kaylani Lei -
 Are You Worthy Of My Ass (26 07 2018).mp4
https://gounlimited.to/3vkpw3fbalf6/[RKPrime]_Luna_Star_(Fuck_My_Girl_/_06.08.2020).mp4
https://gounlimited.to/3vxv6inmgppz
https://gounlimited.to/3w4b7a7o724f
https://gounlimited.to/3w4b7a7o724f/Nicole Aniston - Happy Anniversary, Darling.mp4
https://gounlimited.to/3w682kfwt472/TrueAmateurs.20.05.29.Aila.Donovan.XXX.1080p.mp4
https://gounlimited.to/3w8cqqi6yavu
https://gounlimited.to/3weksce80o4w/[DaneJones]_Alina_Crystall_(Intimate_love_with_gorgeous_Russian_/_
06.11.2020).mp4
https://gounlimited.to/3wgzbm984guz/www.0xxx.ws RKPrime.20.06.15.Gianna.Dior.Sex.Inherited.XXX.1080
p.MP4-KTR.mp4
https://gounlimited.to/3wlejju7d747/Anya.Ivy.One.Day.Fare.RKPrime.hardcore.mp4
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XX.1080p.MP4-KTR.mp4
https://gounlimited.to/4188bs5cfge8
https://gounlimited.to/41cq9zyr9bqf/RK_Prime_-_Bridgette_B.mp4
https://gounlimited.to/41mbbl47wkny/BrazzersExxtra Best Of Brazzers Sneakiest.mp4
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https://gounlimited.to/42sl1lxfaz6y/[MofosBSides]_Lexie_Fux_(Porn_Pleasure_/_06.02.2020).mp4
https://gounlimited.to/442d8h9hpzm3/www.0xxx.ws RKPrime.20.06.16.Anya.Ivy.One.Day.Fare.XXX.1080p.
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https://gounlimited.to/45twujudg0mt/www.0xxx.ws DaneJones.20.06.09.Alexis.Crystal.XXX.1080p.MP4-
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https://gounlimited.to/463d5w31tjq9/Big_Naturals_Kendra_Sunderland_ALLWAYSWELL.mp4
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  The Dominatrix and the Big D (05.06.2020).mp4
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080p.MP4-KTR.mp4
https://gounlimited.to/4hmokrlza3ei/ElegantAnal.20.06.02.Ana.Foxxx.It.Happened.One.Night.Part.4.XXX.108
0p.MP4-KTR.mp4
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https://gounlimited.to/4p9fmi81ymma/Wild_Sky_-_Liv_Wild,_Vanessa_Sky_-_RKPrime_-_RealityKings.mp4
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https://gounlimited.to/4r3mh7p7oxgj/Www.brazzersbox.in_DevilsFilm.20.06.05.Nyomi.Star.No.Need.To.Be.S
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https://gounlimited.to/4s01rtsc2q2t
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https://gounlimited.to/4x2q16yguwr3/DaneJones_presents_Alina_Crystall-
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https://gounlimited.to/4z82ntoyk3yo/Lesbea_-_Cindy_Shine_And_Alina_Crystall_-
_Redhead_rebound_sex_with_Asian_bff.mp4
https://gounlimited.to/4z8hazhgxgq6
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https://gounlimited.to/5342x2ff3e7j
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80p.MP4-KTR.mp4
https://gounlimited.to/53tk7rd0xzgj/Reality_Kings_Dani_Daniels_ALLWAYSWELL.mp4
https://gounlimited.to/53zi5yxnxmjk/Mia_Rose_-
_4_Loads_of_Spunk_for_Teen_(FakeTaxi.01.06.2020.720p)_VHQ_[CENTURION].mp4
https://gounlimited.to/54cq85q9cfmg/www.0xxx.ws_SneakySex.20.06.17.Scarlit.Scandal.Sneaking.In.With.Sca
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https://gounlimited.to/54d95keqf301/www.0xxx.ws_FakeTaxi.20.06.05.Romy.Indy.XXX.1080p.MP4-
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https://gounlimited.to/54gm9hmf0gal
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https://gounlimited.to/5523cm43cll5
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https://gounlimited.to/55kh4ikp4ls1/BrazzersExxtra.20.06.02.Best.Of.Brazzers.Sneakiest.Moments.XXX.1080p
.MP4-KTR.mp4
https://gounlimited.to/56qbmjjijviw
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https://gounlimited.to/5736j4xg1asv/[GirlsGonePink]_Aidra_Fox,_Desiree_Dulce_(Prank_Wars_/_06.08.2020)
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https://gounlimited.to/57ctx3jk1u9m/DayWithAPornstar.20.05.30.Lenina.Crowne.Lenina.Gets.A.Workout.XX
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https://gounlimited.to/57p1j1113rbw
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https://gounlimited.to/57v71gjpbv76/www.0xxx.ws_RKDupes.20.06.09.Meter.Maid.XXX.INTERNAL.1080p.
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https://gounlimited.to/582sazg3hsnv/Humped_And_Focused_-_Alice_Judge_-_LilHumpers_-
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https://gounlimited.to/58v8b8dmqc31
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https://gounlimited.to/59pnrjjjbugf/_PublicAgent_Lydia_Black.mp4
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https://gounlimited.to/5gk7rcjc6gdf/Soaking_Wet_And_Fully_Satisfied_-_BRAZZERS.mp4
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https://gounlimited.to/5l9yha85wk8o/www.0xxx.ws_DaneJones.20.06.11.Alina.Crystall.XXX.1080p.MP4-
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https://gounlimited.to/5lh46lun6hiq
https://gounlimited.to/5ljdci1bbe5e/Day_WithAPornstar_Lenina_ALLWAYSWELL.mp4
https://gounlimited.to/5lm5pgmuj00k/Big_Tits_at_Work_Bridgette_B_ALLWAYSWELL.mp4
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https://gounlimited.to/5mannru3wxtx/Brandi_Love,_Holly_Hotwife,_Keiran_Lee_-_Creampie_My_Wife_-
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https://gounlimited.to/5meqc1pikqn1/[Twistys]_Vina_Sky_(Not_A_Cloud_In_The_Sky_/_06.10.2020).mp4
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https://gounlimited.to/5ngnu76sr2th/DayWithAPornstar.20.06.15.Jewelz.Blu.Jewelz.Has.Cock.For.Breakfast.X
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https://gounlimited.to/5nu2d067fwuu/Siouxsie_Q,_Michael_Vegas_-_Siouxsie_Q's_Anal_Kitchen_Cleaning_-
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https://gounlimited.to/5nuwv6h0ospy
https://gounlimited.to/5o713ktjd3n6
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https://gounlimited.to/5ovyko8052ve/Angela_White_-_RKPrime_20_06_09_Vs_Rob_Piper_XXX.mp4
https://gounlimited.to/5ox6fxzujtjg/TrueAmateurs.20.05.25.Sativa.Booty.XXX.1080p.MP4-KTR.mp4
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https://gounlimited.to/5qzor9vx7j6w/RKPrime_-_Kira_Queen_And_Aruna_Aghora_-_Threesome.mp4
https://gounlimited.to/5r152w1izchl/RKPrime.20.06.03.Bridgette.B.The.Pornstar.Experience.XXX.SD.MP4-
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https://gounlimited.to/5r89w0zabas1/RealityKings_-_Blair_Williams,_Cory_Chase_-
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https://gounlimited.to/5rm3cts9mzv0/BrazzersExxtra.20.06.02.Best.Of.Brazzers.Sneakiest.Moments.XXX.1080
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https://gounlimited.to/5t9iifi5oahg/[FakehubOriginals]_Best_Of_Cosplay_(06.08.2020).mp4
https://gounlimited.to/5ueezamhg9ws
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https://gounlimited.to/5yqdug4d2m97/RKPrime.20.05.29.Kataljna.Kittin.Wet.Kittin.XXX.SD.MP4-
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https://gounlimited.to/5yr2ruzo1wao/626197508_Rkprime.20.02.27.Eliza.Ibarra.Into.Eliza.Xxx.1080P-1.m4v
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https://gounlimited.to/61b4dkbyafnc/Www.brazzersbox.in_NewSensations.20.06.06.Lyra.Lockhart.XXX.SD.M
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https://gounlimited.to/61jti98rvy3z/Bella.Rolland.and.Scarlit.Scandal.Rough.And.Raunchy.Group.Fuck.Brazzer
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https://gounlimited.to/61vxgj32a8iy/www.0xxx.ws_PervMom.20.05.30.Havana.Bleu.Rekindling.With.Stepmo
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https://gounlimited.to/621gcsigwjtc/Www.brazzersbox.in_RKPrime.20.06.01.Asia.Rae.Boyfriend.Snatcher.XX
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https://gounlimited.to/62mhnimt6s2j/Mia.Bandini.TrueAmateurs.anal.mp4
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https://gounlimited.to/637cgm119oin
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https://gounlimited.to/64ggdvf5yx38/Rkprime.20.06.03.Bridgette.B.The.Pornstar.Experience.XXX.1080p.MP4-
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https://gounlimited.to/64ki37wvbsgi/PublicPickUps_Briana_Banderas.mp4
https://gounlimited.to/65bbya9uvhlt/[WeLiveTogether]_Lily_Rader,_Zoey_Taylor_(Poolside_/_06.03.2020).m
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https://gounlimited.to/67q8h4ph91o3/MofosBSides.20.06.02.Lexie.Fux.Porn.Pleasure.XXX.1080p.MP4-
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https://gounlimited.to/67u8q1s1pkao/The_MILF_Next_Door_2_1080.mp4
https://gounlimited.to/68caxssd7doo
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https://gounlimited.to/69g5xlzna6sa/TrueAmateurs.20.06.08.Portia.Paris.1080p.mp4
https://gounlimited.to/69r4ke6uy4et/www.0xxx.ws_RKPrime.20.06.16.Anya.Ivy.One.Day.Fare.XXX.1080p.M
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https://gounlimited.to/6a40rb8bewdo/MilfsLikeItBig_Cherie_Deville_Bohemian_Asspussy.mkv
https://gounlimited.to/6abbry3679vp/Vicky_Love,_Yasmin_Scott,_Kathy_Anderson,_Izzy_Delphine,_Aubrey_
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https://gounlimited.to/6bs33hjwq283/Vanessa_Sky_-
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https://gounlimited.to/6cimeepwn9e1/Martina_Smeraldi,_Jordi_-_New_Study_Buddies_-_Public_Pickups_-
_Mofos.mp4
https://gounlimited.to/6d52fda5rzcq/Nicolette_Shea,_Jordi_El_Nino_Polla_-_School_Of_Hard_Knockers_-
_Brazzers_Exxtra_-_Brazzers.mp4
https://gounlimited.to/6d5zah56txor/Reality_Kings_-
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https://gounlimited.to/6duck4bl1bd3/www.0xxx.ws_DaneJones.20.06.09.Alexis.Crystal.XXX.1080p.MP4-
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https://gounlimited.to/6eqanx91hmn5/MommyGotBoobs_-_Kendra_Lust_-
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https://gounlimited.to/6esa1ggmftr9/www.0xxx.ws_GirlsGonePink.20.06.08.Aidra.Fox.And.Desiree.Dulce.Pra
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https://gounlimited.to/6esuhrub34f6/Girls.Gone.Pink.-.Aidra.Fox.And.Desiree.Dulce.Prank.Wars.-.Mofos.mp4
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https://gounlimited.to/6fch8rb2d3qd/goodzona.net_MomXXX.20.06.13.Florane.Russell.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/6fcv9okccg9n
https://gounlimited.to/6g3xc2ajz4to/Www.brazzersbox.in_GotMylf.20.06.05.Penny.Pax.Freak.XXX.SD.MP4-
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https://gounlimited.to/6gcixzwijvz3/MomsInControl_-_Jill_Kassidy,_Lela_Star_-
_Bed_and_Sweatfest_(03_07_2018).mp4
https://gounlimited.to/6gkznj4r3j74
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https://gounlimited.to/6h5hmc80j4fc/Lenina_Crowne,_Dick_Dixxon_-_Lenina_Gets_A_Workout_-
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https://gounlimited.to/6ha66yvvyx0y
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https://gounlimited.to/6i6a83ypt7tq/Sneaky_Sex___Realitykings_-
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https://gounlimited.to/6lgktlsq9m1b/Lydia.Black.Public.Agent.POV.mp4
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https://gounlimited.to/6li40equioza/www.0xxx.ws_DigitalPlayground.20.06.15.Bridgette.B.And.Aubree.Valent
ine.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/6lko6ijbvquj/BigWetButts_-_Remy_LaCroix_-_Remy's_Ring_Toss_Remastered.mp4
https://gounlimited.to/6ltm55wj1jie/RKPrime.20.06.08.Luna.Star.Fuck.My.Girl.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/6m351hsk1yys/www.0xxx.ws_RKPrime.20.06.08.Luna.Star.Fuck.My.Girl.XXX.1080p.
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https://gounlimited.to/6o5z5k80n4gj
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https://gounlimited.to/6q13xnfmc27a/Sneakysex.20.06.01.Gabriela.Lopez.Family.Road.Trip.Dick.XXX.1080p.
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https://gounlimited.to/6r7xg2job810
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https://gounlimited.to/6syv7mnhnz9j/BrazzersExxtra_Best_Of_Brazzers_ALLWAYSWELL.mp4
https://gounlimited.to/6tcxfxwxnxg3/RKPrime_Nicolette_Shea_.mp4
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https://gounlimited.to/6tno7ik54raf/Portia_Paris_-_Blonde_With_Big_Boobs_Gets_Facial_-
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https://gounlimited.to/6y3qpzv60dz6/[DaneJones]_Kaisa_Nord_(Isolation_self_love_and_anal_play_/_06.04.2
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https://gounlimited.to/6ynhdqy8d10w/Www.brazzersbox.in_blackmeatwhitefeet.20.06.13.elsa.jean.mp4
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https://gounlimited.to/6zjofxixc7lj/Alex_Blake,_Scarlit_Scandal_-
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https://gounlimited.to/6zoev35j2tl5/DaneJones_presents_-_Creampies_Compilation___07.06.2020.mp4
https://gounlimited.to/704wbigqcc9s/Mia_Rose,_George_Uhl_-_4_Loads_Of_Spunk_For_Teen_-_Fake_Taxi_-
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https://gounlimited.to/70uh9c3oxk9y
https://gounlimited.to/71jk8hxdu7mt/DaneJones.20.06.09.Alexis.Crystal.XXX.1080p.mp4
https://gounlimited.to/71u8rcij8qyu/Trueamateurs.20.05.29.Aila.Donovan.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/71z6bxctpbdq/FakeTaxi.20.06.05.Romy.Indy.XXX.1080p.mp4
https://gounlimited.to/72p8duidynbl/DayWithAPornstar.20.05.31.Kenzie.Taylor.Kenzie.Chooses.Dick.Over.Di
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https://gounlimited.to/72qwjui9198e
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https://gounlimited.to/734nm1bcyjki/[Public_Agent]_Lydia_Black:_The_Pre-Lockdown_Fuck.mp4
https://gounlimited.to/736tth8f3mtq/[PornstarsLikeItBig]_Casca_Akashova_(All_Dolled_Up_Beauty_Queen_E
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.MP4-KTR.mp4
https://gounlimited.to/73hvu4v5qafi
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https://gounlimited.to/741jqf9dpudm/PublicAgent_Alexis_B_ALLWAYSWELL.mp4
https://gounlimited.to/7460fkb9snsa
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https://gounlimited.to/74c8gza2ov3n/BrazzersExxtra_-_Madison_Ivy_And_Kendra_Sunderland_-
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https://gounlimited.to/74dz9e9jj771
https://gounlimited.to/74g0ieziauvx/Joanna-Angel-Brazzers-Getting-Joanna-Out-Of-The-Shower-2020-06-
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080p.MP4-TRASHBIN.mp4
https://gounlimited.to/74mj4aufgr6i/FakeTaxi.20.06.15.Nathaly.Cherie.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/751r97ifoiz1/Www.brazzersbox.in_TheRealWorkout.20.06.05.Kiara.Edwards.Eighties.C
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https://gounlimited.to/75g37d01g8dh
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NESE.XXX.1080p.MP4-TRASHBIN.mp4
https://gounlimited.to/76966g67jamr
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.MP4-KTR.mp4
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https://gounlimited.to/77ce1d7vnz6l/Www.brazzersbox.in_BBCParadise.20.06.01.Alex.Chance.Car.Trouble.X
XX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/785j89m5k2my/[Day_With_A_Pornstar]_Rebecca_More_-
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https://gounlimited.to/788zi9u1tpxt
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https://gounlimited.to/78apiurrgluy/www.0xxx.ws_DirtyMasseur.20.06.06.Luna.Star.Honeymoon.Rubdown.X
XX.1080p.MP4-KTR.mp4
https://gounlimited.to/78imh1mfvxxt/bex.20.05.22.best.of.brazzers.ava.addams.mp4
https://gounlimited.to/78lmxra5l99s/[HotAndMean]_Bridgette_B,_Kiara_Cole_(Fucking_Fight_Me_/_06.03.20
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https://gounlimited.to/78p4b3d5dfws
https://gounlimited.to/78wc62750i1v/Alessandra_Jane,_Anastasia_Doll_-_A_Hot_And_Mean_Proposition_-
_Hot_And_Mean_-_Brazzers.mp4
https://gounlimited.to/78xe37ccdlql/Twistys_-_Vina_Sky_-_Not_A_Cloud_In_The_Sky.mp4
https://gounlimited.to/79aj87kobhnc
https://gounlimited.to/79h4vxpkjsoz/www.0xxx.ws_RKPrime.20.06.16.Anya.Ivy.One.Day.Fare.XXX.1080p.M
P4-KTR.mp4
https://gounlimited.to/79m4ntohm5jc/[RKPrime]_Bailey_Brooke_(Surprised_By_The_Big_Package_/_06.07.2
020).mp4
https://gounlimited.to/79t3wxrzqrmj/Massage_Mutiny_-_Aften_Opal_-_TeensLoveHugeCocks_-
_RealityKings.mp4
https://gounlimited.to/7ahyk755rziy/Mofos.Martina.Smeraldi.11.6.2020.1080p.mp4
https://gounlimited.to/7aitrctxpp9x/RKPrime.20.06.01.Asia.Rae.Boyfriend.Snatcher.XXX.1080p.MP4-
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https://gounlimited.to/7aofwe2i676k
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https://gounlimited.to/7bu67abrgsuv/Victoria_Summers,_Danny_D_-_The_Very_Last_Fuck_Ever_-
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https://gounlimited.to/7c7yz7drjiu8
https://gounlimited.to/7c7yz7drjiu8/DayWithAPornstar_Whitney_Wright.mp4
https://gounlimited.to/7cwww8kr7ick/[RKPrime]_Rosalyn_Sphinx,_Kylie_Kingston_(Sit_On_It_/_06.07.2020)
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https://gounlimited.to/7cy6l3hjrjgi/SneakySex.20.06.01.Gabriela.Lopez.Family.Road.Trip.Dick.XXX.1080p.M
P4-KTR.mp4
https://gounlimited.to/7d5if9r30vdn/Look_At_Her_Now_-_Brooklyn_Gray_Climb_That_Dick.mp4
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https://gounlimited.to/7ez665fb0lks/Angela_White,_Rob_Piper_-_Angela_White_vs_Rob_Piper_-
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https://gounlimited.to/7f4gp8wjw2m3/www.0xxx.ws_PervMom.20.05.30.Havana.Bleu.Rekindling.With.Stepm
om.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/7f9kbwis78zi/Nadia_Jay,_Lala_Ivey,_Will_Pounder_-_Girlfriend_Meets_Side_Chick_-
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https://gounlimited.to/7g2wxeqjfisq/DigitalPlayground_presents_Vanessa_Sky_-
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https://gounlimited.to/7g6gvhx3teqn/Nicolette_Shea,_Jordi_El_Nino_Polla_-_ZZ_Kenfucky_Derby_-
_Real_Wife_Stories_-_Brazzers.mp4
https://gounlimited.to/7gcf1i445amy/[LilHumpers]_Alexis_Fawx_(Lil_Jailbird_/_06.11.2020).mp4
https://gounlimited.to/7gdc9xq6hkyj/A_Cock_For_Your_Thots_-_Aidra_Fox_-_RKPrime_-_RealityKings.mp4
https://gounlimited.to/7gqnxoo6gk9d
https://gounlimited.to/7gr9fhmsj5sy/_FakeTaxi_Mia_Rose.mp4
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https://gounlimited.to/7jp54a4gl91q/www.0xxx.ws_BrazzersExxtra.20.06.09.Best.Of.Brazzers.Sharing.Stepsibl
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https://gounlimited.to/7ke255gbf5lf/Day_WithAPornstar_Anny_ALLWAYSWELL.mp4
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https://gounlimited.to/7liypofuhgow/Big_Wet_Butts.20.06.16.Angela.White.Jean.Queen.XXX.1080p.mp4
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0p.MP4-KTR.mp4
https://gounlimited.to/7mwfvqgogj4r/[RKDupes]_Candice_Dare_(Lesbehonest_Part_2_/_06.05.2020).mp4
https://gounlimited.to/7mxgvsl4lccs/[RKPrime]_Kira_Queen,_Aruna_Aghora_-
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https://gounlimited.to/7o2ju6ehw0ok/ZZSeries_-_Brazzers_House_3_Episode_2_(25_09_2018).mp4
https://gounlimited.to/7ouxhk4pzc3j/Madison.Ivy.and.Kendra.Sunderland.Bodacious.Bikini.Threesome.Brazzer
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https://gounlimited.to/7p6e8bfl80ub/Digitalplayground.20.06.01.Vanessa.Sky.Falling.From.Grace.Part.3.XXX.
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https://gounlimited.to/7pfgfbcsasgj/www.0xxx.ws_GirlsGonePink.20.06.08.Aidra.Fox.And.Desiree.Dulce.Pran
k.Wars.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/7pk3ow46otkk
https://gounlimited.to/7pqovku67a0h/Brazzers_Exxtra_Nikki_Benz_Danny_ALLWAYSWELL.mp4
https://gounlimited.to/7q3x5qqn7by9/www.0xxx.ws_FakeTaxi.20.06.01.Mia.Rose.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/7q9b7pk39jw8
https://gounlimited.to/7r46gdwyekx7/Www.brazzersbox.in_blacksonblondes.20.06.09.febby.twigs.and.zoe.spar
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https://gounlimited.to/7rc0bmd2yhou/[PervsOnPatrol]_Kiara_Edwards_(Pervy_Yoga_Spy_/_05.31.2020).mp4
https://gounlimited.to/7rncr52rscsb/Www.brazzersbox.in_PornstarsLikeItBig.20.06.10.Casca.Akashova.All.Dol
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https://gounlimited.to/7s7err80iwgt/BrazzersExxtra.20.06.05.Best.Of.Brazzers.First.Anals.XXX.SD.MP4-
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https://gounlimited.to/7sfq3qkuo6o6
https://gounlimited.to/7sk467kns3rt/Day_With_A_Pornstar.20.06.11.Siouxsie.Q.Anal.Kitchen.Cleaning.XXX.1
080p.mp4
https://gounlimited.to/7sz73tokzdsa
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https://gounlimited.to/7urzqyyfheag
https://gounlimited.to/7v5p7gx8rnmx/Cassidy_Klein_&_Isis_Love_&_Jenna_Ivory_&_Karma_Rx_&_Kiara_
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https://gounlimited.to/7vqwl5c25gd2/PublicAgent_presents_Lydia_Black_-_The_Pre-
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https://gounlimited.to/7vtxpuz129ke/BrazzersExxtra.20.06.02.Best.Of.Brazzers.Sneakiest.Moments.XXX.1080
p.MP4-KTR.mp4
https://gounlimited.to/7wfoox4m8f83/Best_Of_Brazzers__Sneakiest_Moments_Ariella_Ferrera,.mp4
https://gounlimited.to/7wnwr0nwk387
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https://gounlimited.to/7xhru2kgj9rq
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https://gounlimited.to/7zp9fa4hceyt/brazzersexxtra-best-of-brazzers-anal-extravaganza.mp4
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https://gounlimited.to/7zthkygnabau/publicagent.20.06.03.lydia.black.mp4
https://gounlimited.to/8033mvpyu7t9/Abella_Danger,_Manuel_Ferrara_-_His_Hands_Are_Tied_-
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https://gounlimited.to/8092tmxxlhfn/[FakehubOriginals]_Eva_Elfie_(Solo_/_06.12.2020).mp4
https://gounlimited.to/80rpgmatpitn/www.0xxx.ws_MofosBSides.20.06.02.Lexie.Fux.Porn.Pleasure.XXX.1080
p.MP4-KTR.mp4
https://gounlimited.to/81fdzfmf61dr/FakeTaxi.20.06.01.Mia.Rose.XXX.1080p.MP4-KTR.mp4
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https://gounlimited.to/82kux0qbuuug/RealityKings_-
_RKPrime_presents_Angela_White_vs_Rob_Piper___09.06.2020.mp4
https://gounlimited.to/82p8ev3fl5y1/[LilHumpers]_Alexis_Fawx_(Lil_Jailbird_/_06.11.2020).mp4

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https://gounlimited.to/82pzkt8cddrc/Nicolette_Shea,_Jordi_El_Nino_Polla_-_ZZ_Kenfucky_Derby_-
_Real_Wife_Stories_-_Brazzers.mp4
https://gounlimited.to/836wg4b2xac5/FakeTaxi_-_Mia_Rose_-_4_Loads_of_Spunk_for_Teen.mp4
https://gounlimited.to/83jrzlnc57df/PornstarsLikeItBig.20.06.10.Casca.Akashova.All.Dolled.Up.Beauty.Queen.
Edition.XXX.SD.MP4-.mp4
https://gounlimited.to/83pm0l29lbj5
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X.1080p.MP4-KTR.mp4
https://gounlimited.to/840nehofdmqp/_PervsOnPatrol_Paige_Owens_.mp4
https://gounlimited.to/84n7szwzvma1/Www.brazzersbox.in_cucked.20.06.15.alix.lynx.so.you.like.watching.oth
er.people.fuck.mp4
https://gounlimited.to/84u5ohm4bb6p/www.0xxx.ws_BrazzersExxtra.20.05.15.Best.Of.Brazzers.Squirt.Fest.X
XX.1080p.MP4-KTR.mp4
https://gounlimited.to/851xr0b7q4o4/IKnowThatGirl.20.05.20.Nella.Jones.The.Interview.XXX.SD.MP4-.mp4
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XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/85u8id3mjzss/www.0xxx.ws_DontBreakMe.20.06.05.Pamela.Morrison.Breaking.Pamela
.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/86lt79x3hcau/www.0xxx.ws_PervsOnPatrol.20.05.31.Kiara.Edwards.Pervy.Yoga.Spy.X
XX.1080p.MP4-KTR.mp4
https://gounlimited.to/86y7e8dabm9b/Www.brazzersbox.in_MylfXJoyBear.20.06.16.Jasmine.Jae.Box.XXX.SD
.MP4-KLEENEX.mp4
https://gounlimited.to/877rdyv74md3/Peta_Jensen_-_Best_Of_Brazzers:_Peta_Jensen.mp4
https://gounlimited.to/877rir2mumyn
https://gounlimited.to/87yi74zy247p/Pervmom.20.05.30.Havana.Bleu.Rekindling.with.Stepmom.XXX.1080p.
MP4-KTR.mp4
https://gounlimited.to/87yw4gevtefm
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https://gounlimited.to/889x0ndb193f/HotAndMean.20.06.03.Bridgette.B.And.Kiara.Cole.Fucking.Fight.Me.XX
X.1080p.mp4
https://gounlimited.to/88f8vnt449l0/Trueamateurs_-_Hayliexo_[720p_HD].mp4
https://gounlimited.to/89agj1az386p
https://gounlimited.to/89beqti3s87z/Share_My_BF.20.06.14.Nadia.Jay.Lala.Ivey.1080p.mp4
https://gounlimited.to/89ip17pp78yf/RKPrime.20.05.31.Bae.Egypt.Desperately.Seeking.Panties.XXX.SD.MP4-
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https://gounlimited.to/8a0aft71cee7/Lil_Humpers_Aubrey_Black_ALLWAYSWELL.mp4
https://gounlimited.to/8a43vhkgp5nk/BigWetButts.20.05.29.Keira.Croft.Keiras.Ass.Craves.Cock.mp4
https://gounlimited.to/8a8om34p8qvj
https://gounlimited.to/8airx70m603h/Bridgette-B-Brazzers-Fucking-Fight-Me-2020-06-03.mp4
https://gounlimited.to/8b41n7w8zpbq/Lacy_Lennon_%E2%80%93_Operatic_Warm_Up_%E2%80%93_Look
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https://gounlimited.to/8bd9h9e13ym7/rkprime.20.05.30.kira.queen.and.aruna.aghora.threesome.mp4
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https://gounlimited.to/8byrwcbabw7v/[PervsOnPatrol]_Kiara_Edwards_(Pervy_Yoga_Spy_/_05.31.2020).mp4
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https://gounlimited.to/8dcdrfhju31u/Realitykings_-
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https://gounlimited.to/8dug8wf5ud8k/[Twistys]_Dakota_(On_Display_/_06.08.2020).mp4
https://gounlimited.to/8dvc0zovmcpt/rkprime.20.05.31.bae.egypt.desperately.seeking.panties.mp4
https://gounlimited.to/8f0ph4jne749/MomsInControl_Alexis_Fawx_.mp4
https://gounlimited.to/8f42wg2ekl3p/Trueamateurs.20.06.01.Mia.Bandini.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/8f8zyl0jvgjt/ALL_DOLLED_UP.mp4
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https://gounlimited.to/8fxc7wbm8s87/GirlsGonePink_presents_Lilu_Moon__Mia_Bandini_-
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https://gounlimited.to/8gfhz0bpcfng/www.0xxx.ws_DaneJones.20.06.11.Alina.Crystall.XXX.1080p.MP4-
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https://gounlimited.to/8ghi400jbmm9
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https://gounlimited.to/8iwkyqbatrlb/Www.brazzersbox.in_ClubSeventeen.20.05.29.Candy.Teen.Hardcore.XXX
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https://gounlimited.to/8j058gcz58c8/[DayWithAPornstar]_Rebecca_More_(Rebecca's_Shower_Time_Fun_/_0
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https://gounlimited.to/8jao0w821fd0/Jayden-Starr-Brazzers-Surprise-Bathtub-Banging-2020-06-24.mp4
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https://gounlimited.to/8kpzg6rstlh8/Sneak,_Peek_and_Fuck_-_Alexis_Fawx,_Aubree_Valentine_-
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https://gounlimited.to/8kqd4egbee5e/Fake_Taxi_In_Spain_With_Petite_Babe_-_Scarlet_-_FakeTaxi_-
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https://gounlimited.to/8lpr9yt04v45/www.0xxx.ws_GirlsGonePink.20.06.08.Aidra.Fox.And.Desiree.Dulce.Pran
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https://gounlimited.to/8lqfsxzkoeoi/RKPrime.20.06.03.Bridgette.B.The.Pornstar.Experience.XXX.1080p.MP4-
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https://gounlimited.to/8mlqtswz49vl/DayWithAPornstar.20.06.11.Siouxsie.Q.Anal.Kitchen.Cleaning.XXX.108
0p.mp4
https://gounlimited.to/8mns8npj98yc
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KTR.mp4
https://gounlimited.to/8n5y8y0n5myn/HotAndMean_-_Bridgette_B,_Kiara_Cole_-_Fucking_Fight_Me.mp4
https://gounlimited.to/8ngudthdrev5/BigWetButts.20.06.16.Angela.White.Jean.Queen.XXX.1080p.MP4-
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https://gounlimited.to/8nnw6liykx6u/www.0xxx.ws_TeensLoveHugeCocks.20.06.08.Vina.Sky.Anal.In.The.Sun
.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/8oczft8jjk75
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https://gounlimited.to/8pbg3u5atqrm/RKPrime.-.Bridgette.B.The.Pornstar.Experience.-.Reality.Kings.mp4
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https://gounlimited.to/8sw2ch9zveiv
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https://gounlimited.to/8upj6cpk60pn/Kira_Noir,_Luna_Star,_Xander_Corvus_-_Group_Pers-Anal_Training_-
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https://gounlimited.to/8uq0m19ecupk/Angela_White-Jean_Queen-Brazzers.mp4
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https://gounlimited.to/8vtnq503aa0m/Massage_Mutiny_-_Aften_Opal_-_TeensLoveHugeCocks_-
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https://gounlimited.to/8y44jgr6lhfh/FakeHubOriginals_Canela_SkinALLWAYSWELL.mp4
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https://gounlimited.to/90acq0rnphtt/TransAngels_presents_Daisy_Taylor_Bitch_Craft_Part_1___05.06.2020.m
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https://gounlimited.to/90xviwtx31pb/RKDupes_-_Lesbehonest_-_Part_2.mp4
https://gounlimited.to/91m9capip0xw/www.0xxx.ws_DaneJones.20.06.07.Best.Of.Creampies.XXX.1080p.MP4
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https://gounlimited.to/91w2cf6vyk6f/[LilHumpers]_Alexis_Fawx_(Lil_Jailbird_/_06.11.2020).mp4
https://gounlimited.to/91wiybg8joh3/Fake_Taxi_-_Mia_Rose.mp4
https://gounlimited.to/9243p74ttual/DaneJones.20.06.11.Alina.Crystall.XXX.1080p.mp4
https://gounlimited.to/92g44xu18mww/Telegram_@getnewlink_dani_daniels_Naughty_Nurse_Horny_Housew
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https://gounlimited.to/92ppamz1cpdh/Big_Tits_at_Work_Romi_Rain_Work_Hard_Fuck_Harder.mp4
https://gounlimited.to/92ulsbzolvk8
https://gounlimited.to/92v4rj5ixcmq/BigWetButts.20.05.31.Kagney.Linn.Karter.Anally.Reamed.In.Her.Jeans.X
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https://gounlimited.to/92wtobtdzwwi/[Twistys]_Dakota_(On_Display_/_06.08.2020).mp4
https://gounlimited.to/92yvl4miwn4w/Rkprime.20.06.16.Anya.Ivy.One.Day.Fare.XXX.1080p.MP4-KTR.mp4
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https://gounlimited.to/93r264haptzz/Www.brazzersbox.in_spyfam.20.06.07.bella.rose.sugar.bunny.creep.mp4
https://gounlimited.to/940c0hpkh63p/RK_Prime_-_Asia_Rae.mp4
https://gounlimited.to/94nus7per6lf
https://gounlimited.to/94p7exb7gq0b/Martina_Smeraldi,_Jordi_-_New_Study_Buddies_-_Public_Pickups_-
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https://gounlimited.to/953f5sg541l1
https://gounlimited.to/95ly62nya3z2/Best_Of_Brazzers_-_Nurse_Appreciation_Day_-_Brazzers_Exxtra_-
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https://gounlimited.to/971mfon8fuoj/Brazzers_-_BigWetButts_presents_Kagney_Linn_Karter_-
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https://gounlimited.to/977m7o6ehgp0/www.0xxx.ws_RKPrime.20.06.16.Anya.Ivy.One.Day.Fare.XXX.1080p.
MP4-KTR.mp4
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https://gounlimited.to/9929dnrnz9kx/Brazzers_-
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https://gounlimited.to/99e27rniy3f8
https://gounlimited.to/9a0jbe7glaft/Hot_And_Mean_Lela_Star_ALLWAYSWELL.mp4
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https://gounlimited.to/9bhfruj76ovg/www.0xxx.ws_RKDupes.20.06.09.Meter.Maid.XXX.INTERNAL.1080p.
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https://gounlimited.to/9bt4s7r1qjuw/RKDupes.20.06.16.Pedicure.Her.XXX.MP4-SDCLiP.mp4
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https://gounlimited.to/9ctqyv1n7f7f/[Twistys]_Sabina_Rouge_(Naked_Yoga_With_Sabina_Rouge_/_06.06.202
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https://gounlimited.to/9d27ywdh5pyn/Mofos.Scarlit.Scandal.17.6.2020.1080p.mp4
https://gounlimited.to/9d57w8kmdgur/BigWetButts.20.05.31.Kagney.Linn.Karter.Anally.Reamed.In.Her.Jeans.
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https://gounlimited.to/9dasc40fejky/Ashley.Fires.Sock.My.Cock.BigButtsLikeItBig.anal.mp4
https://gounlimited.to/9dmj858bogqv/www.0xxx.ws_RealWifeStories.20.05.21.Nicolette.Shea.Im.Not.Cheating
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https://gounlimited.to/9ef7zg13sddq/[FakeTaxi]_Mia_Rose_(4_Loads_of_Spunk_for_Teen_/_06.01.2020).mp4
https://gounlimited.to/9efao01als5j/Best_Of_Brazzers_-_Ava_Addams_-_Brazzers_Exxtra_-_Brazzers.mp4
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https://gounlimited.to/9f7ekaatatrq/Keira.Croft.Keiras.Ass.Craves.Cock.BigWetButts.anal.mp4
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KLEENEX.mp4
https://gounlimited.to/9fjv8ythzt9s/Vyvan_Hill,_Alexis_Crystal,_Claudia_Bavel,_Melody_Petite,_Angel_Wick
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https://gounlimited.to/9flhyyjfagtf
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https://gounlimited.to/9ivuokh2kh9t/brazzerspremium.xyz_Natasha_Malkova_Fucks_Friends_Brother.mp4
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https://gounlimited.to/9jyk3z24tfsr/www.0xxx.ws_BrazzersExxtra.20.06.12.Abella.Danger.And.Kira.Noir.Maid
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https://gounlimited.to/9ln2ykqku735
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MP4-KTR.mp4
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https://gounlimited.to/9q27wl0cossc/Romi_Rain,_Scott_Nails_-_She_Slithers_-_Brazzers_Exxtra_-
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https://gounlimited.to/9qj88ynni9ut
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https://gounlimited.to/9sp6qrdbgf6e
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https://gounlimited.to/9urt4hbfvwva/BigWetButts_-_Kagney_Linn_Karter_-
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https://gounlimited.to/9xwzn8svjzqk/_ElegantAnal_Ana_Foxxx_.mp4
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XX.1080p.MP4-KTR.mp4
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https://gounlimited.to/ald7rl69r1jc/Share_My_BF_-_Nadia_Jay_&_Lala_Ivey_-
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https://gounlimited.to/az313gtw8wm0
https://gounlimited.to/az313gtw8wm0/I_Know_That_Girl_Kiara_Cole_ALLWAYSWELL.mp4
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https://gounlimited.to/azl7w8eb8o8g/www.0xxx.ws_Twistys.20.06.08.Dakota.On.Display.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/b03j0sug7fzr/rkprime.20.06.04.nicolette.shea.big.dick.energy.mp4
https://gounlimited.to/b0vgrvti9663/[BrazzersExxtra]_Madison_Ivy,_Kendra_Sunderland_(Bodacious_Bikini_
Threesome_/_06.08.2020).mp4
https://gounlimited.to/b0vsxeltcvzo/Telegram_@getnewlink_dani_daniels_My_Husbands_Mistress-
_Part_Two_-_BRAZZERS.mp4
https://gounlimited.to/b0xialisak0f/Brazzersexxtra.20.05.29.Best.of.Brazzers.Peta.Jensen.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/b153vkaywbui/Www.brazzersbox.in_Private.20.06.10.Polina.Maxim.Debuts.In.Interracia
l.DP.Threesome.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/b1al4enntc6p/RealityKings_-
_WeLiveTogether_presents_Emily_Willis__Scarlett_Bloom__Liv_Wild_-
_Color_Me_Horny___10.06.2020.mp4
https://gounlimited.to/b1d07r81e8pt
https://gounlimited.to/b1x2klkw7bq6/Alive_Bell_-_Tiny_Russian_Curbside_Pickup.mp4
https://gounlimited.to/b1zn0u6d3poo/RKPrime.-.Bae.Egypt.Desperately.Seeking.Panties.-.Reality.kings.mp4
https://gounlimited.to/b26q19fsc69h
https://gounlimited.to/b26q19fsc69h/Chanel_Preston_&_Kristina_Rose_&_Phoenix_Marie_%E2%80%93_Bra
zzers_New_Years_Eve_Party.mp4
https://gounlimited.to/b2jjzw14g38r/RKPrime_Rosalyn_Sphinx.mp4
https://gounlimited.to/b2kvxwxpowp5/Look_At_Her_Now_-_Edible_Aubrey_-_Meter_Maid.mp4
https://gounlimited.to/b2mjwazsy61b/WLT_S01E03_Bonding_Time_-_We_Live_Together_-
_Reality_Kings.mp4
https://gounlimited.to/b33etjvktcmm/Fakehuboriginals.20.06.08.Best.of.Cosplay.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/b3kd5eo87tqv/Wild_Sky___Reality_Kings_-_XxxFiles.com.mp4
https://gounlimited.to/b4ecw089tmq3/DoctorAdventures_-_Alina_Lopez_-
_Pumping_Under_Pressure_(30_04_2018).mp4
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D.MP4-KLEENEX.mp4
https://gounlimited.to/b4pczolr7zt5/Www.brazzersbox.in_DDFBusty.20.06.03.Angel.Wicky.Busty.Blonde.Ord
ers.BBC.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/b4vcjemqfdz6/Www.brazzersbox.in_ModelTime.20.06.03.September.Reign.Septembers.
Anal.Experiment.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/b547ylf53rr8/www.0xxx.ws_DayWithAPornstar.20.05.31.Kenzie.Taylor.Kenzie.Chooses
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https://gounlimited.to/b5dnk145wyz8
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https://gounlimited.to/b689tiwf0hjw/[BrazzersExxtra]_Abella_Danger,_Kira_Noir_(Maid_For_A_Threesome_/
_06.12.2020).mp4
https://gounlimited.to/b78smrse4axa/Teenslovehugecocks.20.06.08.Vina.Sky.Anal.in.the.Sun.XXX.1080p.MP4
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https://gounlimited.to/b7e96wavi3fx/Www.brazzersbox.in_TeamSkeetExtras.20.06.08.Samantha.Rone.Sun.Bea
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https://gounlimited.to/b7vwx91xivbb/Telegram_@getnewlink_dani_daniels_Lets_Get_Facials_2_-
_BRAZZERS.mp4
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https://gounlimited.to/b8cmfh69wod8/[LookAtHerNow]_Candice_Dare_-
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_Intimate_Love_With_Gorgeous_Russian_-_Dane_Jones_-_SexyHub.mp4
https://gounlimited.to/b8skmoy031b4/SneakySex.20.06.01.Gabriela.Lopez.Family.Road.Trip.Dick.XXX.1080p
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https://gounlimited.to/b8v01afk9h8g/[BrazzersExxtra]_Best_Of_Brazzers_Sharing_Stepsiblings_(06.09.2020).
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https://gounlimited.to/b8zmyr5vrzw1/Www.brazzersbox.in_TeamSkeetSelects.20.06.07.Best.Of.Threesomes.C
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https://gounlimited.to/bbsfc0l7ptw3/Brazzers_-_BrazzersExxtra_presents_Aubree_Valentine_-
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https://gounlimited.to/bcvbfrafwsjk
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https://gounlimited.to/bd7ikxdq6dzs/WhenGirlsPlay_Luna_Star_ALLWAYSWELL.MP4-KTR.mp4
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https://gounlimited.to/bdnam1wrz2zj/Aften.Opal.Massage.Mutiny.TeensLoveHugeCocks.massage.mp4
https://gounlimited.to/bdomad5779i1/[PornstarsLikeItBig]_Casca_Akashova_(All_Dolled_Up_Beauty_Queen_
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https://gounlimited.to/bdup0rcru5t0/[RKPrime]_Abella_Danger_-
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https://gounlimited.to/bdwuxm2r8kms/1080.mp4
https://gounlimited.to/bedk0ypdoqv0/RKPrime.20.06.01.Asia.Rae.Boyfriend.Snatcher.XXX.SD.MP4-
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https://gounlimited.to/bes7sjqsppxu
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https://gounlimited.to/bf64brqp5ary/Www.brazzersbox.in_PetiteHDPorn.20.06.08.Lottie.Magne.Tiny.Girlfrien
d.Loves.To.Fuck.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/bfknxqjdcyzu/www.0xxx.ws_RKPrime.20.06.08.Luna.Star.Fuck.My.Girl.XXX.1080p.M
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A.Workout.XXX.1080p.MP4-KTR.mp4

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https://gounlimited.to/bhvymij7gmsp/[SneakySex]_Gabriela_Lopez:_Family_Road_Trip_Dick_PervyVideos.co
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https://gounlimited.to/bi93875ko2k9/[RKPrime]_Jane_Wilde,_Emily_Willis_(Face-To-
Face_/_06.11.2020).mp4
https://gounlimited.to/bj19dc4t7g1j/FakehubOriginals.20.06.08.Best.Of.Cosplay.XXX.SD.MP4-
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X.SD.MP4-KLEENEX.mp4
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.In.Her.Jeans.XXX.1080p.MP4-KTR.mp4
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https://gounlimited.to/bltka3kj9pqj/BrazzersExxtra_-_Lela_Star_Pays_Her_Dues_(27_06_2018).mp4
https://gounlimited.to/bm4n3bfl8bj0/LilHumpers_-_Alexis_Fawx_-_Lil_Jailbird.mp4
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https://gounlimited.to/bn8ei17iqtw0/Www.brazzersbox.in_Blacked_-_Natalia_Starr_-_Up_For_Anything.mp4
https://gounlimited.to/bo2ltlatv8nc/MomXXX_-_Florane_Russell_-
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https://gounlimited.to/booirkr1fe8b/Sizing_Up_-_Azul_Hermosa_-_SneakySex_-_RealityKings.mp4
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Meets.Side.Chick.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/bqa79kog92g0
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P4-KLEENEX.mp4
https://gounlimited.to/bqb3o76xcrnb/[WeLiveTogether]_Lily_Rader,_Zoey_Taylor_(Poolside_/_06.03.2020).m
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https://gounlimited.to/bqyffsexs14n/Www.brazzersbox.in_Private.20.05.30.Martina.Smeraldi.Juicy.Ass.Teen.E
njoys.Hard.Anal.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/brgak5pd9lbl/TeensLikeItBig_-_Jade_Kush_-
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https://gounlimited.to/brwm05bfcid7/www.0xxx.ws_BrazzersExxtra.20.06.04.Aubree.Valentine.Soaking.Wet.
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https://gounlimited.to/bs41kzpiq5z2/Www.brazzersbox.in_DaneJones.20.06.09.Alexis.Crystal.XXX.SD.MP4-
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https://gounlimited.to/bsbf4my15hxp/www.0xxx.ws_RKDupes.20.06.16.Pedicure.Her.XXX.INTERNAL.1080
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https://gounlimited.to/bsr9bowgtfup
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https://gounlimited.to/bssy3s4v8x4z/720_(2).mp4
https://gounlimited.to/bt11me82090r/_MassageRooms_Sofia_Lee_ALLWAYSWELL.mp4
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XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/bt7sofkmt49x/Teenslovehugecocks.20.06.10.Dolly.Little.A.Little.Love.XXX.1080p.MP4
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https://gounlimited.to/btbwzylvtoen/[JulesJordan]_Skylar_Vox_(19_Year_Old_Teen_Skylar_Vox_Shows_Off_
Her_34_DD_Big_Naturals_/_06.01.2020).mp4
https://gounlimited.to/btgm7r98joaj/Maserati,_Markus_Dupree_-
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https://gounlimited.to/btj5ltja8d35/MofosBSides_Lexie_Fux_.mp4
https://gounlimited.to/btu8795panjv/RealityKings.20.04.20.Quinton.James.Gabbie.Carter.I.Fucked.Your.Boyfri
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lings.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/bu45g4lu26qd/faketaxi.20.06.05.romy.indy.mp4
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https://gounlimited.to/buo2rjmxu6fb
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https://gounlimited.to/buyvoyhju68x/[DayWithAPornstar]_Rebecca_More_(Rebecca's_Shower_Time_Fun_/_0
6.07.2020).mp4
https://gounlimited.to/bv3ijk3oqroe/_BrazzersExxtra_Desiree_Dulce_.mp4
https://gounlimited.to/bvl4aqx5oaf4/[BrazzersExxtra]_Aubree_Valentine_(Soaking_Wet_And_Fully_Satisfied_
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https://gounlimited.to/bxel5bu9e6en/[BrazzersExxtra]_Aubree_Valentine_(Soaking_Wet_And_Fully_Satisfied
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https://gounlimited.to/bxn8aju3lary/leolulu-trueamateurs-11-06-19.mp4
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https://gounlimited.to/bxvgghhd8jyk/Abella_Danger,_Chad_White_-_Bright_Booty_-_Monster_Curves_-
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https://gounlimited.to/by069iozzywy/Www.brazzersbox.in_TeamSkeetXCamSoda.20.06.04.Alexis.Monroe.Un
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https://gounlimited.to/byw2fp4ucw6k
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https://gounlimited.to/c2e59s8he3dg/Www.brazzersbox.in_Hustler.20.06.04.Anissa.Kate.XXX.SD.MP4-
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https://gounlimited.to/c2pegwyf2v8d/Dont.Break.Me.-.Pamela.Morrison.Breaking.Pamela.-.Mofos.mp4
https://gounlimited.to/c3ekygpctykr
https://gounlimited.to/c3o4whwvu6df
https://gounlimited.to/c3qni6dzw0gu/Phoenix.Marie.Feeling.Up.Phoenix.DayWithAPornstar.bigtits.mp4
https://gounlimited.to/c3tq1t27xur3/_Twistys_Sabina_Rouge_.mp4
https://gounlimited.to/c45z2ihyigq0/Www.brazzersbox.in_PervsOnPatrol.20.05.31.Kiara.Edwards.Pervy.Yoga.
Spy.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/c4l0ib7fk16d/Brazzers_Live_ALLWAYSWELL.mp4
https://gounlimited.to/c4l89eujl0zo/www.0xxx.ws_BrazzersExxtra.20.06.05.Best.Of.Brazzers.First.Anals.XXX.
1080p.MP4-KTR.mp4
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https://gounlimited.to/c56mcy4xu0hn/[Girls_Gone_Pink]_Aidra_Fox,_Desiree_Dulce:_Prank_Wars_(PervyVid
eos.com).mp4
https://gounlimited.to/c5phqi5svuq6/_BigButtsLikeItBig_Abella_Danger_.mp4
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https://gounlimited.to/c82uke595w9t/RealityKings_-_Abigail_Mac,_Adriana_Chechik_-
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https://gounlimited.to/c8f5k4eltjp4/[TeensLoveHugeCocks]_Vina_Sky_(Anal_In_The_Sun_/_06.08.2020).mp4
https://gounlimited.to/c8mql5tl7i06/_FakeTaxi_Romy_Indy_05.06.2020.mp4
https://gounlimited.to/c8tmhv36z2zy/twistys.20.05.25.maria.fun.in.the.sun.mp4
https://gounlimited.to/c94fz2yvdm8o/TrueAmateurs.20.05.29.Aila.Donovan.XXX.SD.MP4-.mp4
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https://gounlimited.to/c955rfwmgzr3/RKPrime_One_Day_Fare_Anya_Ivy,_Damon_Dice_16.06.2020.mp4
https://gounlimited.to/c9j0jawo0mre
https://gounlimited.to/c9skhzhdx8v3/DaneJones.20.06.16.Jenny.Wild.Solo.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/c9tnneogcmcj/Nicolette_Shea,_Tyler_Nixon_-_The_Dick_Pic_Trick_-
_Brazzers_Exxtra_-_Brazzers.mp4
https://gounlimited.to/caau0jzldkuq/[HotAndMean]_Bridgette_B,_Kiara_Cole_(Fucking_Fight_Me_/_06.03.20
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https://gounlimited.to/calxz9nsd8ja/www.0xxx.ws_StrandedTeens.20.06.17.Scarlit.Scandal.Helpful.Neighbor.X
XX.1080p.MP4-KTR.mp4
https://gounlimited.to/cbjvi0wd6mok/Jane_Wilde,_Alex_Legend,_Sam_Shock_-_Jane's_Wild_DP_-
_Don't_Break_Me_-_Mofos.mp4
https://gounlimited.to/cbtur8gpmr2l.html
https://gounlimited.to/cc88yuueo8tn/MilfsLikeItBig_Ava_Addams_Sinking_Some_Balls.mkv
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https://gounlimited.to/ccu2e17ehi26/www.0xxx.ws_DaneJones.20.06.16.Jenny.Wild.Solo.XXX.1080p.MP4-
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https://gounlimited.to/cd6l0xsjuh3q/[RKPrime]_Angela_White_Vs_Rob_Piper_(06.09.2020).mp4
https://gounlimited.to/cd9vhjnsnxsw/[DaneJones]_Kaisa_Nord_(Isolation_self_love_and_anal_play_/_06.04.20
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https://gounlimited.to/cdftv8bqq7ie/Www.brazzersbox.in_RKPrime.20.06.09.Angela.White.Vs.Rob.Piper.XXX
.SD.MP4-KLEENEX.mp4
https://gounlimited.to/cdhkppgo7arx
https://gounlimited.to/ce1t33u2ynx8/Azul.Hermosa.Sizing.Up.SneakySex.bigtits.mp4
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https://gounlimited.to/cf2ltzsnpa0z/FakehubOriginalsMay_Thai_Lexi_Dona_Little_Caprice_ALLWAYSWEL
L.mp4
https://gounlimited.to/cfvpaxxrbrd9/RealityKings_-_RKPrime_presents_Aidra_Fox_-
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https://gounlimited.to/cfzk4yz9rzvx/FakeTaxi.20.06.05.Romy.Indy.XXX.1080p.mp4
https://gounlimited.to/cg29asj7n0bi
https://gounlimited.to/cgesoht8g97i/MilfsLikeItBig_-_Cherie_Deville_-_Plasster_Cast_(02_05_2018).mp4
https://gounlimited.to/cgg04co8xq77
https://gounlimited.to/cghdc0ehx99q/Brandi_Love,_Holly_Hotwife,_Keiran_Lee_-_Creampie_My_Wife_-
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s.Dick.Over.Dishes.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/cibkdbdztsi9/www.0xxx.ws_FakehubOriginals.20.06.17.Best.Of.Sexy.Squirters.XXX.10
80p.MP4-KTR.mp4
https://gounlimited.to/cid4ru05cuc2
https://gounlimited.to/cityuc3bjc2t/Peta_Jensen_-_Best_Of_Brazzers.mp4
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1080p.MP4-TRASHBIN.mp4
https://gounlimited.to/civso6gg9lq4
https://gounlimited.to/cizk3fp2d1pw
https://gounlimited.to/cjbbvscg9p47
https://gounlimited.to/cjlbudaqa0zi/Angela.White.Jean.Queen.BigWetButts.anal.mp4
https://gounlimited.to/ck0gccb2943v/[DaneJones]_Kaisa_Nord_(Isolation_self_love_and_anal_play_/_06.04.20
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p.MP4-KTR.mp4
https://gounlimited.to/cldhn5f1m43r/Luna.Star.Fuck.My.Girl.RKPrime.anal.mp4
https://gounlimited.to/clokxr5vpm1f/Www.brazzersbox.in_NewSensations.20.06.12.Megan.Marx.XXX.SD.MP
4-KLEENEX.mp4
https://gounlimited.to/clvkrh8nuw3r/www.0xxx.ws_BrazzersExxtra.20.06.02.Abella.Danger.His.Hands.Are.Tie
d.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/cm4no8mt6el3/Brazzers_-_DayWithAPornstar_presents_Joanna_Angel_-
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https://gounlimited.to/cn2g9oz2tv8t
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https://gounlimited.to/coufxx7x6rul/www.0xxx.ws_DaneJones.20.06.16.Jenny.Wild.Solo.XXX.1080p.MP4-
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https://gounlimited.to/covyk75enrp3/Mom_Knows_Best_17_(2020)_Family_Roleplay_Porn_Movie.mp4
https://gounlimited.to/cp4hzhp3i1gg/Best_Of_Brazzers_-_First_Anals_-_Brazzers_Exxtra_-_Brazzers.mp4
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https://gounlimited.to/cpn85k80yflo/Www.brazzersbox.in_BrattySis.20.06.12.Winter.Bell.Convincing.My.Prin
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https://gounlimited.to/cq8idapslcur/www.0xxx.ws_DirtyMasseur.20.06.06.Luna.Star.Honeymoon.Rubdown.X
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https://gounlimited.to/cqgj5qtsmo39
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0p.MP4-KTR.mp4
https://gounlimited.to/cr8c3ayodzsa/[RKDupes]_Gabriella_Paltrova,_Candice_Dare_(Lesbehonest_Part_1_/_06
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https://gounlimited.to/crnurbodon93/Www.brazzersbox.in_ExxxtraSmall.20.06.04.Daphne.Dare.Onesie.XXX.S
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https://gounlimited.to/ctnar6a483az/Www.brazzersbox.in_otb.20.05.28.aria.banks.dont.tell.mp4
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_All_Dolled_Up:_Beauty_Queen_Edition_(PervyVideos.com).mp4
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KTR.mp4
https://gounlimited.to/cuq4sl0quxum/WeLiveTogether_Adriana_Maya.mp4
https://gounlimited.to/cvebybq94cej/[FakeDrivingSchool]_Lady_Dee_(Suck_My_Disinfected_Burning_Cock_/
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https://gounlimited.to/cvprk86xdty2/TrueAmateurs.20.05.29.Aila.Donovan.XXX.SD.MP4-KLEENEX.mp4
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Crazy.Cock.Stuffing.Party.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/cwerjlo7aqkj
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https://gounlimited.to/cx1rhxpro3rm/Kaisa.Nord.DaneJones.solo.mp4
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https://gounlimited.to/cxxkzdq1a0rt/www.0xxx.ws_RKPrime.20.05.31.Bae.Egypt.Desperately.Seeking.Panties.
XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/cy065i0s30l5/Pamela_Morrison,_Alex_Legend_-_Breaking_Pamela_-
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https://gounlimited.to/cyaw6h98z11x/BrazzersExxtra.20.06.09.Best.Of.Brazzers.Sharing.Stepsiblings.XXX.SD.
MP4-KLEENEX.mp4
https://gounlimited.to/cyg4u3aya9by/www.0xxx.ws_Twistys.20.06.08.Dakota.On.Display.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/cytg5ptouu21/Kendra_Sunderland,_Madison_Ivy,_Mick_Blue_-
_Bodacious_Bikini_Threesome_-_Brazzers_Exxtra_-_Brazzers.mp4
https://gounlimited.to/cz9e1ug581l3/www.0xxx.ws_FakehubOriginals.20.05.31.Best.Of.Ebony.Babes.XXX.10
80p.MP4-KTR.mp4
https://gounlimited.to/d08bgcs50af9/Brooklyn_Chase_&_Phoenix_Marie_&_Romi_Rain_&_Veronica_Avluv_
%E2%80%93_The_Brazzers_Halftime_Show_II.mp4
https://gounlimited.to/d0gjqbav0rti/Siouxsie_Q,_Michael_Vegas_-_Siouxsie_Q's_Anal_Kitchen_Cleaning_-
_Day_With_A_Pornstar_-_Brazzers.mp4
https://gounlimited.to/d0h6ct0o02ti/rkprime.20.06.16.anya.ivy.one.day.fare.mp4
https://gounlimited.to/d0lh96dm5dvf/RealWifeStories_-_Brandi_Love,_Holly_Hotwife_-
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https://gounlimited.to/d0w1awgop1iq/[RKPrime]_Jane_Wilde,_Emily_Willis_(Face-To-
Face_/_06.11.2020).mp4
https://gounlimited.to/d0xnsn5z5sug/BrazzersExxtra.20.06.08.Madison.Ivy.30.DE.And.Kendra.Sunderland.24.
US.Bodacious.Bikini.Threesome.ek84.mp4
https://gounlimited.to/d12daqyhnx89/bigbuttslikeitbig-kendra-spade-asses-in-pajamas_720p.mp4
https://gounlimited.to/d12iscrq875f
https://gounlimited.to/d176jxtrmnw9/RKPrime_Nicolette_Shea_Big_Dick_Energy.mp4
https://gounlimited.to/d1i3r1ql6eaw/[DontBreakMe]_Pamela_Morrison_(Breaking_Pamela_/_06.05.2020).mp4
https://gounlimited.to/d1vexe0jwhtx/DaneJones.20.06.09.Alexis.Crystal.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/d2ag72y1pn2e/bex.20.05.22.best.of.brazzers.ava.addams.mp4
https://gounlimited.to/d2bo3c5jqc5o
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0p.MP4-KTR.mp4
https://gounlimited.to/d33gvqduy8j4/WeLiveTogether.20.06.10.Emily.Willis.Scarlett.Bloom.And.Liv.Wild.Col
or.Me.Horny.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/d39ymynfig8c
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https://gounlimited.to/d3f08ujew4jz/www.0xxx.ws_DayWithAPornstar.20.06.11.Siouxsie.Q.Anal.Kitchen.Clea
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https://gounlimited.to/d3kxmrz2g9ld/Lesbea_Scarlet_ALLWAYSWELL.mp4
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_Tiny_Babe_Rides_Dick_Around_The_Room_(26_04_2018).mp4
https://gounlimited.to/d4gsi9jsrelr/[MofosBSides]_Lexie_Fux_-_Porn_Pleasure_(02.06.2020).mp4
https://gounlimited.to/d4xwj0dgdoxa/www.0xxx.ws_RKPrime.20.06.07.Rosalyn.Sphinx.And.Kylie.Kingston.S
it.On.It.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/d56r5wnqv66k/[RKPrime]_Bailey_Brooke_(Surprised_By_The_Big_Package_/_06.07.2
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https://gounlimited.to/d5nexh1ocxqy
https://gounlimited.to/d5udy8necpw6/[DaneJones]_Kaisa_Nord_(Isolation_self_love_and_anal_play_/_06.04.2
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https://gounlimited.to/d5zgqqfd3223/RKDupes_Ariella_Ferrera_ALLWAYSWELL.mp4
https://gounlimited.to/d611sq466ken/HotAndMean.20.06.03.Bridgette.B.And.Kiara.Cole.Fucking.Fight.Me.XX
X.1080p.MP4-KTR.mp4
https://gounlimited.to/d68c3hjjawhb
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https://gounlimited.to/d6cdnyqb9257/MilfsLikeItBig_Anissa_Kate_Not_Here_For_The_Coffee-[xFilmas].mkv
https://gounlimited.to/d6dtkawemnre/Fashionistas_Safado_Sc10_Flower_Tucci_Katsuni.mp4
https://gounlimited.to/d6o9rv2a6ki6
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https://gounlimited.to/d7pkwkssh7nh
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https://gounlimited.to/d94cj6vqw8fq/BrazzersExxtra.20.05.25.Bella.Rolland.And.Scarlit.Scandal.Rough.And.R
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https://gounlimited.to/d9c17wq6mo6h
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https://gounlimited.to/d9ndbs7x0inv/Twistys.20.06.10.Vina.Sky.Not.A.Cloud.In.The.Sky.XXX.1080p.mp4
https://gounlimited.to/d9q23yof94iq
https://gounlimited.to/d9shpfc7cy41/leolulu-trueamateurs-08-26-19.mp4
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https://gounlimited.to/daw5awt0x2ui/[DayWithAPornstar]_Kenzie_Taylor_(Kenzie_Chooses_Dick_Over_Dish
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https://gounlimited.to/db6jv1rv5axw/www.0xxx.ws_BrazzersExxtra.20.06.09.Best.Of.Brazzers.Sharing.Stepsib
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https://gounlimited.to/db7c1tqwic01/Angela_White,_Scott_Nails_-_Jean_Queen_-_Big_Wet_Butts_-
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https://gounlimited.to/dch526zynvb6/www.0xxx.ws_WeLiveTogether.20.06.03.Lily.Rader.And.Zoey.Taylor.Po
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https://gounlimited.to/dcx964pitth5/[RKPrime]_Rosalyn_Sphinx,_Kylie_Kingston_(Sit_On_It_/_06.07.2020).
mp4
https://gounlimited.to/dd8wgyn4rsh4/BrazzersExxtra.-
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https://gounlimited.to/ddgawzbvn8z6/welivetogether.20.05.25.abella.danger.and.havana.bleu.shes.the.boss.mp4
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https://gounlimited.to/dfpiauqipke0/Edible_Aubrey,_Alex_Legend_-_Meter_Maid_-_Look_At_Her_Now_-
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https://gounlimited.to/dg6wy571h5z5/Hotandmean.20.06.03.Bridgette.B.and.Kiara.Cole.Fucking.Fight.Me.XX
X.1080p.MP4-KTR.mp4
https://gounlimited.to/dgfjfu9auhgn
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dies.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/dgkavkt26fvm/Nicolette_Shea,_Markus_Dupree_-_Smart_Ho-me_-_Brazzers_Exxtra_-
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https://gounlimited.to/dgtoiglsm4zt/BrazzersExxtra.20.06.09.Best.Of.Brazzers.Sharing.Stepsiblings.XXX.1080
p.MP4-KTR.mp4
https://gounlimited.to/dgyjum7p341p
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https://gounlimited.to/dinfj9bwbops/Remy_LaCroix,_Keiran_Lee_-_Remy's_Ring_Toss_Remastered_-
_Big_Wet_Butts_-_Brazzers.mp4
https://gounlimited.to/dipjdf8x2lyt/www.0xxx.ws_WeLiveTogether.20.06.10.Emily.Willis.Scarlett.Bloom.And.
Liv.Wild.Color.Me.Horny.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/diyswupw7or9
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https://gounlimited.to/dk866jqic4mk/Pornstars_Like_it_Big_Isis_Love_ALLWAYSWELL.mp4
https://gounlimited.to/dk9ytbf8rlaz
https://gounlimited.to/dklbwonlfzqt/BrazzersExxtra_1080p-_Kendra_Sunderland,_Madison_Ivy_-
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https://gounlimited.to/dkvji4wf0cx3/[DaneJones]_Alina_Crystall_(Intimate_love_with_gorgeous_Russian_/_06
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https://gounlimited.to/dlxdec33alvj/DayWithAPornstar_Joanna_Angel.mp4
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https://gounlimited.to/dnb0bvzsewcd/Www.brazzersbox.in_Baeb_-_Riley_Reid_and_Lana_Rhoades_-_Step-
Sisters_Of_Beverly_Hills.mp4
https://gounlimited.to/dnnw8zms9n9w/LilHumpers_-_Reagan_Foxx_-_I_Love_Yoga.mp4
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80p.MP4-KTR.mp4
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https://gounlimited.to/f5cvfwevr7j8/www.0xxx.ws_DigitalPlayground.20.06.01.Vanessa.Sky.Falling.From.Gra
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https://gounlimited.to/f65hszq05uk1/momsbangteens.20.02.14.lexi.luna.and.vanna.bardot.red.with.envy.mp4
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_Surprised_By_The_Big_Package_(PervyVideos.com).mp4
https://gounlimited.to/f6w1tdsvjarr/[FakeTaxi]_Romy_Indy_(The_Dominatrix_and_the_Big_D_/_06.05.2020).
mp4
https://gounlimited.to/f8qiqricd5e7/Gabriela.Lopez.Family.Road.Trip.Dick.SneakySex.bigtits.mp4
https://gounlimited.to/f8u1ujuayxqq
https://gounlimited.to/f8vkjpz144is/FakeHostel_-_Michael_Fly,_Josephine_Jackson,_Marilyn_Sugar_-
_Sex_Slave_Not_Included.mp4
https://gounlimited.to/f8w1h9o2vl12
https://gounlimited.to/f8yr4c7cfsby/Sweet_Sexy_School_Uniform_Roleplay_-_Alexis_Crystal_-_DaneJones_-
_SexyHub.mp4
https://gounlimited.to/f9ek5w9zp2y6/Www.brazzersbox.in_MyDirtyMaid.20.06.09.Dani.Blu.XXX.SD.MP4-
KLEENEX.mp4
https://gounlimited.to/faewuojiq8rh/DaneJones.20.06.11.Alina.Crystall.XXX.1080p.MP4-KTR.mp4
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https://gounlimited.to/fah7ijxyvru4/Erito_-_Creampie_For_Harukas_Pretty_Pussy.mp4
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Bikini.Threesome.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/fh522lx3kiis/PublicAgent.20.06.03.Lydia.Black.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/fhhv97tic7gs/RealityKings_-_RKPrime_presents_Asia_Rae_-
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https://gounlimited.to/fnenn59boh1e/_BigTitsAtSchool_Stacy_Cruz_.mp4
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https://gounlimited.to/fver8gdmc0fj/www.0xxx.ws_BrazzersExxtra.20.06.09.Best.Of.Brazzers.Sharing.Stepsibl
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https://gounlimited.to/fvfykf1y94hw/IKnowThatGirl_Kylie_Rocket_ALLWAYSWELL.mp4
https://gounlimited.to/fw23ebstiomp
https://gounlimited.to/fw7nea3t41p9/TurningTwistys_-_Sabina_Rouge_And_Liv_Wild_-
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https://gounlimited.to/fwjx6znmn7y3/TrueAmateurs_Aila_Donovan_ALLWAYSWELL.mp4
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https://gounlimited.to/gc5n5a0aj2np/[GirlsGonePink]_Aidra_Fox,_Desiree_Dulce_(Prank_Wars_/_06.08.2020)
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https://gounlimited.to/gg0w32c6n59z/LookAtHerNow.19.04.25.Candice.Dare.Lesbehonest.Part.2.XXX.SD.MP
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https://gounlimited.to/gg3wjxux1wm3/[BigWetButts]_Keira_Croft_(Keira's_Ass_Craves_Cock_/_05.29.2020).
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https://gounlimited.to/gh8q8lpa6uc1/Www.brazzersbox.in_TeenCurves.20.05.29.Ivy.Green.Pouty.XXX.SD.MP
4-KLEENEX.mp4
https://gounlimited.to/ghq7yqj35dib/Phoenix.Marie.Feeling.Up.Phoenix.DayWithAPornstar.bigtits.mp4
https://gounlimited.to/gi85nmuimo8k/RKPrime.20.06.02.Abella.Danger.The.Pirate.Gets.The.Booty.XXX.SD.M
P4-.mp4
https://gounlimited.to/gietb5e4dc1e/Lenina.Crowne.Lenina.Gets.A.Workout.DayWithAPornstar.redhead.mp4
https://gounlimited.to/gig7sm78qme7/[FakeDrivingSchool]_Lady_Dee_(Suck_My_Disinfected_Burning_Cock
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https://gounlimited.to/giic3joh3mjo/Kendra-Sunderland-Brazzers-Bodacious-Bikini-Threesome-2020-06-
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https://gounlimited.to/gjtfbudzebip/www.0xxx.ws_PornstarsLikeItBig.20.06.10.Casca.Akashova.All.Dolled.Up.
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https://gounlimited.to/gke7jxvv0mh2/WeLiveTogether.20.06.03.Lily.Rader.And.Zoey.Taylor.Poolside.XXX.10
80p.MP4-KTR.mp4
https://gounlimited.to/gkhdixaabxj4/BrazzersExxtra.20.05.29.Best.Of.Brazzers.Peta.Jensen.mp4
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https://gounlimited.to/gl2fm4m0rkx1/_ElegantAnal_Ana_Foxxx_.mp4
https://gounlimited.to/gm72wq7dasuh
https://gounlimited.to/gmd0g7kxihvk
https://gounlimited.to/gmd0g7kxihvk/RKPrime_Luna_Star_ALLWAYSWELL.mp4
https://gounlimited.to/gmpw3mnfz5ju/Www.brazzersbox.in_passion.hd.20.05.30.sybil.walking.dream.mp4
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0p.MP4-KTR.mp4
https://gounlimited.to/gmwbuxyrjhvy
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https://gounlimited.to/gn52lwyhnbra/_StrandedTeens_Mackenzie_Mace_ALLWAYSWELL.mp4
https://gounlimited.to/gnn5vxlcbb76/[9xMovie.Kim]_All_Dolled_Up_Beauty_Queen_Edition_2020_BraZZers
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https://gounlimited.to/gnunbwefi7ip/[PornstarsLikeItBig]_Casca_Akashova_(All_Dolled_Up_Beauty_Queen_
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https://gounlimited.to/go4svte78mif/RealityKings_-_RKPrime_presents_Anya_Ivy_-
_One_Day_Fare___16.06.2020.mp4
https://gounlimited.to/goyiqpyod3mg/GirlsGonePink.20.06.08.Aidra.Fox.And.Desiree.Dulce.Prank.Wars.XXX.
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https://gounlimited.to/gp08lvvfcvv9
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https://gounlimited.to/gpu5uju4959o/BrazzersExxtra_-_Liza_Del_Sierra_-_Sexpionage_(21_07_2018).mp4
https://gounlimited.to/gpyjlneb726l/www.0xxx.ws_WeLiveTogether.20.06.03.Lily.Rader.And.Zoey.Taylor.Poo
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https://gounlimited.to/gqvd1yf1zx87/Luna_Star,_Markus_Dupree_-_Honeymoon_Rubdown_-
_Dirty_Masseur_-_Brazzers.mp4
https://gounlimited.to/gr0d5ypwq19j/TrueAmateurs.20.06.05.Hayliexo.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/gr7zw1vsdhzs
https://gounlimited.to/grl697hrfam9/Fake.Taxi.-.Mia.Rose.4.Loads.Of.Spunk.For.Teen.mp4
https://gounlimited.to/gs9kw9z3wdoo/DaneJones.20.06.11.Alina.Crystall.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/gsfe79rki7fr/Twistys.20.06.10.Vina.Sky.Not.A.Cloud.In.The.Sky.XXX.1080p.MP4-
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https://gounlimited.to/gsirb3qqxhkd/[BrazzersExxtra]_Abella_Danger,_Kira_Noir_(Maid_For_A_Threesome_/
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https://gounlimited.to/gsrlvptrv6bx
https://gounlimited.to/gstxrd31q08c/[BigWetButts]_Remy_Lacroix_(Remy's_Ring_Toss_REMASTERED_/_0
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https://gounlimited.to/gsw1fwwzddd8/Eliza_Ibarra,_Keiran_Lee_-_Diving_For_A_Good_Dicking_-
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https://gounlimited.to/gszr41uuoc5j
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https://gounlimited.to/gt9l6iqrq0ga/Www.brazzersbox.in_HandsOnHardcore.20.06.16.Lenina.Crowne.Naughty.
Office.Antics.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/gtnp5u6e745g/BigWetButts_Keira_Croft_ALLWAYSWELL.mp4
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https://gounlimited.to/gv081rfowhcr
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https://gounlimited.to/gvc48r1kx9bl/RKPrime.20.05.31.Bae.Egypt.Desperately.Seeking.Panties.XXX.SD.MP4-
.mp4
https://gounlimited.to/gvcmkm3p3l2x/Www.brazzersbox.in_DeepLush.20.06.03.Paisley.Porter.A.Chance.With.
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https://gounlimited.to/gve6tanu8qoh
https://gounlimited.to/gvipio9ej5v7/TeensLoveHugeCocks.20.06.08.Vina.Sky.Anal.In.The.Sun.XXX.SD.MP4-
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https://gounlimited.to/gvvvja02w7gk/strandedteens.20.06.17.scarlit.scandal.helpful.neighbor.mp4
https://gounlimited.to/gvyl8kydvz7g/[JulesJordan]_Skylar_Vox_(19_Year_Old_Teen_Skylar_Vox_Shows_Off
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https://gounlimited.to/gwe7qgp0z1yb/Real_Wife_Stories_Nicolette_Shea_ALLWAYSWELL.mp4
https://gounlimited.to/gwsmhddcgomz/Kiara.Edwards.Pervy.Yoga.Spy.PervsOnPatrol.POV.mp4
https://gounlimited.to/gwu1gl38bn63
https://gounlimited.to/gxmihpbn9yyu/Surprised_By_The_Big_Package_-_Bailey_Brooke_-_RKPrime_-
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https://gounlimited.to/gxmjjvdf77hz/Rkprime.20.06.01.Asia.Rae.Boyfriend.Snatcher.XXX.1080p.MP4-
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https://gounlimited.to/gxu9w5ah34sm/Alexis.Fawx.Lil.Jailbird.LilHumpers.bigtits.mp4
https://gounlimited.to/gy20hnloal91/PervsOnPatrol_-_Kiara_Edwards_-_Pervy_Yoga_Spy.mp4
https://gounlimited.to/gyrr3602ivio/Anya_Ivy,_Damon_Dice_-_One_Day_Fare_-_RK_Prime_-
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https://gounlimited.to/h0dhbsa9ivp3/Alexis_Fawx,_Juan_El_Caballo_Loco_-_Lil_Jailbird_-_Lil_Humpers_-
_Reality_Kings.mp4
https://gounlimited.to/h0zlbkr5w4gt
https://gounlimited.to/h10x9rz31r9f/[RKPrime]_Luna_Star_(Fuck_My_Girl_/_06.08.2020).mp4
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https://gounlimited.to/h31w1zmuxttl/Kiara_Edwards,_John_Anthony_-_Pervy_Yoga_Spy_-
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https://gounlimited.to/h42hoza23ras/Hayliexo.TrueAmateurs.blonde.mp4
https://gounlimited.to/h458t3ddyszu
https://gounlimited.to/h4627q56pon5/[DayWithAPornstar]_Siouxsie_Q_(Anal_Kitchen_Cleaning_/_06.11.202
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https://gounlimited.to/h4dw3ud43ig7
https://gounlimited.to/h59l0q720hi2/Rosalyn.Sphinx.And.Kylie.Kingston.Sit.On.It.RKPrime.threesome.mp4
https://gounlimited.to/h5hlxpnrv5kh/Mommy_Got_Boobs_Reagan_Foxx_ALLWAYSWELL.mp4
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https://gounlimited.to/h633rz8salq2/Best_Of_Brazzers__First_Anals_Cassidy_Klein,_Isis_Love,.mp4
https://gounlimited.to/h64hxwsksjka/Sexy_Neighborhood_-_Demi_Sutra_-_RKPrime_-_RealityKings.mp4
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https://gounlimited.to/h6foeyshwk0o
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https://gounlimited.to/h7hlp83cng8j
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https://gounlimited.to/h93j9cfwkf2z/Aidra.Fox.A.Cock.For.Your.Thots.RKPrime.hardcore.mp4
https://gounlimited.to/h99iulskchxb
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https://gounlimited.to/ha9dfgwf53m2/Mofos_-_Flashing_her_tits_for_cash.mp4
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p.MP4-KTR.mp4
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1080p.MP4-KTR.mp4
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https://gounlimited.to/hd4spc73nx2l/Kaisa.Nord.DaneJones.solo.mp4
https://gounlimited.to/hd8uth3wzmay/True_Amateurs_-_Mia_Bandini.mp4
https://gounlimited.to/hdwfrryuk416/RKPrime.20.06.08.Luna.Star.Fuck.My.Girl.XXX.1080p.MP4-KTR.mp4
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https://gounlimited.to/hedpgmdzmo1p/www.0xxx.ws_PervMom.20.05.30.Havana.Bleu.Rekindling.With.Stepm
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https://gounlimited.to/hemg5d9ze6ax/DayWithAPornstar.20.06.11.Siouxsie.Q.Anal.Kitchen.Cleaning.XXX.10
80p.MP4-KTR.mp4
https://gounlimited.to/hf47m09uh5z0/BigWetButts_Keira_Croft_ALLWAYSWELL.mp4
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https://gounlimited.to/hf7sfmkurci5/[DirtyMasseur]_Luna_Star_(Honeymoon_Rubdown_/_06.06.2020).mp4
https://gounlimited.to/hfiorl75iuej/Dont_Break_Me_%E2%80%93_Rae_Lil_Black_Tiny_Rae_Fucks_Her_Trai
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https://gounlimited.to/hfu5kws95g8m/[BrazzersExxtra]_Best_Of_Brazzers_Peta_Jensen_(05.29.2020).mp4
https://gounlimited.to/hg9r7nshgdtm
https://gounlimited.to/hghyuc7f8pqu
https://gounlimited.to/hghyuc7f8pqu/zzDaneJones_-_Rita_Argiles_sensually_fucking.mp4
https://gounlimited.to/hgif9qd3pctr/bex.20.06.05.best.of.brazzers.first.anals.mp4
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https://gounlimited.to/hhnjw4zzoaes/[DayWithAPornstar]_Siouxsie_Q_(Anal_Kitchen_Cleaning_/_06.11.2020
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https://gounlimited.to/hi8f4e7s0i3y/DayWithAPornstar_Gia_Derza_.mp4
https://gounlimited.to/hiz3yu9wjqnu
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https://gounlimited.to/hj6fwximev09/[9xMovie.Kim]_Bodacious_Bikini_Threesome_2020_BraZZers_Adult_V
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https://gounlimited.to/hjcz4ele6s7h/www.0xxx.ws_RKPrime.20.06.01.Asia.Rae.Boyfriend.Snatcher.XXX.1080
p.MP4-KTR.mp4
https://gounlimited.to/hjh1wxzfli8b/Telegram_@getnewlink_dani_daniels_Brazzers_House_Episode_One_-
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https://gounlimited.to/hjhqbzp065s8/trueamateurs.20.06.08.portia.paris.mp4
https://gounlimited.to/hjot1c0n5hvj
https://gounlimited.to/hjxavzgnnz5h/RK_Prime___Realitykings_-
_Johnny_The_Kid,_Bae_Egypt_Desperately_Seeking_Panties.mp4
https://gounlimited.to/hkxif44zhh2m/[RKPrime]_Bridgette_B:_The_Pornstar_Experience.mp4
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https://gounlimited.to/hmft3kcts0os/FakehubOriginals_presents_Eva_Elfie_in_Teen_Dream_Masturbation___1
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https://gounlimited.to/hmg1k9zyvqtf
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https://gounlimited.to/hmxkhtkdquvs/MILF_Wants_To_Play_-_Alena_Croft,_Scarlit_Scandal_-
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https://gounlimited.to/ho5f94cmzwri/Iknowthatgirl.20.05.20.Nella.Jones.The.Interview.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/hoclpg8l9zxd
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https://gounlimited.to/hp03ywcgvuws/lesbea.20.06.01.cindy.shine.and.alina.crystall.mp4
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https://gounlimited.to/hrgo9it0jfp9/Telegram_@getnewlink_dani_daniels_ZZ_Lemonade-_Dani_Daniels_-
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https://gounlimited.to/hrv43aelyyh9/Nathaly.Cherie.FakeTaxi.bigtits_(PervyVideos.COM).mp4
https://gounlimited.to/hrvb92ttzpeg/FakehubOriginals.20.05.28.Canela.Skin.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/hs7pey5g4lnk
https://gounlimited.to/hsta4u8cfcbs/Siouxsie.Q.Anal.Kitchen.Cleaning.DayWithAPornstar.mp4
https://gounlimited.to/hsyv9no49clg/Mofos_PublicPickup_-_Candy_Hot.mp4
https://gounlimited.to/ht095a08e4tv
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https://gounlimited.to/htedzipv5ddh/RKPrime.20.05.29.Kataljna.Kittin.Wet.Kittin.XXX.SD.MP4-.mp4
https://gounlimited.to/htsvoi19r797/Www.brazzersbox.in_BrazzersExxtra.20.06.08.Madison.Ivy.And.Kendra.S
underland.Bodacious.Bikini.Threesome.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/htu2plvqaoxe
https://gounlimited.to/hu0hrh7csirx/PervMom.20.06.13.Becky.Bandini.Sticking.Up.For.Stepmom.XXX.SD.mp
4
https://gounlimited.to/hucc1ot4g7a0/Katie.Kush.and.Kenzie.Madison.Get.Flexible.DayWithAPornstar.lesbian.
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https://gounlimited.to/huy3ep3tmbto/RKPrime.20.06.07.Rosalyn.Sphinx.And.Kylie.Kingston.Sit.On.It.XXX.10
80p.MP4-KTR.mp4
https://gounlimited.to/hvpr00spcmhw/www.0xxx.ws_TrueAmateurs.20.06.08.Portia.Paris.XXX.1080p.MP4-
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080p.MP4-KTR.mp4
https://gounlimited.to/inq5sku10h1c/Fake_Agent_-_EPS-678.mp4
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MP4-KTR.mp4
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https://gounlimited.to/jbsv3ms9na5e/[Twistys]_Cherie_Deville_(A_Taste_Of_Cherie_/_06.03.2020).mp4
https://gounlimited.to/jbwmrt7izlyt/RealityKings.20.04.20.Quinton.James.Gabbie.Carter.I.Fucked.Your.Boyfrie
nd.To.Make.You.Mad.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/jc590l0ba7so
https://gounlimited.to/jcbrhz40kt5y/_DaneJones_Kaisa_Nord.mp4
https://gounlimited.to/jce24z18oiq9
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https://gounlimited.to/jchkqxy018se/Www.brazzersbox.in_RealWifeStories.20.05.23.Abella.Danger.Til.Cock.D
o.Us.Part.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/jci8jdg6h4oi/[LookAtHerNow]_Melody_Foxx_(Oil_Routine_/_03.19.2020).mp4
https://gounlimited.to/jd18xapdqa2q/[DayWithAPornstar]_Katrina_Jade_(Katrina_Gets_A_Pervy_Massage_/_
05.07.2020).mp4
https://gounlimited.to/jd6wvigq32zw/Twistys.20.05.02.Molly.Stewart.Poolside.With.Molly.XXX.MP4-
SDCLiP.mp4
https://gounlimited.to/jdav5y2lfylo/[RKPrime]_Bae_Egypt_(Desperately_Seeking_Panties_/_05.31.2020).mp4
https://gounlimited.to/jddat6p6waq8/TransAngels_presents_Daisy_Taylor_Peep_On_Daisy___15.02.2020.mp4
https://gounlimited.to/jdpjgvi3xzy0.html
https://gounlimited.to/jdtie1men39h/Realitykings_-
_PAWG_Mia_Malkova_shows_off_her_flexibility_and_deepthroats_(_720P_).mp4
https://gounlimited.to/jdusl3zhiahx/faketaxi.20.03.11.candice.demellza.mp4
https://gounlimited.to/je1zsjbsncfo/www.0xxx.ws_BrazzersExxtra.20.06.04.Aubree.Valentine.Soaking.Wet.An
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https://gounlimited.to/je4typqnb4pb/ElegantAnal.20.06.02.Ana.Foxxx.It.Happened.One.Night.Part.4.XXX.SD.
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https://gounlimited.to/jedgk0xmja0u/RKPrime.19.11.14.Rae.Lil.Black.Cant.Let.Rae.Go.XXX.1080p.MP4-
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https://gounlimited.to/jeid0s1n7j7z/RkDupes_-_Lesbehonest_Part_2_[720p_HD].mp4
https://gounlimited.to/jeor588m4j84/Realitykings_-
_Family_Road_Trip_Dick_porn_%E2%80%93_Pornmz.mp4
https://gounlimited.to/jepaqx0m7aqq
https://gounlimited.to/jf5d863xe1nd
https://gounlimited.to/jfe6aa04rwlg/Brazzers_-
_BrazzersExxtra_presents_Abella_Danger__Kira_Noir_in_Maid_For_A_Threesome___12.06.2020.mp4
https://gounlimited.to/jfgr10xpb8wx/RKPrime.19.12.21.Abella.Danger.And.Katana.Kombat.Drenched.XXX.10
80p.MP4-KTR.mp4
https://gounlimited.to/jfio9vacx1zm/Nicolette_Shea,_Kyle_Mason_-_Mrs._Shea's_Room_Service_-
_Brazzers_Exxtra_-_Brazzers.mp4
https://gounlimited.to/jfp3n7sig00f/Fake_Taxi_Isabella_Deltore_ALLWAYSWELL.mp4
https://gounlimited.to/jftjs1bqwkjd/MommyGotBoobs.20.04.15.Cherie.Deville.Stuck.On.Your.Mom.XXX.MP4
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https://gounlimited.to/jfzf04g3r3l7/Www.brazzersbox.in__Cum4K.20.03.31.Kamryn.Jayde.Creamy.Dream.XX
X.2160p.MP4-KTR.mp4
https://gounlimited.to/jg3p512htt0w
https://gounlimited.to/jg3p512htt0w/BrazzersExxtra_Abigail_Mac_Amber_Jade_ALLWAYSWELL.mp4
https://gounlimited.to/jg63tl3v0aez
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https://gounlimited.to/jgc1f6nhjpud/IKnowThatGirl.20.02.04.Skylar.Vox.Domestic.Rewards.XXX.1080p.MP4-
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https://gounlimited.to/jghh7k81w23w/RKPrime_Desiree_Dulce_Charles.mp4
https://gounlimited.to/jgn1uxl833d7/Www.brazzersbox.in__StepMomLessons.20.04.03.Lexi.Luna.And.Dee.Wi
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https://gounlimited.to/jgumfvgl1wog/TeensLoveHugeCocks.20.06.10.Dolly.Little.A.Little.Love.XXX.1080p.M
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https://gounlimited.to/jgv9l87a71aj/Www.brazzersbox.in_Babes.20.05.21.Eliza.Ibarra.Lazy.Day.XXX.SD.MP4
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https://gounlimited.to/jhfcv3un2jwe/letstryanal.20.05.29.mia.bandini.come.in.for.some.tea.and.anal.mp4
https://gounlimited.to/jhke8e3etgym/RKPrime.20.03.18.Roxy.Risingstar.Take.A.Bite.XXX.SD.MP4-
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https://gounlimited.to/jhsh2c4uato3/BrazzersExxtra_-_Gina_Valentina_-
_I_Dream_Of_Gina_(16_04_2018).mp4
https://gounlimited.to/jhshyaxlshtm/RealWifeStories.20.03.24.Kylie.Le.Beau.Playbacks.A.Bitch.XXX.1080p.M
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https://gounlimited.to/ji7mdzi0jgx3/DigitalPlayground.19.12.25.Sabina.Rouge.And.Ivy.Lebelle.Survive.The.Ni
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https://gounlimited.to/jimos30ity7b/Www.brazzersbox.in_PixAndVideo.20.05.13.Nata.Ocean.Fuck.Buddies.X
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https://gounlimited.to/jir8avvupjhn/www.0xxx.ws_LetsTryAnal.20.05.29.Mia.Bandini.Come.In.For.Some.Tea.
And.Anal.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/jj7kqi3n1zb2
https://gounlimited.to/jj7kqi3n1zb2/Alena_Croft_&_Jayden_Jaymes_&_Kayla_Kayden_&_Nina_Elle_&_Sum
mer_Brielle_&_Susy_Gala_%E2%80%93_Best_Of_Brazzers_Hottest_Bosses.mp4
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https://gounlimited.to/jjdbc07dto34/[Twistys]_Dakota_(On_Display_/_06.08.2020).mp4
https://gounlimited.to/jjdxzy4srnzq/Teens_Love_Huge_Cocks_20_05_04_Rachel_Rivers_Brave_Brace_Face.m
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https://gounlimited.to/jjl9v3t90bgp/pervsonpatrol.20.05.17.paige.owens.building.peeper.mp4
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.James.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/jk1bpxiq7rrk/danejones.20.04.24.best.of.asian.girls.mp4
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https://gounlimited.to/jkph2nf8kbab/BrazzersExxtra.20.06.09.Best.Of.Brazzers.Sharing.Stepsiblings.XXX.1080
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KTR_[Pornxbit.com].mp4
https://gounlimited.to/jl9ezs0y9bno/Www.brazzersbox.in__HerLimit.20.04.21.Alexa.Flexy.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/jlfw63wl97fw/Www.brazzersbox.in__TushyRaw.20.04.15.Adira.Allure.And.Ashley.Lan
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https://gounlimited.to/jlszbi1juai9/danejones.20.06.16.jenny.wild.solo.mp4
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https://gounlimited.to/jo55u9zavisw/[RKDupes]_Candice_Dare_(Lesbehonest_Part_2_/_06.05.2020).mp4
https://gounlimited.to/jo7pa6lsee1l/www.0xxx.ws_DirtyMasseur.20.06.06.Luna.Star.Honeymoon.Rubdown.XX
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https://gounlimited.to/jod0qpd87vhh/www.0xxx.ws_RKDupes.20.06.09.Meter.Maid.XXX.INTERNAL.1080p.
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https://gounlimited.to/jog8p03tckng/RealWifeStories_-_Tia_Cyrus_-
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https://gounlimited.to/jpaz5pnuqmkh
https://gounlimited.to/jpik11gee5kv/[BabyGotBoobs]_Autumn_Falls_(Vip_Treatment_/_04.09.2020).mp4
https://gounlimited.to/jpjtht849vak/TransAngels_presents_Alexa_Scout_Morning_Call___10.04.2020.mp4
https://gounlimited.to/jpklgfaa4ow8
https://gounlimited.to/jpklgfaa4ow8/Luna_Star,_Madison_Ivy_&_Scott_Nails_-_Treat_Us_Right.mp4
https://gounlimited.to/jps220ztfmxn/[MomsBangTeens]_Lexi_Luna,_Vanna_Bardot_(Red_With_Envy_/_02.14
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https://gounlimited.to/jpsbpfmvcnzz
https://gounlimited.to/jpt4vs76bci4/Www.brazzersbox.in_MassageRooms.20.05.15.Romy.Indy.XXX.SD.MP4-
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https://gounlimited.to/jpv09d01jvxz/[RKPrime]_Alyssa_Reece_(Slaving_For_Alyssa_/_02.13.2020).mp4
https://gounlimited.to/jpyi6snn2j85/Www.brazzersbox.in__BangBros18.20.03.31.Jocelyn.Stone.XXX.1080p.M
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https://gounlimited.to/jq0a1gyfnfjq/www.0xxx.ws_DaneJones.20.06.11.Alina.Crystall.XXX.1080p.MP4-
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https://gounlimited.to/jqm4b5l99zk5/Liza_Del_Sierra,_Jordi_El_Nino_Polla_-_Mail_Order_Dominatrix_-
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https://gounlimited.to/jqrw2t8x0tud
https://gounlimited.to/jqwxyw4swe7b/Www.brazzersbox.in_BangPOV.20.05.30.Julz.Gotti.XXX.SD.MP4-
KLEENEX.mp4
https://gounlimited.to/jr0uz0hpsl46/TransAngels_presents_Casey_Kisses_Spring_Cleaning_Part_2___29.05.20
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https://gounlimited.to/jr41t6pgl5co/strandedteens.20.06.17.scarlit.scandal.helpful.neighbor.mp4
https://gounlimited.to/jr7sdfo49t77/WeLiveTogether.20.03.25.Aria.Kai.And.Indica.Flower.My.Secret.Wet.Hoo
kup.Part.1.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/jrc2nfq5763v/FakeTaxi.20.03.08.Marina.Maya.XXX.1080p.MP4-
KTR_[Pornxbit.com].mp4
https://gounlimited.to/jrcsw40e385v/Brazzers_Exxtra_-_Bella_Rolland_-_Man_Nequin_Up_And_Fuck.mp4
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HD.20.04.18.Samantha.Reigns.Soapy.And.Sweet.XXX.2160p.MP4-KTR.mp4

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___Alex_Blake___30.05.2020.mp4
https://gounlimited.to/jsi80nhs1x3d/Www.brazzersbox.in_HandsOnHardcore.20.06.16.Lenina.Crowne.Naughty
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P4-TRASHBIN.mp4
https://gounlimited.to/jtar20qxjyzi/Lesbea_Lady_Dee_.mp4
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X.SD.MP4-KLEENEX.mp4
https://gounlimited.to/jth8al68m6c2/Lesbea_Cindy_Shine_.mp4
https://gounlimited.to/jtp5nelf395u/_TrueAmateurs_Camila_ALLWAYSWELL.mp4
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https://gounlimited.to/jumendf6ln5i/[RKPrime]_Mary_Rock_(Can't_Resist_Mary_/_03.29.2020).mp4
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https://gounlimited.to/jv604b3k7q85/[BrazzersExxtra]_Azul_Hermosa_(Introducing_Azul_/_02.21.2020).mp4
https://gounlimited.to/jvb5g4csycml/Www.brazzersbox.in_TushyRaw.20.05.27.Bella.Gray.And.Nelya.XXX.S
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https://gounlimited.to/jvda3ag032co/Www.brazzersbox.in_BrazzersExxtra.20.05.24.Desiree.Dulce.Out.From.T
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https://gounlimited.to/jvmgqjnl9cr4/www.0xxx.ws_BrazzersExxtra.20.06.08.Madison.Ivy.And.Kendra.Sunderl
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https://gounlimited.to/jvvdmkg9gy2h/www.0xxx.ws_TrueAmateurs.20.06.08.Portia.Paris.XXX.1080p.MP4-
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https://gounlimited.to/jw5mp3ca5e8v/Www.brazzersbox.in_FamilyStrokes.20.05.28.Maya.Farrell.Arranged.Ma
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https://gounlimited.to/jw5zh5y77s87
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de.XXX.1080p.MP4-KTR_[Pornxbit.com].mp4
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https://gounlimited.to/jx4yfihzhfat/iknowthatgirl.20.05.23.catalina.ossa.horny.chick.on.a.tree.mp4
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ke.XXX.SD.MP4-KLEENEX.mp4
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https://gounlimited.to/jy3qq0xfex5m/momsbangteens.20.04.13.katie.morgan.and.emily.right.ill.teach.you.how.
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https://gounlimited.to/jzaaq0ck1uow/www.0xxx.ws_RKPrime.20.06.04.Nicolette.Shea.Big.Dick.Energy.XXX.
1080p.MP4-KTR.mp4
https://gounlimited.to/jzkfoc3zcspg/Female_Fake_Taxi.20.05.09.Alexis.Crystal.And.Lexi.Dona.XXX.1080p.m
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https://gounlimited.to/jzmrtnrjga35
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g.Fight.Me.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/k0bbqui1nz7l/BrazzersExxtra.20.05.11.Casey.Calvert.And.Adria.Rae.Anal.Double.Dip.X
XX.1080p.MP4-KTR.mp4
https://gounlimited.to/k0dwtcy76na7/www.0xxx.ws_LetsTryAnal.20.05.29.Mia.Bandini.Come.In.For.Some.Te
a.And.Anal.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/k0flv2h9vaju/Jessica_Jade,_Xander_Corvus_-_You_Splashed_My_Snatch_-
_Milfs_Like_It_Big_-_Brazzers.mp4
https://gounlimited.to/k0g36871nhvf/Twistys_Hard_?_Kimmy_Granger_-Lick_My_Pussy.mp4
https://gounlimited.to/k0s5dxhp3zny
https://gounlimited.to/k13djmuvnatm/Www.brazzersbox.in__RKPrime.20.04.19.Kiara.Edwards.Home.Care.X
XX.1080p.MP4-KTR.mp4
https://gounlimited.to/k15oj7ajfntr/RKDupes_Lesbehonest_.mp4
https://gounlimited.to/k17em7p2nyt7/BrazzersExxtra.20.03.21.Azul.Hermosa.Diva.For.A.Day.XXX.SD.MP4-
KLEENEX.mp4
https://gounlimited.to/k1aesijl2fp1/[PublicAgent]_Lydia_Black_(The_Pre-Lockdown_Fuck_/_06.03.2020).mp4
https://gounlimited.to/k1u4xhcbsbfw/Brazzers_Exxtra_Katrina_Jade_ALLWAYSWELL.mp4
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https://gounlimited.to/k22bcb3mmww1/Twistys.20.06.06.Sabina.Rouge.Naked.Yoga.With.Sabina.Rouge.XXX.
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https://gounlimited.to/k27zjbyl9e2l/www.0xxx.ws_FakeTaxi.20.06.15.Nathaly.Cherie.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/k2ev0m0gwgy7/DaneJones_-
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https://gounlimited.to/k2g42qs7k0as/Www.brazzersbox.in__MyFamilyPies.20.04.14.Jewelz.Blu.Tempted.By.S
tep.Sister.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/k2ttozv8jjbh
https://gounlimited.to/k328fu057t68/Anya-Olsen-Brazzers-Best-Of-Brazzers:-Sharing-Stepsiblings-2020-06-
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https://gounlimited.to/k3bwxnlgkukz/[PublicAgent]_Lydia_Black_-_The_Pre-
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https://gounlimited.to/k3ddhoog52uz/Angela_White,_Scott_Nails_-_Jean_Queen_-_Big_Wet_Butts_-
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https://gounlimited.to/k3ncncpo7xjb/Faketaxi.20.06.01.Mia.Rose.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/k3o5hqm3pgr7/BrazzersExxtra.20.06.12.Abella.Danger.And.Kira.Noir.Maid.For.A.Three
some.XXX.SD.MP4-.mp4
https://gounlimited.to/k3wu9zr4c8qn/www.0xxx.ws_FakehubOriginals.20.06.17.Best.Of.Sexy.Squirters.XXX.1
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https://gounlimited.to/k3xdf1mrjsf2/Aubree.Valentine.Soaking.Wet.And.Fully.Satisfied.BrazzersExxtra.hardcor
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https://gounlimited.to/k463bb0ibtb3
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https://gounlimited.to/k4r5gvqzhkfy/FakeHostel.20.04.03.Isabella.Deltore.And.Martina.Smeraldi.XXX.SD.MP
4-KLEENEX.mp4
https://gounlimited.to/k5hxqsdjxcs0/WeLiveTogether.20.06.03.Lily.Rader.And.Zoey.Taylor.Poolside.XXX.SD.
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https://gounlimited.to/k612qhzqtxzc
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https://gounlimited.to/k6clf0n2k0kf/[HotAndMean]_Bridgette_B,_Kiara_Cole_(Fucking_Fight_Me_/_06.03.20
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https://gounlimited.to/k6l1xwpq79bi/GirlsGonePink.20.06.08.Aidra.Fox.And.Desiree.Dulce.Prank.Wars.XXX.
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https://gounlimited.to/k6lq8zom2p2h/Www.brazzersbox.in__GrandpasFuckTeens.20.03.24.Miss.Melissa.Deter
mined.Delivery.Girl.XXX.2160p.MP4-KTR.mp4
https://gounlimited.to/k6n76u7pbq1d/publicagent.20.06.03.lydia.black.mp4
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https://gounlimited.to/k79pxh0uy1uw/Www.brazzersbox.in__Shoplyfter.20.04.01.Ashley.Lane.XXX.1080p.M
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https://gounlimited.to/k7jfuwrfyvgg/Www.brazzersbox.in_Lubed.20.05.19.Kylie.Rocket.Wet.And.Horny.XXX.
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KLEENEX.mp4
https://gounlimited.to/k7wisgsij89l/Anya_Olsen_&_April_Brookes_&_Ariella_Ferrera_&_Casey_Calvert_&_
Cassidy_Banks_&_Gia_Milana_&_Kendall_Kayden_&_Missy_Martinez_&_Sydney_Cole_&_Syren_De_Mer
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https://gounlimited.to/k81j3f3885si/BigWetButts_-_Cali_Carter_-_Holosexual_(17_04_2018).mp4
https://gounlimited.to/k83i5ftlr0t7/PervMom.20.05.30.Havana.Bleu.Rekindling.With.Stepmom.XXX.1080p.M
P4-KTR.mp4
https://gounlimited.to/k884bjtbdwo4/BrazzersExxtra.20.03.16.Monique.Alexander.Wrong.Side.Of.The.Bed.XX
X.MP4-SDCLiP.mp4
https://gounlimited.to/k8h2rzv3gtfi
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https://gounlimited.to/k8o0n880fr7e/Www.brazzersbox.in_Hustler.20.05.25.Becky.Bandini.XXX.SD.MP4-
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https://gounlimited.to/k8sfpkhwcaac/Angela_White_vs_Rob_Piper_-_Angela_White_-_RKPrime_-
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X.1080p.MP4-KTR.mp4
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https://gounlimited.to/k95p99moa6u9/BigTitsAtSchool.20.03.08.Sofia.Rose.Disciplinary.Action.XXX.MP4-
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https://gounlimited.to/k962j15i7lh7/TrueAmateurs.20.03.27.Belleniko.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/k9opk5ccd9ah/Www.brazzersbox.in_Tiny4K.20.05.21.Athena.May.BBC.Creampie.XXX
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https://gounlimited.to/k9sdokka3aei/MILF_Seduction_-_Compilation_MILF_-_MomXXX_-_SexyHub.mp4
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https://gounlimited.to/kandvzplwb50/trueamateurs.20.05.11.faye.valentine.mp4
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Up.Exercises.XXX.MP4-SDCLiP.mp4
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https://gounlimited.to/kaxq3wfq6ah6/RoundAndBrown.20.03.05.Bad.Kittyyy.Balloons.And.Booty.Party.XXX.
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https://gounlimited.to/kb0sngal42om/BrazzersExxtra.20.02.27.Demi.Sutra.And.Charlotte.Sins.The.Husband.Tra
p.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/kb58r0bkni9e/TurningTwistys_Sabina_Rouge_.mp4
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https://gounlimited.to/kb5sffr6aw0h/MommyGotBoobs.20.03.14.Holly.Hotwife.Just.Ignore.Him.XXX.MP4-
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https://gounlimited.to/kbcdsl0oocng
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X.SD.MP4-KLEENEX.mp4
https://gounlimited.to/kbwdc8h8qzlp
https://gounlimited.to/kbwdc8h8qzlp/Jasmine_Jae_-_Jasmine_Jae_Public_Agent.mp4
https://gounlimited.to/kc0dhgyd31rt
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https://gounlimited.to/kceemu8mg6h3/We_Live_Together.20.06.10.Emily.Willis.Scarlett.Bloom.And.Liv.Wild.
Color.Me.Horny.XXX.1080p.mp4
https://gounlimited.to/kcst3rtqqtls/Day_With_A_Pornstar_20_05_11_Molly_Stewart_Mollys_Making_Breakfa
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https://gounlimited.to/kctjonju2g7o/Milfs_Like_ItBig_Tommie_ALLWAYSWELL.mp4
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https://gounlimited.to/kcv3wkg6et9n
https://gounlimited.to/kcx4a370nrjv/lilhumpers.20.02.04.cory.chase.luggage.surprise.mp4
https://gounlimited.to/kde48ywvxi1l/FakeTaxi.20.06.01.Mia.Rose.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/kdtm9m7nxi4i/Public_Agent_-_Cecilia_Scott_.mp4
https://gounlimited.to/ke2hdo6f0m1v/Vina.Sky.Anal.In.The.Sun.TeensLoveHugeCocks.mp4
https://gounlimited.to/ke7o2drzdrv3/LilHumpers.20.06.11.Alexis.Fawx.Lil.Jailbird.XXX.1080p.MP4-
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https://gounlimited.to/ke90sye9srct/FakeTaxi.20.06.05.Romy.Indy.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/kedsf09k2usr/BrazzersExxtra.20.05.09.Luna.Star.Look.At.Luna.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/kfa6leszlcye/Www.brazzersbox.in_DirtyMasseur.20.06.06.Luna.Star.Honeymoon.Rubdo
wn.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/kfe6o8uazxuk
https://gounlimited.to/kg0b8ulwc06e/A_Little_Love_-_Dolly_Little_-_TeensLoveHugeCocks_-
_RealityKings.mp4
https://gounlimited.to/kg5ghiwl91pu/MomsTeachSex.20.05.20.Kiara.Cole.And.Lexi.Luna.My.Girlfriends.Mom
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https://gounlimited.to/kgik9rwx599w/HotAndMean.20.06.03.Bridgette.B.And.Kiara.Cole.Fucking.Fight.Me.X
XX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/kgiztfbbs39l/PornstarsLikeItBig.20.05.01.Nicolette.Shea.Sheas.Got.The.Look.XXX.MP4
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https://gounlimited.to/kgkm9st4fgmu/Tommie_Jo,_Sam_Bourne_-_MILF_In_The_Closet_-
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https://gounlimited.to/kgnppepa7c3z/Twistys.20.06.17.Jewelz.Blu.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/kgy1y26x4dtm/BigTitsAtSchool.20.03.15.Bella.Rolland.Old.Man.On.Campus.XXX.108
0p.MP4-KTR_[Pornxbit.com].mp4
https://gounlimited.to/kh0vk0y7cp0n/BigWetButts.Keira.Croft.Keiras.Ass.Craves.Cock.XXX.1080p.mp4
https://gounlimited.to/kh2istiuqxe2/Www.brazzersbox.in__BrazzersExxtra.20.04.13.Kenzie.Reeves.Piped.Dow
n.XXX.1080p.MP4-KTR.mp4
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k.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/khlpa52s1til/Share_My_BF_20_05_11_Izzy_Lush_And_La_Sirena_European_Antique_
Bargain.mp4
https://gounlimited.to/khnb0eijsg62/Bailey_Brooke,_Tony_Rubino_-_Surprised_By_The_Big_Package_-
_RK_Prime_-_Reality_Kings.mp4
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https://gounlimited.to/kiiaf7yl5rlb/RKDupes.20.06.09.Meter.Maid.XXX.INTERNAL.1080p.MP4-
TRASHBIN.mp4
https://gounlimited.to/kikrroxaqvl1/sneakysex.20.06.01.gabriela.lopez.family.road.trip.dick.mp4
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Vlogger.Gets.Lucky.XXX.1080p.MP4-KTR.mp4
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https://gounlimited.to/kkpg672nnft9/Www.brazzersbox.in_HardX.20.06.05.Alicia.Williams.Small.Town.Anal.
Girl.XXX.SD.MP4-KLEENEX.mp4
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https://gounlimited.to/kmsglbrgibtk/[DayWithAPornstar]_Katrina_Jade_(Katrina's_Kitchen_Cock_/_04.21.202
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https://gounlimited.to/kprcwnl4h8w9/PornstarsLikeItBig_-_Amia_Miley_-
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https://gounlimited.to/kpyq8u6rkksx/DaneJones.20.03.26.Scarlet.Rebel.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/kq0lpfy8cn1o/Real_Wife_Stories_20_05_23_Abella_Danger_Til_Cock_Do_Us_Part.mp
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https://gounlimited.to/kq4dewluhs2r/bigbuttslikeitbig-kendra-spade-asses-in-pajamas.mp4
https://gounlimited.to/kq92j4gu1z5u/iknowthatgirl.20.04.27.kiara.cole.massage.gun.trial.mp4
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a.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/kqrv0516i958
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AL.1080p.MP4-TRASHBIN.mp4
https://gounlimited.to/kqxxppwfbvmb/[RKDupes]_Tiffany_Watson_(It's_Juicy_/_05.20.2020).mp4
https://gounlimited.to/kqy125fbdziv/BigWetButts.20.05.31.Kagney.Linn.Karter.Anally.Reamed.In.Her.Jeans.X
XX.1080p.MP4-KTR.mp4
https://gounlimited.to/kqz5fxawwpks/DayWithAPornstar.20.05.05.Josephine.Jackson.Cooking.With.Josephine.
XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/kr4jem3uua1a/DayWithAPornstar.20.06.07.Rebecca.More.Rebeccas.Shower.Time.Fun.X
XX.1080p.MP4-KTR.mp4
https://gounlimited.to/krgl75y6gewe/Ariella_Ferrera,_Kyle_Mason_-_Lick_My_Limo_-_Real_Wife_Stories_-
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https://gounlimited.to/krpqbwvysmx8/DayWithAPornstar.20.05.28.Skye.Blue.And.Freja.Noir.Steamy.Shower.
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https://gounlimited.to/kspb2vrz0gmo/DigitalPlayground.20.03.25.Anya.Olsen.And.Monique.Alexander.Matriar
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https://gounlimited.to/kst0my4z9bxb/Brazzers___BrazzersExxtra_presents_Halle_Hayes_in_A_Wild___Crazy
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https://gounlimited.to/ksxk2rk8qbo7
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Opal.Hes.No.Good.XXX.SD.MP4-KLEENEX.mp4
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/_06.04.2020).mp4
https://gounlimited.to/ktnlidszzmj9/TransAngels_presents_Daisy_Taylor_A_Very_Hot_Frost_Glass___17.04.2
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https://gounlimited.to/ktwwf89ihtj1/BrazzersExxtra.20.05.15.Best.Of.Brazzers.Squirt.Fest.XXX.1080p.MP4-
KTR.mp4
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https://gounlimited.to/kuvjg1u5yerb/ElegantAnal_-_Avi_Love_-_Prom_Night_Revenge_Part_4.mp4
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https://gounlimited.to/kv3tcwa19hu1/fakeagent.20.03.05.mishelle.klein.mp4
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https://gounlimited.to/kvgs2mzhtjk5/_BrazzersExxtra_Best_Of_Brazzers_.mp4
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https://gounlimited.to/kvqp8y17lkox/Big_Wet_Butts_20_05_01_Abella_Danger_So_Fresh_And_So_Clean.mp
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https://gounlimited.to/kvrgy3ggui0t/www.0xxx.ws_MomsTeachSex.20.05.20.Kiara.Cole.And.Lexi.Luna.My.Gi
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https://gounlimited.to/kw1y0jepyohv/BrazzersExxtra_Cherie_Deville_ALLWAYSWELL.mp4
https://gounlimited.to/kwjbr1zcxepk/www.0xxx.ws_FakeDrivingSchool.20.06.10.Lady.Dee.XXX.1080p.MP4-
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https://gounlimited.to/kwl9gfio6xv2/PervsOnPatrol_La_Sirena_ALLWAYSWELL.mp4
https://gounlimited.to/kwmzwoi8kf2r/lesbea.20.02.23.angel.emily.and.tiny.tina.mp4
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Luv.Dorm.Room.Threesome.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/kws8uw3hvq64/welivetogether.20.04.17.episode.1.welcome.home.mp4
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https://gounlimited.to/ky9vxoo4lqj0/[DayWithAPornstar]_Siouxsie_Q_(Anal_Kitchen_Cleaning_/_06.11.2020)
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https://gounlimited.to/kz530h5vknmn/Kenzie_Taylor_-
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https://gounlimited.to/l0t436n9o13z/Www.brazzersbox.in_cum4k.20.05.26.kendall.karter.dropping.loads.mp4
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https://gounlimited.to/l1fjy00r0qo3/BrazzersExxtra.20.06.05.Best.Of.Brazzers.First.Anals.XXX.SD.MP4-
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SDCLiP.mp4
https://gounlimited.to/l29ckjbnwzmx/[RKDupes]_Candice_Dare_(Lesbehonest_Part_2_/_06.05.2020).mp4
https://gounlimited.to/l2eba88g6nt1/Telegram_@getnewlink_dani_daniels_Day_With_A_Pornstar-_Dani_-
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https://gounlimited.to/l2sqpb2ubut2/[TeensLoveHugeCocks]_Vina_Sky_(Tight_Teen_Begs_For_Anal_/_02.12
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https://gounlimited.to/l388ss64svci/TeensLoveHugeCocks.20.06.17.Makenna.Reise.Tiny.Makenna.Takes.It.XX
X.1080p.MP4-KTR.mp4
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https://gounlimited.to/l3ay0nw2u1k6/danejones.20.06.09.alexis.crystal.mp4
https://gounlimited.to/l3bsezbf08bd/rkprime.20.06.06.bailey.brooke.surprised.by.the.big.package.mp4
https://gounlimited.to/l3h9ip7gvi6t/RKPrime.19.12.18.Aubree.Valentine.Reverse.FTA.XXX.1080p.MP4-
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https://gounlimited.to/l3juub4mfx8u/momsbangteens.20.03.08.kimmy.granger.and.eva.notty.do.not.fuck.around
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_PornstarsLikeItBig_presents_Casca_Akashova_in_All_Dolled_Up_Beauty_Queen_Edition___10.06.2020.mp
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https://gounlimited.to/l49of4e1zwi0/[BrazzersExxtra]_Halle_Hayes_(A_Wild_And_Crazy_Cock_Stuffing_Part
y_/_06.01.2020).mp4
https://gounlimited.to/l4bxbm6oy83g/Bae_Egypt_-
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https://gounlimited.to/l4f560eaeabj/iknowthatgirl.20.03.09.kataljna.kittin.squirt.aerobics.mp4
https://gounlimited.to/l4llgqgwhhfy/Big_Wet_Butts_Nikita_Denise_ALLWAYSWELL.mp4
https://gounlimited.to/l4u779iyltvt/Nathaly_Doesnt_Like_It_Dirty_-_Nathaly_Cherie_-_FakeTaxi_-
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https://gounlimited.to/l4x30gjwlyl7/PublicPickUps.20.05.01.Briana.Banderas.Brianas.Outdoor.Photo.Shoot.XX
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https://gounlimited.to/l4zki285jbsm/RKPrime.20.05.22.Alex.Coal.Inside.The.Outdoor.Girl.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/l5bg322i248k/[FakeTaxi]_Ginebra_Bellucci,_Anastasia_Brokelyn_(Cheeky_Spanish_Le
sbians_fuck_Cabbie_/_03.18.2020).mp4
https://gounlimited.to/l5bsqp01xyyf/Public_Agent_-_Vicky_Love.mp4
https://gounlimited.to/l5hvb5ti17mg/RKDupes_-_Gabriella_Paltrova,_Candice_Dare_-
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https://gounlimited.to/l5r3mr3kocpj/Share_My_BF_-
_Anny_Aurora__Eliza_Ibarra_Share_in_Onesie_Twosie.mp4
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https://gounlimited.to/l5s60i9byfmc/Www.brazzersbox.in_vixen.20.06.12.jessie.saint.and.kiara.cole.mp4
https://gounlimited.to/l5tt13o7qe8d/monstercurves.20.03.20.violet.starr.shes.here.to.clean.mp4
https://gounlimited.to/l64cm8zrnlxn/FakeAgent.20.03.05.Mishelle.Klein.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/l64lzh4diwbj/Day_With_A_Pornstar_-_Joanna_Angel_-_Joanna's_Oily_Workout.mp4
https://gounlimited.to/l6aol2rf2oz2/FakehubOriginals.20.05.11.Sofia.Lee.And.Asia.Rae.XXX.SD.MP4-
KLEENEX.mp4
https://gounlimited.to/l6nj4in691db/_RKPrime_Nicolette_Shea_Big_Dick_Energy.mp4
https://gounlimited.to/l6q9l10vttwb/FakeTaxi_presents_Mia_Rose_-
_4_Loads_of_Spunk_for_Teen___01.06.2020.mp4
https://gounlimited.to/l6udnfqhe8jp/Www.brazzersbox.in__StrandedTeens.20.04.01.Mackenzie.Mace.Tipping.
The.Waitress.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/l71ji66reokt/www.0xxx.ws_FakeTaxi.20.06.15.Nathaly.Cherie.XXX.1080p.MP4-
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https://gounlimited.to/l7lmx65a434u/Anya_Olsen,_April_Brookes,_Ariella_Ferrera,_Casey_Calvert,_Cassidy_
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https://gounlimited.to/l7svc9zz46z5/[TeensLikeItBig]_Lana_Harding_(Time_And_Again_/_03.23.2020).mp4
https://gounlimited.to/l7xqs1ii0e4e/BrazzersExxtra_Nicolette_Shea_ALLWAYSWELL.mp4
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.Mutiny.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/l8qiviwa6kgg/Real_Wife_Stories_20_05_08_Brandi_Love_And_Holly_Hotwife_Cream
pie_My_Wife.mp4
https://gounlimited.to/l8ro53wgu1t6/Www.brazzersbox.in_FirstAnalQuest.20.05.29.Tina.Grey.XXX.SD.MP4-
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https://gounlimited.to/l8v697mmohml/DigitalPlayground.20.03.25.Anya.Olsen.And.Ana.Foxxx.Matriarch.Part.
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https://gounlimited.to/l90koufi4g2o/RKPrime.20.06.01.Asia.Rae.Boyfriend.Snatcher.XXX.1080p.MP4-
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https://gounlimited.to/l95712xturkb
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80p.MP4-KTR.mp4
https://gounlimited.to/l9a2ss1bphkf
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https://gounlimited.to/la0arg3uqsix/Azul_Hermosa,_Zac_Wild_-_Questions_&_Azul_-_RK_Prime_-
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https://gounlimited.to/la0ep45ub1ba/PervsOnPatrol.20.02.05.Aria.Kai.Stretch-Sister.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/la97s4ka6r73/erito.20.04.14.meet.erotic.model.kanade.mizuki.jp.mp4
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https://gounlimited.to/lanwlmzrfwep/DayWithAPornstar.20.03.29.Victoria.June.XXX.1080p.MP4-
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https://gounlimited.to/lapp4ltahw9r/Angela.White.Jean.Queen.BigWetButts.anal.mp4
https://gounlimited.to/lat0n7uz5srt/FakehubOriginals_-_Sofia_Lee,_Yves_Morgan,_Asia_Rae_-
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https://gounlimited.to/lbkgrqgijkna/lookathernow.20.03.05.zoey.monroe.wet.and.sticky.weekend.mp4
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KLEENEX.mp4
https://gounlimited.to/ld26da81giw3/rkprime.20.06.04.nicolette.shea.big.dick.energy.mp4

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https://gounlimited.to/ldyfbbw1vwen/ZZ_Series_Romi_Rain_Queen_ALLWAYSWELL.mp4
https://gounlimited.to/ldzf0c91lsd2/faketaxi.20.04.01.ava.austen.mp4
https://gounlimited.to/leiyhjyg6wb6/www.0xxx.ws_TrueAmateurs.20.06.08.Portia.Paris.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/lejmvf11mvcs/Big.Wet.Butts.-.Remy.Lacroix.Remys.Ring.Toss.-.Brazzers.mp4
https://gounlimited.to/lewklzlegrmi
https://gounlimited.to/lf2nch0sevb2/[TransAngels]_Janelle_Fennec,_Silas_Stone_-
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https://gounlimited.to/lfq08x7dppkf/www.0xxx.ws_RealityKings.20.04.20.Quinton.James.Gabbie.Carter.I.Fuck
ed.Your.Boyfriend.To.Make.You.Mad.XXX.1080p.MP4-MaMi.mp4
https://gounlimited.to/lg674iygx49j/[DaneJones]_Alexis_Crystal_(Sweet_sexy_school_uniform_roleplay_/_06.
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https://gounlimited.to/lgflf3nikref/Www.brazzersbox.in_BigWetButts.20.05.01.Abella.Danger.So.Fresh.And.So
.Clean.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/lgmswai9zc8t/Moms_In_Control_20_04_23_Alexis_Fawx_And_Aubree_Valentine_Sne
ak_Peek_And_Fuck.mp4
https://gounlimited.to/lgnv4h1bc6kc
https://gounlimited.to/lgsl4qsm6wa7/DaneJones.20.04.17.Best.Of.Ebony.Girls.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/lgwuhr97vjmq/RKDupes.20.05.28.The.Lil.Freak.Under.The.Sheets.XXX.INTERNAL.10
80p.MP4-TRASHBIN.mp4
https://gounlimited.to/lgznwsqjdo35/trueamateurs.20.04.14.jessica.starling.mp4
https://gounlimited.to/lhaf2nunrrwf
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https://gounlimited.to/lhqgh4x4lik7/publicpickups.20.02.06.leah.lee.loving.leah.mp4
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https://gounlimited.to/lhuvhnnrmmz5/[SneakySex]_Gabriela_Lopez_(Family_Road_Trip_Dick_/_06.01.2020).
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https://gounlimited.to/li8b6a96kubr/Twistys.20.05.11.Ariana.Marie.Big.Black.Chair.XXX.1080p.mp4
https://gounlimited.to/lj4ffpnop8l2/DaneJones_Aislin_ALLWAYSWELL.mp4
https://gounlimited.to/ljbz4gqaht9g/bex.20.06.05.best.of.brazzers.first.anals.mp4
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https://gounlimited.to/ljh2d5f5zuvp/lilhumpers.20.03.10.brittany.andrews.humpers.infestation.mp4
https://gounlimited.to/ljjbw91sjdqn/www.0xxx.ws_BigWetButts.20.06.16.Angela.White.Jean.Queen.XXX.108
0p.MP4-KTR.mp4
https://gounlimited.to/ljk83sd6wa1f
https://gounlimited.to/ljutz7plgizl/www.0xxx.ws_TrueAmateurs.20.06.05.Hayliexo.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/lko9tlkd4jgf/Www.brazzersbox.in_[LookAtHerNow]_Emily_Willis_-
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https://gounlimited.to/lkphpdz8i2fl
https://gounlimited.to/lkqi54ni52ys/www.0xxx.ws_MilfsLikeItBig.20.05.30.Tommie.Jo.MILF.In.The.Closet.X
XX.1080p.MP4-KTR.mp4
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https://gounlimited.to/lkw7hc45btxv/BigTitsAtWork.20.03.12.Alena.Croft.Shes.A.Smooth.Operator.XXX.1080
p.MP4-KTR_[Pornxbit.com].mp4
https://gounlimited.to/lkyelwu3re1g/Www.brazzersbox.in_BlacksOnBlondes.20.05.26.Marilyn.Johnson.XXX.S
D.MP4-KLEENEX.mp4
https://gounlimited.to/ll7ygqco089g/MomsLickTeens.20.05.27.Maggie.Green.And.Sofie.Reyez.Come.Home.W
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https://gounlimited.to/llevybremslf
https://gounlimited.to/llivqh21025t/Www.brazzersbox.in_EuroTeenErotica.20.05.11.Kinuski.Naughty.Nurse.Fu
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https://gounlimited.to/llj9qg7utxb3.html
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https://gounlimited.to/llly0rtkr8co
https://gounlimited.to/llnnasvry0u6/[WhenGirlsPlay]_Ana_Foxxx,_Lauren_Phillips_(Hot_Water_/_02.15.2020)
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https://gounlimited.to/llvyvg7nacs6/TurningTwistys.20.06.01.Sabina.Rouge.And.Liv.Wild.Even.Cowgirls.Get.
Horny.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/lm2e40r9bq1z/Twistys.20.06.03.Cherie.Deville.A.Taste.Of.Cherie.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/lm6n63a4952g/Public_Pickups.mp4
https://gounlimited.to/lm9paq57uscq/DigitalPlayground.19.12.06.Alessandra.Jane.The.Pulse.Episode.1.XXX.10
80p.MP4-KTR.mp4
https://gounlimited.to/lmbkdh3d01v3/bigwetbutts-kagney-linn-karter-anally-reamed-in-her-jea_720p.mp4
https://gounlimited.to/lmbprl3wtze3/HotAndMean.20.04.08.Lena.Paul.And.Skye.Blue.Stay.Away.From.My.Br
other.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/lmcj7kj143j4/GirlsGonePink.20.06.08.Aidra.Fox.And.Desiree.Dulce.Prank.Wars.XXX.1
080p.MP4-KTR.mp4
https://gounlimited.to/lmf0p7y71heu/When_Girls_Play_Alex_Blake_ALLWAYSWELL.mp4
https://gounlimited.to/lmhjsezcdrv8/[Twistys]_Cherie_Deville_(A_Taste_Of_Cherie_/_06.03.2020).mp4
https://gounlimited.to/lmi4gt260rck/DaneJones.20.03.13.Gina.Varney.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/lmjmbx6m2cv7/Brazzers_Exxtra_20_04_22_Adriana_Chechik_The_Malcontent_Mistres
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https://gounlimited.to/lml5p1e9fguh/FakeHostel.20.05.05.Kathy.Anderson.And.Isabella.Deltore.XXX.1080p.M
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https://gounlimited.to/lmtxe4jd1qh7/[RKPrime]_Kira_Queen,_Aruna_Aghora_(Threesome_/_05.30.2020).mp4
https://gounlimited.to/lmx3lygvpsy1/[DoctorAdventures]_Sienna_Day_(Can_You_Feel_That?_/_02.16.2020).
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https://gounlimited.to/ln07qh1x3zlq/Www.brazzersbox.in_RealityJunkies.20.06.12.Kiara.Cole.Babysitter.With.
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https://gounlimited.to/lndxbvjhzbed/BrazzersExxtra.20.03.23.Gina.Valentina.Squirtboarding.XXX.SD.MP4-
KLEENEX.mp4
https://gounlimited.to/lnnuuvd4ee0i/MassageRooms.19.12.07.Anastasia.Brokelyn.And.Madison.Mcqueen.XXX
.1080p.MP4-KTR.mp4
https://gounlimited.to/lnp0630ukrzu/DigitalPlayground.20.06.01.Vanessa.Sky.Falling.From.Grace.Part.3.XXX.
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https://gounlimited.to/lo6ei7b1oa0e
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https://gounlimited.to/lp75o88eh7iq/BrazzersExxtra.20.04.27.Vina.Sky.The.Gape.That.Keeps.On.Giving.XXX.
1080p.MP4-KTR.mp4
https://gounlimited.to/lpb6toevi4w0/PornstarsLikeItBig_-_Angela_White_-
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XX.1080p.MP4-KTR.mp4
https://gounlimited.to/lpi4vzn35mda/NICE_FUCK_WITH_HOOTT_MILLFF.mp4
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https://gounlimited.to/lpwdd0ym5xxq/MassageRooms.19.11.13.Renata.Fox.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/lpx45wsooz8c/Siouxsie.Q.Anal.Kitchen.Cleaning.DayWithAPornstar.mp4
https://gounlimited.to/lqzswltsvf4f/DaneJones.20.06.16.Jenny.Wild.Solo.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/lr5nnwqq54ll/BigWetButts.20.03.29.Gia.Derza.Oily.Af.Anal.XXX.SD.MP4-
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https://gounlimited.to/lrcvs1fjw2si/Www.brazzersbox.in_Private.20.06.13.Veronica.Leal.And.Katrina.Moreno.
Gonzo.Anal.Threesome.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/lrrb84behaq6
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SDCLiP.mp4
https://gounlimited.to/lruinvvqihxw/Www.brazzersbox.in__Tushy.20.03.29.Adira.Allure.XXX.2160p.MP4-
KTR.mp4
https://gounlimited.to/lrvpjwpev8px/Www.brazzersbox.in_HandsOnHardcore.20.06.08.Stacy.Cruz.Passionate.P
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https://gounlimited.to/lryd90s4oquc
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https://gounlimited.to/ls6fuzg13knd/Reality_Kings_-_RK_Prime_-_Kira_Queen,_Aruna_Aghora,_Sabby_-
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https://gounlimited.to/ls7pjidhwa95/FakehubOriginals.20.05.23.Best.Of.Anal.Antics.XXX.MP4-SDCLiP.mp4
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https://gounlimited.to/ls9s270v5x8n/[RKPrime]_Nicolette_Shea_(Big_Dick_Energy_/_06.04.2020).mp4
https://gounlimited.to/lsolbas78dnz
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https://gounlimited.to/lsw1hlhspthb/HotAndMean.19.12.17.Jessa.Rhodes.And.Molly.Stewart.Horny.For.The.H
olidays.Part.1.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/lt3mnryl0a4s/[RKPrime]_Aften_Opal_(Slippery_Ride_/_04.07.2020).mp4
https://gounlimited.to/lth3igw97s9s/Gabbie.Carter.Cifted.Big.Naturals.04.FTVGirls.2020.bigtits.solo.mp4
https://gounlimited.to/ltn45a7exxoi/www.0xxx.ws_Twistys.20.06.03.Cherie.Deville.A.Taste.Of.Cherie.XXX.10
80p.MP4-KTR.mp4
https://gounlimited.to/lu0ov8y6109r
https://gounlimited.to/lu9ivujbt57k/erito.20.03.10.nymphos.a.face.fucking.freak.jp.mp4
https://gounlimited.to/ludnkbzaww0x/Dirty_Masseur_20_05_05_Karma_RX_How_To_Fuck_Your_Masseur.m
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https://gounlimited.to/lugxxnd05gcd/RKPrime_Alyssa_Reece_ALLWAYSWELL.mp4

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_Ramon_Nomar,_Dolly_Little_A_Little_Love___10.6.2020.mp4
https://gounlimited.to/lv7wg93xprix/[RKPrime]_Lexi_Dona_(Lithe_Lexi_/_03.17.2020).mp4
https://gounlimited.to/lvbs3num4ttb/MommyGotBoobs_-_Rebecca_More_-_Just_One_Clit_Away.mp4
https://gounlimited.to/lvj9dc91ar1l/Twistys.Demi.Molly.And.Desiree.15.5.2020.SD.mp4
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1080p.MP4-KTR_[Pornxbit.com].mp4
https://gounlimited.to/lw8thhj5cfu3/Day_With_A_Pornstar.20.05.10.Alexis.Fawx.Alexis.Dildo.Harvest.XXX.1
080p.mp4
https://gounlimited.to/lwd73earqtk2/trueamateurs.20.03.05.jessica.starling.mp4
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For.Breakfast.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/lwo743wejdcm/brazzersexxtra-halle-hayes-a-wild-and-crazy-cock-stuffi_360p.mp4
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https://gounlimited.to/lwst1ylnys38/Www.brazzersbox.in_[MyDirtyMaid]_Alyssia_Kent_-
_Fuckable_Maid_Makes_Dirty_Money_(12.05.2020)_rq.mp4
https://gounlimited.to/lwvq52jvgqxc/lesbea.20.03.08.lexi.dona.and.atlanta.moreno.mp4
https://gounlimited.to/lwz9stuobmjf/FakeAgent.20.05.01.Sofia.The.Bum.XXX.1080p.MP4-KTR.mp4
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https://gounlimited.to/lx6zcik6iycm/Lesbea.20.05.10.Best.Of.Scissoring.Orgasms.XXX.1080p.mp4
https://gounlimited.to/lxce6xvbpeho/publicagent.20.02.18.subil.arch.mp4
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https://gounlimited.to/lxgk50wgk5nr
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With.My.BFF.XXX.1080p.MP4-KTR_[Pornxbit.com].mp4
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SDCLiP.mp4
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_Adria_Rae_-_Wet_T_Shirt_(720p).mp4
https://gounlimited.to/ly5kc6a3jo49/[PublicAgent]_Subil_Arch_(MILFS_Perfect_Body_Fucked_for_Cash_/_0
2.18.2020).mp4
https://gounlimited.to/ly9njhq9e5pg/RKPrime_-_Aidra_Fox_-_A_Cock_For_Your_Thots.mp4
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https://gounlimited.to/lyffgjl59i45/Twistys.20.05.25.Maria.Fun.In.The.Sun.XXX.MP4-SDCLiP.mp4
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https://gounlimited.to/lzbqk3x36w93/[FakeDrivingSchool]_Lady_Dee_(Suck_My_Disinfected_Burning_Cock
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https://gounlimited.to/lzp1h5eoa46i/[DigitalPlayground]_Anya_Olsen,_Ana_Foxxx_(Matriarch_Part_1_/_03.2
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https://gounlimited.to/lzpwlsxi7jr7/Www.brazzersbox.in__Private.20.04.18.Lana.Roy.Enjoys.Black.Stallion.X
XX.1080p.MP4-KTR.mp4
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https://gounlimited.to/m02cjcsl3cbi/[JulesJordan]_Skylar_Vox_(19_Year_Old_Teen_Skylar_Vox_Shows_Off_
Her_34_DD_Big_Naturals_/_06.01.2020).mp4
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https://gounlimited.to/m0d1d3apyg54/teenslovehugecocks.20.06.10.dolly.little.a.little.love.mp4
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https://gounlimited.to/m0otpk8pktzn/TrueAmateurs_-_Kriss_Kiss_-
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https://gounlimited.to/m14ve1gw18sl/Shae_Summers_Reality_Kings_(15).mp4
https://gounlimited.to/m1d0ka06r57r/RKDupes.20.05.28.The.Lil.Freak.Under.The.Sheets.XXX.MP4-
SDCLiP.mp4
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https://gounlimited.to/m1li71fxtmut/RKPrime.20.05.31.Bae.Egypt.Desperately.Seeking.Panties.XXX.1080p.M
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https://gounlimited.to/m2i7d2i50kai/LilHumpers.20.03.24.Bridgette.B.The.Half.Pint.Stripper.XXX.SD.MP4-
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https://gounlimited.to/m2k7lh9hq2zd
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https://gounlimited.to/m3kznuhjgxki/DayWithAPornstar.20.05.31.Kenzie.Taylor.Kenzie.Chooses.Dick.Over.Di
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https://gounlimited.to/m3vthba1y1c6/Abella_Danger,_Kira_Noir,_Danny_D_-_Maid_For_A_Threesome_-
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https://gounlimited.to/m50fmf5bg29e/[RKPrime]_Aidra_Fox_(A_Cock_For_Your_Thots_/_06.12.2020).mp4
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https://gounlimited.to/m55jtkvqwb6g/SneakySex.20.05.18.Vanna.Bardot.Cheaters.Delight.XXX.MP4-
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https://gounlimited.to/m57ows4soe33/www.0xxx.ws_BrazzersExxtra.20.06.01.Halle.Hayes.A.Wild.And.Crazy.
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https://gounlimited.to/m58y2plwjwgp/RealityKings_-_Hadley_Viscara_-
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https://gounlimited.to/m5irvarohglo/www.0xxx.ws_BrazzersExxtra.20.05.24.Desiree.Dulce.Out.From.The.Dee
p.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/m5s9zp282iri/Www.brazzersbox.in_X-Angels.20.04.21.Hanna.Rey.XXX.2160p.MP4-
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https://gounlimited.to/m5wdi1i0o81h/www.0xxx.ws_DayWithAPornstar.20.06.11.Siouxsie.Q.Anal.Kitchen.Cle
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kman.Make.Out.Artist.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/m6bmjda3s46c/FakeTaxi.20.06.01.Mia.Rose.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/m6cuco3kl3py/www.0xxx.ws_ElegantAnal.20.06.02.Ana.Foxxx.It.Happened.One.Night.
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https://gounlimited.to/m6k9xi7sdqxd/DaneJones.20.02.28.Aaeysha.XXX.1080p.MP4-
KTR_[Pornxbit.com].mp4
https://gounlimited.to/m6kt3v6g5msm/BrazzersExxtra.20.05.06.Best.Of.Brazzers.Nurse.Appreciation.Day.XX
X.1080p.MP4-KTR.mp4
https://gounlimited.to/m6oqfyuv5i1z/FakehubOriginals.20.03.21.Lexi.Dona.And.Asia.Rae.XXX.MP4-
SDCLiP.mp4
https://gounlimited.to/m6pj4x8rxm0k/Public_Pickups_Leah_Lee_-_Loving_Leah.mp4
https://gounlimited.to/m6q4dj4sw982/PublicAgent.20.05.15.Sereyna.Gomez.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/m6u082t7d0zu/PublicAgent_-_Kandy_Kors_-
_Tiny_Russian_takes_cock_for_cash_(10_04_2018).mp4
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https://gounlimited.to/m70980nm8byz/www.0xxx.ws_TrueAmateurs.20.06.01.Mia.Bandini.XXX.1080p.MP4-
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https://gounlimited.to/m72aq8vr4eht/Www.brazzersbox.in_DevilsFilm.20.05.20.Alura.Jenson.Put.Up.Or.Shut.
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https://gounlimited.to/m75tup6lpu7y
https://gounlimited.to/m75tup6lpu7y/Nicole_Aniston_-_Fix_Your_Fucking_Marriage.mp4
https://gounlimited.to/m77l64qxzsa6/DirtyMasseur.20.06.06.Luna.Star.Honeymoon.Rubdown.XXX.1080p.MP
4-KTR.mp4
https://gounlimited.to/m77zu5bv9pyz/PublicAgent.20.02.04.Lady.Zee.XXX.MP4-SDCLiP.mp4
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https://gounlimited.to/m7dnmw1zs5fj/Emily_Willis_-_Cocked_On_Camera.mp4
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https://gounlimited.to/m7zj9o6a5med/[HotAndMean]_Adriana_Chechik,_Penny_Pax_(The_Malcontent_Mistre
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https://gounlimited.to/m838e3wfage6/lesbea.20.03.05.cristal.caitlin.and.atlanta.moreno.mp4
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https://gounlimited.to/maqur03w6pkh/[SneakySex]_Gabriela_Lopez_(Family_Road_Trip_Dick_/_06.01.2020).
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https://gounlimited.to/maw2n23957ux/[DigitalPlayground]_Paige_Owens_(Lucky_Seven_Episode_5_/_04.13.
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https://gounlimited.to/maz49cp4bcvd/Hot_And_Mean.20.05.27.Serena.Santos.And.Alina.Belle.Masseuse.Rival
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https://gounlimited.to/mb2daf5cyac5
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https://gounlimited.to/mbljtckktpvg/Www.brazzersbox.in_[LookAtHerNow]_Edible_Aubrey_-
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https://gounlimited.to/mcyq607sx9fq/Peta_Jensen_-_Best_Of_Brazzers.mp4
https://gounlimited.to/md5rzht8abl7/Teens_Love_Huge_Cocks_-_Vina_Sky_Anal_In_The_Sun.mp4
https://gounlimited.to/md9qeg17pr7x/Www.brazzersbox.in__SisLovesMe.20.04.17.Brooke.Haze.Her.Pussys.Al
l.Wet.XXX.1080p.MP4-KTR.mp4
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https://gounlimited.to/mdlqtvqla4ys/We_Live_Together.20.05.08.Episode.4.Saying.Goodbye.XXX.1080p.mp4
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KTR.mp4
https://gounlimited.to/mdw95auym3ui/fakeagent.20.02.06.madison.mcqueen.mp4
https://gounlimited.to/me4xu366sirs/Pervs_OnPatrol_Kiara_Edwards_ALLWAYSWELL.mp4
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XX.1080p.MP4-KTR_[Pornxbit.com].mp4
https://gounlimited.to/meeslgegkyfz/Brittany_Andrews,_Nicolette_Shea,_Jordi_El_Nino_Polla_-
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https://gounlimited.to/mehzv0o27v8j/[RKPrime]_Kataljna_Kittin_(Wet_Kittin_/_05.29.2020).mp4
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https://gounlimited.to/mf6sivflonau/MomXXX.20.04.27.Kathy.Anderson.And.Isabelle.Deltore.XXX.MP4-
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https://gounlimited.to/mffsy4ozqn14/www.0xxx.ws_DaneJones.20.06.09.Alexis.Crystal.XXX.1080p.MP4-
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https://gounlimited.to/mfqq3qcejmgt/Aften.Opal.Massage.Mutiny.TeensLoveHugeCocks.massage.mp4
https://gounlimited.to/mfssnjhodzqw/Www.brazzersbox.in__LilHumpers.20.03.24.Bridgette.B.The.Half.Pint.St
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https://gounlimited.to/mg92zic23jxa
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https://gounlimited.to/mgiuo4bjlzbb/Twistys.20.06.08.Dakota.On.Display.XXX.1080p.mp4
https://gounlimited.to/mgmhxv9vqwt7/Www.brazzersbox.in_AssParade.20.04.27.Nikki.Benz.XXX.SD.MP4-
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https://gounlimited.to/mgpyi542q5se/LookAtHerNow.20.04.02.Lexi.Lore.Clothing.Haul.XXX.1080p.MP4-
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https://gounlimited.to/mgsdoyvm5vq3/IKnowThatGirl.20.04.03.Kendra.Spade.Kendras.Squirting.Workout.XX
X.SD.MP4-KLEENEX.mp4
https://gounlimited.to/mh1rnb497dfv/MomXXX.20.06.13.Florane.Russell.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/mh1z9rdlsxju/fakehuboriginals.20.06.17.best.of.sexy.squirters.mp4
https://gounlimited.to/mh6vztlfl6yq/[Twistys]_Dakota_(On_Display_/_06.08.2020).mp4
https://gounlimited.to/mh8m9dg39qlf/Kataljna.Kittin.Wet.Kittin.RKPrime.hardcore.mp4
https://gounlimited.to/mh8xlymkcpsd/www.0xxx.ws_FakehubOriginals.20.06.12.Eva.Elfie.Solo.XXX.1080p.M
P4-KTR.mp4
https://gounlimited.to/mhaa7zp1epyf/Www.brazzersbox.in_NewSensations.20.05.20.Lacy.Lennon.XXX.SD.M
P4-KLEENEX.mp4
https://gounlimited.to/mhe54qohh5mn/[MofosBSides]_Lexie_Fux_(Porn_Pleasure_/_06.02.2020).mp4
https://gounlimited.to/mhjmvadbnmyh/RealityKings_Kendra_Lust_ALLWAYSWELL.mp4
https://gounlimited.to/mhoa9uvfz755/LilHumpers_-_Alexis_Fawx_-_Lil_Jailbird.mp4
https://gounlimited.to/mhrmdwe4qz7c/Lil_Humpers.20.04.21.Joslyn.James.Lil.Lawn.Gnome.XXX.1080p.mp4
https://gounlimited.to/mhsy97mdk5i7/RKDupes.20.05.20.Its.Juicy.XXX.INTERNAL.1080p.MP4-
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https://gounlimited.to/mhwd2dzizh20/TrueAmateurs_presents_NoFaceGirl_in_Babe_With_Hot_Body_Gets_Cr
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https://gounlimited.to/mi97cy5syxty/Www.brazzersbox.in_MilfsLikeItBig.20.05.30.Tommie.Jo.MILF.In.The.C
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https://gounlimited.to/mibzleihw9r6/RealityKings_-_RKPrime_presents_Bae_Egypt_-
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https://gounlimited.to/mirwafojmmjg/Www.brazzersbox.in_DoctorAdventures.20.04.27.Bella.Rose.Big.Therm
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https://gounlimited.to/mjozlsed58j2/TransAngels_presents_Aubrey_Kate_Unplug_It___19.03.2020.mp4
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80p.MP4-KTR.mp4
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https://gounlimited.to/mkwtm1u143sx/Www.brazzersbox.in__Deeper.20.04.09.Kyler.Quinn.XXX.1080p.MP4-
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https://gounlimited.to/mma6sumzc3sl/Sneaky_Sex_-_Karlee_Grey_-_Super_Hot_Masseuse.mp4
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XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/mn322bhtrzr4/www.0xxx.ws_BrazzersExxtra.20.06.09.Best.Of.Brazzers.Sharing.Stepsibl
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https://gounlimited.to/mncpfuun3ytg/FakeHostel_Anissa_Kate_They_ALLWAYSWELL.mp4
https://gounlimited.to/mnfj02hvnu9q/Www.brazzersbox.in__DirtyWivesClub.20.04.09.Jasmine.Jae.XXX.2160
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https://gounlimited.to/mnoljps1uvq6
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https://gounlimited.to/moazngqvy647/ShareMyBF.20.06.14.Nadia.Jay.Lala.Ivey.1080p.mp4
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https://gounlimited.to/moe0hwy9gh4w/lesbea.20.05.05.lady.bug.and.gina.varney.mp4
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https://gounlimited.to/mpv551qsn675/BabyGotBoobs_-_Sarah_Banks_-_Feelin_Myself_(10_04_2018).mp4
https://gounlimited.to/mq1l6xyo1t6t/Www.brazzersbox.in_BangBrosClips.20.06.13.Kylie.Rocket.XXX.SD.MP
4-KLEENEX.mp4
https://gounlimited.to/mq2c0f4o61qo/erito.20.03.27.playing.with.mikakos.big.titties.jp.mp4
https://gounlimited.to/mqh44ypipdek/Www.brazzersbox.in__TeamSkeetDupes.20.04.22.Before.You.Leave.XX
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https://gounlimited.to/mqiugja7hgh0/Www.brazzersbox.in_Blacked_-_Valentina_Nappi_-_Vacation.mp4
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https://gounlimited.to/msnf41e0sgal/Aften_Opal,_Scott_Nails_-_Massage_Mutiny_-
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https://gounlimited.to/msxoxumxbami/trueamateurs.20.04.30.bella.tina.mp4
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https://gounlimited.to/mv3zcy2140em/RKPrime.20.03.24.Luna.Star.Kings.Spa.Luna.XXX.1080p.MP4-
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https://gounlimited.to/mvaba1ezh4le/rkprime.20.03.17.lexi.dona.lithe.lexi.mp4
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https://gounlimited.to/mw1n8g0r0pta/Public_Agent_-_Lydia_Black.mp4
https://gounlimited.to/mw7bwu644nd2/Mofos_-_Haley_Hill-Facial_for_Blonde_Artist.mp4
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https://gounlimited.to/mwr6n5fl73b4/Lesbea.20.03.29.Lexi.Dona.And.Asia.Rae.XXX.1080p.MP4-
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https://gounlimited.to/mwre7dbre6tr/Ariella_Ferrera,_Kyle_Mason_-_Lick_My_Limo_-_Real_Wife_Stories_-
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https://gounlimited.to/mxn56rwqvcwg/Www.brazzersbox.in_PervMom.20.05.23.Linzee.Ryder.She.Dreams.Ab
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s.Bikini.Threesome.XXX.1080p.mp4
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https://gounlimited.to/my7juvcvdmi2/Www.brazzersbox.in_FootsieBabes.20.05.25.Cherry.Kiss.I.Know.You.W
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https://gounlimited.to/myzl52l94d4o/Big_Naturals_Codi_Vore_-_Cum_For_Codi.mp4
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https://gounlimited.to/n0iwovhn7r13/[HotAndMean]_Karma_RX,_Abella_Danger_(Neon_Dreaming_/_04.10.2
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https://gounlimited.to/n0lr5zvril8n
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https://gounlimited.to/n1gf87tm43nj/Www.brazzersbox.in_BlackedRaw.20.05.11.Kenzie.Reeves.XXX.SD.MP
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https://gounlimited.to/n5kdavqhgayo/www.0xxx.ws_PervsOnPatrol.20.05.31.Kiara.Edwards.Pervy.Yoga.Spy.X
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https://gounlimited.to/n5klq0sfap6l/RKPrime.20.06.12.Aidra.Fox.A.Cock.For.Your.Thots.XXX.1080p.MP4-
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https://gounlimited.to/n5nhlt5t44so/FakehubOriginals_-_Eva_Elfie_-_Teen_Dream_Masturbation.mp4
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XX.1080p.MP4-KTR.mp4
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https://gounlimited.to/n63itid762l2/IKnowThatGirl.20.03.13.Nicole.Rey.Early.Bird.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/n6erumqsv2hd/danejones.20.03.23.gina.varney.mp4
https://gounlimited.to/n6ezwv75unxc/Www.brazzersbox.in__DayWithAPornstar.20.04.16.Luxury.Girl.Luxurys
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https://gounlimited.to/n6hac7kj4djk
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https://gounlimited.to/n73h1m5ng60u/www.0xxx.ws_RKPrime.20.05.30.Kira.Queen.And.Aruna.Aghora.Three
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https://gounlimited.to/n7bw5uru68a4/[RoundAndBrown]_Ashley_Aleigh,_Violet_Smith_(Jawbreakers_/_02.23
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https://gounlimited.to/n7ccpcdlize7/FakeTaxi.20.03.18.Ginebra.Bellucci.And.Anastasia.Brokelyn.XXX.MP4-
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https://gounlimited.to/n8hsprt7d3yc/PervsOnPatrol.20.05.31.Kiara.Edwards.Pervy.Yoga.Spy.XXX.SD.MP4-
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https://gounlimited.to/n8jntkacd6wk/RKPrime.20.05.13.Tiffany.Tatum.Tiffany.Wants.A.Taste.XXX.MP4-
SDCLiP.mp4
https://gounlimited.to/n8kdvx63eg0s/Brazzers_Exxtra.20.06.04.Aubree.Valentine.Soaking.Wet.And.Fully.Satis
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https://gounlimited.to/n8mvwuodv941/www.0xxx.ws_FakehubOriginals.20.06.12.Eva.Elfie.Solo.XXX.1080p.
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https://gounlimited.to/n9rvkaxdyvi3/BigWetButts.20.05.29.Keira.Croft.Keiras.Ass.Craves.Cock.XXX.1080p.m
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https://gounlimited.to/na5pvkc67ypn/Sneaky_Sex_-_Aubree_Valentine_Booty_Camp_.mp4
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https://gounlimited.to/nac557sctxd6/[DontBreakMe]_Alice_Merches,_Sadie_Hartz_(Two_Bunnies,_One_Cock
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https://gounlimited.to/nbmv9iiwmzja/lesbea.20.06.01.cindy.shine.and.alina.crystall.mp4
https://gounlimited.to/nc4abfejmony/PublicAgent.20.06.03.Lydia.Black.XXX.MP4-SDCLiP.mp4
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All.Seasons.XXX.MP4-SDCLiP.mp4
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SDCLiP.mp4
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XXX.1080p.MP4-KTR.mp4
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https://gounlimited.to/nes50l6jwpyu/Www.brazzersbox.in_Beauty4K.20.05.27.Tiny.Tina.XXX.SD.MP4-
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https://gounlimited.to/nfmp0rbycw8l/Big_Tits_In_Sports_Diamond_Jackson_ALLWAYSWELL.mp4
https://gounlimited.to/ng48aze99n3j/Best_Of_Brazzers_-_Hottest_Bosses_-_Brazzers_Exxtra_-_Brazzers.mp4
https://gounlimited.to/nggs6s1xdbs3/RKPrime.19.12.05.Eliza.Ibarra.Making.Deals.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/ngpa9ttr83v7/DigitalPlayground_?_The_Bewitcher-
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https://gounlimited.to/nh30mezpsvrr/Www.brazzersbox.in_21naturals.20.06.12.mia.split.power.of.love.mp4
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0p.MP4-KTR.mp4
https://gounlimited.to/nhc01mvxd05f/Www.brazzersbox.in_deeper.20.05.07.addie.andrews.mp4
https://gounlimited.to/nhc28h5jcshz/DayWithAPornstar.20.05.14.Luna.Star.Lunas.Oiled-
Up.Exercises.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/nhu84ky73oqm
https://gounlimited.to/nhylkvhw8rz1/Dane_Jones_Romy_Indy_ALLWAYSWELL.mp4
https://gounlimited.to/nhymoaaqy807/lookathernow.20.05.02.ellie.eilish.taste.tester.mp4
https://gounlimited.to/ni92lgygwvev/www.0xxx.ws_BrazzersExxtra.20.06.09.Best.Of.Brazzers.Sharing.Stepsib
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https://gounlimited.to/nigpzkhw9ggt/Realitykings_-_Sit_On_It_porn_%E2%80%93_Pornmz.mp4
https://gounlimited.to/nigqklgj3lf5/RK_Prime_20_05_05_Nicolette_Shea_Personal_Session.mp4
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https://gounlimited.to/nil3eju5x35v/Twistys.20.05.23.Bridgette.B.Bridgettes.Boob.Wash.XXX.1080p.MP4-
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https://gounlimited.to/niniof1imnhg
https://gounlimited.to/ninlqwu518kp/PornstarsLikeItBig.20.03.25.Kendra.Sunderland.Dripping.Wet.XXX.SD.
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https://gounlimited.to/nis9kzp8okrw/rkprime.20.06.16.anya.ivy.one.day.fare.mp4
https://gounlimited.to/nisjig1bu8yx/www.0xxx.ws_DayWithAPornstar.20.06.07.Rebecca.More.Rebeccas.Show
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https://gounlimited.to/nisn18x0i7bn/sneakysex.20.03.21.abella.danger.game.night.mp4
https://gounlimited.to/nisvgtq5rryw/Bigwetbutts.20.05.29.Keira.Croft.Keiras.Ass.Craves.Cock.XXX.1080p.MP
4-KTR.mp4
https://gounlimited.to/nj3si1019pca
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https://gounlimited.to/njm9g7ohfpew
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https://gounlimited.to/njr2s3wy53lw/Www.brazzersbox.in__FamilyStrokes.20.04.23.Havana.Bleu.And.Gia.Ve
ndetti.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/njtjxjlfqbtx/[Teens_Like_It_Big]_Kennedy_Leigh:_21_Hump_Street:_Remastered_(Perv
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https://gounlimited.to/nju22ej8fasq/[PublicAgent]_Alexa_Bold_(Basement_Fuck_for_Big_Tits_Blonde_/_02.2
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https://gounlimited.to/nk4uevujdgcd/www.0xxx.ws_BigWetButts.20.06.16.Angela.White.Jean.Queen.XXX.108
0p.MP4-KTR.mp4
https://gounlimited.to/nkarurhw23hj/www.0xxx.ws_BigWetButts.20.06.03.Remy.Lacroix.Remys.Ring.Toss.RE
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https://gounlimited.to/nkaw686i7jn5/[RKPrime]_Kataljna_Kittin_(Wet_Kittin_/_05.29.2020).mp4
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https://gounlimited.to/nklnvacsnotv/[DayWithAPornstar]_Joanna_Angel_(Hands_On_Joanna_/_04.07.2020).m
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rs.Sex.Tape.XXX.1080p.MP4-KTR.mp4
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https://gounlimited.to/nm6xb2q83syy/[PublicAgent]_Lydia_Black_(The_Pre-
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KTR.mp4
https://gounlimited.to/nmiexmy1cpzc/Www.brazzersbox.in_MyDirtyMaid.20.05.19.Valentina.Jewels.XXX.SD.
MP4-KLEENEX.mp4
https://gounlimited.to/nmm4gtm028l1/Humped_And_Focused.___Reality_Kings_-_XxxFiles.com_2.mp4
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https://gounlimited.to/nnvyr5ryl8rw/PublicPickUps.20.05.01.Briana.Banderas.Brianas.Outdoor.Photo.Shoot.X
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https://gounlimited.to/nojmbhc07oca
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Client.XXX.SD.MP4-KLEENEX.mp4
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https://gounlimited.to/nppe1k5i6ncu/www.0xxx.ws_RKPrime.20.06.12.Aidra.Fox.A.Cock.For.Your.Thots.XX
X.1080p.MP4-KTR.mp4
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https://gounlimited.to/npt7in0vkbps
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https://gounlimited.to/nq9buuclgl7m/Fake_Hostel_Sofia_The_Bum_ALLWAYSWELL.mp4
https://gounlimited.to/nqhasajm22z7/rkprime.20.06.16.anya.ivy.one.day.fare.mp4
https://gounlimited.to/nqhzd7d4uk5b/Big_Butts_Like_It_Big.20.05.14.Abella.Danger.Stalkfucking.mp4
https://gounlimited.to/nqu9iakp1rxt/BrazzersExxtra.20.02.28.Emily.Willis.Wheres.Your.Ring.Part.2.XXX.SD.
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https://gounlimited.to/nqv1qrrj2s60/rkprime.20.05.22.alex.coal.inside.the.outdoor.girl.mp4
https://gounlimited.to/nrftwxaoj5p8/RK_Prime___Realitykings_-
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https://gounlimited.to/ns1nks8rewcc/FakeDrivingSchool_presents_Lady_Dee_-
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https://gounlimited.to/ns63947eo55c/Www.brazzersbox.in__MyWifesHotFriend.20.04.22.Alexis.Zara.XXX.10
80p.MP4-KTR.mp4
https://gounlimited.to/nsc6edger9rb/PublicPickUps.20.03.11.Ginebra.Bellucci.Car.Loving.Hottie.Horny.For.Co
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https://gounlimited.to/nsgug51h6i26/Lesbea.20.05.05.Lady.Bug.And.Gina.Varney.XXX.MP4-SDCLiP.mp4
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0p.MP4-KTR.mp4
https://gounlimited.to/nsrh4q8ir6if/Www.brazzersbox.in_DevilsFilm.20.05.10.Sheena.Ryder.Dont.Tell.Your.Br
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https://gounlimited.to/nsv8m9ek0djw/www.0xxx.ws_DaneJones.20.06.04.Kaisa.Nord.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/nszckwvy4mat/MassageRooms.19.11.20.Liv.Revamped.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/nt466e7ql46p/danejones.20.02.21.aaeysha.mp4
https://gounlimited.to/nteiu5cgashd/PublicAgent_Full_Length_Tina_Kay_Halloween_Special_(_720P_).mp4
https://gounlimited.to/ntgwrfhj8jo2/DigitalPlayground_Gina_Valentina_ALLWAYSWELL.mp4
https://gounlimited.to/ntja51o2smy2/Www.brazzersbox.in_FosterTapes.20.04.19.Jasmin.Luv.Foster.Daughter.S
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https://gounlimited.to/ntkvzk6lx0fh/Publicpickup_-_Katarina_Muti_aka_Ariel_Temple_-
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https://gounlimited.to/ntnoq0ndycbg/RKDupes_-_Edible_Aubrey_-_Meter_Maid.mp4
https://gounlimited.to/ntny0qkxwrgs/Www.brazzersbox.in_MommyBlowsBest.20.05.13.Lilian.Stone.Baby.Batt
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https://gounlimited.to/ntpy57j0nx8m/www.0xxx.ws_DaneJones.20.06.16.Jenny.Wild.Solo.XXX.1080p.MP4-
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https://gounlimited.to/ntraa4l6nuz8/dontbreakme.20.05.15.natalie.knight.petite.blonde.cutie.mp4
https://gounlimited.to/ntw046q7gdk3/Best_Of_Brazzers_-_Sneakiest_Moments_-_Brazzers_Exxtra_-
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https://gounlimited.to/nu2mhfksmcle/MomsLickTeens.20.02.05.Kit.Mercer.And.Binky.Beaz.What.A.Pretty.Mo
uth.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/nu2or79ot0wp/Erito.20.04.14.Meet.Erotic.Model.Kanade.Mizuki.JAPANESE.XXX.MP4
-SDCLiP.mp4
https://gounlimited.to/nu33aijxrobg/Liza_Del_Sierra,_Jordi_El_Nino_Polla_-_Mail_Order_Dominatrix_-
_Milfs_Like_It_Big_-_Brazzers.mp4
https://gounlimited.to/nu3410t42a25/[BrazzersExxtra]_Kenzie_Reeves_(Piped_Down_/_04.13.2020).mp4
https://gounlimited.to/nu6syehpbw1t/RKPrime.20.03.15.Adriana.Chechik.While.You.Wait.XXX.MP4-
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https://gounlimited.to/nuett2b57bdq/Jewelz_Has_Cock_For_Breakfast_-_Jewelz_Blu_-_DayWithAPornstar_-
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https://gounlimited.to/num3puh5j614/_PervsOnPatrol_Paige_Owens_.mp4
https://gounlimited.to/nuxkb5uosop9/Www.brazzersbox.in_DayWithAPornstar.20.04.26.Aidra.Fox.Aidras.Cure
.For.Boredom.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/nv1kkyu9oizh/Brazzers_Exxtra_-_Gina_Valentina_-_What's_Your_Fantasy.mp4
https://gounlimited.to/nv7jpukr6npu/Brazzers_-_21_Hump_Street_Remastered.mp4
https://gounlimited.to/nv9lxglqpyhh/Www.brazzersbox.in_[GirlCum]_Lana_Sharapova_-
_Cumming_On_Cock_(23.05.2020)_rq.mp4
https://gounlimited.to/nvaa0fi7s0v8
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https://gounlimited.to/nvm6b7qnarcx/www.0xxx.ws_BrazzersExxtra.20.06.01.Halle.Hayes.A.Wild.And.Crazy.
Cock.Stuffing.Party.XXX.1080p.MP4-KTR.mp4
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https://gounlimited.to/nvt74r2uubv2/FakeAgent.20.05.01.Sofia.The.Bum.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/nw244eiu7zpb/FakeAgent.20.03.29.May.Thai.XXX.SD.MP4-KLEENEX.mp4

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XXX.1080p.MP4-KTR_[Pornxbit.com].mp4
https://gounlimited.to/nw4vmje9gywc/[hdss.cc]Les.Beaux.Gosses.French.Bdrip.ACC.X264.mkv
https://gounlimited.to/nw7th0fcx4ga/SneakySex_Bella_Rolland_ALLWAYSWELL.mp4
https://gounlimited.to/nwjh9z3v2bvz/RKPrime.20.01.22.Mimi.Curvaceous.Bathing.Babe.XXX.1080p.MP4-
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https://gounlimited.to/nwkivzjv8xb1/RKPrime_-_Jane_Wilde_And_Emily_Willis_-_Face-To-Face.mp4
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https://gounlimited.to/nx7i1pardsnh/fakehuboriginals.20.05.28.canela.skin.mp4
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P4-KTR_[Pornxbit.com].mp4
https://gounlimited.to/nxswoostybbq/[DaneJones]_Kinuski_(Blonde_Finn_wants_lover_inside_her_/_03.16.20
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https://gounlimited.to/ny7jxlffkend/_BrazzersExxtra_Halle_Hayes.mp4
https://gounlimited.to/nyds82if70wi/[FakehubOriginals]_Best_Of_Tight_Tiny_Teens_(04.11.2020).mp4
https://gounlimited.to/nyfyghp9zv8s/BrazzersExxtra.20.05.13.Best.Of.Brazzers.Madison.Ivy.XXX.MP4-
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https://gounlimited.to/nyl2zwohsud7
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Cock.Stuffing.Party.XXX.1080p.MP4-KTR.mp4
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https://gounlimited.to/nzdw07dch1k2/faketaxi.20.06.05.romy.indy.mp4
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P4-WEIRD.mp4
https://gounlimited.to/nzstlrd4kxzy/Lil_Humpers_-_Jasmine_Jae.mp4
https://gounlimited.to/nzvlog3w2l0w/Sabina_Rouge,_Liv_Wild_-
_Even_Cowgirls_get_Horny_(TurningTwistys.01.06.2020.720p)_VHQ_[CENTURION].mp4
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Mom.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/o0lvvhwxioqz/www.0xxx.ws_PublicAgent.20.06.03.Lydia.Black.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/o0r8ew00ehtk/[LilHumpers]_Bridgette_B_(The_Half_Pint_Stripper_/_03.24.2020).mp4
                                                   103
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https://gounlimited.to/o0uc06ou5nyd/TrueAmateurs_Hayliexo.mp4
https://gounlimited.to/o0v99rhgrvuz/Erito.20.05.29.Airis.Unlimited.Erotic.Appetites.JAPANESE.XXX.1080p.
MP4-TRASHBIN.mp4
https://gounlimited.to/o0z1dmtnbwju/www.0xxx.ws_DirtyMasseur.20.06.06.Luna.Star.Honeymoon.Rubdown.
XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/o176iubzhjl7
https://gounlimited.to/o187quwz0hzc/Www.brazzersbox.in__NubileFilms.20.03.28.Ginebra.Bellucci.Let.Me.Pl
ease.You.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/o1l9p7opgdtk/RKPrime.20.06.04.Nicolette.Shea.Big.Dick.Energy.XXX.SD.MP4-.mp4
https://gounlimited.to/o23st32faf0f/TrueAmateurs.20.06.05.Hayliexo.XXX.SD.MP4-.mp4
https://gounlimited.to/o29yh2e3d2dj/PervsOnPatrol.20.04.17.Emily.Right.Caught.My.Busty.Roomate.XXX.M
P4-SDCLiP.mp4
https://gounlimited.to/o2fk144f18az/Bae.Egypt.Desperately.Seeking.Panties.RKPrime.brown.mp4
https://gounlimited.to/o2n2fa1m9lfu/TeensLoveHugeCocks.20.05.04.Rachel.Rivers.Brave.Brace.Face.XXX.10
80p.MP4-KTR.mp4
https://gounlimited.to/o2py0d0c539b/BrazzersExxtra.20.03.05.Havana.Bleu.Destination.Pleasure.XXX.SD.MP
4-KLEENEX.mp4
https://gounlimited.to/o2u6biiaalna/Lesbea_presents_Cindy_Shine__Alina_Crystall_-
_Redhead_rebound_sex_with_Asian_bff___01.06.2020.mp4
https://gounlimited.to/o2urqa32f719/Www.brazzersbox.in_RealWifeStories.20.05.08.Brandi.Love.And.Holly.H
otwife.Creampie.My.Wife.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/o2vsdnwa8noj/Www.brazzersbox.in_MomDrips.20.05.31.Anissa.Kate.Two.Loads.XXX.
SD.MP4-KLEENEX.mp4
https://gounlimited.to/o2xzpqzw6ury
https://gounlimited.to/o3fro6wo2qif/twistys.20.05.13.paige.owens.paiges.pantyhose.squirt.mp4
https://gounlimited.to/o3rme2iab4ie/LetsTryAnal.20.05.29.Mia.Bandini.Come.In.For.Some.Tea.And.Anal.XX
X.1080p.MP4-KTR.mp4
https://gounlimited.to/o3sref65bxsu/Www.brazzersbox.in_Private.20.05.22.Billie.Star.And.Marilyn.Sugar.Interr
acial.Threesome.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/o45yto4j40dh/[Twistys]_Sabina_Rouge_(Naked_Yoga_With_Sabina_Rouge_/_06.06.20
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https://gounlimited.to/o4am7zsejn9r/DigitalPlayground_-_Alexis_Fawx_Unbound_Episode_2_[720p_HD].mp4
https://gounlimited.to/o4ebqucprc1t/StrandedTeens_-_Paige_Owens_-_Hop_On_My_Scooter.mp4
https://gounlimited.to/o4j9qdd6q8w6/HotAndMean.20.06.03.Bridgette.B.And.Kiara.Cole.Fucking.Fight.Me.X
XX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/o4milm3mbyei/www.0xxx.ws_FakehubOriginals.20.05.31.Best.Of.Ebony.Babes.XXX.1
080p.MP4-KTR.mp4
https://gounlimited.to/o4rktxk52cxz/Lesbea.20.06.01.Cindy.Shine.And.Alina.Crystall.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/o4svr8mpxiiv/[RKPrime]_Bailey_Brooke_(Surprised_By_The_Big_Package_/_06.07.20
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https://gounlimited.to/o4wmbb09xwrp/BrazzersExxtra.20.05.07.Anny.Aurora.A.Very.Anal.Maid.XXX.1080p.
MP4-KTR.mp4
https://gounlimited.to/o5fp4amtktn5/FakeHostel.20.05.05.Kathy.Anderson.And.Isabella.Deltore.XXX.MP4-
SDCLiP.mp4
https://gounlimited.to/o5h3mj864y1f/Brazzers_-
_Four_big_tit_Latinas_fight_for_bosses_big_cock_(_720P_).mp4
https://gounlimited.to/o5i2px1rtx8j/www.0xxx.ws_TeensLoveHugeCocks.20.06.10.Dolly.Little.A.Little.Love.
XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/o5xolr74pkyb/trueamateurs.20.04.08.belleniko.mp4
https://gounlimited.to/o5xpwd58bgxy/www.0xxx.ws_RKPrime.20.06.09.Angela.White.Vs.Rob.Piper.XXX.108
0p.MP4-KTR.mp4
                                                    104
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https://gounlimited.to/o65anqf1bxsz/Cassidy_Klein_&_Isis_Love_&_Jenna_Ivory_&_Karma_Rx_&_Kiara_Mi
a_&_Romi_Rain_-_Best_Of_Brazzers_First_Anals.mp4
https://gounlimited.to/o6pcji8fny1a/Becky.Bandini.Sticking.Up.For.Stepmom.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/o6q8deb5vugv/www.0xxx.ws_FakehubOriginals.20.06.12.Eva.Elfie.Solo.XXX.1080p.M
P4-KTR.mp4
https://gounlimited.to/o6q8f00t29g2/RK_Prime.20.06.01.Asia.Rae.Boyfriend.Snatcher.XXX.1080p.mp4
https://gounlimited.to/o6rjnc9z4cri/PublicAgent.20.06.03.Lydia.Black.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/o6terqbxqnfw/TrueAmateurs.20.03.23.Sweet.Bunny.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/o76fjly5hzc8/DirtyMasseur.20.06.06.Luna.Star.Honeymoon.Rubdown.XXX.SD.MP4-
.mp4
https://gounlimited.to/o78xwkic58hl/BrazzersExxtra.20.05.16.Valentina.Nappi.Jumping.For.Jizz.XXX.1080p.
MP4-KTR.mp4
https://gounlimited.to/o7a64spxz2ih/www.0xxx.ws_Twistys.20.06.10.Vina.Sky.Not.A.Cloud.In.The.Sky.XXX.
1080p.MP4-KTR.mp4
https://gounlimited.to/o7d1vmmovbm9/Www.brazzersbox.in_ExxxtraSmall.20.06.11.Luna.Daniels.Moving.Ou
t.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/o7gcixh7brrm/www.0xxx.ws_TrueAmateurs.20.06.05.Hayliexo.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/o7h1lhd5bgpy
https://gounlimited.to/o7h1lhd5bgpy/Big_Tits_at_Work_Kiara_Edwards_ALLWAYSWELL.mp4
https://gounlimited.to/o7icoz24vc1q/Www.brazzersbox.in_casualteensex.20.04.27.anna.krowe.mp4
https://gounlimited.to/o7mk828kdngu
https://gounlimited.to/o7r3jkhb0pr9/Www.brazzersbox.in__Private.20.04.03.Sofia.Curly.And.Lika.Star.Enjoy.
Anal.Threesome.XXX.2160p.MP4-KTR.mp4
https://gounlimited.to/o7ubnir5r2rq/Www.brazzersbox.in__DPFanatics.20.03.22.Bella.Mur.Getting.Caught.An
d.Lucky.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/o7xzmfhghsmc/transangels.20.04.17.elle.voneva.and.daisy.taylor.a.very.hot.frost.glass.m
p4
https://gounlimited.to/o80lwl22fvli/lookathernow.20.03.19.melody.foxx.oil.routine.mp4
https://gounlimited.to/o865wq62m7j0/www.0xxx.ws_DigitalPlayground.20.06.01.Vanessa.Sky.Falling.From.G
race.Part.3.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/o87vrhjke9ho/FakehubOriginals_presents_Cosplay___08.06.2020.mp4
https://gounlimited.to/o8btu1p8e5mp/TransAngels.19.03.28.Danika.Dreamz.Spoiled.Rotten.XXX.MP4-
SDCLiP.mp4
https://gounlimited.to/o8h9zupuyo64/www.0xxx.ws_DaneJones.20.06.11.Alina.Crystall.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/o8xi0wi3anio/www.0xxx.ws_FakeTaxi.20.02.15.Josephine.Jackson.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/o910hb8r98yd/Www.brazzersbox.in__ShoplyfterMylf.20.04.11.Lisey.Sweet.XXX.1080p
.MP4-KTR.mp4
https://gounlimited.to/o94zbw9bpfc1/Girls.Gone.Pink.-.Aidra.Fox.And.Desiree.Dulce.Prank.Wars.-.Mofos.mp4
https://gounlimited.to/o97964cne43v/fakedrivingschool.20.03.16.lucy.heart.mp4
https://gounlimited.to/o9891vdr0c3w/www.0xxx.ws_WeLiveTogether.20.06.10.Emily.Willis.Scarlett.Bloom.A
nd.Liv.Wild.Color.Me.Horny.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/o9cqyk5vh0gp/rkprime.20.06.07.rosalyn.sphinx.and.kylie.kingston.sit.on.it.mp4
https://gounlimited.to/o9cra3fwuqg9/Skylar_Vox_%E2%80%93_19_Year_Old_Teen_Skylar_Vox_Shows_Of_
Her_34_DD_Big_Naturals.mp4
https://gounlimited.to/o9lculyt4lfp/_TrueAmateurs_Mia_Bandini.mp4
https://gounlimited.to/oa1kicttt1u0/Www.brazzersbox.in_BlackedRaw_-_Eliza_Ibarra_-_Bye_Boyfriend.mp4
https://gounlimited.to/oa3q4vow018n/pervsonpatrol.20.03.02.payton.preslee.more.than.a.pool.fix.mp4
https://gounlimited.to/oa9nfpz2k5n2/FakeHostel_Anissa_Kate_They_ALLWAYSWELL.mp4
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https://gounlimited.to/oaawg6khilyq/[DayWithAPornstar]_Rebecca_More_(Rebecca's_Shower_Time_Fun_/_0
6.07.2020).mp4
https://gounlimited.to/oackwzwn4pq5/[BrazzersExxtra]_Best_Of_Brazzers_Ava_Addams_(05.22.2020).mp4
https://gounlimited.to/oah02hjfiemv/Moms_in_control_Kendra_Lust_ALLWAYSWELL.mp4
https://gounlimited.to/oao7jj0vsudp
https://gounlimited.to/oaoay6gliopt/BigWetButts.20.06.03.Remy.Lacroix.Remys.Ring.Toss.REMASTERED.X
XX.1080p.MP4-KTR.mp4
https://gounlimited.to/oauvhug58187/rkprime.20.06.01.asia.rae.boyfriend.snatcher.mp4
https://gounlimited.to/ob03bxkgk6by
https://gounlimited.to/ob45m4co1xzc/Www.brazzersbox.in__SexArt.20.04.15.Allatra.Burning.Up.XXX.2160p.
MP4-KTR.mp4
https://gounlimited.to/obrn0oi396kr/Halle_Hayes,_Danny_D,_Jordi_El_Nino_Polla_-
_A_Wild_And_Crazy_Cock_Stuffing_Party_-_Brazzers_Exxtra_-_Brazzers.mp4
https://gounlimited.to/obsa0v4fj9zt/RKPrime.20.05.02.Demi.Sutra.Sexy.Neighborhood.XXX.MP4-
SDCLiP.mp4
https://gounlimited.to/obsi2m91wsmb/MomsTeachSex.20.05.20.Kiara.Cole.And.Lexi.Luna.My.Girlfriends.Mo
m.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/oc15i88db7fv/rkprime.20.05.30.kira.queen.and.aruna.aghora.threesome.mp4
https://gounlimited.to/oc1zyy4tqee6/1080.mp4
https://gounlimited.to/ocaqh24lny81/www.0xxx.ws_RKPrime.20.06.08.Luna.Star.Fuck.My.Girl.XXX.1080p.M
P4-KTR.mp4
https://gounlimited.to/ockhsfp6osk2/[TeensLoveHugeCocks]_Vina_Sky_(Anal_In_The_Sun_/_06.08.2020).mp
4
https://gounlimited.to/ocmeu3jn9wx6/transangels.19.07.06.korra.del.rio.harder.than.diamonds.mp4
https://gounlimited.to/od0zgvm8oglg/DigitalPlayground.20.01.29.Lena.Paul.Sleepless.Nights.Part.4.XXX.1080
p.MP4-KTR.mp4
https://gounlimited.to/od4ivghgohnd/Erito.20.05.15.Waitress.Gets.Pounded.Doggystyle.JAPANESE.XXX.1080
p.MP4-TRASHBIN.mp4
https://gounlimited.to/od5g4qooyxyg/MilfsLikeItBig.20.05.30.Tommie.Jo.MILF.In.The.Closet.XXX.1080p.MP
4-KTR.mp4
https://gounlimited.to/odbfzqzexeux/Www.brazzersbox.in__Tushy.20.04.12.Ashley.Lane.And.Kenna.James.X
XX.2160p.MP4-KTR.mp4
https://gounlimited.to/oe2ts67c9xhu
https://gounlimited.to/oe8caqxkrlwp/[TeensLoveHugeCocks]_Vina_Sky_(Anal_In_The_Sun_/_06.08.2020).mp
4
https://gounlimited.to/oe9l151efkf5/publicagent.20.06.03.lydia.black.mp4
https://gounlimited.to/oe9rkafw50rj/HotAndMean_-
_Serena_Santos_And_Alina_Belle_Masseuse_Rivalry_[720p_HD].mp4
https://gounlimited.to/oear7cz1lp2j/Midnight_Threesome_-_Maya_Kendrick,_Alex_Coal_-_ShareMyBF_-
_Mofos.mp4
https://gounlimited.to/oedtdcxb6xh6/Www.brazzersbox.in_[FuckStudies]_Eliza_Thorn_-
_Let_s_play_a_wild_sex_game_(19.05.2020)_rq.mp4
https://gounlimited.to/oefdl04r525s/PublicPickUps.20.05.21.Winter.Bell.Water.Balloon.Prank.XXX.SD.MP4-
KLEENEX.mp4
https://gounlimited.to/oegltvt2ty4q/BigWetButts.20.03.29.Gia.Derza.Oily.Af.Anal.XXX.1080p.MP4-
KTR_[Pornxbit.com].mp4
https://gounlimited.to/oewi0mr3fsro/BigWetButts_-_Remy_Lacroix_-
_Remys_Ring_Toss_REMASTERED.mp4
https://gounlimited.to/oexweblihcmz/Lydia_Black,_Erik_Everhard_-_The_Pre-Lockdown_Fuck_-
_Public_Agent_-_FakeHub.mp4

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https://gounlimited.to/oeylcqwo5nyv/www.0xxx.ws_RKPrime.20.06.14.Zoey.Monroe.And.Molly.Stewart.Tickl
ing.Time.Bomb.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/of1qh4nobu4u
https://gounlimited.to/of9p5vofpaoy/DayWithAPornstar.20.05.30.Lenina.Crowne.Lenina.Gets.A.Workout.XX
X.1080p.MP4-KTR.mp4
https://gounlimited.to/ofapstch8hm1/Www.brazzersbox.in_littleasians.20.04.27.lulu.chu.and.jada.kai.grading.pa
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https://gounlimited.to/ofbc2rj7encm/[Twistys]_Vina_Sky_(Not_A_Cloud_In_The_Sky_/_06.10.2020).mp4
https://gounlimited.to/ofbccssfp9m6/Www.brazzersbox.in__StepSiblingsCaught.20.04.11.Aliya.Brynn.Ellie.Eil
ish.And.Athena.Faris.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/ofbs0l1t0fcu/BigNaturals.20.04.15.Indica.Flower.Pour.Something.Sweet.On.Me.XXX.M
P4-SDCLiP.mp4
https://gounlimited.to/off1veztmlr4/[HotAndMean]_Lena_Paul,_Skye_Blue_(Stay_Away_From_My_Brother_/
_04.08.2020).mp4
https://gounlimited.to/ofh73cahnxse/www.0xxx.ws_Twistys.20.06.06.Sabina.Rouge.Naked.Yoga.With.Sabina.
Rouge.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/og4gv6wjlav6/BrazzersExxtra.20.05.12.Best.Of.Brazzers.Titty.Tuesday.XXX.SD.MP4-
KLEENEX.mp4
https://gounlimited.to/og5cqvszsih6
https://gounlimited.to/og9ae0ihh80r/www.0xxx.ws_BrazzersExxtra.20.06.08.Madison.Ivy.And.Kendra.Sunderl
and.Bodacious.Bikini.Threesome.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/ogk7t6wjf288/_Sex_Inherited_%E2%80%93_Gianna_Dior_%E2%80%93RKPrime_%E
2%80%93_RealityKings.mp4
https://gounlimited.to/ogkdc1r266z3/Www.brazzersbox.in_TushyRaw.20.05.06.Sasha.Rose.XXX.SD.MP4-
KLEENEX.mp4
https://gounlimited.to/ogq45up8b5h5/Www.brazzersbox.in_5KPorn.20.04.29.Avi.Love.XXX.SD.MP4-
KLEENEX.mp4
https://gounlimited.to/ogzbujlmzufq/TrueAmateurs.20.03.07.Camila.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/oh05jzc13p06/[FakehubOriginals]_Best_Of_Cosplay_(06.08.2020).mp4
https://gounlimited.to/ohdpqcw0y5bf/PublicPickUps.20.03.23.Scarlett.Fall.Asking.Cutie.For.Directions.XXX.S
D.MP4-KLEENEX.mp4
https://gounlimited.to/ohyhrxoaiw3t
https://gounlimited.to/oi8w0w2myse8/HotAndMean.20.06.03.Bridgette.B.And.Kiara.Cole.Fucking.Fight.Me.X
XX.1080p.MP4-KTR.mp4
https://gounlimited.to/oihhts2yy9xf/MonsterCurves.20.03.26.Valentina.Jewels.Get.Thick.XXX.MP4-
SDCLiP.mp4
https://gounlimited.to/oijz1drmkfcq/strandedteens.20.04.29.carmen.caliente.helpful.local.gets.pussy.mp4
https://gounlimited.to/oio6g3tnm7a0/Www.brazzersbox.in_tushy.20.05.31.evelina.darling.mp4
https://gounlimited.to/oivek74g3obu/erito.20.06.12.creampie.for.harukas.pretty.pussy.jp.mp4
https://gounlimited.to/oj0qkrxuymqr/Www.brazzersbox.in_BrazzersExxtra.20.06.04.Aubree.Valentine.Soaking.
Wet.And.Fully.Satisfied.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/oj6q1yd6ej4a/ElegantAnal.20.06.02.Ana.Foxxx.It.Happened.One.Night.Part.4.XXX.MP4
-SDCLiP.mp4
https://gounlimited.to/ojme0uib7u8k/iknowthatgirl.20.02.10.solazola.college.memories.mp4
https://gounlimited.to/ojmnlkgmsx7f/Day.With.A.Pornstar.Joanna.Angel.Joanna.s.Oily.Workout.POV.Anal.MI
LF.Jewish.Tits.Ass.Booty.Whooty.BubbleButt.Butt.Doggy.Doggystyle.Backshots.Roleplay.mp4
https://gounlimited.to/ojpd6hc0jv8o/[BrazzersExxtra]_Madison_Ivy,_Kendra_Sunderland_(Bodacious_Bikini_
Threesome_/_06.08.2020).mp4
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https://gounlimited.to/okrn65t3yei7/[TeensLoveHugeCocks]_Aria_Lee,_Vanessa_Sky_(Fuck_Me_While_You
_Wait_/_03.25.2020).mp4
https://gounlimited.to/okrxee88gha0/_Best_Of_Brazzers_First_Anals.mp4
https://gounlimited.to/okslvfqkaq8w/RKDupes.20.05.27.Making.The.Sale.XXX.1080p.MP4-TRASHBIN.mp4
https://gounlimited.to/okz529pf4ubv/BigNaturals.20.03.30.Skye.Blue.Seduce.My.Masseuse.XXX.MP4-
SDCLiP.mp4
https://gounlimited.to/ol94u0bn3okf
https://gounlimited.to/ollbqxeuigb8/Turning_Twistys.20.06.01.Sabina.Rouge.And.Liv.Wild.Even.Cowgirls.Get.
Horny.XXX.1080p.mp4
https://gounlimited.to/olt31mtgnb72/92_Blonde_Busts_Her_Big_Naturals_Out_Before_Rubbing_Herself.mp4
https://gounlimited.to/olwpm2293gif/trueamateurs.20.05.08.sola.zola.mp4
https://gounlimited.to/olysjikkbgc4/PureTaboo.20.05.12.Syren.De.Mer.Taking.Care.Of.Mom.XXX.SD.MP4-
KLEENEX.mp4
https://gounlimited.to/oma74vnvvpjt/www.0xxx.ws_RKPrime.20.06.11.Jane.Wilde.And.Emily.Willis.Face-To-
Face.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/omaqsmihxcn9/BigButtsLikeItBig.20.03.21.Phoenix.Marie.Yoga.Freaks.Episode.Thirtee
n.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/omn296qacoul/iknowthatgirl.20.02.19.arietta.adams.personal.cleaner.mp4
https://gounlimited.to/omsofootkh4o/www.0xxx.ws_RKPrime.20.06.04.Nicolette.Shea.Big.Dick.Energy.XXX.
1080p.MP4-KTR.mp4
https://gounlimited.to/omzgxox242i2/DayWithAPornstar.20.06.01.Joanna.Angel.Getting.Joanna.Out.Of.The.Sh
ower.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/on41e1v9pv2l
https://gounlimited.to/oncgf09hlht9
https://gounlimited.to/oniiln4e0v2n/TransAngels.19.04.18.Jessy.Dubai.Get.Clean.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/onimr9dzel6j
https://gounlimited.to/onmmr69u83qd/[HotAndMean]_Abella_Danger,_Katana_Kombat_(Working_Out_Their
_Anger_/_02.18.2020).mp4
https://gounlimited.to/onmu89ben4g2/[BrazzersLive]_Valentine's_Day_Affair_(02.15.2020).mp4
https://gounlimited.to/onnbfaoezqof/www.0xxx.ws_WhenGirlsPlay.20.05.30.Alex.Blake.And.Scarlit.Scandal.X
XX.1080p.MP4-KTR.mp4
https://gounlimited.to/oo0103stlxiy/LilHumpers_-_Gia_DiMarco_-_Bouncing_Blue_Balls.mp4
https://gounlimited.to/oo2tzjbonvsl/WeLiveTogether.20.05.01.Episode.3.Bonding.Time.XXX.SD.MP4-
KLEENEX.mp4
https://gounlimited.to/ooq36ky9zrhe/www.0xxx.ws_RKPrime.20.06.08.Luna.Star.Fuck.My.Girl.XXX.1080p.M
P4-KTR.mp4
https://gounlimited.to/oovfkoyqv84w/www.0xxx.ws_BrazzersExxtra.20.06.02.Best.Of.Brazzers.Sneakiest.Mo
ments.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/oozlhtu98pz9/Dirty_Masseur.20.05.05.Karma.R_X.How.To.Fuck.Your.Masseur.XXX.10
80p.mp4
https://gounlimited.to/op31wrpa1nb5/[PornstarsLikeItBig]_Casca_Akashova_(All_Dolled_Up_Beauty_Queen_
Edition_/_06.10.2020).mp4
https://gounlimited.to/opb1xthkveon
https://gounlimited.to/ophbcbi8rcoi/www.0xxx.ws_RKPrime.20.06.07.Rosalyn.Sphinx.And.Kylie.Kingston.Sit.
On.It.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/opqws8mmcjg6/BrazzersExxtra.20.04.29.Luna.Star.All.Dolled.Up.Anal.Edition.XXX.10
80p.MP4-KTR.mp4
https://gounlimited.to/opsco3u7qbgr
https://gounlimited.to/opxpoqw86v6h/Bigwetbutts_Phoenix_ALLWAYSWELL.mp4
https://gounlimited.to/oq0ff5se9ud2/TransAngels.20.02.20.Bianca.Meirelles.Poolside.Ride.XXX.MP4-
SDCLiP.mp4
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https://gounlimited.to/oq48d6zh6y3g/PublicAgent.20.03.10.Jessika.Night.XXX.1080p.MP4-
KTR_[Pornxbit.com].mp4
https://gounlimited.to/oqb96gmld9hs/[LookAtHerNow]_Emily_Willis_-_Making_The_Sale_(27.05.2020).mp4
https://gounlimited.to/oqdvxqk2voi9/SneakySex.20.04.06.Nadia.Jay.And.Amber.Wildee.If.Youre.Cheating.So.
Am.I.XXX.1080p.MP4-KTR_[Pornxbit.com].mp4
https://gounlimited.to/oqj0je7dryoe/RoundAndBrown.20.03.31.Ashley.Aleigh.Spring.Showers.XXX.1080p.MP
4-KTR_[Pornxbit.com].mp4
https://gounlimited.to/oqm1vpueh2s0/Telegram_@getnewlink_dani_daniels_Driven_by_Double_Gs_-
_BRAZZERS.mp4
https://gounlimited.to/oqpewihhyhlf/[LilHumpers]_Bridgette_B_(The_Half_Pint_Stripper_/_03.24.2020).mp4
https://gounlimited.to/oqrqgkfwcn6j/GirlsGonePink.20.05.19.Alice.Bong.And.Leah.Meow.Unfaithful.Turnarou
nd.Part.2.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/or3opto1jzmd
https://gounlimited.to/or3opto1jzmd/_FakehubOriginals_Best_Of_Big_Bouncy_ALLWAYSWELL.mp4
https://gounlimited.to/or9n0054t1z9/DirtyMasseur.20.05.05.Karma.RX.How.To.Fuck.Your.Masseur.XXX.108
0p.MP4-KTR.mp4
https://gounlimited.to/orcppjn7knsq/MilfsLikeItBig_-_Ariella_Ferrera_-
_Honey_It_s_A_Motorbunny_(18_07_2018).mp4
https://gounlimited.to/orcrxebnmyqw/strandedteens.20.03.18.aubrey.thomas.hottie.has.nowhere.to.go.mp4
https://gounlimited.to/orqfm4xueyr5/trueamateurs.20.04.10.danika.mori.mp4
https://gounlimited.to/ors6pbj28mja/Alexis_Fawx_-
_The_Boudoir_Milf_(Twistys.13.06.2020.720p)_VHQ_[CENTURION].mp4
https://gounlimited.to/ory65nmc4zlq/ShareMyBF.20.05.11.Izzy.Lush.And.La.Sirena.European.Antique.Bargain
.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/orzffd2cao2f
https://gounlimited.to/os0zn4luqyt1/www.0xxx.ws_Lesbea.20.04.19.Lady.Dee.And.Atlanta.Moreno.XXX.1080
p.MP4-KTR.mp4
https://gounlimited.to/os2af9s2igh9/Abella_Danger,_Jmac_-_The_Pirate_Gets_The_Booty_-_RK_Prime_-
_Reality_Kings.mp4
https://gounlimited.to/osb464pop4t6/TransAngels_presents_Korra_Del_Rio_Long_Distance_Love.mp4
https://gounlimited.to/oslbs46363ca/www.0xxx.ws_FakeTaxi.20.06.05.Romy.Indy.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/oslffyz9yb0i.html
https://gounlimited.to/osu9z43rrd7m/Day_WithAPornstar_Alexis_Fawx_ALLWAYSWELL.mp4
https://gounlimited.to/osutvgs7prqo/sneakysex.20.04.27.katana.kombat.and.alina.belle.fucking.my.mans.sidechi
ck.mp4
https://gounlimited.to/otfaqnx565oc/[DayWithAPornstar]_Siouxsie_Q_(Anal_Kitchen_Cleaning_/_06.11.2020)
.mp4
https://gounlimited.to/otn0a63e9tmo/RealityKings_-_LilHumpers_presents_Alexis_Fawx_-
_Lil_Jailbird___11.06.2020.mp4
https://gounlimited.to/otvrw0u2wyh7/welivetogether.20.06.03.lily.rader.and.zoey.taylor.poolside.mp4
https://gounlimited.to/ou07sd5s869b
https://gounlimited.to/ou42yau7xm5g/Telegram_@getnewlink_dani_daniels_Horny_Hosts_of_Purgatory_-
_BRAZZERS.mp4
https://gounlimited.to/oue30w0n73te/Www.brazzersbox.in_SisLovesMe.20.05.08.Veronica.Vella.Plan.B.XXX.
SD.MP4-KLEENEX.mp4
https://gounlimited.to/oukeoq9p3t9u/www.0xxx.ws_DontBreakMe.20.06.05.Pamela.Morrison.Breaking.Pamela
.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/ov74klcjvg3t/Www.brazzersbox.in_[RKPrime]_Nicolette_Shea_-
_Personal_Session_(05.05.2020)_rq.mp4
https://gounlimited.to/ov7k3jtaoi6a/[MommyGotBoobs]_Bridgette_B_(Two_For_One_Special_/_03.22.2020).
mp4
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https://gounlimited.to/ovjcm5jj003q/Teens.Love.Huge.Cocks.-.Dolly.Little.A.Little.Love.-.Reality.Kings.mp4
https://gounlimited.to/ovmh9rzfkl8c/Www.brazzersbox.in_NubileFilms.20.06.05.Bella.Rolland.And.Tallie.Lor
ain.High.Rollers.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/ovqlefdsa4ep
https://gounlimited.to/ovv0suy0wrnt/[BrazzersExxtra]_Madison_Ivy,_Kendra_Sunderland_(Bodacious_Bikini_
Threesome_/_06.08.2020).mp4
https://gounlimited.to/ovzm7po3acnp/RKPrime.20.06.12.Aidra.Fox.A.Cock.For.Your.Thots.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/ow2jr1qbx5bf/sneakysex.20.04.27.katana.kombat.and.alina.belle.fucking.my.mans.sidech
ick.mp4
https://gounlimited.to/ow4u4fzd4054/rkprime.20.04.26.lacey.channing.the.milkmaid.mp4
https://gounlimited.to/ow5jwj7siigd/GirlsGonePink.20.03.30.Abella.Danger.And.Aria.Banks.Slutty.Confrontati
on.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/ow7gw4aav11i/RKPrime.20.05.23.Alexis.Fawx.Honey.Tonk.Hottie.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/ow8sqft8x12s/[DontBreakMe]_Pamela_Morrison_-_Breaking_Pamela_(05.06.2020).mp4
https://gounlimited.to/owbjkfkgudwl
https://gounlimited.to/owl87aupj01v/rkprime.20.06.08.luna.star.fuck.my.girl.mp4
https://gounlimited.to/owmw25thsdau/www.0xxx.ws_RKPrime.20.06.02.Abella.Danger.The.Pirate.Gets.The.B
ooty.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/ownkpf7caksc/Brazzers_-
_BrazzersExxtra_presents_Best_Of_Brazzers__Sharing_Stepsiblings___09.06.2020.mp4
https://gounlimited.to/owqr8twbj284/Www.brazzersbox.in_MyFamilyPies.20.06.12.Hime.Marie.Your.Dick.Hit
.Me.In.The.Face.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/owzxknom1221/RKDupes.20.06.05.Lesbehonest.Part.2.XXX.INTERNAL.1080p.MP4-
TRASHBIN.mp4
https://gounlimited.to/ox6qsno67gb4/TrueAmateurs.20.04.06.Lilu.Moon.XXX.1080p.MP4-
KTR_[Pornxbit.com].mp4
https://gounlimited.to/oxf8kip99l52/DirtyMasseur.20.05.26.Rachel.Starr.Stranger.Danger.REMASTERED.XX
X.MP4-SDCLiP.mp4
https://gounlimited.to/oxfu410nyyrf/14230520Brazzers_-
_Big_Tit_Redhead_Monique_Alexander_Fucks_her_Gym_Client_Brazzers_720p.mp4
https://gounlimited.to/oxkk0mlbl84t
https://gounlimited.to/oxkk0mlbl84t/RKPrime.20.06.12.Aidra.Fox.A.Cock.For.Your.Thots.XXX.SD.MP4-
KLEENEX.mp4
https://gounlimited.to/oxq4rbbp0ius/[RKPrime]_Bridgette_B_(The_Pornstar_Experience_/_06.03.2020).mp4
https://gounlimited.to/oxvbl6v1m5rt/HotAndMean.20.05.20.Lacy.Lennon.And.Evelyn.Claire.Jukebox.Showdo
wn.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/oxwuswn9nk84
https://gounlimited.to/oxxot1d0fw08/Www.brazzersbox.in_Tushy.20.06.07.Gina.Gerson.Elena.Vedem.XXX.S
D.MP4-KLEENEX.mp4
https://gounlimited.to/oy1kqbrqwsfl/publicpickups.20.02.27.carmen.caliente.fun.with.carmen.mp4
https://gounlimited.to/oy7i5usss75b/FakeHostel.20.03.27.Vera.Jarw.And.Aaeysha.XXX.1080p.MP4-
KTR_[Pornxbit.com].mp4
https://gounlimited.to/oybdl5ot0wtl/strandedteens.20.02.28.katrin.tequila.working.overtime.mp4
https://gounlimited.to/oyei2juv2aru/DaneJones_-_Aaeysha_-_Petite_Asian_takes_older_lover.mp4
https://gounlimited.to/oyxmd3daikh4/danejones.20.02.17.may.thai.mp4
https://gounlimited.to/oyzrmge29f01/www.0xxx.ws_FakeTaxi.20.06.05.Romy.Indy.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/oz4kmyyk7fpt/Www.brazzersbox.in__MommyGotBoobs.20.04.15.Cherie.Deville.Stuck.
On.Your.Mom.XXX.1080p.MP4-KTR.mp4
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https://gounlimited.to/oz7khjz5ozqs/[DayWithAPornstar]_Showering_With_MadeInCanarias_(16.05.2020)_rq.
mp4
https://gounlimited.to/oz8wpsfe9ju4/Sneakysex_-
_Bella_Rolland_Turning_Her_Off_And_On_Again_[720p_HD].mp4
https://gounlimited.to/ozg2w98hnx9g/fakedrivingschool.20.06.10.lady.dee.mp4
https://gounlimited.to/ozrole22tbp7
https://gounlimited.to/oztix3jde5s0/lookathernow.20.02.27.casey.calvert.wam.bam.thank.you.maam.mp4
https://gounlimited.to/oztlkslynnh3/www.0xxx.ws_DaneJones.20.06.07.Best.Of.Creampies.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/p0avqjz6eb62
https://gounlimited.to/p0i4e6oac6o1/rkprime.20.05.31.bae.egypt.desperately.seeking.panties.mp4
https://gounlimited.to/p0j7mr08etrg
https://gounlimited.to/p0klolw4jx3c/Brazzers_Exxtra_-_Gabriela_Lopez_Is_Your_Girlfriend.mp4
https://gounlimited.to/p0vabh9g9h4o/www.0xxx.ws_TrueAmateurs.20.06.15.No.Face.Girl.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/p0ybihc6kww2/BrazzersExxtra.20.03.02.Amber.Alena.Cooldown.Dicking.XXX.1080p.
MP4-KTR_[Pornxbit.com].mp4
https://gounlimited.to/p10qproybpl1/DontBreakMe_Alice_Merches_ALLWAYSWELL_.mp4
https://gounlimited.to/p12u21u0mm3q/StrandedTeens.20.04.01.Mackenzie.Mace.Tipping.The.Waitress.XXX.
MP4-SDCLiP.mp4
https://gounlimited.to/p1fiyn5zbzsc
https://gounlimited.to/p1ng63rpya0m/FakehubOriginals.20.05.17.Best.Of.Big.Black.Cock.Rides.XXX.1080p.M
P4-KTR.mp4
https://gounlimited.to/p1ntz5p1i0ul/www.0xxx.ws_TrueAmateurs.20.06.12.Reislin.Solo.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/p1oi6s3uqejg/Brazzers_-
_BrazzersExxtra_presents_Kendra_Sunderland__Madison_Ivy_in_Bodacious_Bikini_Threesome___08.06.202
0.mp4
https://gounlimited.to/p24frgduo9it/BrazzersExxtra_Azul_Hermosa_ALLWAYSWELL.mp4
https://gounlimited.to/p27ju4htqkcb/[MonsterCurves]_Cali_Carter_(Sweet_Little_Socks_/_02.16.2020).mp4
https://gounlimited.to/p292chxabchv/Brazzers_Exxtra.20.05.25.Bella.Rolland.And.Scarlit.Scandal.Rough.And.
Raunchy.Group.Fuck.XXX.1080p.mp4
https://gounlimited.to/p2nh1nd62evp/www.0xxx.ws_GirlsGonePink.20.06.08.Aidra.Fox.And.Desiree.Dulce.Pra
nk.Wars.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/p2qpj579fxbo/TransAngels.20.02.01.Pietra.Radi.Strong.Independent.Angel.XXX.MP4-
SDCLiP.mp4
https://gounlimited.to/p2svgz6dubhn/RKPrime.20.06.11.Jane.Wilde.And.Emily.Willis.Face-To-
Face.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/p2y101761t9k/trueamateurs.20.05.25.sativa.booty.mp4
https://gounlimited.to/p36eljvnweuv/Www.brazzersbox.in__Vixen.20.04.17.Emily.Willis.And.Gianna.Dior.XX
X.2160p.MP4-KTR.mp4
https://gounlimited.to/p36qebyliw5y/Rebecca-More-Brazzers-Rebecca's-Shower-Time-Fun-2020-06-07.mp4
https://gounlimited.to/p3dwe18pg351/Anya.Ivy.One.Day.Fare.RKPrime.hardcore.mp4
https://gounlimited.to/p3gma2sasx72/www.0xxx.ws_FakeDrivingSchool.20.06.10.Lady.Dee.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/p3iyuvn4x357/Www.brazzersbox.in_HandsOnHardcore.20.05.23.Sarah.Kay.Getting.Acq
uainted.With.Czech.Pussy.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/p3ltdf89ijhv/[DayWithAPornstar]_Lenina_Crowne_(Lenina_Gets_A_Workout_/_05.30.2
020).mp4
https://gounlimited.to/p3m4m983kel5/www.0xxx.ws_FakeTaxi.20.06.01.Mia.Rose.XXX.1080p.MP4-
KTR.mp4
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https://gounlimited.to/p4kfut7a95z8/Best_Of_Brazzers_First_Anals_-
_Cassidy_Klein,_Isis_Love,_Jenna_Ivory,_Karma_Rx,_Kiara_Mia,_Romi_Rain.mp4
https://gounlimited.to/p4xjrjqf022b/BigBrazzers_Exxtra_Nikki_Benz_ALLWAYSWELL.mp4
https://gounlimited.to/p51p9epwy6cq/rkprime.20.04.18.julie.kay.wait.on.me.mp4
https://gounlimited.to/p53pw76ivypo/Kira_Queen,_Aruna_Aghora_-
_Aruna_And_Kira_(RKPrime.30.05.2020.720p)_VHQ_[CENTURION].mp4
https://gounlimited.to/p5dof30whzfl/transangels.20.02.06.aubrey.kate.not.playing.myself.again.mp4
https://gounlimited.to/p5v201u1kucm/Reality_Kings_-
_Older_man_cheats_with_babysitter_Alina_Lopez_in_his_car_(_720P_).mp4
https://gounlimited.to/p6dmps7yeume/Look_At_Her_Now.Kimmy.Granger.720p.mp4
https://gounlimited.to/p6jyh8mgnw2a/DayWithAPornstar.20.05.31.Kenzie.Taylor.Kenzie.Chooses.Dick.Over.
Dishes.XXX.SD.MP4-.mp4
https://gounlimited.to/p6qpx84rzzbc/Moms_In_Control.20.04.23.Alexis.Fawx.And.Aubree.Valentine.Sneak.Pe
ek.And.Fuck.XXX.1080p.mp4
https://gounlimited.to/p6xz68p4q9qt/www.0xxx.ws_TeensLoveHugeCocks.20.06.08.Vina.Sky.Anal.In.The.Sun
.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/p6y0ewcohp6d/Www.brazzersbox.in_hustl3r.20.06.11.danni.rivers.mp4
https://gounlimited.to/p72foa3ok3mm/[HotAndMean]_Serena_Santos,_Alina_Belle_(Masseuse_Rivalry_/_05.2
7.2020).mp4
https://gounlimited.to/p7931fgfclw2/BrazzersExxtra.20.03.31.Codi.Vore.A.Room.With.A.Cock.XXX.1080p.M
P4-KTR_[Pornxbit.com].mp4
https://gounlimited.to/p7ljijqsxaqq/DigitalPlayground_presents_Bridgette_B__Aubree_Valentine_in_Falling_F
rom_Grace_Scene_4___15.06.2020.mp4
https://gounlimited.to/p7oqmtz744dj/Momxxx_Kathy_Anderson_ALLWAYSWELL.mp4
https://gounlimited.to/p7v4bi1wadw1/BrazzersExxtra_-_Lauren_Phillips_-_Cabin_Fever_(31_05_2018).mp4
https://gounlimited.to/p7xj2umk5t8e
https://gounlimited.to/p7ypndj33wdg/danejones.20.03.09.tiny.tina.mp4
https://gounlimited.to/p80o45kk7bxf/DigitalPlayground.20.03.16.Paige.Owens.Lucky.Seven.Episode.3.XXX.S
D.MP4-KLEENEX.mp4
https://gounlimited.to/p84kno7fde0m/fakehuboriginals.20.05.31.best.of.ebony.babes.mp4
https://gounlimited.to/p8qmc3y5lg17/Www.brazzersbox.in_SexArt.20.05.13.Jasmine.A.Her.Mission.XXX.SD.
MP4-KLEENEX.mp4
https://gounlimited.to/p8th49pu4uii/RKPrime.-.Anya.Ivy.One.Day.Fare.-.Reality.Kings.mp4
https://gounlimited.to/p8vlscvetlog/Day_With_A_Pornstar_20_04_28_Phoenix_Marie_Phoenix_Works_Hersel
f_Out.mp4
https://gounlimited.to/p91vcjt15qhr/A_Wild_Night_-_Liv_Wild,_Madison_Ivy_-_PornstarsLikeItBig_-
_Brazzers.mp4
https://gounlimited.to/p92eawlrbhdc/fakehostel.20.04.09.isabella.deltore.mp4
https://gounlimited.to/p958v5u9cltx/bex.20.05.19.best.of.brazzers.meanest.lesbians.mp4
https://gounlimited.to/p9hc4jdn3b0m
https://gounlimited.to/p9ho4gxtbguj/Www.brazzersbox.in__Tushy.20.04.19.Naomi.Swann.XXX.2160p.MP4-
KTR.mp4
https://gounlimited.to/p9krjcof99ti/transangels.19.09.07.alexa.scout.a.girl.who.rides.mp4
https://gounlimited.to/p9pdfy4vujo1
https://gounlimited.to/p9uisnw3tpkg
https://gounlimited.to/pa4q2y569d1s/Vannas_Sneaky_Masturbation_-_Vanna_Bardot_-_DayWithAPornstar_-
_Brazzers.mp4
https://gounlimited.to/pa5in9pwf1mi/FakeHostel_Anissa_Kate_Lola_ALLWAYSWELL.mp4
https://gounlimited.to/pa75owirl4p7/[FakeHostel]_Leanne_Lace,_Aaeysha_(Role_Play_Gone_Wrong_/_02.16.
2020).mp4

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https://gounlimited.to/pa9l9v5bp7m4/BrazzersExxtra.20.05.27.Best.Of.Brazzers.Anal.Extravaganza.XXX.1080
p.MP4-KTR.mp4
https://gounlimited.to/pa9ofscfqmqp/Www.brazzersbox.in_NewSensations.20.06.05.Dylann.Vox.XXX.SD.MP
4-KLEENEX.mp4
https://gounlimited.to/paxsdalkzg5t/trueamateurs.20.04.20.reislin.mp4
https://gounlimited.to/pb0qeqruk1xj/Kira_Queen,_Aruna_Aghora,_Sabby_-_Aruna_And_Kira_-_RK_Prime_-
_Reality_Kings.mp4
https://gounlimited.to/pb2hxa5k6nhl/BabyGotBoobs.20.04.15.Sommer.Isabella.Top.Heavy.XXX.1080p.MP4-
KTR_[Pornxbit.com].mp4
https://gounlimited.to/pbba5ldojs8s/Www.brazzersbox.in__EuroTeenErotica.20.03.23.Candy.Red.Redhead.Tee
n.Crammed.In.Cowgirl.XXX.2160p.MP4-KTR.mp4
https://gounlimited.to/pbbeffrdv9so/[Lesbea]_Cindy_Shine,_Alina_Crystall_-
_Redhead_Rebound_Sex_With_Asian_Bff_(01.06.2020).mp4
https://gounlimited.to/pbjdka48xmih/Twistys_Molly_Stewart.mp4
https://gounlimited.to/pbkjisjmvjct/MilfsLikeItBig_-_Cherie_Deville_-_Spring_Cumming.mp4
https://gounlimited.to/pbxgrwozsj1t/RKPrime.20.03.26.Aria.Kai.And.Indica.Flower.My.Secret.Wet.Hookup.Pa
rt.2.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/pc4mj593ihyw/Www.brazzersbox.in_RKPrime.20.04.18.Julie.Kay.Wait.On.Me.XXX.10
80p.MP4-KTR.mp4
https://gounlimited.to/pc4ppbtbsd0q
https://gounlimited.to/pcajhgeh7ev6/IKnowThatGirl.20.05.23.Catalina.Ossa.Horny.Chick.On.A.Tree.XXX.MP
4-SDCLiP.mp4
https://gounlimited.to/pcol9x4scqoz/rkprime.20.03.10.abigail.mac.i.fucked.my.bnb.host.mp4
https://gounlimited.to/pcsq51o1bh3r/erito.20.04.17.ruka.likes.it.rough.cant.get.enough.jp.mp4
https://gounlimited.to/pctoy361ts1f/Public_Agent.Sereyna.Gomez.SD.mp4
https://gounlimited.to/pcx6pztlks4b/Nathaly.Cherie.FakeTaxi.bigtits.mp4
https://gounlimited.to/pczjgihvrsma/Public_Agent_?_Lola_Fae_Fucked_By_Euro_Guy.mp4
https://gounlimited.to/pd6d208muwju/Sneaky_Sex__-
_I_Fucked_Your_Boyfriend_To_Make_You_Mad_Gabbie_Carter_Lasirena69.mp4
https://gounlimited.to/pd7huqdd2bdc/StrandedTeens.20.03.29.Leah.Lee.Stuck.And.Fucked.XXX.SD.MP4-
KLEENEX.mp4
https://gounlimited.to/pd9guusxt7ju/bigbuttslikeitbig-kendra-spade-asses-in-pajamas_360p.mp4
https://gounlimited.to/pdhra6ydm7rz
https://gounlimited.to/pdla6brf4hj4/DayWithAPornstar.20.05.30.Lenina.Crowne.Lenina.Gets.A.Workout.XXX.
1080p.MP4-KTR.mp4
https://gounlimited.to/pdn8tp375tv9/Danejones.20.06.04.Kaisa.Nord.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/pduo2xiaubnc/Madison.Ivy.and.Kendra.Sunderland.Bodacious.Bikini.Threesome.Brazzer
sExxtra.mp4
https://gounlimited.to/pdwmd9ipucjq/strandedteens.20.04.29.carmen.caliente.helpful.local.gets.pussy.mp4
https://gounlimited.to/pdx0gpna00r9/RealWifeStories.20.04.10.Ember.Snow.The.Silent.Treatment.XXX.SD.M
P4-KLEENEX.mp4
https://gounlimited.to/pdxdvbny0vd8/[RoundAndBrown]_Halle_Hayes_(Shy_Surprise_/_02.18.2020).mp4
https://gounlimited.to/pe38t5qekyhi/rkprime.20.02.27.eliza.ibarra.into.eliza.mp4
https://gounlimited.to/pf70dtrlaifw/Big_Naturals.20.04.27.Kendra.Sunderland.Teasing.Kendra.XXX.1080p.mp
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https://gounlimited.to/pfkf6g4lp133/www.0xxx.ws_RKPrime.20.06.04.Nicolette.Shea.Big.Dick.Energy.XXX.1
080p.MP4-KTR.mp4
https://gounlimited.to/pfthkrig18ab/[PervsOnPatrol]_Payton_Preslee_(More_Than_A_Pool_Fix_/_03.02.2020).
mp4
https://gounlimited.to/pg3jkek5k3ud/RealityKings_-_Marley_Brinx_-_Canadanal_Day_(01_07_2018).mp4

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https://gounlimited.to/pg60mc2ya0sg/www.0xxx.ws_DaneJones.20.06.16.Jenny.Wild.Solo.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/pgccfhmyyicf/RealityJunkies.20.05.15.Crystal.Rush.Naughty.Stepmom.XXX.1080p.MP4
-KTR.mp4
https://gounlimited.to/pghh98koueir/Www.brazzersbox.in_HandsOnHardcore.20.05.21.Valentina.Nappi.An.An
al.Appointment.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/pgqz2846ef9i/Ashley.Fires.Sock.My.Cock.BigButtsLikeItBig.anal.mp4
https://gounlimited.to/pgu25gq5zts3/Rkprime.20.06.08.Luna.Star.Fuck.My.Girl.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/ph2xxm3uy0hh/RealityKings_-_RKPrime_presents_Rosalyn_Sphinx__Kylie_Kingston_-
_Sit_On_It___07.06.2020.mp4
https://gounlimited.to/ph9d93rs4q2z/welivetogether.20.03.09.harmony.wonder.katie.kush.and.jewelz.blu.pick.y
our.pleasure.mp4
https://gounlimited.to/phchu5lnin3f/ShareMyBF.20.05.25.Maya.Kendrick.And.Alex.Coal.Midnight.Threesome.
XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/phclgen1sfmk/HotAndMean.20.06.03.Bridgette.B.And.Kiara.Cole.Fucking.Fight.Me.XX
X.SD.MP4-.mp4
https://gounlimited.to/phf8q8iews6s
https://gounlimited.to/phiggirw6lj5/PublicAgent.20.03.14.Gina.Varney.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/phnbg75lyi0n/Big_Naturals_20_04_27_Kendra_Sunderland_Teasing_Kendra.mp4
https://gounlimited.to/phnt7pylsga2/BigWetButts.20.05.29.Keira.Croft.Keiras.Ass.Craves.Cock.XXX.SD.MP4-
KLEENEX.mp4
https://gounlimited.to/phvrdrgulbql/Www.brazzersbox.in_MyFamilyPies.20.06.15.Kyler.Quinn.A.Special.Gift.
For.Daddy.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/pi05ekcio00s/Sharemybf_-
_Savannah_Sixx_And_Morgan_Rain_Roommate_Thief_Shares_Bf_[720p_HD].mp4
https://gounlimited.to/pi7a1eydvw4q/Diamond_Foxxx_-_Moms_Sweet_Gloryhole_-_MommyGotBoobs.mp4
https://gounlimited.to/pibt7wrpn258/[RKPrime]_Angela_White_Vs_Rob_Piper_(06.09.2020).mp4
https://gounlimited.to/pigac1heqmsh/[RKPrime]_Luna_Star_(Fuck_My_Girl_/_06.08.2020).mp4
https://gounlimited.to/pijrrqv44ija/DayWithAPornstar.20.04.07.Joanna.Angel.Hands.On.Joanna.XXX.1080p.M
P4-KTR_[Pornxbit.com].mp4
https://gounlimited.to/pikazyxzzccd/Www.brazzersbox.in_DDFBusty.20.05.17.Angel.Wicky.Busty.Blonde.Liv
es.Out.Her.Lust.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/pil15xf6r9c0/Hayliexo_-_Cute_Blonde_In_Red_Lingerie_Gets_Fucked_On_Bed_-
_True_Amateurs.mp4
https://gounlimited.to/pir5s8uxoy6m/Joanna-Angel-Brazzers-Getting-Joanna-Out-Of-The-Shower-2020-06-
01.mp4
https://gounlimited.to/piveh09k0iy5/transangels.19.04.20.kayleigh.coxx.one.in.the.butt.is.worth.two.in.the.bush.
mp4
https://gounlimited.to/pj0j2y1ue26t/Hustle_And_Blow_-_Jennifer_White_-_RealWifeStories_-_Brazzers.mp4
https://gounlimited.to/pj0n8rdvoxae/trueamateurs.20.06.12.reislin.solo.mp4
https://gounlimited.to/pja1fwx3nigi/[Twistys]_Sabina_Rouge_(Naked_Yoga_With_Sabina_Rouge_/_06.06.202
0).mp4
https://gounlimited.to/pjlfx6zwr404/[BrazzersExxtra]_Abella_Danger_(His_Hands_Are_Tied_/_06.02.2020).m
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https://gounlimited.to/pjv25lb147rw/Siouxsie_Q_-
_Siouxsie's_Anal_Kitchen_Cleaning_(DayWithAPornstar.11.06.2020.720p)_VHQ.mp4
https://gounlimited.to/pk3wwvhkgts8/Www.brazzersbox.in__RKPrime.20.04.05.Emerald.Ocean.Dive.Into.Eme
rald.Ocean.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/pk4agcdstzek/SneakySex.20.02.29.Arietta.Adams.And.Kylie.Le.Beau.Conference.Call.X
XX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/pkcci43xzcjc/RKPrime_Bridgette_B.mp4
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https://gounlimited.to/pkd0lwdc668g/[HotAndMean]_Bridgette_B,_Kiara_Cole_(Fucking_Fight_Me_/_06.03.2
020).mp4
https://gounlimited.to/pkegla61b0hf/Luna_Star,_Markus_Dupree_-_Fuck_My_Girl_-_RK_Prime_-
_Reality_Kings.mp4
https://gounlimited.to/pkwcnsoa7wi3
https://gounlimited.to/pkwcnsoa7wi3/FakeTaxi_Honour_May.mp4
https://gounlimited.to/pkxbsc02bx0d/www.0xxx.ws_DirtyMasseur.20.06.06.Luna.Star.Honeymoon.Rubdown.
XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/pl00wllllcm3/FakeTaxi.20.06.01.Mia.Rose.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/pl5edu9ifeqc/BrazzersExxtra_-_Syren_De_Mer_-
_Resistance_Band_Boning_(13_08_2018).mp4
https://gounlimited.to/pl8l4kt00vck/www.0xxx.ws_Twistys.20.06.10.Vina.Sky.Not.A.Cloud.In.The.Sky.XXX.1
080p.MP4-KTR.mp4
https://gounlimited.to/plbne1iq22pi/PornstarsLikeItBig_-_Audrey_Bitoni_-
_The_Future_Is_Fucked_(09_07_2018).mp4
https://gounlimited.to/plh33s0jcvlo/Falling_From_Grace_Scene_4_%E2%80%93_Bridgette_B_%E2%80%93_
DigitalPlayground.mp4
https://gounlimited.to/pltgnckvfp3e/GoodzonaNET_RKPrime.20.06.14.Zoey.Monroe.And.Molly.Stewart.Tickli
ng.Time.Bomb.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/pmb3rf9vxrp3/Kimmy_Granger_-
_Pedicure_Her_(LookAtHerNow.16.06.2020.720p)_VHQ_[CENTURION].mp4
https://gounlimited.to/pmljxinrzr3a/Brazzers_Exxtra.20.05.06.Best.Of.Brazzers.Nurse.Appreciation.Day.XXX.
1080p.mp4
https://gounlimited.to/pmlz6dq12hl3/Www.brazzersbox.in_Private.20.05.23.Lana.Roy.Anal.Maid.XXX.SD.MP
4-KLEENEX.mp4
https://gounlimited.to/pmnomkdwchpz/www.0xxx.ws_FakeDrivingSchool.20.06.10.Lady.Dee.XXX.1080p.MP
4-KTR.mp4
https://gounlimited.to/pmzt31e3ojbn/DontBreakMe.20.03.24.Binky.Beaz.Breaking.Binky.XXX.1080p.MP4-
KTR_[Pornxbit.com].mp4
https://gounlimited.to/pn2t6iqdqe15/[RKDupes]_Georgie_Lyall_(The_Lil_Freak_Under_The_Sheets_/_05.28.2
020).mp4
https://gounlimited.to/pn7tojg1z92m/Cassidy_Klein,_Isis_Love,_Jenna_Ivory,_Karma_Rx,_Kiara_Mia,_Romi_
Rain_-_Best_Of_Brazzers:_First_Anals.mp4
https://gounlimited.to/pnbkh9tce7m1/Jewelz_Blu,_Luke_Ryder_-_Jewelz_Has_Cock_For_Breakfast_-
_Day_With_A_Pornstar_-_Brazzers.mp4
https://gounlimited.to/pnkfh73hscx6/[DaneJones]_Alexis_Crystal_(Sweet_sexy_school_uniform_roleplay_/_06
.09.2020).mp4
https://gounlimited.to/pnpqg74br9ew
https://gounlimited.to/pogks19tm36v/MommyGotBoobs_-_Christie_Stevens_-
_My_Blindfolded_Stepmom_(08_04_2018).mp4
https://gounlimited.to/pounx5u8sbey/BrazzersExxtra_-_Lena_Paul_-
_Avoiding_Dicktection_(25_07_2018).mp4
https://gounlimited.to/poxsge0um96y/faketaxi.20.06.05.romy.indy.mp4
https://gounlimited.to/pp5bdgx6yuqn/fakehuboriginals.20.05.17.best.of.big.black.cock.rides.mp4
https://gounlimited.to/pp68ccjh1woh/BrazzersExxtra.-.Aubree.Valentine.Soaking.Wet.And.Fully.Satisfied.-
.Brazzers.mp4
https://gounlimited.to/pp911uklb1bg/pervsonpatrol.20.03.22.aubree.valentine.aspiring.vlogger.gets.lucky.mp4
https://gounlimited.to/ppfon87lh24y/RealityKings.20.04.20.Quinton.James.Gabbie.Carter.I.Fucked.Your.Boyfri
end.To.Make.You.Mad.XXX.1080p.MP4-MaMi.mp4
https://gounlimited.to/ppmh27qmbm0n/RKPrime.19.11.01.Carolina.Sweets.Finally.Losing.It.XXX.1080p.MP4-
KTR.mp4
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https://gounlimited.to/ppw0yqwhccyf/trueamateurs.20.03.15.mihanika.mp4
https://gounlimited.to/pq5qeknwg0ml/dontbreakme.20.02.25.kataljna.kittin.playing.with.kittin.mp4
https://gounlimited.to/pqbbxp6qxfcw/720.mp4
https://gounlimited.to/pqhvxboyjaba
https://gounlimited.to/pqk2um4bgr6f
https://gounlimited.to/pqlgd96vmxdp
https://gounlimited.to/pqzpq44jhrss/welivetogether.20.06.03.lily.rader.and.zoey.taylor.poolside.mp4
https://gounlimited.to/pr1uxv31u36o/bex.20.05.12.best.of.brazzers.titty.tuesday.mp4
https://gounlimited.to/pr2m5el491ms/RKDupes.20.06.05.Lesbehonest.Part.2.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/pr4jx10w3ijs/Halle_Hayes,_Danny_D,_Jordi_El_Nino_Polla_-
_A_Wild_And_Crazy_Cock_Stuffing_Party_-_Brazzers_Exxtra_-_Brazzers.mp4
https://gounlimited.to/prf1al0q2prj/Www.brazzersbox.in__BBCPie.20.04.11.Eliza.Ibarra.First.Date.Pies.XXX.2
160p.MP4-KTR.mp4
https://gounlimited.to/prhqrtyr6voo.html
https://gounlimited.to/proidcu73kty/DaneJones.20.05.29.Aislin.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/prqk5xj0ciol/Faketaxi_-_Mia_Rose_[720p_HD].mp4
https://gounlimited.to/ps02twlwrclr/RKPrime.-.Kira.Queen.And.Aruna.Aghora.Threesome.-.Reality.Kings.mp4
https://gounlimited.to/ps6vqfgrkuc8/Day_With_A_Pornstar_-_Lenina_Crowne_-
_Lenina_Gets_A_Workout.mp4
https://gounlimited.to/psbbm75evhz2/www.0xxx.ws_RKPrime.20.06.08.Luna.Star.Fuck.My.Girl.XXX.1080p.
MP4-KTR.mp4
https://gounlimited.to/psd0nn1nzgki
https://gounlimited.to/pshsxch33k48/[BrazzersExxtra]_Best_Of_Brazzers_Sharing_Stepsiblings_(06.09.2020).
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https://gounlimited.to/pshw4dxs02j2/LilHumpers_-_Georgie_Lyall_-_The_Lil_Freak_Under_the_Sheets.mp4
https://gounlimited.to/psn6iwh9v1nj/Www.brazzersbox.in__Passion-
HD.20.04.01.Kendra.Spade.Exploring.Kendras.Boundaries.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/psoimtl7cggo/PublicAgent_Klaudia_Diamond_ALLWAYSWELL.mp4
https://gounlimited.to/psx0b5ai0arg/Www.brazzersbox.in_teamskeetextras.20.06.06.keisha.grey.curvy.instagirl.
int.mp4
https://gounlimited.to/pt26t4e9av9b/Brazzers_Exxtra.20.06.05.Best.Of.Brazzers.First.Anals.XXX.1080p.mp4
https://gounlimited.to/pt8y4p6fkdfz/Nadia_Jay,_Lala_Ivey,_Will_Pounder_-_Girlfriend_Meets_Side_Chick_-
_Share_My_BF_-_Mofos.mp4
https://gounlimited.to/ptab2ozhdakk/bex.20.05.06.best.of.brazzers.nurse.appreciation.day.mp4
https://gounlimited.to/ptih1b4u8eb1/rkprime.20.03.10.abigail.mac.i.fucked.my.bnb.host.mp4
https://gounlimited.to/pttabd56oeaj/[DigitalPlayground]_Monique_Alexander_(Matriarch_Part_4_/_03.25.2020
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https://gounlimited.to/ptvma9pzzehv
https://gounlimited.to/pu7bbz2wmgg8.html
https://gounlimited.to/pu9f6e6ypbge/RecklessInMiami.20.01.29.Vienna.Black.Catching.A.Ride.XXX.1080p.M
P4-KTR.mp4
https://gounlimited.to/pud0jj69yepv/www.0xxx.ws_TrueAmateurs.20.05.29.Aila.Donovan.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/pun3exo7u571/RKDupes.20.06.16.Pedicure.Her.XXX.INTERNAL.1080p.MP4-
TRASHBIN.mp4
https://gounlimited.to/pv1e7u0egroz/www.0xxx.ws_BigWetButts.20.05.29.Keira.Croft.Keiras.Ass.Craves.Cock
.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/pv23qkh16xsi/twistys.19.12.01.sabina.rouge.totm.december.2019.mp4
https://gounlimited.to/pv3mu31lv66k/[TeensLoveHugeCocks]_Natalie_Porkman_(Sloppy_Schoolgirl_/_04.13.
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rty.XXX.SD.MP4-.mp4
https://gounlimited.to/pvc2j7jvtewo/Katie.Kush.and.Kenzie.Madison.Get.Flexible.DayWithAPornstar.lesbian.m
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https://gounlimited.to/pve4eidejwvh/ShareMyBF_-_Abella_Danger,_Kenzie_Reeves_-
_A_Sneaky_Threesome_Situation_(14_04_2018).mp4
https://gounlimited.to/pvhdilmw93p1
https://gounlimited.to/pvnwv1w954ba/[FakeHostel]_Sofia_Lee,_Aaeysha_(A_Sneaky_Rendezvous_/_03.06.20
20).mp4
https://gounlimited.to/pvrfr6n1xmgc/AnalMom.20.03.19.Dana.Dearmond.The.Anal.MILF.Next.Door.XXX.108
0p.MP4-KTR_[Pornxbit.com].mp4
https://gounlimited.to/pw16yzm5oib7/devilsfilm.20.03.14.misty.stone.the.hot.milf.next.door.mp4
https://gounlimited.to/pwf3tkbzekz4/Www.brazzersbox.in_NewSensations.20.04.29.Jenna.Fireworks.XXX.SD.
MP4-KLEENEX.mp4
https://gounlimited.to/pwijruqdyo6i/Falling_From_Grace_Scene_4_-_Bridgette_B,_Aubree_Valentine_-
_Digital_Playground.mp4
https://gounlimited.to/pwlv0q0qxb1q/Www.brazzersbox.in__Hustler.20.04.20.Alex.Coal.XXX.1080p.MP4-
TRASHBIN.mp4
https://gounlimited.to/pwlzng6xnsb4/MassageRooms.20.04.29.Scarlet.Rebel.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/pwufuc8d4s5g/WhenGirlsPlay.20.04.29.Abigail.Mac.And.Romi.Rain.Girl.Crush.XXX.M
P4-SDCLiP.mp4
https://gounlimited.to/pwyng4sj44qc/DayWithAPornstar.20.04.21.Katrina.Jade.Katrinas.Kitchen.Cock..480p.M
P4-XXX.mp4
https://gounlimited.to/pwzbhuqlgch4/Phoenix.Marie.Feeling.Up.Phoenix.DayWithAPornstar.bigtits.mp4
https://gounlimited.to/px3vs3xpbgas/BrazzersExxtra.20.06.04.Aubree.Valentine.Soaking.Wet.And.Fully.Satisfi
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https://gounlimited.to/pxpwjosbqs8o/RealWifeStories_-_Jennifer_White_-
_Switching_Lives_Pt_1_(16_08_2018).mp4
https://gounlimited.to/pycj1xi7b519/FakehubOriginals.19.11.09.Aubrey.Black.And.Marilyn.Sugar.XXX.1080p.
MP4-KTR.mp4
https://gounlimited.to/pz0ee1xipl4f
https://gounlimited.to/pz2fjtd1ap92/Www.brazzersbox.in_PropertySex.20.05.29.Vina.Sky.I.Want.A.Puppy.XX
X.SD.MP4-KLEENEX.mp4
https://gounlimited.to/pzdjpk5v7a14/owiaks_in_013_True_Amateurs__Sex_is_Fun__Fingering_and_Perfect_R
ough_Anal_with_Creampie.mp4
https://gounlimited.to/pzl5ti82ymkj.html
https://gounlimited.to/pzwcoh44veih/RKPrime.20.06.02.Abella.Danger.The.Pirate.Gets.The.Booty.XXX.MP4-
SDCLiP.mp4
https://gounlimited.to/pzzc5eok8ktn/RKPrime.20.06.06.Bailey.Brooke.Surprised.By.The.Big.Package.XXX.10
80p.MP4-KTR.mp4
https://gounlimited.to/q014fh8l49sl
https://gounlimited.to/q01jr8vaumo0/FakeTaxi.20.04.22.Honour.May.XXX.1080p.MP4-
KTR_[Pornxbit.com].mp4
https://gounlimited.to/q0irj9ciak59/trueamateurs.20.03.23.sweet.bunny.mp4
https://gounlimited.to/q18a11dbiknl/Www.brazzersbox.in__BrazzersExxtra.20.04.01.Nicolette.Shea.Day.With.
A.Porn.Writer.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/q1a2dlf7gfd2/Big_Wet_Butts.20.05.29.Keira.Croft.Keiras.Ass.Craves.Cock.XXX.1080p.
mp4
https://gounlimited.to/q1jrwsawjpbg/FakeTaxi_Romy_Indy_.mp4
https://gounlimited.to/q1q9u44c4sfv/TransAngels.19.04.13.Aspen.Brooks.Pounding.The.Nosy.Neighbor.XXX.
MP4-SDCLiP.mp4
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https://gounlimited.to/q1r5cnlggm2g/DaneJones_-_Kristy_Black_-
_Tasty_young_Czech_gets_a_creampie_(20_04_2018).mp4
https://gounlimited.to/q1t7gqf1n2py/[BRAZZERS]_CODI_VORE_-_A_ROOM_WITH_A_COCK.mp4
https://gounlimited.to/q24ng1au5pcw/dontbreakme.20.06.05.pamela.morrison.breaking.pamela.mp4
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KLEENEX.mp4
https://gounlimited.to/q276xhwwfdej/www.0xxx.ws_PornstarsLikeItBig.20.06.10.Casca.Akashova.All.Dolled.
Up.Beauty.Queen.Edition.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/q27k9eadr05p/MilfsLikeItBig.20.04.02.Ryan.Keely.Pounded.By.The.Producer.XXX.MP
4-SDCLiP.mp4
https://gounlimited.to/q2h61d51s2ar/[DigitalPlayground]_Vanessa_Sky_(Falling_From_Grace_Part_3_/_06.01.
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https://gounlimited.to/q308edhvendm/[WhenGirlsPlay]_Emily_Willis,_Molly_Stewart_(Ringing_Her_Bell_/_0
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https://gounlimited.to/q38fwc0s6nwn/DaneJones.20.05.17.Best.Of.Intimate.Anal.XXX.SD.MP4-
KLEENEX.mp4
https://gounlimited.to/q3bhszmz557q/rkprime.20.06.02.abella.danger.the.pirate.gets.the.booty.mp4
https://gounlimited.to/q3yd185n3ikn/BrazzersExxtra.20.06.12.Abella.Danger.And.Kira.Noir.Maid.For.A.Three
some.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/q431ddi05to9/[BrazzersExxtra]_Halle_Hayes_(Hide_The_Pickle_/_03.20.2020).mp4
https://gounlimited.to/q498vr62jcpi/Pervs_On_Patrol.20.05.03.Catalina.Ossa.Showering.Catalina.XXX.1080p.
mp4
https://gounlimited.to/q4i54c441bsc/Susy_Gala,_Danny_D_-_Foot_Clerk_At_Work_-_Big_Tits_At_Work_-
_Brazzers.mp4
https://gounlimited.to/q4sxo92ga08j/www.0xxx.ws_DayWithAPornstar.20.06.07.Rebecca.More.Rebeccas.Sho
wer.Time.Fun.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/q4vxh7c77w55/Mofos.Catalina.Ossa.23.5.2020.1080p.mp4
https://gounlimited.to/q4zq8dus5xgb/www.0xxx.ws_BrazzersExxtra.20.05.29.Best.Of.Brazzers.Peta.Jensen.XX
X.1080p.MP4-KTR.mp4
https://gounlimited.to/q53kk0zf9mp1/LetsTryAnal.20.03.27.Vanessa.Sky.Researching.Anal.Sex.XXX.MP4-
SDCLiP.mp4
https://gounlimited.to/q548nm2q7i1s
https://gounlimited.to/q579iz93un7y/trueamateurs.20.03.17.kriss.kiss.mp4
https://gounlimited.to/q5jbs8uv84ow/[RKPrime]_Bailey_Brooke_(Surprised_By_The_Big_Package_/_06.07.2
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https://gounlimited.to/q5l3919x2jqb
https://gounlimited.to/q5o7mf88q7sn/Lesbea.20.06.01.Cindy.Shine.And.Alina.Crystall.XXX.1080p.mp4
https://gounlimited.to/q5sfhjwdbv7k/_FakeTaxi_Romy_Indy_05.06.2020.mp4
https://gounlimited.to/q5uapz89az7n/Www.brazzersbox.in__RoundAndBrown.20.03.31.Ashley.Aleigh.Spring.
Showers.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/q6f800jlpnn1/RealWifeStories_-_Lexi_Luna_-
_Neighborhood_Snatch_Committee_(03_02_2019).mp4
https://gounlimited.to/q6g27vv93ly7/rkprime.20.03.30.lacy.lennon.and.jewelz.blu.hot.and.cold.mp4
https://gounlimited.to/q6i9cnw5uglb
https://gounlimited.to/q6nr8lcnvqmc/Mofos.Kiara.Edwards.1080p.mp4
https://gounlimited.to/q6pmbhlw291r/PublicPickup_Celebrity_Look_a_like_Ginebra_Bellucci_Fucked_in_PO
V_(_720P_).mp4
https://gounlimited.to/q6vpjriiht7o
https://gounlimited.to/q6vpjriiht7o/Brazzers_Live_29_ALLWAYSWELL.mp4
https://gounlimited.to/q6wo7aa33yl4/Casca.Akashova.All.Dolled.Up.Beauty.Queen.Edition.PornstarsLikeItBig.
MILF.bigtits.mp4
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https://gounlimited.to/q6x0zih1lyck/StrandedTeens.20.04.29.Carmen.Caliente.Helpful.Local.Gets.Pussy.XXX.
MP4-SDCLiP.mp4
https://gounlimited.to/q6xshske3xu6/Www.brazzersbox.in__MonstersOfCock.20.04.05.Chloe.Temple.XXX.10
80p.MP4-KTR.mp4
https://gounlimited.to/q6ztd0bypqgc
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https://gounlimited.to/q7315swb09wa/RKPrime.20.06.03.Bridgette.B.The.Pornstar.Experience.XXX.1080p.mp
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https://gounlimited.to/q75sld2hvx43/rkprime.20.03.03.liya.silver.getting.things.flowing.mp4
https://gounlimited.to/q76sp9ouqy2q/StrandedTeens_-_Charity_Crawford_-
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https://gounlimited.to/q76yefur5ypx/simplyanal.20.05.25.alina.v.and.sofia.like.share.my.boyfriend.4k.mp4
https://gounlimited.to/q7m73hbi7y4x/FakeTaxi.20.04.01.Ava.Austen.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/q7pnncccsrk1/[DayWithAPornstar]_Sybil_(Shows_Off_Her_Pussy_/_05.23.2020).mp4
https://gounlimited.to/q7uhcui2xr1z/FakehubOriginals.20.03.07.Amaris.And.Charlie.Red.XXX.SD.MP4-
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https://gounlimited.to/q7vwhw3o3z3o/www.0xxx.ws_BrazzersExxtra.20.06.12.Abella.Danger.And.Kira.Noir.
Maid.For.A.Threesome.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/q7ztdedn9p97/momslickteens.20.05.11.alena.croft.and.scarlit.scandal.milf.wants.to.play.
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https://gounlimited.to/q8at9lj1vu8l
https://gounlimited.to/q8vvqz4rjacu/Aila.Donovan.TrueAmateurs.hardcore.mp4
https://gounlimited.to/q8xksjnlmc20/BrazzersExxtra.20.04.29.Siri.And.Angela.White.Sneaky.Shower.Threeso
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https://gounlimited.to/q94nhsmz6mt2/Www.brazzersbox.in_TeamSkeetExtras.20.06.13.Lena.Paul.Flirting.In.Fr
ench.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/q95o6vpxhpal/[DaneJones]_Aislin_%E2%80%93_Oil_Soaked_quarantine_Masturbation
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https://gounlimited.to/q9fr0mbiri1f/Www.brazzersbox.in_GloryHole.20.06.06.Violet.Rae.XXX.SD.MP4-
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https://gounlimited.to/q9h6xdif755t/StrandedTeens.20.04.29.Carmen.Caliente.Helpful.Local.Gets.Pussy.XXX.1
080p.MP4-KTR_[Pornxbit.com].mp4
https://gounlimited.to/q9igfgd1pgir/Abella.Danger.The.Pirate.Gets.The.Booty.RKPrime.anal.mp4
https://gounlimited.to/q9n6avvppikx/RKDupes.20.05.05.Pounding.The.Panty.Thief.XXX.INTERNAL.1080p.M
P4-TRASHBIN.mp4
https://gounlimited.to/q9o9kyawmg24/Www.brazzersbox.in_TushyRaw.20.05.13.Jillian.Janson.XXX.SD.MP4-
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https://gounlimited.to/q9qmibduo8wr/True_Amateurs.20.04.28.Jessica.Miller.XXX.1080p.mp4
https://gounlimited.to/q9s6g4m7wq6t/PublicAgent.20.03.03.Romy.Indy.XXX.1080p.MP4-
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https://gounlimited.to/q9v0mt4g2n1g/[DaneJones]_Alexis_Crystal_(Sweet_sexy_school_uniform_roleplay_/_0
6.09.2020).mp4
https://gounlimited.to/q9xdtl4upg9h/[RKPrime]_Abigail_Mac_(I_Fucked_My_BNB_Host_/_03.10.2020).mp4
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https://gounlimited.to/qaus0y6jpl2g/publicpickups.20.03.04.adriana.maya.invited.over.to.adrianas.mp4
https://gounlimited.to/qawftbn43d4v/[DayWithAPornstar]_Rebecca_More_(Rebecca's_Shower_Time_Fun_/_0
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https://gounlimited.to/qb3y3dusuodx/Stranger_Danger_Remastered_-_Rachel_Starr_-_DirtyMasseur_-
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t.2.XXX.1080p.MP4-KTR_[Pornxbit.com].mp4
https://gounlimited.to/qb77mfbsz5iz/BrazzersExxtra.20.04.29.Luna.Star.All.Dolled.Up.Anal.Edition.XXX.SD.
MP4-KLEENEX.mp4
https://gounlimited.to/qbctk9lkbxqi/[ElegantAnal]_Kendra_Spade_(Little_Miss_Bratty_/_02.22.2020).mp4
https://gounlimited.to/qbd5kmeh2fhn/[DigitalPlayground]_Ryan_Keely_(Matriarch_Part_3_/_03.25.2020).mp4
https://gounlimited.to/qbgy3jmzathh/BrazzersExxtra.20.06.05.Best.Of.Brazzers.First.Anals.XXX.SD.MP4-
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https://gounlimited.to/qbimwsu2exbx/PublicPickup_-_Brunette_swallows.mp4
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https://gounlimited.to/qbn4olb2wuca/[DayWithAPornstar]_Rebecca_More_(Rebecca's_Shower_Time_Fun_/_0
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https://gounlimited.to/qbnzdn7ri9en/faketaxi.20.06.01.mia.rose.mp4
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https://gounlimited.to/qbr5xvtw1xkw/[TeensLoveHugeCocks]_Harmony_Wonder_(Excuse_My_French_/_02.2
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https://gounlimited.to/qbtqq1ge5d7g
https://gounlimited.to/qc0e5xuennra/Big.Wet.Butts.-.Kagney.Linn.Karter.Anally.Reamed.In.Her.Jeans.-
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https://gounlimited.to/qch87oqgfril/DayWithAPornstar.20.04.25.Aubree.Valentine.Aubrees.On.The.List.XXX.
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https://gounlimited.to/qcnxdprq3ov8/StrandedTeens.20.04.29.Carmen.Caliente.Helpful.Local.Gets.Pussy.XXX.
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https://gounlimited.to/qctuxtakcriz/RealityJunkies.20.05.15.Crystal.Rush.Naughty.Stepmom.XXX.MP4-
SDCLiP.mp4
https://gounlimited.to/qcy4f4roni8p
https://gounlimited.to/qd1wn4za30z7/[DayWithAPornstar]_Phoenix_Marie_(Feeling_Up_Phoenix_/_04.11.202
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https://gounlimited.to/qd73x6l85jur
https://gounlimited.to/qdbswkdhip2z/WhenGirlsPlay.20.03.11.Izzy.Lush.And.Kiara.Cole.Sweet.Sunday.Mornin
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https://gounlimited.to/qdiy77m3vkao/[WeLiveTogether]_Avi_Love,_Savannah_Sixx_(Listen_And_Lust_/_03.
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https://gounlimited.to/qdox979rvab2
https://gounlimited.to/qdsjr2p848h9/DayWithAPornstar_-_Siouxsie_Q_[June_11_2020].mp4
https://gounlimited.to/qdwtpspf0m76/Www.brazzersbox.in_DigitalPlayground.20.06.01.Vanessa.Sky.Falling.Fr
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https://gounlimited.to/qdxy6i62huwm/We_Live_Together.20.05.25.Abella.Danger.And.Havana.Bleu.Shes.The.
Boss.XXX.1080p.mp4
https://gounlimited.to/qdzofftytify/Www.brazzersbox.in__DaneJones.20.04.22.Isabelle.Deltore.XXX.1080p.M
P4-KTR.mp4
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https://gounlimited.to/qe1erps1wbje/[WeLiveTogether]_Harmony_Wonder,_Katie_Kush,_Jewelz_Blu_(Pick_
Your_Pleasure_/_03.09.2020).mp4
https://gounlimited.to/qe1n1v79ygxs/[WeLiveTogether]_Izzy_Lush,_La_Sirena_(Slick_Licks_/_04.10.2020).m
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https://gounlimited.to/qe43aejzblbr/momslickteens.20.05.27.maggie.green.and.sofie.reyez.come.home.with.me.
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https://gounlimited.to/qey1ls0v7h23/Brazzers_presents_1_800_Phone_Sex_-_The_Package_(_720P_).mp4
https://gounlimited.to/qf2on3j10zwa/MommyGotBoobs_-_Rebecca_Jane_Smyth_-
_Peeping_Stepson_(01_05_2018).mp4
https://gounlimited.to/qf5exxtxawrs
https://gounlimited.to/qf5exxtxawrs/_Lesbea_Nathaly_Cherie_ALLWAYSWELL.mp4
https://gounlimited.to/qf9p979a45ky/BigButtsLikeItBig_-_Angel_Wicky_-
_Capture_My_Booty_(08_04_2018).mp4
https://gounlimited.to/qfcipyzq2n4k
https://gounlimited.to/qg1dnb3yk92c/[DaneJones]_Kaisa_Nord_(Isolation_self_love_and_anal_play_/_06.04.2
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https://gounlimited.to/qg3msygh7xrn/[RKPrime]_Angela_White_Vs_Rob_Piper_(06.09.2020).mp4
https://gounlimited.to/qg3tzrjuyd6e/DigitalPlayground.20.03.25.Monique.Alexander.Matriarch.Part.4.XXX.108
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https://gounlimited.to/qg92ojhhavro/Www.brazzersbox.in_DoctorAdventures.20.05.08.Abella.Danger.Use.It.Or
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https://gounlimited.to/qgfln36jc36b/rkprime.20.05.20.cecilia.lion.vs.ricky.johnson.mp4
https://gounlimited.to/qgmhxh0hh59z/[DayWithAPornstar]_Lenina_Crowne_(Lenina_Gets_A_Workout_/_05.3
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https://gounlimited.to/qgsgqt7z20q7/[RKDupes]_Edible_Aubrey_(Meter_Maid_/_06.09.2020).mp4
https://gounlimited.to/qgur70im2kge/[Brazzerspremium.xyz]_Best_Of_Brazzers_Peta_Jensen_NewPorn2020_(
1).mp4
https://gounlimited.to/qgvyha68hrb8/BigNaturals_-_Codi_Vore_-_Cum_For_Codi.mp4
https://gounlimited.to/qh6hcwudat2z/BigButtsLikeItBig.20.04.20.Cali.Carter.Going.Down.In.A.Blaze.Of.Glory
holes.XXX.1080p.MP4-KTR_[Pornxbit.com].mp4
https://gounlimited.to/qh7t9ro5ropx/www.0xxx.ws_RealityKings.20.04.20.Quinton.James.Gabbie.Carter.I.Fuck
ed.Your.Boyfriend.To.Make.You.Mad.XXX.720p.MP4-MaMi.mp4
https://gounlimited.to/qhavdfc3m8mk/Lesbea_-_Cindy_Shine_&_Alina_Crystall.mp4
https://gounlimited.to/qhdsq9bzm5b4/sneakysex.20.03.21.abella.danger.game.night.mp4
https://gounlimited.to/qheuq3253rcp/Mommy_Got_Boobs_Raylene_ALLWAYSWELL.mp4
https://gounlimited.to/qhgddgqwolit/[PublicAgent]_Lydia_Black_(The_Pre-
Lockdown_Fuck_/_06.03.2020).mp4
https://gounlimited.to/qhiziab8dlkz/www.0xxx.ws_DayWithAPornstar.20.06.11.Siouxsie.Q.Anal.Kitchen.Clean
ing.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/qhqj5pig9ygo/[MomXXX]_Best_Of_MILF_Seduction_(05.02.2020).mp4
https://gounlimited.to/qhvaaryu32l4/BigButtsLikeItBig.20.04.01.La.Sirena.Party.Like.A.Fingers.Up.Your.Ass.
XXX.MP4-SDCLiP.mp4
https://gounlimited.to/qhvkk7xemk46
https://gounlimited.to/qi3s0rmn3259/www.0xxx.ws_Twistys.20.06.06.Sabina.Rouge.Naked.Yoga.With.Sabina.
Rouge.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/qibl8tyhl3rv/[HotAndMean]_Bridgette_B,_Kiara_Cole_(Fucking_Fight_Me_/_06.03.202
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https://gounlimited.to/qicc9q1zdf3n/RKPrime.20.03.22.Alyssia.Kent.Lend.Alyssia.A.Hand.XXX.MP4-
SDCLiP.mp4
https://gounlimited.to/qictw8sk5ecw/RKPrime_Rosalyn_Sphinx.mp4
https://gounlimited.to/qiifviti5yyk/Twistys.20.05.09.Kira.Noir.Kira.At.Birds-Eye.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/qiik4ilf5tn7/Www.brazzersbox.in__BigTitsRoundAsses.20.04.23.Maggie.Green.XXX.10
80p.MP4-KTR.mp4
https://gounlimited.to/qitoylkhtnf6/Aften.Opal.Massage.Mutiny.TeensLoveHugeCocks.massage_(PervyVideos.
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https://gounlimited.to/qityk8ua8rhr/www.0xxx.ws_RKPrime.20.06.09.Angela.White.Vs.Rob.Piper.XXX.1080p
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https://gounlimited.to/qj6uhfu8km9b/[RKPrime]_Carmen_Caliente,_Kendra_Sunderland_(Kendra_And_Carme
n_Take_Cali_/_04.06.2020).mp4
https://gounlimited.to/qj8wd87t87tv/[BrazzersExxtra]_Vanessa_Sky_(Anal_About_Chores_/_03.11.2020).mp4
https://gounlimited.to/qjezqccxviue/StrandedTeens.20.03.12.Paige.Owens.Hop.On.My.Scooter.XXX.1080p.MP
4-KTR_[Pornxbit.com].mp4
https://gounlimited.to/qjjin85b5wmr/DigitalPlayground.20.04.06.Jane.Wilde.And.Paige.Owens.Lucky.Seven.E
pisode.4.XXX.1080p.MP4-KTR_[Pornxbit.com].mp4
https://gounlimited.to/qjs2c3y7ne0x/[PublicAgent]_Gina_Varney_(British_tourist_sucks_Czech_dick_/_03.14.
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https://gounlimited.to/qjsiyf00oap2/[LilHumpers]_Alexis_Fawx_(Lil_Jailbird_/_06.11.2020).mp4
https://gounlimited.to/qjv25kcdhf0k/DayWithAPornstar.20.05.25.Katie.Kush.And.Kenzie.Madison.Get.Flexibl
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https://gounlimited.to/qjv8ryysgpa5/LetsTryAnal.20.04.25.Purple.Bitch.Fitness.Assessment.XXX.1080p.MP4-
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https://gounlimited.to/qk009mowh20g/www.0xxx.ws_DayWithAPornstar.20.06.07.Rebecca.More.Rebeccas.Sh
ower.Time.Fun.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/qka4r334b985/IKnowThatGirl.20.05.20.Nella.Jones.The.Interview.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/qkqh2ei3ymhr/WhenGirlsPlay.20.04.08.Abigail.Mac.And.Molly.Stewart.Sky.Bound.Part
.1.XXX.1080p.MP4-KTR_[Pornxbit.com].mp4
https://gounlimited.to/qkrlbv3na9l0/Erito_-_Airis_-_Unlimited_Erotic_Appetites.mp4
https://gounlimited.to/qkrp50vj0nfb
https://gounlimited.to/qktb9u0gx0p0/[RK_Prime]_Abella_Danger:_The_Pirate_Gets_The_Booty.mp4
https://gounlimited.to/qkvy7ypywguy/BrazzersExxtra.20.06.05.Best.Of.Brazzers.First.Anals.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/ql2dls9c45k9/[DayWithAPornstar]_Siouxsie_Q_(Anal_Kitchen_Cleaning_/_06.11.2020)
.mp4
https://gounlimited.to/ql2hbiwyxonx/www.0xxx.ws_DaneJones.20.06.16.Jenny.Wild.Solo.XXX.1080p.MP4-
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https://gounlimited.to/ql3lbfy9z2bl/BabyGotBoobs_-_Victoria_June_-_Peacocking_(27_04_2018).mp4
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https://gounlimited.to/ql91i5c3w745/RKPrime.20.03.11.Brooklyn.Gray.Brooklyns.Got.Brains.XXX.MP4-
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https://gounlimited.to/qldcn53nt588
https://gounlimited.to/qlijzi2687ky/www.0xxx.ws_LilHumpers.20.03.24.Bridgette.B.The.Half.Pint.Stripper.XX
X.1080p.MP4-KTR.mp4
https://gounlimited.to/qlm7fokuqk48/[LilHumpers]_Alexis_Fawx_(Lil_Jailbird_/_06.11.2020).mp4
https://gounlimited.to/qlwogk4ob4rr/Philavise.19.09.16.Rachael.Cavalli.New.Cock.For.The.New.Stepmom.XX
X.SD.MP4-KLEENEX.mp4
https://gounlimited.to/qm2eesa8ifel/www.0xxx.ws_RKPrime.20.04.11.Abella.Danger.Think.Pink.XXX.1080p.
MP4-KTR.mp4
https://gounlimited.to/qm6rlapu93x8/Www.brazzersbox.in_BrazzersExxtra.20.05.25.Bella.Rolland.And.Scarlit.
Scandal.Rough.And.Raunchy.Group.Fuck.XXX.SD.MP4-KLEENEX.mp4
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MP4-KTR.mp4
https://gounlimited.to/qm9quguhz9sa/Twistys.20.06.08.Dakota.on.Display.XXX.1080p.MP4-KTR.mp4
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https://gounlimited.to/qmud767typzv/Sneaky_Sex_20_04_27_Katana_Kombat_And_Alina_Belle_Fucking_My
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https://gounlimited.to/qmy5cp4dfr61/FakeTaxi_Canela_Skin_ALLWAYSWELL.mp4
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80p.MP4-KTR.mp4
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https://gounlimited.to/qpfreepficye/Www.brazzersbox.in_MyFriendsHotMom.20.05.15.Reagan.Foxx.XXX.SD.
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https://gounlimited.to/qpjrw82m1fp6/BrazzersExxtra.20.03.18.Tiffany.Watson.Facial.By.Surprise.XXX.MP4-
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.MP4-KTR.mp4
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ckage.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/qrxt92hru6hv/Www.brazzersbox.in__BrazzersExxtra.20.04.22.Desiree.Dulce.Clitical.Ch
eck.Up.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/qs7gmbohdoow/Www.brazzersbox.in__Shoplyfter.20.04.15.Angelica.Cruz.XXX.1080p.
MP4-KTR.mp4
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XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/qvcodtj91y6b/Rebecca_More,_Jordi_El_Nino_Polla_-_Just_One_Clit_Away_-
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KTR.mp4
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https://gounlimited.to/qyrt8ju3bjdv/[RKPrime]_Lacy_Lennon,_Jewelz_Blu_(Hot_And_Cold_/_03.30.2020).mp
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https://gounlimited.to/qywd9itdp1r1
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https://gounlimited.to/qz0zgg06f7l0/roundandbrown.20.04.28.jezabel.vessir.jezabel.in.yellow.mp4
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https://gounlimited.to/qz5xzyziw6nb
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https://gounlimited.to/qzimuqpidw3w/girlsgonepink.20.06.08.aidra.fox.and.desiree.dulce.prank.wars.mp4
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https://gounlimited.to/qzm5cj02aw42/FakeDrivingSchool.20.06.10.Lady.Dee.XXX.SD.MP4-KLEENEX.mp4
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XX.SD.MP4-KLEENEX.mp4
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ssa.Sky.Fuck.Me.While.You.Wait.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/r1bz2o59ff2a/www.0xxx.ws_BrazzersExxtra.20.06.08.Madison.Ivy.And.Kendra.Sunderl
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https://gounlimited.to/r1cntai1g1by/Www.brazzersbox.in_HandsOnHardcore.20.06.06.Aaliyah.Love.Fucked.In.
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https://gounlimited.to/r1my9dfctcpu/Www.brazzersbox.in_PureMature.20.05.14.Alix.Lynx.Double.Ohhh.Dang
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https://gounlimited.to/r1v0fgbabgje/bex.20.05.27.best.of.brazzers.anal.extravaganza.mp4
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080p.MP4-TRASHBIN.mp4
https://gounlimited.to/r22zsdzg7tsm/DaneJones.20.06.09.Alexis.Crystal.XXX.1080p.MP4-KTR.mp4
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https://gounlimited.to/r29rzc259j3a/Ariella_Ferrera,_Eva_Notty,_Jasmine_James,_Misty_Stone,_Nicolette_She
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P4-SDCLiP.mp4
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0p.MP4-KTR.mp4
https://gounlimited.to/r5ejwtvbo5vy
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https://gounlimited.to/r5st4ds7w1i6/Www.brazzersbox.in_NewSensations.20.05.15.Vanna.Bardot.XXX.SD.MP
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https://gounlimited.to/r7gn3aegt5mx/Www.brazzersbox.in__TeensLikeItBig.20.04.21.MJ.Fresh.Its.Just.Wrestli
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https://gounlimited.to/r7rxzq7lecfx/MassageRooms.20.05.15.Romy.Indy.XXX.SD.MP4-KLEENEX.mp4
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https://gounlimited.to/r8au2ciwvwpx/Brazzers_Exxtra.20.05.12.Tru.Kait.Who.Owns.Whom.XXX.1080p.mp4
https://gounlimited.to/r8id8yme1rgh/We_Live_Together_?_Cute_Couple_Malena_Morgan__Eva_Lovia.mp4
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https://gounlimited.to/r8nhahzxskn6/StrandedTeens.20.05.13.Briana.Banderas.Stranded.Briana.XXX.MP4-
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https://gounlimited.to/r8p0yjhu54xk/www.0xxx.ws_Twistys.20.06.03.Cherie.Deville.A.Taste.Of.Cherie.XXX.1
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https://gounlimited.to/r8u7n610mhe9/welivetogether.20.04.10.izzy.lush.and.la.sirena.slick.licks.mp4
https://gounlimited.to/r8z19cnwrddu/Www.brazzersbox.in_MylfXJoyBear.20.06.16.Jasmine.Jae.Box.XXX.SD.
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https://gounlimited.to/r97k155kgf3f/BrazzersExxtra.20.03.28.Tiffany.Tatum.Saturday.Night.Beaver.XXX.SD.
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https://gounlimited.to/ra2uerp046cv/Big_Wet_Butts.20.05.31.Kagney.Linn.Karter.Anally.Reamed.In.Her.Jeans.
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.Casca.Akashova.All.Dolled.Up.Beauty.Queen.Edition.-.Brazzers.mp4
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https://gounlimited.to/rbnl6epvzihl/Romy.Indy.FakeTaxi.hardcore.mp4
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https://gounlimited.to/rcy0dhuprjjv/BrazzersExxtra.20.03.23.Gina.Valentina.Squirtboarding.XXX.MP4-
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https://gounlimited.to/rd853lgz7zgd/rkprime.20.05.29.kataljna.kittin.wet.kittin.mp4
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https://gounlimited.to/rfxn7ga7k7bn/zzs_brazzers_house_ep002a_480p_1000.mp4
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https://gounlimited.to/rgzkua7hmobe/Faketaxi.20.06.05.Romy.Indy.XXX.1080p.MP4-KTR.mp4
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https://gounlimited.to/rhgz6b0gpwob/DontBreakMe.20.06.05.Pamela.Morrison.Breaking.Pamela.XXX.1080p.
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https://gounlimited.to/rivmfai9cvyi/RK_Prime_-_Abella_Danger.mp4
https://gounlimited.to/rivue40mewsm/[FakeTaxi]_Mia_Rose_-
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https://gounlimited.to/rk4j16oq009f/[BigWetButts]_Keira_Croft_-
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https://gounlimited.to/rkurqibu2767/BrazzersExxtra_Best_Of_Brazzers_Sneakiest.mp4
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https://gounlimited.to/rkwup5v5ltmy/Mom_XXX.20.06.13.Florane.Russell.XXX.1080p.mp4
https://gounlimited.to/rky4div1vixs/Teens.Love.Huge.Cocks.-.Vina.Sky.Anal.In.The.Sun.-.Reality.Kings.mp4
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https://gounlimited.to/rld5qvqf59ab/Jean_Queen_-_Angela_White_-_BigWetButts_-_Brazzers.mp4
https://gounlimited.to/rlnpavx727y5/LilHumpers_-_Alexis_Fawx_-_Lil_Jailbird.mp4
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https://gounlimited.to/rmtjrry410lv/StrandedTeens.20.04.29.Carmen.Caliente.Helpful.Local.Gets.Pussy.XXX.S
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https://gounlimited.to/rmxe5vyvsrqm/18230520Brazzers_-
_Tiny_Blonde_Chloe_Cherry_goes_for_a_Checkup_and_Gets_Drilled_Brazzers_720p.mp4
https://gounlimited.to/rmyfcr3y0gje/Www.brazzersbox.in_BigTitCreamPie.20.04.30.Valentina.Jewels.XXX.SD
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https://gounlimited.to/rncbo5gcq7rj/Sex_Inherited_-_Gianna_Dior_-_RKPrime_-_RealityKings.mp4
https://gounlimited.to/rngol2imxya3/DaneJones.20.06.04.Kaisa.Nord.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/rnj30zmjx3ey/RKPrime_Abella_Danger_.mp4
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https://gounlimited.to/rnm9gsb3wd9d/RealWifeStories_-_Eva_Notty_-
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https://gounlimited.to/rnqeuuiv1549/[DaneJones]_Alina_Crystall_(Intimate_love_with_gorgeous_Russian_/_06
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https://gounlimited.to/rnrkvc4lb2j3/TrueAmateurs.20.06.08.Portia.Paris.XXX.1080p.MP4-KTR.mp4
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https://gounlimited.to/rnxabskyghe1/You_Splashed_My_Snatch_-_Jessica_Jade_-_MilfsLikeItBig_-
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https://gounlimited.to/rnyi7bfokoiz/Www.brazzersbox.in_HotAndMean.20.05.06.Kendra.James.And.Casca.Ak
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https://gounlimited.to/ro0sl44n2wal/twistys.20.05.23.bridgette.b.bridgettes.boob.wash.mp4
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https://gounlimited.to/ron1s528z9p3/Brazzers_-_MommyGotBoobs_presents_Eva_Karera_-_Dirty_Texter.mp4
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https://gounlimited.to/rq7979wptdht/Www.brazzersbox.in_BangBros18.20.06.03.Kira.Perez.XXX.SD.MP4-
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https://gounlimited.to/rqjae7lfdav6/MassageRooms.19.10.30.Kira.Queen.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/rqmz52dsk9xn/[FakeDrivingSchool]_Lady_Dee_(Suck_My_Disinfected_Burning_Cock
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https://gounlimited.to/rqnvl8impmse/Www.brazzersbox.in__Hustler.20.03.31.Marie.Clarence.XXX.1080p.MP4
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https://gounlimited.to/rr341l74brj1/DaneJones_-_Alina_Crystall_-_Intimate_love_with_gorgeous_Russian.mp4
https://gounlimited.to/rrfcncm082io/TransAngels.20.05.15.Monica.Conti.Heaven-
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https://gounlimited.to/rt1o27xpskva/Fashionistas_Safado_Sc1_Jenna_Haze_Sasha_Grey_Adrianna_Nicole_Kat
suni_Marie_Luv_Flower_Tucci_Nicole_Sheridan_Nici_Sterling_Jewell_Marceau_Gianna_Michaels.mp4
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p.MP4-KTR.mp4
https://gounlimited.to/rtlv5xer5ko7/sneakysex.20.06.17.scarlit.scandal.sneaking.in.with.scarlit.mp4
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https://gounlimited.to/rwaefp7hzpoj/GoodzonaNET_ShareMyBF.20.06.14.Nadia.Jay.And.Lala.Ivey.Girlfriend.
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https://gounlimited.to/rwfw6fanykbb/BrazzersExxtra.20.03.31.Krissy.Lynn.One.Sneaky.Stripper.XXX.1080p.
MP4-KTR_[Pornxbit.com].mp4
https://gounlimited.to/rwiqjeqto601/Www.brazzersbox.in_Private.20.05.29.Lya.Missy.Wife.And.Maid.XXX.S
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https://gounlimited.to/rwozs4t6q9m2/Real_Wife_Stories_Nicolette_Shea_ALLWAYSWELL.mp4
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https://gounlimited.to/rxoou9negk7p/www.0xxx.ws_TrueAmateurs.20.06.08.Portia.Paris.XXX.1080p.MP4-
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https://gounlimited.to/rxyoy4mgga7m/RK_Prime___Realitykings_-
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https://gounlimited.to/rydhkoqi8jf8/girlsgonepink.20.04.13.aidra.fox.and.jewelz.blu.jewelz.sexy.kitchen.mp4
https://gounlimited.to/rysx05qr2c65/Girls_Gone_Pink.20.06.08.Aidra.Fox.And.Desiree.Dulce.Prank.Wars.XX
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https://gounlimited.to/ryt1gvu90sg3/[DayWithAPornstar]_Joanna_Angel_-
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https://gounlimited.to/rzg76of5rot8/[BrazzersExxtra]_Best_Of_Brazzers_Sharing_Stepsiblings_(06.09.2020).m
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https://gounlimited.to/rzjna0njgzvg/iknowthatgirl.20.04.19.abby.tatum.chores.with.horny.abby.mp4
https://gounlimited.to/rzqldy5s0tdm/Twistys.20.05.16.Molly.Stewart.Mollys.Kitchen.Kink.XXX.1080p.MP4-
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https://gounlimited.to/rzuyquavaay8.html
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https://gounlimited.to/s19z3zgrtwf3/[FakeTaxi]_Martina_Smeraldi_(Stay_Safe_Edition_/_03.22.2020).mp4
https://gounlimited.to/s1agdt4vh294/Kimmy_Granger_-_Pedicure_Her_-_Look_At_Her_Now.mp4
https://gounlimited.to/s1bprfgzuy0e/FakeAgent_May_Thai_ALLWAYSWELL.mp4
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https://gounlimited.to/s1e5aeah76h7/BigWetButts.20.06.16.Angela.White.Jean.Queen.XXX.SD.MP4-
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https://gounlimited.to/s1mw3guprpqe/BrazzersExxtra.20.04.03.Lana.Sharapova.Pocket.Pussy.Anal.XXX.SD.M
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https://gounlimited.to/s1vnz25chga0/Www.brazzersbox.in_[HandsOnHardcore]_Honey_Demon_-
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https://gounlimited.to/s1y6jg45vbg1/Www.brazzersbox.in_WeLikeToSuck.20.05.22.Dolce.Vita.First.Time.Fuc
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https://gounlimited.to/s273qf7lxbtz/[SneakySex]_Gabriela_Lopez_(Family_Road_Trip_Dick_/_06.01.2020).m
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https://gounlimited.to/s2a6pkgtw1yq/www.0xxx.ws_FakeHostel.20.05.05.Kathy.Anderson.And.Isabella.Deltor
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https://gounlimited.to/s2apxp6mnj6i/_DigitalPlayground_Vanessa_Sky_.mp4
https://gounlimited.to/s2f234qdwl7r
https://gounlimited.to/s2js1nqgrx67/TransAngels_presents_Daisy_Taylor_Bitch_Craft_Part_1___05.06.2020.m
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https://gounlimited.to/s2t11k8q2ay9/trueamateurs.20.05.29.aila.donovan-sample.mp4
https://gounlimited.to/s342c0sbm0w3
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https://gounlimited.to/s3dxd5xrbdnn/RealityKings_-_Violet_Starr.mp4
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Mom.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/s3pioaumbxbt/rkprime.20.06.03.bridgette.b.the.pornstar.experience.mp4
https://gounlimited.to/s3wvm33glil3/[IKnowThatGirl]_Arietta_Adams_(Personal_Cleaner_/_02.19.2020).mp4
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https://gounlimited.to/s47x4n9g6mos/[RKPrime]_Luna_Star_(Bunny_Curves_/_04.12.2020).mp4
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https://gounlimited.to/s5ddjr4j5n3i/BrazzersExxtra.20.02.05.Keira.Croft.Fuckin.Fountain.XXX.MP4-
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https://gounlimited.to/s5gepqxwh163/BrazzersExxtra.20.06.08.Madison.Ivy.And.Kendra.Sunderland.Bodacious
.Bikini.Threesome.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/s5ms60b1gmcq/TrueAmateurs.20.06.05.Hayliexo.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/s5ndlwh78lbe/DontBreakMe_Aften_Opal_ALLWAYSWELL.mp4
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https://gounlimited.to/s6bihyagvadz/www.0xxx.ws_FakeDrivingSchool.20.06.10.Lady.Dee.XXX.1080p.MP4-
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https://gounlimited.to/s6q94ebjtekg/BrazzersExxtra.20.06.01.Halle.Hayes.A.Wild.And.Crazy.Cock.Stuffing.Par
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https://gounlimited.to/s6qrqjyhqt0s/sharemybf.20.05.25.maya.kendrick.and.alex.coal.midnight.threesome.mp4
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y.Ass.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/s77ui5wb6ed7/[FakeHostel]_Sofia_Lee,_Aaeysha_(A_Sneaky_Rendezvous_/_03.06.202
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https://gounlimited.to/s7cuuvag4x9n/DigitalPlayground.20.01.29.Abigail.Mac.And.Lena.Paul.Sleepless.Nights.
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https://gounlimited.to/s7cv56uzphlj/Realitykings_Lesbehonest_Part_1_02.06.2020.mp4
https://gounlimited.to/s7potifyykro
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https://gounlimited.to/s8szgcjaaljm/BabyGotBoobs.20.04.03.Jade.Kush.Shadowplay.2.XXX.SD.MP4-
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https://gounlimited.to/s8u207x4331k/RealityKings_-_RKPrime_presents_Kataljna_Kittin_-
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https://gounlimited.to/s8ynxydmhrir/Fake_Taxi_Isabella_Deltore_ALLWAYSWELL.mp4
https://gounlimited.to/s94jq155wmgp/[BigButtsLikeItBig]_Ashley_Fires_(Sock_My_Cock_/_04.11.2020).mp4
https://gounlimited.to/s9fozkn1e7u0/[FakeTaxi]_Romy_Indy:_The_Dominatrix_and_the_Big_D.mp4
https://gounlimited.to/s9kcruotgr1v/FakeHostel.20.05.18.Sofia.The.Bum.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/s9kyo0x7oety/TeensLoveHugeCocks.19.12.01.Skylar.Vox.Punishing.A.Perv.XXX.MP4-
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_Creampie___01.06.2020.mp4

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https://gounlimited.to/sb128iogdd3b/RKPrime.20.06.04.Nicolette.Shea.Big.Dick.Energy.XXX.SD.MP4-
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https://gounlimited.to/sb4jt8wxhepg/HotAndMean.20.04.28.Maserati.And.Alice.Pink.Dommed.By.Her.Dads.Gi
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https://gounlimited.to/sb8y659lluf3/[DigitalPlayground]_Aidra_Fox_(Kill_Code_87_Part_1_/_02.26.2020).mp
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https://gounlimited.to/sbc6n4l1hy7r/Twistys.20.05.09.Kira.Noir.Kira.At.Birds-_Eye.XXX.1080p.mp4
https://gounlimited.to/sc1dk9s7xq4s
https://gounlimited.to/sc1dk9s7xq4s/RealWifeStories_Alina_Lopez_ALLWAYSWELL.mp4
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https://gounlimited.to/sc7jkgyhe9r3/Crazy.Ex-Girlfriend.S04E18.Yes.Its.Really.Us.Singing.720p.WEB-
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https://gounlimited.to/sccfiaoth132/www.0xxx.ws_BrazzersExxtra.20.06.08.Madison.Ivy.And.Kendra.Sunderla
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https://gounlimited.to/scx7vven2lu0/[DayWithAPornstar]_Josephine_Jackson_(Josephine's_Intense_Workout_/
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https://gounlimited.to/sd2wk2g4qodx/Mofos_Sierra_Nicole_Public_Pick_Ups_.mp4
https://gounlimited.to/sdbe26866np0/BrazzersExxtra_-_Monique_Alexander_-_Wrong_Side_Of_The_Bed.mp4
https://gounlimited.to/sdcysrlsc2en/www.0xxx.ws_BigWetButts.20.06.16.Angela.White.Jean.Queen.XXX.1080
p.MP4-KTR.mp4
https://gounlimited.to/sdo50ab87njc
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Ashli.Ames.INTERNAL.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/se1y0t7299sr/BrazzersExxtra_-_Best_Of_Brazzers_Anal_Extravaganza.mp4
https://gounlimited.to/sei38sh5h1ia/HotAndMean.20.02.10.Casey.Calvert.And.Kendra.Spade.Bunk.Bed.Bang.
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https://gounlimited.to/seklvuftktlk/welivetogether.20.05.04.adriana.maya.and.natalie.porkman.make.out.artist.m
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https://gounlimited.to/sen7zfw95jk2/Www.brazzersbox.in_MomDrips.20.04.26.Tiffany.Fox.Deep.Inside.XXX.
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https://gounlimited.to/sengx51w387r/LetsTryAnal.20.05.29.Mia.Bandini.Come.In.For.Some.Tea.And.Anal.XX
X.SD.MP4-.mp4
https://gounlimited.to/seu8gpjsua1m/DirtyMasseur.20.06.06.Luna.Star.Honeymoon.Rubdown.XXX.1080p.mp4
https://gounlimited.to/sey0fnu4t3c5/Public_Pickups_-_Martina_Smeraldi.mp4
https://gounlimited.to/sf1w9vdxyquo/DirtyMasseur.20.06.06.Luna.Star.Honeymoon.Rubdown.XXX.1080p.MP
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https://gounlimited.to/sf22yks4kpgh/Gianna_Dior,_Ricky_Johnson_-_Sex_Inherited_-_RK_Prime_-
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https://gounlimited.to/sfe5svs0c9hw/www.0xxx.ws_RKPrime.20.06.12.Aidra.Fox.A.Cock.For.Your.Thots.XX
X.1080p.MP4-KTR.mp4
https://gounlimited.to/sff8emfe1be3/Www.brazzersbox.in_DayWithAPornstar.20.05.09.Vanna.Bardot.Vannas.
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KLEENEX.mp4
https://gounlimited.to/sfqme9q7hl8p/Www.brazzersbox.in_EroticaX.20.05.20.Jessie.Saint.Surprise.Weekend.G
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https://gounlimited.to/sg0f6tngjo01/TrueAmateurs.20.04.30.Bella.Tina.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/sg49rqfxdfvv/Subil_Arch,_Vera_Jarw,_Thomas_J_-_Fake_Family_Stuck_In_A_Tent_-
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https://gounlimited.to/sga9z84zybip/RealityKings_-_Sophia_Leone_-
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MP4-KTR.mp4
https://gounlimited.to/sgvwijyaf86s/TrueAmateurs.20.03.31.Teena.Booty.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/sgxsmsolrmnf/DaneJones_presents_Kaisa_Nord_-
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https://gounlimited.to/sh8d1rdf1ab3/Sneaky_Sex_Katana_Kombat_ALLWAYSWELL.mp4
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https://gounlimited.to/shl20w87vjpt/DayWithAPornstar.20.04.25.Aubree.Valentine.Aubrees.On.The.List.XXX.
1080p.MP4-KTR_[Pornxbit.com].mp4
https://gounlimited.to/sifq3wt9xb9v/[WeLiveTogether]_Emily_Willis,_Scarlett_Bloom,_Liv_Wild_(Color_Me
_Horny_/_06.11.2020).mp4
https://gounlimited.to/sii5fb0t33d7/RKPrime_-_Abella_Danger_-_The_Pirate_Gets_The_Booty.mp4
https://gounlimited.to/sii9xx60u0p6/[RKDupes]_Gabriella_Paltrova,_Candice_Dare_(Lesbehonest_Part_1_/_06
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https://gounlimited.to/sipqpwhamywb/BigTitsAtWork_-_Susy_Gala_-
_Foot_Clerk_At_Work_(16_06_2018).mp4
https://gounlimited.to/sj0dh0jesecr/Mofos_[PublicPickUps]_Sasha_Rose_.mp4
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https://gounlimited.to/sjim8wxjrrh0/[ElegantAnal]_Ana_Foxxx_(It_Happened_One_Night_Part_4_/_06.02.202
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https://gounlimited.to/sjqexqgg5ill/TransAngels_presents_Korra_Del_Rio_Long_Distance_Love___12.06.2020
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https://gounlimited.to/skeoccil9e05/BrazzersExxtra.-.Best.Of.Brazzers.Sneakiest.Moments.mp4
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https://gounlimited.to/skks40rer6vw/PublicAgent.20.06.03.Lydia.Black.XXX.SD.MP4-KLEENEX.mp4
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https://gounlimited.to/skpwzb6wq2a8/Www.brazzersbox.in__BigNaturals.20.04.15.Indica.Flower.Pour.Someth
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https://gounlimited.to/skvvzyij74fs/[RKPrime]_Adriana_Chechik_(While_You_Wait_/_03.15.2020).mp4
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https://gounlimited.to/sp8p8ll7d38q/RKPrime_20_05_02_Demi_Sutra_Sexy_Neighborhood.mp4
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https://gounlimited.to/t088egkebcw7/twistys.20.05.27.whitney.wright.all.oiled.up.with.whitney.mp4
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https://gounlimited.to/t0otsjpfjf42/Maya.Kendrick.and.Alex.Coal.Midnight.Threesome.ShareMyBF.mp4
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https://gounlimited.to/t0y56r134zql/Www.brazzersbox.in__5BGotMylf_5D_Tucker_Stevens_-
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https://gounlimited.to/t87wi7ykvfbd/Monster_Curves_Canela_Skin_ALLWAYSWELL.mp4
https://gounlimited.to/t8e9g9e88hmi
https://gounlimited.to/t8god42ooipz/Www.brazzersbox.in_[LookAtHerNow]_Kimmy_Granger_-
_Pedicure_Her_(16.06.2020)_rq.mp4
https://gounlimited.to/t8i75keweyft
https://gounlimited.to/t8tuwj5crbwf/Stranded_Teens.20.05.27.Nella.Jones.1080p.mp4
https://gounlimited.to/t8yglrkc9kls/_BrazzersExxtra_Halle_Hayes.mp4
https://gounlimited.to/t91pp0eqpei2/MommyBlowsBest.20.03.18.Katie.Monroe.Sad.Mom.XXX.MP4-
SDCLiP.mp4
https://gounlimited.to/t9c4e3o4lwl4/[BigWetButts]_Remy_Lacroix_(Remy's_Ring_Toss_REMASTERED_/_0
6.03.2020).mp4
https://gounlimited.to/t9m2fjclhi2q/TrueAmateurs_presents_Aila_Donovan_-
_Babe_Gets_Facial___29.05.2020.mp4
https://gounlimited.to/t9pn51c8zvvg/BigWetButts.20.03.01.Abella.Danger.The.Artist.Is.Fucking.Present.XXX.
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https://gounlimited.to/t9ze9l28anq0/www.0xxx.ws_WeLiveTogether.20.06.10.Emily.Willis.Scarlett.Bloom.An
d.Liv.Wild.Color.Me.Horny.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/ta1wn2ep8r6b/Www.brazzersbox.in_exotic4k.20.05.29.maya.farrell.maya.facialed.mp4
https://gounlimited.to/ta49dwemq4y2
https://gounlimited.to/ta49dwemq4y2/DayWithAPornstar.20.04.28.Phoenix.Marie.Phoenix.Works.Herself.Out.
XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/tahtc3fu85tr/Realitykings_-_Wet_Kittin_porn_%E2%80%93_Pornmz.mp4
https://gounlimited.to/taj1g3ka01l9/FakehubOriginals_presents_Ebony_Babes___31.05.2020.mp4
https://gounlimited.to/tajll3nyixzi/A_D_Well_Earned_-_Stacy_Cruz_-_BigTitsAtSchool_-_Brazzers.mp4
https://gounlimited.to/tajpq76s8o58/Www.brazzersbox.in_Www.brazzersbox.in_Tushy_-_Mary_Rock_-
_Opportunity.mp4
https://gounlimited.to/tapbfo7ow916/www.0xxx.ws_DontBreakMe.20.06.05.Pamela.Morrison.Breaking.Pamela
.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/tas3asse1ywn/www.0xxx.ws_FakehubOriginals.20.06.08.Best.Of.Cosplay.XXX.1080p.
MP4-KTR.mp4
https://gounlimited.to/tb1xwqypexia/twistys.20.06.08.dakota.on.display.mp4
https://gounlimited.to/tb2kwio89tfs/transangels.19.04.18.jessy.dubai.get.clean.mp4
https://gounlimited.to/tb2u8q3orngn
https://gounlimited.to/tb6jk84kb1rc/RKPrime.20.03.23.Savannah.Sixx.Cum.Through.My.Window.XXX.MP4-
SDCLiP.mp4
https://gounlimited.to/tbko0xmouow6/DigitalPlayground.19.11.27.Emily.Willis.And.Molly.Stewart.The.Auditi
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https://gounlimited.to/tbsq1fke973x/PureTaboo.20.05.12.Syren.De.Mer.Taking.Care.Of.Mom.XXX.MP4-
SDCLiP.mp4
https://gounlimited.to/tbzjsw3l9bo2
https://gounlimited.to/tc8rqs0rdujw/FakeTaxi.20.06.05.Romy.Indy.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/tcjlp8g84lid
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https://gounlimited.to/tcz7w0igxnwi/dontbreakme.20.04.23.evie.ling.petite.asian.stretched.out.mp4
https://gounlimited.to/tddbs45uoxil/Mofos_-_New_Study_Buddies.mp4
https://gounlimited.to/tddyklylw489/trueamateurs.20.05.18.jessica.miller.mp4
https://gounlimited.to/tdh6czw6jp8o/PervsOnPatrol.20.03.02.Payton.Preslee.More.Than.A.Pool.Fix.XXX.1080
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https://gounlimited.to/tdl2ev94qad1/DontBreakMe.20.02.07.Aria.Banks.Dont.Break.Aria.XXX.MP4-
SDCLiP.mp4
https://gounlimited.to/tdm5r4w73ymb/[BrazzersExxtra]_Eliza_Ibarra_(Hopping_On_A_Cock_/_04.12.2020).m
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https://gounlimited.to/tdnh9mdll9ig/DoctorAdventures.20.04.27.Bella.Rose.Big.Thermometer.Energy.XXX.10
80p.MP4-KTR.mp4
https://gounlimited.to/tdomkyqm3vhc/dontbreakme.20.05.05.jane.wilde.breaking.wilde.mp4
https://gounlimited.to/tdrkogl7y5kg/FakeAgent.20.02.06.Madison.Mcqueen.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/te1tie6ot5mz/Www.brazzersbox.in_RKPrime.20.05.20.Cecilia.Lion.Vs.Ricky.Johnson.X
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https://gounlimited.to/te453ruaieff/RKPrime_Kataljna_Kittin_ALLWAYSWELL.mp4
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https://gounlimited.to/tej1tldcqrpt/DigitalPlayground.20.04.20.Lucky.Seven.Episode.6.XXX.1080p.MP4-
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https://gounlimited.to/tfiy723sp3r3/Luna_Star,_Markus_Dupree_-_Fuck_My_Girl_-_RK_Prime_-
_Reality_Kings.mp4
https://gounlimited.to/tfvewel74ubf/Brazzers_Exxtra_20_05_03__Madison__Ivy__Revel__In__A__Blue__Dre
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https://gounlimited.to/tfxydsrc3knd/Brazzers_Exxtra_20_05_11_Casey_Calvert_And_Adria_Rae_Anal_Double
_Dip.mp4
https://gounlimited.to/tg1nem6ajcuu/Nathaly.Cherie.FakeTaxi.bigtits.mp4
https://gounlimited.to/tg8p7gk7slwi/trueamateurs.20.03.11.jamie.young.mp4
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MP4-KLEENEX.mp4
https://gounlimited.to/tggzufjv85io/girlsgonepink.20.06.08.aidra.fox.and.desiree.dulce.prank.wars.mp4
https://gounlimited.to/tghcfmxr65yr/[BrazzersExxtra]_Emily_Willis_(Where's_Your_Ring_Part_2_/_02.28.202
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https://gounlimited.to/tghgxgvqovrx/FakeDrivingSchool.20.06.10.Lady.Dee.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/tgjy7fnrnmh5/MilfsLikeItBig.20.05.30.Tommie.Jo.MILF.In.The.Closet.XXX.SD.MP4-
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https://gounlimited.to/tgvnhuzht2ay/Real_Wife_Stories_20_05_04_Portia_Paris_In-Depth_Tour.mp4
https://gounlimited.to/th3ob2v4qsj1/RKPrime.20.05.29.Kataljna.Kittin.Wet.Kittin.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/th67aauso5im/LilHumpers.20.06.11.Alexis.Fawx.Lil.Jailbird.XXX.1080p.mp4
https://gounlimited.to/th8v9q0xw8wb
https://gounlimited.to/thdfddp5l42m/Www.brazzersbox.in_LittleAsians.20.05.25.Diamond.Banks.And.Elle.Vo
neva.Chalk.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/thf93svezyko/Twistys_-_Cherie_DeVille.mp4
https://gounlimited.to/thg29fvcsijk/IKnowThatGirl.20.03.28.Kylie.Rocket.Miami.Trip.Memories.XXX.1080p.
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https://gounlimited.to/tig15xpr2wsh/BrazzersExxtra.20.05.22.Best.Of.Brazzers.Ava.Addams.XXX.1080p.MP4-
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https://gounlimited.to/tj59z11x5vls/Brazzers_-_Allison_Moore.mp4
https://gounlimited.to/tjbb7w68ou7v/Gabriela_Lopez_-
_Family_Road_Trip_Dick_(SneakySex.01.06.2020.720p)_VHQ_[CENTURION].mp4
https://gounlimited.to/tjcfmbmilnaq/RKPrime_-_Rosalyn_Sphinx,_Kylie_Kingston_-_Sit_On_It.mp4
https://gounlimited.to/tjd3uwmqj2rd
https://gounlimited.to/tjdk04n1qx1q/Www.brazzersbox.in_BBCParadise.20.05.25.Kenzie.Taylor.BBC.Birthday
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https://gounlimited.to/tjj0fvbm73jj/Twistys.20.06.10.Vina.Sky.Not.A.Cloud.in.the.Sky.XXX.1080p.MP4-
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https://gounlimited.to/tjpm4mvkw26r/BrazzersExxtra.20.03.10.Khloe.Kapri.Checkmate.XXX.1080p.MP4-
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https://gounlimited.to/tkgb4vczt6x4/[RKDupes]_Edible_Aubrey_(Meter_Maid_/_06.09.2020).mp4
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https://gounlimited.to/tkglcq5vl71y/Www.brazzersbox.in_KinkyFamily.20.05.30.Lily.Larimar.XXX.SD.MP4-
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https://gounlimited.to/tks4eg53ncup/Www.brazzersbox.in_dwp.20.03.29.victoria.june.mp4
https://gounlimited.to/tl4hmmu1q771/DigitalPlayground.20.06.01.Vanessa.Sky.Falling.From.Grace.Part.3.XXX
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https://gounlimited.to/tl6gzsnrn4bt/[RKDupes]_Gabriella_Paltrova,_Candice_Dare_(Lesbehonest_Part_1_/_06.
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https://gounlimited.to/tldzwo10i1em/transangels.19.08.17.andrea.zhay.winner.takes.it.all.mp4
https://gounlimited.to/tlsow5bjljnt/Fakehub.Originals.-.Best.Of.Cosplay.mp4
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https://gounlimited.to/tm0ycrm4toz5/RoundAndBrown.20.03.31.Ashley.Aleigh.Spring.Showers.XXX.SD.MP4
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https://gounlimited.to/tm28slbzhyzh/www.0xxx.ws_RKPrime.20.06.06.Bailey.Brooke.Surprised.By.The.Big.Pa
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https://gounlimited.to/tm2d1m448hzp/PublicPickUps_-_Elle_Rose_-
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https://gounlimited.to/tm75pop8fgb0/[MassageRooms]_Victoria_Pure_(Blonde_needs_loving_after_hard_day_
/_03.18.2020).mp4
https://gounlimited.to/tmca99rbixcc/Www.brazzersbox.in__5BRawCouples_5D_Ria_-
_Couple_fills_love_nest_with_lust_(23.05.2020)_rq.mp4
https://gounlimited.to/tmcdse9mz2ej/Twistys.20.06.08.Dakota.On.Display.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/tmhbkyq7xsd5/RK_Prime_20_04_21_Paige_Owens_Paige_Owes_Me_A_Shower.mp4
https://gounlimited.to/tmj05keupmpa/MilfsLikeItBig.20.02.08.Casca.Akashova.Is.That.A.Dick.In.Your.Pocket.
XXX.1080p.MP4-KTR_[Pornxbit.com].mp4
https://gounlimited.to/tmx68jeo9r1n/www.0xxx.ws_BigWetButts.20.05.29.Keira.Croft.Keiras.Ass.Craves.Cock
.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/tn1ej9wxo2v9/MomXXX.20.06.13.Florane.Russell.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/tn9ttyrw4pqs/fakehostel.20.03.27.vera.jarw.and.aaeysha.mp4
https://gounlimited.to/tnlu5kqtfs6h/PublicPickup-102.mp4
https://gounlimited.to/to2790w9mu4u
https://gounlimited.to/to8dh6ohic61/Jennifer_White,_Xander_Corvus_-_Hustle_And_Blow_-
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https://gounlimited.to/tohmksw717oa/BrazzersExxtra.20.04.13.Kenzie.Reeves.Piped.Down.XXX.1080p.MP4-
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https://gounlimited.to/ton1uvnrg3rk/rkprime.20.06.07.rosalyn.sphinx.and.kylie.kingston.sit.on.it.mp4
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y.Queen.Edition.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/towwkpyndp5x/Www.brazzersbox.in_CastingCouch-
X.20.04.19.Catalina.Ossa.XXX.2160p.MP4-KTR.mp4
https://gounlimited.to/tozmxijwigds/[BrazzersExxtra]_Best_Of_Brazzers_Sharing_Stepsiblings_(06.09.2020).m
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https://gounlimited.to/tpfs6qs8175h/Www.brazzersbox.in__MyDaughtersHotFriend.20.04.16.Harmony.Wonder
.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/tpg2tal676z4/[StrandedTeens]_Katana_Kombat_(Naked_Neighbor_/_03.05.2020).mp4
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KTR_[Pornxbit.com].mp4
https://gounlimited.to/tq1fe59o2nn1/bignaturals.20.03.11.gabriela.lopez.big.titty.barista.mp4
https://gounlimited.to/tq80tf3fuymd/GFRevenge_Evelin_Stone_-_Makeup_Room_Slut.mp4

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https://gounlimited.to/tqapfefbz2gc/Pamela_Morrison,_Alex_Legend_-_Breaking_Pamela_-
_Don't_Break_Me_-_Mofos.mp4
https://gounlimited.to/tqgnir72sxot/RKPrime.20.01.22.Adriana.Chechik.Cumming.Home.XXX.1080p.MP4-
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https://gounlimited.to/tquliuuh0t4o/DayWithAPornstar_-_Joanna_Angel_-
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rkman.XXX.2160p.MP4-KTR.mp4
https://gounlimited.to/trr3q23ca1sy/Fakehub_Originals.20.05.17.Best.Of.Big.Black.Cock.Rides.XXX.1080p.m
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https://gounlimited.to/ts1wmeg19dzf/Mofos.Maya.And.Alex.1080p.mp4
https://gounlimited.to/ts31u3gm69je/Www.brazzersbox.in_Private.20.06.06.Alexis.Crystal.Anal.Inspiration.XX
X.SD.MP4-KLEENEX.mp4
https://gounlimited.to/ts4aqzxx2qpw/[RKPrime]_Bae_Egypt_(Desperately_Seeking_Panties_/_05.31.2020).mp
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https://gounlimited.to/tsj8ddzgctir
https://gounlimited.to/tt00bzyv83at/RealityKings_-_Angela_White_-_Slick_Swimsuit_(20_06_2018).mp4
https://gounlimited.to/ttncadsenppu/Www.brazzersbox.in_HandsOnHardcore.20.06.12.Angelika.Grays.DP.Tag.
Team.Training.Session.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/ttsi7ulvahzz/danejones.20.05.17.best.of.intimate.anal.mp4
https://gounlimited.to/tu3n7slte7jg/Realitykings_-_Aruna_And_Kira_porn_%E2%80%93_Pornmz.mp4
https://gounlimited.to/tuil3f20z6gb/BrazzersExxtra.20.02.28.Emily.Willis.Wheres.Your.Ring.Part.2.XXX.1080
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https://gounlimited.to/tujkf2l1bc51/IKnowThatGirl.20.05.09.Luxury.Girl.Luxury.Cooking.XXX.1080p.MP4-
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https://gounlimited.to/tul4tfbd88kv/[BrazzersExxtra]_Abella_Danger,_Kira_Noir_(Maid_For_A_Threesome_/_
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https://gounlimited.to/tuxhxl7cl72y/FakeHostel.20.02.28.Josephine.Jackson.And.Marilyn.Sugar.XXX.SD.MP4-
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https://gounlimited.to/tv91fljmxqsl/DigitalPlayground.19.11.27.Gianna.Dior.And.Emily.Willis.The.Audition.Pa
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https://gounlimited.to/tvc559g5vyeq/SneakySex.20.05.25.Azul.Hermosa.Sizing.Up.XXX.1080p.MP4-
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https://gounlimited.to/tvcri423315s/RKPrime.19.11.14.Isabella.Deltore.MILF.Hunted.XXX.1080p.MP4-
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https://gounlimited.to/tvj0goke4l9v/www.0xxx.ws_DaneJones.20.06.09.Alexis.Crystal.XXX.1080p.MP4-
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https://gounlimited.to/tvm0vzqs1osx/Www.brazzersbox.in_NubileFilms.20.03.22.Azazai.Face.To.Face.XXX.1
080p.MP4-KTR.mp4
https://gounlimited.to/tvvjgdacm738/trueamateurs.20.04.14.jessica.starling.mp4
https://gounlimited.to/tvwx627ey6lj/MassageRooms.20.03.11.Asia.Rae.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/tw338qqufez8/Www.brazzersbox.in__Exotic4K.20.03.29.Alina.Lopez.Seductive.Latina.
XXX.2160p.MP4-KTR.mp4
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https://gounlimited.to/tw691uycja4z
https://gounlimited.to/twhbavy5sb0k/BigButtsLikeItBig.20.05.14.Abella.Danger.Stalkfucking.XXX.SD.MP4-
KLEENEX.mp4
https://gounlimited.to/twq5qzup2jsy/BigNaturals.20.03.11.Gabriela.Lopez.Big.Titty.Barista.XXX.1080p.MP4-
KTR_[Pornxbit.com].mp4
https://gounlimited.to/tx69rhjx16lq/Teens_Love_Huge_Cocks.20.06.10.Dolly.Little.A.Little.Love.XXX.1080p.
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https://gounlimited.to/txbnmiso5oxu/GirlsGonePink.20.04.13.Aidra.Fox.And.Jewelz.Blu.Jewelz.Sexy.Kitchen.
XXX.1080p.MP4-KTR_[Pornxbit.com].mp4
https://gounlimited.to/txgpb3v54hlp/fakehuboriginals.20.04.30.best.of.filthy.milfs.mp4
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s.XXX.1080p.MP4-KTR.mp4
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https://gounlimited.to/tyh09k0iucq7/TrueAmateurs.20.05.15.Vanessa.Skye.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/tz3v2jeo3zt2/Kenzie.Taylor.Kenzie.Chooses.Dick.Over.Dishes.DayWithAPornstar.bigtits
.mp4
https://gounlimited.to/tz5czxrx7wsg/[Twistys]_Paige_Owens_(Paige's_Pantyhose_Squirt_/_05.13.2020).mp4
https://gounlimited.to/tzbd5il1x1x0/RKPrime.20.06.01.Asia.Rae.Boyfriend.Snatcher.XXX.SD.MP4-.mp4
https://gounlimited.to/tzh9dctjcs2g/momxxx.20.04.27.kathy.anderson.and.isabelle.deltore.mp4
https://gounlimited.to/tzi8y365ojvh/dontbreakme.20.05.05.jane.wilde.breaking.wilde.mp4
https://gounlimited.to/tzinaf2qus6a/RealityKings.20.04.20.Quinton.James.Gabbie.Carter.I.Fucked.Your.Boyfrie
nd.To.Make.You.Mad.XXX.720p.MP4-MaMi.mp4
https://gounlimited.to/tzofnpsy8516/DaneJones.20.03.02.Lady.Dee.XXX.1080p.MP4-
KTR_[Pornxbit.com].mp4
https://gounlimited.to/tzt6f2u52kep/Lenina.Crowne.Lenina.Gets.A.Workout.DayWithAPornstar.redhead.mp4
https://gounlimited.to/u07okvzk5195/Brazzers_Extra_Riley_Reid_-_Riley's_Private_Show.mp4
https://gounlimited.to/u0a9pja8r81w/WhenGirlsPlay_Izzy_Lush_ALLWAYSWELL.mp4
https://gounlimited.to/u0k626pimoi8/www.0xxx.ws_PervMom.20.05.30.Havana.Bleu.Rekindling.With.Stepmo
m.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/u0vhyw7z3x12/[TeensLoveHugeCocks]_Vina_Sky_(Anal_In_The_Sun_/_06.08.2020).m
p4
https://gounlimited.to/u14k3cnjmvvc
https://gounlimited.to/u1ep0vic1xbq/HotAndMean.20.03.24.Luna.Star.And.Ember.Snow.The.Maid.Cums.Clea
n.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/u1lzdvymuch2/www.0xxx.ws_DirtyMasseur.20.06.06.Luna.Star.Honeymoon.Rubdown.
XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/u1rkia89b85s/[DontBreakMe]_Pamela_Morrison_(Breaking_Pamela_/_06.05.2020).mp4
https://gounlimited.to/u1uh3rexrm8k/BrazzersExxtra.20.04.07.Carly.Rae.Getting.Fucked.On.My.Side.XXX.SD
.MP4-KLEENEX.mp4
https://gounlimited.to/u1uimii9ykvv/Www.brazzersbox.in_Private.20.05.14.Tiffany.Tatum.And.The.Unfaithful.
Husband.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/u1uxo9umohon/Www.brazzersbox.in_monstersofcock.20.06.14.gianna.dior.and.kira.pere
z.mp4

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https://gounlimited.to/u26ru96mtaw8/www.0xxx.ws_RKPrime.20.06.12.Aidra.Fox.A.Cock.For.Your.Thots.XX
X.1080p.MP4-KTR.mp4
https://gounlimited.to/u2bwkptrshgn/DayWithAPornstar.20.05.18.Kenzie.Taylor.Kenzie.Gets.Stuck.XXX.1080
p.MP4-KTR.mp4
https://gounlimited.to/u2qzgmoobxjp/TrueAmateurs.20.02.06.Luventa.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/u2seow14mmue/Www.brazzersbox.in_Private.20.05.07.Anastasia.Brokelyn.Horny.In.Th
e.Office.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/u2tkozlb5ux0
https://gounlimited.to/u2vmoxrk3ehz/BrazzersExxtra.20.05.06.Best.Of.Brazzers.Nurse.Appreciation.Day.XXX.
SD.MP4-KLEENEX.mp4
https://gounlimited.to/u2xrj2qmmcra/Fakehub_Originals.20.05.13.Fiamurr.XXX.1080p.mp4
https://gounlimited.to/u383e2dvmol4/[RKPrime]_Nicolette_Shea_(Big_Dick_Energy_/_06.04.2020).mp4
https://gounlimited.to/u3c296zu5mp7/LetsTryAnal_Mia_Bandini_ALLWAYSWELL.mp4
https://gounlimited.to/u3l7yycqe1eh/TrueAmateurs.20.06.01.Mia.Bandini.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/u3pky4rlw4ms/[DontBreakMe]_Avery_Black_(Sweet_And_Small_/_02.21.2020).mp4
https://gounlimited.to/u3srk83kofrr
https://gounlimited.to/u3wysfprzozh/TrueAmateurs.20.06.12.Reislin.Solo.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/u48mbqj3482n/www.0xxx.ws_Twistys.20.06.03.Cherie.Deville.A.Taste.Of.Cherie.XXX.
1080p.MP4-KTR.mp4
https://gounlimited.to/u4jo43rooqwu/elegantanal.20.04.23.angela.white.wet.and.ready.mp4
https://gounlimited.to/u4jo9zjmvrxr/Simplyanal_-
_Alina_V_And_Sofia_Like_Share_My_Boyfriend_[720p_HD].mp4
https://gounlimited.to/u4kgr2tssq7s/rkprime.20.06.07.rosalyn.sphinx.and.kylie.kingston.sit.on.it.mp4
https://gounlimited.to/u4l2c9un5331/BrazzersExxtra_Best_Of_Brazzers_ALLWAYSWELL.mp4
https://gounlimited.to/u4wysevapzsh/MomsInControl.20.05.18.Vanna.Bardot.And.Becky.Bandini.To.The.Step
mom.Goes.The.Threesome.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/u51zh2ex3w95/www.0xxx.ws_BrazzersExxtra.20.05.29.Best.Of.Brazzers.Peta.Jensen.X
XX.1080p.MP4-KTR.mp4
https://gounlimited.to/u533bfz9vhwi
https://gounlimited.to/u533bfz9vhwi/BrazzersExxtra.20.06.02.Abella.Danger.His.Hands.Are.Tied.XXX.1080p.
MP4-KTR.mp4
https://gounlimited.to/u5cg3y2cpdak/www.0xxx.ws_RKPrime.20.06.11.Jane.Wilde.And.Emily.Willis.Face-To-
Face.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/u5d0g4fqidsp/www.0xxx.ws_TurningTwistys.20.06.01.Sabina.Rouge.And.Liv.Wild.Eve
n.Cowgirls.Get.Horny.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/u5j0lu3d5q2n/WeLiveTogether.20.04.17.Episode.1.Welcome.Home.XXX.MP4-
SDCLiP.mp4
https://gounlimited.to/u5p6q01qu3c8/Www.brazzersbox.in_MyDirtyMaid.20.04.28.Lilly.Hall.XXX.SD.MP4-
KLEENEX.mp4
https://gounlimited.to/u5sce1anft7s/Day.With.A.Pornstar.-.Lenina.Crowne.Lenina.Gets.A.Workout.-
.Brazzers.mp4
https://gounlimited.to/u63p0617sbh5
https://gounlimited.to/u63wz5441ker/BrazzersExxtra.20.05.19.Best.Of.Brazzers.Meanest.Lesbians.MP4-
KTR.mp4
https://gounlimited.to/u67ofy6jij8l/IKnowThatGirl.19.11.30.Alina.Belle.Banging.Workout.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/u68gyvypn8o1/WhenGirlsPlay.20.03.15.Abigail.Mac.And.Gianna.Dior.A.New.Start.XX
X.1080p.MP4-KTR_[Pornxbit.com].mp4
https://gounlimited.to/u6athpgcov0d/DayWithAPornstar.20.04.16.Luxury.Girl.Luxurys.New.Jeans.XXX.MP4-
SDCLiP.mp4

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https://gounlimited.to/u6czrnckogm1/Day_With_A_Pornstar.20.05.25.Katie.Kush.And.Kenzie.Madison.Get.Fle
xible.XXX.1080p.mp4
https://gounlimited.to/u6eef9ern9rq/www.0xxx.ws_BrazzersExxtra.20.05.16.Valentina.Nappi.Jumping.For.Jizz.
XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/u6gl5zt07sgj
https://gounlimited.to/u6gl5zt07sgj/PublicAgent_Florane_Russell_ALLWAYSWELL.mp4
https://gounlimited.to/u72qd1n9graq/[TurningTwistys]_Sabina_Rouge,_Liv_Wild_(Even_Cowgirls_Get_Horn
y_/_06.01.2020).mp4
https://gounlimited.to/u73uno362gx2/[FakeTaxi]_Blue_Angel_(The_Londoner_in_the_Hungarian_/_02.12.202
0).mp4
https://gounlimited.to/u76s2u0c6v2e/Massage_Rooms.20.05.15.Romy.Indy.XXX.1080p.mp4
https://gounlimited.to/u7bw8wwxs9n3/bex.20.05.13.best.of.brazzers.madison.ivy.mp4
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https://gounlimited.to/u7o6e42vnqqo/Brazzers_-
_DirtyMasseur_presents_Luna_Star_in_Honeymoon_Rubdown___06.06.2020.mp4
https://gounlimited.to/u7ra779k8bvq/RKPrime.20.06.16.Anya.Ivy.One.Day.Fare.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/u7xf9u2yczr2/Telegram_@getnewlink_dani_daniels_Danis_Hidden_Talents_-
_BRAZZERS.mp4
https://gounlimited.to/u82z27hf8nvj/RKPrime.20.05.29.Kataljna.Kittin.Wet.Kittin.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/u88vm61dnk2u/Www.brazzersbox.in_babes.20.06.14.abella.danger.bella.of.the.ball.mp4
https://gounlimited.to/u8bgle7jg570/[Fake_Taxi]_Isabella_Deltore_-
_Blonde_Australian_fucked_senseless_(PervyVideos.com).mp4
https://gounlimited.to/u8extvqpl3eg/The_Half_Pint_Stripper_-_Bridgette_B_-_LilHumpers_-
_RealityKings.mp4
https://gounlimited.to/u8o1hvm7prhh/LilHumpers.20.04.21.Joslyn.James.Lil.Lawn.Gnome.XXX.SD.MP4-
KLEENEX.mp4
https://gounlimited.to/u92g9djs5915/Big_Tits_at_Work_Romi_Rain_Work_Hard_Fuck_Harder.mp4
https://gounlimited.to/u98kylch09b0/TrueAmateurs_presents_NoFaceGirl_in_Babe_With_Hot_Body_Gets_Cre
ampie___15.06.2020.mp4
https://gounlimited.to/u9adg0v1mfb8/Liv.Wild.and.Vanessa.Sky.Wild.Sky.RKPrime.threesome.mp4
https://gounlimited.to/u9i037e17qot/Www.brazzersbox.in_blackedraw.20.04.27.kyler.quinn.mp4
https://gounlimited.to/u9j0r8yniak5
https://gounlimited.to/u9nfvv15bbwx/StrandedTeens_Carmen_Caliente.mp4
https://gounlimited.to/ua3tp6ypb8mp/RKPrime.20.05.30.Kira.Queen.And.Aruna.Aghora.Threesome.XXX.MP4
-SDCLiP.mp4
https://gounlimited.to/uah36ijrgzgz
https://gounlimited.to/uai3nubhcb6s/DayWithAPornstar.20.05.16.Showering.With.Mara.Swan.XXX.MP4-
SDCLiP.mp4
https://gounlimited.to/uakzo7yb8b3j/www.0xxx.ws_RKPrime.20.05.29.Kataljna.Kittin.Wet.Kittin.XXX.1080p.
MP4-KTR.mp4
https://gounlimited.to/ualtu7m78qn1/RKPrime.20.06.04.Nicolette.Shea.Big.Dick.Energy.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/uayvucrv8982/transangels.20.02.29.daisy.taylor.angels.big.assets.mp4
https://gounlimited.to/ube5fyk6rorv/LookAtHerNow.20.04.02.Lexi.Lore.Clothing.Haul.XXX.SD.MP4-
KLEENEX.mp4
https://gounlimited.to/ubipnx05dud1/MommyGotBoobs_-_Cherie_Deville_-_Stuck_On_Your_Mom.mp4
https://gounlimited.to/ubnfb6rv98ed/rkprime.20.05.19.scarlet.homework.and.cocksucking.mp4
https://gounlimited.to/ubts5yvd3ft4
https://gounlimited.to/ubugq88591s5/Ariella_Ferrera,_Kyle_Mason_-_Dinner_For_One,_Table_For_Two_-
_Milfs_Like_It_Big_-_Brazzers.mp4
https://gounlimited.to/ubw5qu548fwx
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https://gounlimited.to/ubw5qu548fwx/FakeDrivingSchool_Lady_Dee.mp4
https://gounlimited.to/ubwkq3j4q631/RK_Prime.20.05.26.Liv.Wild.And.Vanessa.Sky.Wild.Sky.XXX.1080p.m
p4
https://gounlimited.to/uc5xsa6q0a5c
https://gounlimited.to/uc8sjy0male5/TrueAmateurs.20.04.04.Jessica.Starling.XXX.1080p.MP4-
KTR_[Pornxbit.com].mp4
https://gounlimited.to/uck1kon0mzfc/[DaneJones]_Asia_Rae_(Ebony_UK_babe_cant_get_enough_/_02.24.202
0).mp4
https://gounlimited.to/uckvktfub1xl/DayWithAPornstar.20.05.16.Showering.With.Mara.Swan.XXX.SD.MP4-
KLEENEX.mp4
https://gounlimited.to/ucud075rv5a4/Publicpickups.20.06.11.Martina.Smeraldi.New.Study.Buddies.XXX.1080
p.MP4-KTR.mp4
https://gounlimited.to/ucx1p36nv81v/SneakySex.20.06.01.Gabriela.Lopez.Family.Road.Trip.Dick.XXX.SD.M
P4-KLEENEX.mp4
https://gounlimited.to/ud06ji4nqb3n/teenslovehugecocks.20.03.01.kyler.quinn.kylers.office.quickie.mp4
https://gounlimited.to/ud0h7b82fdgo/[DayWithAPornstar]_Jessica_Starling_Makes_Music_(17.05.2020)_rq.m
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https://gounlimited.to/ud2e7qdmrzm7/[FakehubOriginals]_Best_Of_Cosplay_(06.08.2020).mp4
https://gounlimited.to/udahqthdq5hw
https://gounlimited.to/uddquocnona2/BrazzersExxtra.20.04.22.Desiree.Dulce.Clitical.Check.Up.XXX.1080p.M
P4-KTR_[Pornxbit.com].mp4
https://gounlimited.to/udviyftrf6rf
https://gounlimited.to/ue0lwjnh6f42/pervsonpatrol.20.02.05.aria.kai.stretch-sister.mp4
https://gounlimited.to/uel4aqs4ph64/Teens_Like_It_Big.20.06.13.Kennedy.Leigh.21.Hump.Street.REMASTER
ED.XXX.1080p.mp4
https://gounlimited.to/uel9zrw31gn8/BigNaturals_Indica_Flower_ALLWAYSWELL.mp4
https://gounlimited.to/ueohvl0d8a8f/Twistys.20.05.06.Gianna.Dior.Vibing.At.Home.With.Gianna.XXX.MP4-
SDCLiP.mp4
https://gounlimited.to/ueu6mlpma7lj/[RKPrime]_Nicolette_Shea:_Big_Dick_Energy_(PervyVideos.com).mp4
https://gounlimited.to/uf45boplb8to
https://gounlimited.to/ufds5fghg83w/Www.brazzersbox.in__LegalPorno.2020.Klara.Kinky.Interracial.DP.720p.
XXX.MP4-CLiP.mp4
https://gounlimited.to/ufgiuq7160yf/Twistys.20.05.02.Molly.Stewart.Poolside.With.Molly.XXX.1080p.mp4
https://gounlimited.to/ufnf6iuargrz/[DaneJones]_Aaeysha_(Real_romance_with_pretty_Pakistani_/_02.21.2020
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https://gounlimited.to/ufr4tmw5d4cn
https://gounlimited.to/ufzak1k8ydka
https://gounlimited.to/ug1rgd903hy2/Www.brazzersbox.in_[BangBus]_Opal_Essex_-
_Raver_Opal_Gets_On_The_Bus_To_Fuck_(06.05.2020)_rq.mp4
https://gounlimited.to/ug7dnxnkj0zo/Www.brazzersbox.in_RKPrime.20.06.08.Luna.Star.Fuck.My.Girl.XXX.S
D.MP4-KLEENEX.mp4
https://gounlimited.to/ugmmkq1joa56/www.0xxx.ws_RKPrime.20.06.06.Bailey.Brooke.Surprised.By.The.Big.
Package.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/ugo099z7azln/Www.brazzersbox.in_DigitalPlayground.20.05.18.Aubree.Valentine.Fallin
g.From.Grace.Part.2.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/uh4nyd5hikm5/Brazzers_-
_Abella_Danger,_Kira_Noir,_Danny_D_Maid_For_A_Threesome.mp4
https://gounlimited.to/uh564cjqtinr/Aletta_Ocean_&_Madison_Ivy_&_Monique_Alexander_-
_Best_Of_Brazzers_Madison_Ivy.mp4
https://gounlimited.to/uhirtvw9of9u/dontbreakme.20.03.24.binky.beaz.breaking.binky.mp4

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https://gounlimited.to/uhnevqdjyg33/[MomsLickTeens]_Maggie_Green,_Sofie_Reyez_(Come_Home_With_M
e_/_05.27.2020).mp4
https://gounlimited.to/uhnoifuof2wc/TrueAmateurs.20.05.15.Vanessa.Skye.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/uht30y6ys1j7/Www.brazzersbox.in__RealWifeStories.20.04.10.Ember.Snow.The.Silent.
Treatment.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/uhwby7it54ae/DigitalPlaygroundMatriarchPart1ALLWAYSWELL.mp4
https://gounlimited.to/ui0rzt3uyedt/FakeTaxi.20.02.05.Asia.Rae.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/uieypmv72zxj/BigWetButts.20.06.03.Remy.Lacroix.Remys.Ring.Toss.REMASTERED.
XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/uifj8be4mwna/HotAndMean.20.05.06.Kendra.James.And.Casca.Akashova.Caught.Red.H
anded.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/uihzur0ddksn/TrueAmateurs.20.06.05.Hayliexo.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/uijtfzrydqiq/www.0xxx.ws_RKPrime.20.06.12.Aidra.Fox.A.Cock.For.Your.Thots.XXX.
1080p.MP4-KTR.mp4
https://gounlimited.to/uikevttl3s18/[GirlsGonePink]_Aidra_Fox,_Desiree_Dulce_(Prank_Wars_/_06.08.2020).
mp4
https://gounlimited.to/uiu7hkur1075/Www.brazzersbox.in_DevilsFilm.20.05.24.Ember.Snow.An.Open.Position
.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/ujg1m9k5crdi/[LilHumpers]_Alexis_Fawx_(Lil_Jailbird_/_06.11.2020).mp4
https://gounlimited.to/ujr3ukwnqcdw/DigitalPlayground.19.11.11.India.Summer.Pick.A.Room.Episode.2.XXX.
1080p.MP4-KTR.mp4
https://gounlimited.to/ujzgkrme2m2a/TeensLoveHugeCocks.20.04.13.Natalie.Porkman.Sloppy.Schoolgirl.XXX
.1080p.MP4-KTR_[Pornxbit.com].mp4
https://gounlimited.to/uk14gkm0ehq5/Katrin.Tequila.Working.Overtime.Stranded.Teens.POV.mp4
https://gounlimited.to/uk7274fmy081/www.0xxx.ws_RKPrime.20.06.15.Gianna.Dior.Sex.Inherited.XXX.1080
p.MP4-KTR.mp4
https://gounlimited.to/ukcg7hue3voa/Riley-Reid-Brazzers-Almost-Sisters:-Remastered-2020-06-17.mp4
https://gounlimited.to/ukfuy46449vg/BigNaturals.20.03.09.Gabbie.Carter.Alone.With.The.Roomate.XXX.MP4
-SDCLiP.mp4
https://gounlimited.to/ukgn0rs0oikq/TrueAmateurs_presents_NoFaceGirl_in_Babe_With_Hot_Body_Gets_Cre
ampie___15.06.2020.mp4
https://gounlimited.to/ukkpsz4aydm8
https://gounlimited.to/uklpvylmrefz/TrueAmateurs.20.04.20.Reislin.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/ukly6ybdpq1b
https://gounlimited.to/ukxwuwnf1x9u/fakehuboriginals.20.02.01.lovita.fate.and.adara.love.mp4
https://gounlimited.to/ukz53cacg4ms/www.0xxx.ws_BrazzersExxtra.20.06.02.Best.Of.Brazzers.Sneakiest.Mom
ents.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/ul1sfpiywjd6
https://gounlimited.to/ul49ntn3zv5p/Www.brazzersbox.in_BigWetButts.20.05.29.Keira.Croft.Keiras.Ass.Crave
s.Cock.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/ul9276pcctu5/www.0xxx.ws_DaneJones.20.06.11.Alina.Crystall.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/ul9y8tuflmle/sneakysex.20.04.08.alina.belle.cant.talk.now.mp4
https://gounlimited.to/ulcrq41ml6l2
https://gounlimited.to/ulkvssmfcdd3/MilfsLikeItBig_-_Tommie_Jo_-_MILF_In_The_Closet.mp4
https://gounlimited.to/ulrqhe3ubc9g/BrazzersExxtra.20.06.05.Best.Of.Brazzers.First.Anals.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/uluigtn8wvfd/Phoenix.Marie.Feeling.Up.Phoenix.DayWithAPornstar.bigtits.mp4
https://gounlimited.to/ulzwqc90yrgs/WhenGirlsPlay.20.03.18.Abella.Danger.And.Naomi.Swann.Slumber.Party.
Secret.XXX.MP4-SDCLiP.mp4

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https://gounlimited.to/um58an400vpu/Bodacious_Bikini_Threesome_-_Kendra_Sunderland,_Madison_Ivy_-
_BrazzersExxtra_-_Brazzers.mp4
https://gounlimited.to/umbn6kjts51a/fakehuboriginals.20.04.24.best.of.asian.girls.mp4
https://gounlimited.to/ume6tt5swliw/BigTitsAtSchool.20.03.08.Sofia.Rose.Disciplinary.Action.XXX.1080p.M
P4-KTR_[Pornxbit.com].mp4
https://gounlimited.to/umj84md3zyo8/www.0xxx.ws_PervsOnPatrol.20.05.31.Kiara.Edwards.Pervy.Yoga.Spy.
XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/umjkpsli6c7u/sharemybf.20.03.06.desiree.dulce.and.aubree.valentine.cumming.home.earl
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https://gounlimited.to/umkp3tsmfrk4/Www.brazzersbox.in_DayWithAPornstar.20.04.12.Aidra.Fox.Aidra.Gets.
Her.Fill.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/umqbh56qr5jt/Come_Home_With_Me_-_Maggie_Green,_Sofie_Reyez_-
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https://gounlimited.to/umthpy8r50a4/fakehuboriginals.20.05.11.sofia.lee.and.asia.rae.mp4
https://gounlimited.to/umvz6pj0zs3k
https://gounlimited.to/umwkc8spha31/www.0xxx.ws_StrandedTeens.20.06.17.Scarlit.Scandal.Helpful.Neighbo
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https://gounlimited.to/un1y9om5cr7p/RK_Prime_20_05_20_Cecilia_Lion_Vs_Ricky_Johnson.mp4
https://gounlimited.to/un27cgbule3s/RK_Prime.20.05.31.Bae.Egypt.Desperately.Seeking.Panties.XXX.1080p.
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https://gounlimited.to/un84yzkh3c96/Alina_Crystall_Intimate_Love_With_Gorgeous_Russian_(DaneJones_11
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https://gounlimited.to/unglj6znrvbh/TransAngels.20.02.06.Aubrey.Kate.Not.Playing.Myself.Again.XXX.MP4-
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https://gounlimited.to/ungwx9vdffbc/Milfslikeitbig.20.05.30.Tommie.Jo.Milf.in.the.Closet.XXX.1080p.MP4-
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https://gounlimited.to/unhoepgpseuo/Lesbea.20.05.10.Best.Of.Scissoring.Orgasms.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/uniz7z73sn33/PornstarsLikeItBig.20.03.07.Janice.Griffith.Watch.Party.XXX.SD.MP4-
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https://gounlimited.to/unv2h1hapg3d/Brazzers_-_BigWetButts_presents_Angela_White_-
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https://gounlimited.to/unvkp2qokgew
https://gounlimited.to/unvkp2qokgew/Ava_Addams_-_Best_Of_Brazzers.mp4
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https://gounlimited.to/uob8i84tjwz1
https://gounlimited.to/uoqz0n8k60ll/[DayWithAPornstar]_Kenzie_Taylor_-
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https://gounlimited.to/uordoguoi5nq/[RKPrime]_Abella_Danger_(Balloon_Booty_/_02.20.2020).mp4
https://gounlimited.to/uotl7yzw3c9z/[BigWetButts]_Keira_Croft_-
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https://gounlimited.to/upigt3olm14x/TeensLoveHugeCocks.20.06.08.Vina.Sky.Anal.In.The.Sun.XXX.1080p.M
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https://gounlimited.to/upnola3kqhhq/transangels.20.02.20.bianca.meirelles.poolside.ride.mp4
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https://gounlimited.to/uq403r1v1633/Www.brazzersbox.in_MonstersOfCock.20.05.10.Elsa.Jean.XXX.SD.MP4
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https://gounlimited.to/uqd6kgwn0znk/Share_My_BF.Izzy.And.La_Siena69.11.5.2020.1080p.mp4
https://gounlimited.to/uqp8iryeabwy/Www.brazzersbox.in__PropertySex.20.04.17.Gabbie.Carter.Where.The.M
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https://gounlimited.to/uqy0kdv7d4jb/HotAndMean.20.02.04.Karma.RX.And.Amber.Jade.Amber.In.The.Hills.P
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https://gounlimited.to/ur3cxt32tjmp
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https://gounlimited.to/uryd5z5kur5w/[PublicPickUps]_Jeanie_Marie_Sulivan_(Man's_Best_Friend_/_02.20.202
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https://gounlimited.to/us01ilrd3zdl
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https://gounlimited.to/us62p8104ylv/RKPrime.20.03.13.Kara.Lee.Bathroom.Attendant.XXX.MP4-
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https://gounlimited.to/us7ztjzi1a3a/Www.brazzersbox.in_RKPrime.20.05.17.Lara.De.Santis.Splish.Splash.Anal
.Oil.Bath.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/us9688b48k8i/Www.brazzersbox.in_NubileFilms.20.05.27.Chloe.Temple.And.Evelyn.Cl
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https://gounlimited.to/usfz5gmxqwhf/BrazzersExxtra.20.05.25.Bella.Rolland.And.Scarlit.Scandal.Rough.And.R
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https://gounlimited.to/usvmswqh7atf/RKPrime.20.01.31.Alura.Jenson.And.Lexi.Lore.Lexi.Wants.It.Bad.XXX.
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https://gounlimited.to/utogwqkdaioc/RKPrime_Mimi_Curvaceous_ALLWAYSWELL.mp4
https://gounlimited.to/utw5epbqar4c/p5Public_Agent-102.mp4
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https://gounlimited.to/uuezjfy99mpu/twistys.20.06.08.dakota.on.display.mp4
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https://gounlimited.to/uupty6lwgico/MomXXX_Best_Of_MILF_Seduction.mp4
https://gounlimited.to/uuqbeqf8h3jg/Day_With_A_Pornstar.20.06.07.Rebecca.More.Rebeccas.Shower.Time.Fu
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https://gounlimited.to/uutjzsydvida/www.0xxx.ws_BrazzersExxtra.20.06.09.Best.Of.Brazzers.Sharing.Stepsibli
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https://gounlimited.to/uv16znwheyco/PublicAgent.20.03.24.Caty.Kiss.XXX.MP4-SDCLiP.mp4
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https://gounlimited.to/uvafnnva0nhy/Www.brazzersbox.in_BurningAngel.20.05.15.Kenzie.Reeves.XXX.SD.M
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https://gounlimited.to/uvdg0nlibykc/www.0xxx.ws_DontBreakMe.20.05.05.Jane.Wilde.Breaking.Wilde.XXX.1
080p.MP4-KTR.mp4
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https://gounlimited.to/uwueob4xls2z/danejones.20.05.12.rebecca.volpetti.mp4
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https://gounlimited.to/uxev7ca3d6ps/DigitalPlayground_-_Vanessa_Sky_-_Falling_From_Grace_Scene_3.mp4
https://gounlimited.to/uxewcqzgfwnc/MassageRooms.20.04.01.Sofia.Lee.And.Kinuski.XXX.MP4-
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https://gounlimited.to/uxfv8c844ys4
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P4-KLEENEX.mp4
https://gounlimited.to/uxme8kgaxpkl
https://gounlimited.to/uxppxtovjio6/TrueAmateurs.20.04.26.Portia.Paris.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/uxpxm4voywng/1080.mp4
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https://gounlimited.to/uy21jilmyg2j/rkprime.20.02.20.abella.danger.balloon.booty.mp4
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https://gounlimited.to/uyawzlkuvok6/www.0xxx.ws_TeensLoveHugeCocks.20.06.08.Vina.Sky.Anal.In.The.Su
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https://gounlimited.to/uyhewmdbd828/TrueAmateurs.20.04.08.Belleniko.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/uykpa67yvpf2/Www.brazzersbox.in_monstersofcock.20.03.29.kira.perez.mp4
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https://gounlimited.to/uytdeu6vg6zw/danejones.20.06.07.best.of.creampies.mp4
https://gounlimited.to/uyxfuj69493p/IKnowThatGirl.20.03.28.Kylie.Rocket.Miami.Trip.Memories.XXX.SD.M
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https://gounlimited.to/uz9109bblt1y/Zoey_Monroe_Kimber_Woods_Kristen_Scott_Sir_%E2%80%93_Keiran
https://gounlimited.to/uzcq6pgn78bi/Blonde_With_Big_Boobs_Gets_Facial_-_Portia_Paris_-
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https://gounlimited.to/uzhy8ux4xihb/www.0xxx.ws_RKPrime.20.06.04.Nicolette.Shea.Big.Dick.Energy.XXX.
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https://gounlimited.to/uzl6m0y4uoij
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https://gounlimited.to/uzx585ji1elf/Momxxx.20.06.13.Florane.Russell.XXX.1080p.MP4-KTR.mp4
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m.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/v0aj4cs57t7w/trueamateurs.20.05.25.sativa.booty.mp4
https://gounlimited.to/v0czu78rczhu/www.0xxx.ws_FakeTaxi.20.04.01.Ava.Austen.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/v0kav2shzpux/Lil_Humpers_Brooklyn_Blue.mp4
https://gounlimited.to/v0vowzrd5ehg/sneakysex.20.02.04.alex.coal.tapping.your.sister.mp4
https://gounlimited.to/v0whvejzp7i1/PervsOnPatrol.20.05.03.Catalina.Ossa.Showering.Catalina.XXX.1080p.M
P4-KTR.mp4
https://gounlimited.to/v1fc90dl7nai/Twistys.20.06.03.Cherie.Deville.A.Taste.Of.Cherie.XXX.720p.mp4
https://gounlimited.to/v1xilph2deq8/Stranded_Teens_-_Scarlit_Scandal.mp4
https://gounlimited.to/v1xyfrn73omf/[WhenGirlsPlay]_Abigail_Mac,_Gianna_Dior_(A_New_Start_/_03.15.20
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https://gounlimited.to/v1y61bsrxg8y/Lesbea.20.03.15.Scarlet.Rebel.And.Romy.Indy.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/v24enrowq0kb
https://gounlimited.to/v295hb4t5pts/Girls_Gone_Pink_Alice_Bong_ALLWAYSWELL.mp4
https://gounlimited.to/v2a9gz9f2qao
https://gounlimited.to/v2fycwl63mef/Abella-Danger-Brazzers-Maid-For-A-Threesome-2020-06-12.mp4
https://gounlimited.to/v33iosnaprij/BigWetButts.20.05.29.Keira.Croft.Keiras.Ass.Craves.Cock.XXX.1080p.MP
4-KTR.mp4
https://gounlimited.to/v3bfzr2avznr/Doctor_Adventures.20.04.27.Bella.Rose.Big.Thermometer.Energy.XXX.10
80p.mp4
https://gounlimited.to/v3htyp3etsat/Digital_Playground_-_Vanessa_Sky.mp4
https://gounlimited.to/v3j7qcfiky2k/RKDupes.20.06.16.Pedicure.Her.XXX.INTERNAL.1080p.MP4-
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https://gounlimited.to/v3m666lf7gy4/PublicPickUps.20.03.23.Scarlett.Fall.Asking.Cutie.For.Directions.XXX.1
080p.MP4-KTR_[Pornxbit.com].mp4
https://gounlimited.to/v3qmfgbtu0md/PublicAgent_Lexi_ALLWAYSWELL.mp4
https://gounlimited.to/v3qvcnbsfven/trueamateurs.20.04.28.jessica.miller.mp4
https://gounlimited.to/v3qxs677q62y/Digital_PlayGround_-_Ella_Hughes_-_Freshman_Meat.mp4
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https://gounlimited.to/v3tufnx0f7jx/IKnowThatGirl.20.04.19.Abby.Tatum.Chores.With.Horny.Abby.XXX.MP4
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https://gounlimited.to/v486k22ncsq1/AnalMom.20.03.19.Dana.Dearmond.The.Anal.MILF.Next.Door.XXX.10
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https://gounlimited.to/v4owj5lq7eqb/BigButtsLikeItBig.20.03.21.Phoenix.Marie.Yoga.Freaks.Episode.Thirteen.
XXX.SD.MP4-KLEENEX.mp4
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https://gounlimited.to/v5e19r29h1mm/FakehubOriginals_Best_ALLWAYSWELL.mp4
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https://gounlimited.to/v5lxc56wc4ml/Www.brazzersbox.in_mydirtymaid.20.06.02.vina.sky.mp4
https://gounlimited.to/v5n80kdd6b1z/rkprime.20.03.17.lexi.dona.lithe.lexi.mp4
https://gounlimited.to/v5w9llve73or
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https://gounlimited.to/v6b45k59pdnk
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MP4-KTR.mp4
https://gounlimited.to/v73gaehymv7q/www.0xxx.ws_Twistys.20.06.17.Jewelz.Blu.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/v73j886r2dpn/Nathaly_Doesnt_Like_It_Dirty_-_Nathaly_Cherie_-_FakeTaxi_-
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https://gounlimited.to/v78z8fmvyn3g/Www.brazzersbox.in__Hustler.20.03.23.Vienna.Rose.XXX.1080p.MP4-
TRASHBIN.mp4
https://gounlimited.to/v7abw5akzuy7/Kagney.Linn.Karter.Anally.Reamed.In.Her.Jeans.BigWetButts.anal.mp4
https://gounlimited.to/v7lgov8l4og5/[PornstarsLikeItBig]_Casca_Akashova_(All_Dolled_Up_Beauty_Queen_
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https://gounlimited.to/v8az2hh7xr6v/Sneaky_Sex_-_Gabriela_Lopez.mp4
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Fingers.Up.Your.Ass.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/v8gzrig7icgk/[TransAngels]_Casey_Kisses_-_Spring_Cleaning_Part_2_(29-05-
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https://gounlimited.to/v8pu4199qnee/Bigwetbutts.20.06.03.Remy.Lacroix.Remys.Ring.Toss.REMASTERED.X
XX.1080p.MP4-KTR.mp4
https://gounlimited.to/v94tnu0f41w8/Twistys.20.06.03.Cherie.Deville.A.Taste.of.Cherie.XXX.1080p.MP4-
KTR.mp4
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XX.MP4-SDCLiP.mp4
https://gounlimited.to/v9p4qtduk4w0/WhenGirlsPlay.20.03.15.Abigail.Mac.And.Gianna.Dior.A.New.Start.XX
X.MP4-SDCLiP.mp4
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SDCLiP.mp4
https://gounlimited.to/v9xtkbliwmz2/Www.brazzersbox.in__PureMature.20.04.14.Anissa.Kate.MILF.Alarm.X
XX.2160p.MP4-KTR.mp4
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80p.MP4-KTR.mp4
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https://gounlimited.to/vbvwlij37120/FemaleFakeTaxi.20.04.20.Jasmine.Jae.XXX.1080p.MP4-
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https://gounlimited.to/vbyl0eo1wu3s/TrueAmateurs.20.03.17.Kriss.Kiss.XXX.SD.MP4-KLEENEX.mp4
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https://gounlimited.to/vmjubce2u655/RK_Prime.20.06.12.Aidra.Fox.A.Cock.For.Your.Thots.XXX.1080p.mp4
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https://gounlimited.to/voln1a1xs213/rkprime.20.06.01.asia.rae.boyfriend.snatcher.mp4
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https://gounlimited.to/vovlxh3h31yg/RKDupes_Lesbehonest_.mp4
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0p.MP4-KTR.mp4
https://gounlimited.to/vrqtji5sulaq/Fake_Agent.20.05.01.Sofia.The.Bum.XXX.1080p.mp4
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https://gounlimited.to/vz3l9mrqbie0/Telegram_@getnewlink_dani_daniels_My_Husbands_Mistress-
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https://gounlimited.to/vzl57jyqpn11/Twistys.20.05.23.Bridgette.B.Bridgettes.Boob.Wash.XXX.1080p.mp4
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https://gounlimited.to/vzoyb5m59zme/TrueAmateurs.20.05.25.Sativa.Booty.XXX.MP4-SDCLiP.mp4
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https://gounlimited.to/w0l1gy24hiz1/Ariella_Ferrera,_Kyle_Mason_-_Driving_Mommy_Wild_-
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https://gounlimited.to/w0o8p0my1aym/RKPrime.20.04.18.Julie.Kay.Wait.On.Me.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/w0q4uvafuh2m/RKPrime_Amber_Jade_ALLWAYSWELL.mp4
https://gounlimited.to/w0rg5z2m1pr2/RKPrime_-_Bailey_Brooke_-_Surprised_By_The_Big_Package.mp4
https://gounlimited.to/w1r9bwpr42xt/transangels.19.01.31.natalie.mars.everyones.a.critic.mp4
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https://gounlimited.to/w2suulmkwt64/RKPrime.20.06.09.Angela.White.Vs.Rob.Piper.XXX.1080p.MP4-
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https://gounlimited.to/w34ci8ze3vuq/HotAndMean.20.01.06.Karlee.Grey.And.La.Sirena.The.Maids.Make.A.M
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https://gounlimited.to/w45olcptf5xc/[FakehubOriginals]_Best_Of_Cosplay_(06.08.2020).mp4
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https://gounlimited.to/w4iw0qramenu/[DirtyMasseur]_Luna_Star_(Honeymoon_Rubdown_/_06.06.2020).mp4
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https://gounlimited.to/w5uuykwdqf6j/wankitnow.20.03.11.lucy.alexandra.milf.next.door.mp4
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https://gounlimited.to/w65vocj72hqi/BrazzersExxtra_-_Aubree_Valentine_-
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https://gounlimited.to/w73f41dkfrvx/Dane_Jones.20.06.16.Jenny.Wild.Solo.XXX.1080p.mp4
https://gounlimited.to/w79ysaeawuz9/FakehubOriginals.19.12.21.Nesty.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/w7cgyn2ytd6i/WeLiveTogether.20.06.10.Emily.Willis.Scarlett.Bloom.And.Liv.Wild.Col
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https://gounlimited.to/w8d2j998dxou/TransAngels.20.05.22.Angelina.Please.Cupcake.Delight.XXX.1080p.MP
4-WEIRD.mp4
https://gounlimited.to/w8h0a7eob3sv/Www.brazzersbox.in_HandsOnHardcore.20.05.28.Tiffany.Tatum.A.Thor
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https://gounlimited.to/w8hxe2d35g0k/teenslovehugecocks.20.06.10.dolly.little.a.little.love.mp4
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https://gounlimited.to/w8ll3o3e4q5n/Vanessa_Sky,_Charles_Dera_-_Falling_From_Grace_Scene_3_-
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https://gounlimited.to/w8odse9zjfvb/[LilHumpers]_Alexis_Fawx_(Lil_Jailbird_/_06.11.2020).mp4
https://gounlimited.to/w9095cz3d6rt
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https://gounlimited.to/w99ai876eljh/MassageRooms.20.02.01.Mishelle.Klein.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/w9agujdhgwwc/BrazzersExxtra.20.06.02.Best.Of.Brazzers.Sneakiest.Moments.XXX.108
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https://gounlimited.to/w9kgv58bzs2z/Www.brazzersbox.in_mfp.20.05.14.step.sisters.friend.likes.to.watch.mp4
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X.MP4-SDCLiP.mp4
https://gounlimited.to/wah5iymqrbmy/MilfsLikeItBig_-_Cherie_Deville_-_Spring_Cumming.mp4
https://gounlimited.to/wak459jyzuc3/ElegantAnal_-_Ana_Foxxx_-_It_Happened_One_Night_Part_4.mp4
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https://gounlimited.to/wb8dqrhh70hp/[DigitalPlayground]_Alexis_Fawx,_Izzy_Lush,_Joanna_Angel,_Judy_Jol
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https://gounlimited.to/wbwrqqodq202/TrueAmateurs.20.04.28.Jessica.Miller.XXX.1080p.MP4-KTR.mp4
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https://gounlimited.to/wc61p7ahf6by/DaneJones.20.06.07.Best.Of.Creampies.XXX.1080p.mp4
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https://gounlimited.to/wcr4drj6lpjy/[FakeTaxi]_Romy_Indy_(The_Dominatrix_and_the_Big_D_/_06.05.2020).
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https://gounlimited.to/wet7kk38kgy5/[BigNaturals]_Codi_Vore_(Cum_For_Codi_/_03.06.2020).mp4
https://gounlimited.to/weygrn79r45n/SneakySex_Gabriela_Lopez_.mp4
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https://gounlimited.to/wf1j8905278h/BigTitsAtWork_?_Samantha_Saint_Titty_Tipper.mp4
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https://gounlimited.to/wg2r6vrpxmt3/twistys.20.05.02.molly.stewart.poolside.with.molly.mp4
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https://gounlimited.to/wgfqll6fvysn/Www.brazzersbox.in_BrazzersExxtra.20.04.18.Abby.Lee.Brazil.Dicklivery
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https://gounlimited.to/wgr1f8gvjwxj/lesbea.20.05.10.best.of.scissoring.orgasms.mp4
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https://gounlimited.to/wh2rwtejl42n/Www.brazzersbox.in_BigNaturals.20.04.27.Kendra.Sunderland.Teasing.K
endra.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/wh6t74x63wlk/Kagney.Linn.Karter.Anally.Reamed.In.Her.Jeans.BigWetButts.anal.mp4
https://gounlimited.to/wh7yficd5h1q/TeensLoveHugeCocks.20.06.10.Dolly.Little.A.Little.Love.XXX.MP4-
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https://gounlimited.to/whcyiw9k1fop/Brazzers_-_DayWithAPornstar_presents_Lenina_Crowne_-
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https://gounlimited.to/wilv4rcq7mbd/[BrazzersExxtra]_Milly_Marks_(Grinding_A_Gamer_/_02.28.2020).mp4
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https://gounlimited.to/wk1p8yn2lwj5/Www.brazzersbox.in_hustl3r.20.05.30.carolina.cortez.mp4
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https://gounlimited.to/wn1dh2o6ixex/StrandedTeens_Binky_Beaz_ALLWAYSWELL.mp4
https://gounlimited.to/wnaalsn683kp/RealWifeStories.20.05.23.Abella.Danger.Til.Cock.Do.Us.Part.XXX.MP4-
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https://gounlimited.to/wnho9dcfikhb/FakeDrivingSchool.20.06.10.Lady.Dee.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/wo145y16yf9x/teenslovehugecocks.20.04.13.natalie.porkman.sloppy.schoolgirl.mp4
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https://gounlimited.to/wop5i8esxky3/Www.brazzersbox.in__PervMom.20.04.11.Lisey.Sweet.She.Just.Wants.A
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https://gounlimited.to/wpejn404ej4x/BrazzersExxtra_LQ-_Kendra_Sunderland,_Madison_Ivy_-
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_BRAZZERS.mp4
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XX.1080p.MP4-KTR.mp4
https://gounlimited.to/wsui7p9ifl2e/FakeTaxi.20.06.05.Romy.Indy.XXX.SD.MP4-.mp4
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https://gounlimited.to/wtbudwl3rkbo/Jade_Kush_%E2%80%93_cfnmassage.mp4
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My.Step.Brother.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/wu2i5k3af3b1/[RKPrime]_Abella_Danger,_Scarlett_Fall_(Ride_Sharing_/_03.02.2020).
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https://gounlimited.to/wv2m8kiizwlq/massagerooms.20.04.29.scarlet.rebel.mp4
https://gounlimited.to/wv533l7tx4kg/roundandbrown.20.03.05.bad.kittyyy.balloons.and.booty.party.mp4
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https://gounlimited.to/wvcrdlitifz1/Www.brazzersbox.in_TeenPies.20.06.06.Alina.Belle.Virgins.XXX.SD.MP4
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https://gounlimited.to/wvdfpure8f3p/Ariella_Ferrera,_India_Summer,_Jordi_El_Nino_Polla_-
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https://gounlimited.to/x0efa90pdcyi/transangels.19.08.01.paty.cameron.busting.on.the.balcony.mp4
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P4-KLEENEX.mp4
https://gounlimited.to/x3bq7ovd0j8o/DayWithAPornstar.20.05.11.Molly.Stewart.Mollys.Making.Breakfast.XX
X.MP4-SDCLiP.mp4
https://gounlimited.to/x3ffk6bv39ok/Tommie.Jo.MILF.In.The.Closet.MilfsLikeItBig.bigtits.mp4
https://gounlimited.to/x3o980w98h0y/DayWithAPornstar.20.05.16.Showering.With.Mara.Swan.XXX.1080p.M
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https://gounlimited.to/x3yo19dklh1p
https://gounlimited.to/x404yixh7w2d/RKPrime.20.06.01.Asia.Rae.Boyfriend.Snatcher.XXX.MP4-
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https://gounlimited.to/x408fdg0f24k/Trueamateurs_-_Molly_Pills_[720p_HD].mp4
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https://gounlimited.to/x44ztwl2zct1/Www.brazzersbox.in__AssParade.20.03.30.Kosame.Dash.XXX.2160p.MP
4-KTR.mp4
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https://gounlimited.to/x4k62sgzzl9l/StreetBlowJobs_-_Haley_Mae_Fuck_Me_Pay_Me_1080p.mp4
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https://gounlimited.to/x5ywaxa7jt4a/analmom.20.03.19.dana.dearmond.the.anal.milf.next.door.mp4
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https://gounlimited.to/x6byjcki9jys/RecklessInMiami.19.12.18.Jessie.Saint.Grab.N.Go.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/x6m1q4981v6g/DontBreakMe_Aria_Banks.mp4
https://gounlimited.to/x6r3zll42a7z/GirlsGonePink_presents_Aidra_Fox__Desiree_Dulce_in_Prank_Wars___0
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https://gounlimited.to/x8melzy5wqoj/[SneakySex]_Aften_Opal_(Creampie_Please_/_03.07.2020).mp4
https://gounlimited.to/x8ov9h16nqvn/Www.brazzersbox.in__NewSensations.20.04.17.Adira.Allure.XXX.1080
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https://gounlimited.to/xaaxezbqo44g/rkprime.20.05.03.sweet.cat.now.kitty.kitty.mp4
https://gounlimited.to/xagnd10a1lcv/PublicAgent.20.06.03.Lydia.Black.XXX.SD.MP4-.mp4
https://gounlimited.to/xb16h84x369t
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https://gounlimited.to/xbujzm0qyzc6
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https://gounlimited.to/xc2tigxg2zfw/LilHumpers.-.Alexis.Fawx.Lil.Jailbird.-.Reality.Kings.mp4
https://gounlimited.to/xc3ri5ngkfut/MomXXX.20.06.13.Florane.Russell.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/xc875fh0qhzx/danejones.20.05.22.baby.nicols.mp4
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https://gounlimited.to/xclxaddf4v8b/FakehubOriginals.19.12.07.Charlie.Red.And.Anastasia.Brokelyn.XXX.108
0p.MP4-KTR.mp4
https://gounlimited.to/xcw7tiej8v29/Www.brazzersbox.in__BigTitsRoundAsses.20.04.09.La.Sirena.XXX.2160
p.MP4-KTR.mp4
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https://gounlimited.to/xd2yy7sbe7u8/Mommy_Got_Boobs_20_05_04_Maserati_Dommed_By_Her_Dads_Girlf
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https://gounlimited.to/xdthtg292boy/[RoundAndBrown]_Bad_Kittyyy_(Balloons_And_Booty_Party_/_03.05.2
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https://gounlimited.to/xdvvx3gnz78v/Www.brazzersbox.in_AssParade.20.05.11.Sahara.Leone.XXX.SD.MP4-
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https://gounlimited.to/xdxvx68tqgtv/PublicPickUps.20.06.11.Martina.Smeraldi.New.Study.Buddies.XXX.1080
p.MP4-KTR.mp4
https://gounlimited.to/xdyg56zd3o0e/www.0xxx.ws_LilHumpers.20.06.11.Alexis.Fawx.Lil.Jailbird.XXX.1080
p.MP4-KTR.mp4
https://gounlimited.to/xdylzjhv7fgq/DigitalPlayground.20.01.13.Desiree.Dulce.What.Friends.Are.For.Episode.1
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https://gounlimited.to/xdzbyzvnk232/Alexis.Fawx.Lil.Jailbird.LilHumpers.bigtits.mp4
https://gounlimited.to/xe8t9vwy3o8r/transangels.20.05.08.casey.kisses.and.kylie.le.beau.spring.cleaning.part.1.
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https://gounlimited.to/xeswca1omg6g/RKPrime.20.06.02.Abella.Danger.The.Pirate.Gets.The.Booty.XXX.1080
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https://gounlimited.to/xherqb8id5kz/[FakeHostel]_Vera_Jarw,_Aaeysha.mp4
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https://gounlimited.to/xhqdga0edlla/Www.brazzersbox.in__DadCrush.20.04.12.Judy.Jolie.Consoled.By.My.Ste
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https://gounlimited.to/xpbpskosrhqs/Www.brazzersbox.in_MyDaughtersHotFriend.20.05.13.Kenna.James.XX
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https://gounlimited.to/xpgpbol5iwiu/www.0xxx.ws_RKPrime.20.06.12.Aidra.Fox.A.Cock.For.Your.Thots.XX
X.1080p.MP4-KTR.mp4
https://gounlimited.to/xpirwqo7usxy/[FakeHostel]_Lovita_Fate,_Mishelle_Klein_-
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https://gounlimited.to/xpvye2wu8usl/Www.brazzersbox.in_RKPrime.20.06.16.Anya.Ivy.One.Day.Fare.XXX.S
D.MP4-KLEENEX.mp4
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https://gounlimited.to/xqkl58485k1k/[Twistys]_Maria_(Fun_In_The_Sun_/_05.25.2020).mp4
https://gounlimited.to/xqnp4v1yw0u5/SneakySex.20.03.07.Aften.Opal.Creampie.Please.XXX.1080p.MP4-
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https://gounlimited.to/xtf4q0akew0e
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https://gounlimited.to/xur5fcqjf4gi/[FemaleFakeTaxi]_Amber_Jayne,_Atlanta_Moreno_(Two_Dirty_Northern_
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https://gounlimited.to/xvs6ys8gjex3/Mommy_Got_Boobs_Mason_Storm_ALLWAYSWELL.mp4
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https://gounlimited.to/xwc6g2gifyat
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SDCLiP.mp4
https://gounlimited.to/y00vcntv654z/danejones.20.04.17.best.of.ebony.girls.mp4
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https://gounlimited.to/y21mkrqm7hm2/IKnowThatGirl.20.04.27.Kiara.Cole.Massage.Gun.Trial.XXX.1080p.M
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https://gounlimited.to/y2c0cup361fk/Www.brazzersbox.in__BlackedRaw.20.03.23.Khloe.Kapri.And.Chanel.Gr
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https://gounlimited.to/y2ed4tqu3676/DayWithAPornstar.20.02.27.Monique.Alexander.XXX.1080p.MP4-
KTR_[Pornxbit.com].mp4
https://gounlimited.to/y2k1nkimt2x8/PublicAgent.20.06.03.Lydia.Black.XXX.1080p.mp4
https://gounlimited.to/y2pq1g0ef5cx/RKPrime.20.06.03.Bridgette.B.The.Pornstar.Experience.XXX.1080p.mp4
https://gounlimited.to/y2qu1p9j0xpr/Www.brazzersbox.in__RKPrime.20.03.23.Savannah.Sixx.Cum.Through.
My.Window.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/y2sd1x1hfynn/[Hot_And_Mean]_Bridgette_B,_Kiara_Cole:_Fucking_Fight_Me.mp4
https://gounlimited.to/y30z1ryteuw8/FakeDrivingSchool_-_Lady_Dee_-
_Suck_My_Disinfected_Burning_Cock.mp4
https://gounlimited.to/y31sfjkzkown/Www.brazzersbox.in_DogHouseDigital.20.06.03.Rebecca.Black.Double.S
tuff.Rebecca.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/y32umtobjriz/Www.brazzersbox.in_OyeLoca.20.05.12.Lulu.Ninfo.Alt.Girl.XXX.SD.MP
4-KLEENEX.mp4

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https://gounlimited.to/y3doz6ktqdxu/Www.brazzersbox.in_SneakySex.20.05.06.Kyler.Quinn.College.Party.Qui
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https://gounlimited.to/y3fhl27vgy97/BrazzersExxtra.20.05.15.Abigail.Mac.And.Azul.Hermosa.A.Mistress.For.
All.Seasons.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/y3icog3nzq0d
https://gounlimited.to/y3ly5tyocfct/Mofos_-_ShareMyBF_presents_Kiara_Cole__Leda_Bear_-
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https://gounlimited.to/y3o8yy3yof1s/Brazzers_-_The_next_day_-_Romi_Rain.mp4
https://gounlimited.to/y3rp8twb0m0p/Brazzers_-
_Sexy_lifeguards_Nicolette_Shea_&_Savannah_Bond_save_a_cock_(_720P_).mp4
https://gounlimited.to/y3tiz82cscen/Www.brazzersbox.in_PropertySex.20.05.01.Catalina.Ossa.A.Picky.Picky.H
ome.Buyer.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/y40yf1fwvd96/WhenGirlsPlay.20.03.21.Molly.Stewart.And.Freja.Noir.Sugar.And.Spice.
XXX.MP4-SDCLiP.mp4
https://gounlimited.to/y44rh9u49s99
https://gounlimited.to/y46i63a80xhg/MofosBSides_Lexie_Fux_.mp4
https://gounlimited.to/y485if5t8ck5/RoundAndBrown.20.03.31.Ashley.Aleigh.Spring.Showers.XXX.MP4-
SDCLiP.mp4
https://gounlimited.to/y4i27qk1t61u/Www.brazzersbox.in__Tushy.20.03.22.Gia.Derza.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/y4o3dwq1tx5i/Day_With_A_Pornstar_20_05_23_Sybil_Shows_Off_Her_Pussy.mp4
https://gounlimited.to/y4pcqys780vj/Aften.Opal.Massage.Mutiny.TeensLoveHugeCocks.massage.mp4
https://gounlimited.to/y4rye8233ejv
https://gounlimited.to/y51lnl1048ma/BrazzersExxtra.20.05.29.Best.Of.Brazzers.Peta.Jensen.XXX.SD.MP4-
KLEENEX.mp4
https://gounlimited.to/y53epsf12m9j
https://gounlimited.to/y57vluyrizag/BigTitsAtWork_-_Tia_Cyrus_-_Cumpany_Lunch_(03_08_2018).mp4
https://gounlimited.to/y5mjywn35jnu/PublicAgent_Anna_ALLWAYSWELL.mp4
https://gounlimited.to/y5uh6zct3kln/publicagent-alexis-bardot.mp4
https://gounlimited.to/y5yutc3t616y/WeLiveTogether.20.06.03.Lily.Rader.And.Zoey.Taylor.Poolside.XXX.108
0p.MP4-KTR.mp4
https://gounlimited.to/y64y6jeuq3eh/MomsBangTeens_-_Cory_Chase,_Sheila_Daniels_-
_Double_Rub_Down_(02_07_2018).mp4
https://gounlimited.to/y66thxh0cd1p/FakeHospital.17.05.10.Camilla.Moon.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/y6ej5xubsted/Best_Of_Brazzers_Peta_Jensen_360p.mp4
https://gounlimited.to/y6mv8rhnpha1
https://gounlimited.to/y6nh09fci7ju/Www.brazzersbox.in_Family.20.05.25.Katlyn.James.Will.You.Keep.My.S
ecret.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/y6wh03fio8n5
https://gounlimited.to/y6xbpbwsr8ay/Day_With_A_Pornstar_-_Joanna_Angel_-
_Getting_Joanna_Out_Of_The_Shower.mp4
https://gounlimited.to/y6za0p414brt/DaneJones.20.05.12.Rebecca.Volpetti.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/y6zkga4hupyb/Various_-
_Ebony_Babes_Compilation_(FakeHubOriginals.31.05.2020.720p)_VHQ_[CENTURION].mp4
https://gounlimited.to/y71j0yupmnq9/rkprime.20.04.26.lacey.channing.the.milkmaid.mp4
https://gounlimited.to/y7903sbln13h/www.0xxx.ws_DaneJones.20.06.07.Best.Of.Creampies.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/y7l2sobh589i
https://gounlimited.to/y7mgywhdljg3/Telegram_@getnewlink_dani_daniels_Handcuffed_Housewife_-
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https://gounlimited.to/y7wnfefdzzmy/FakehubOriginals.20.05.13.Fiamurr.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/y87nfxei1zfa/trueamateurs.20.02.06.luventa.mp4
https://gounlimited.to/y8k0chdmb3qm/rkprime.20.02.21.amber.jade.all.anal.for.amber.mp4
https://gounlimited.to/y8ucbkpe5t7r/RKPrime.20.05.16.Emily.Willis.A.Goddess.On.Her.Own.Terms.XXX.MP
4-SDCLiP.mp4
https://gounlimited.to/y99m1mwomja3/Www.brazzersbox.in_SisLovesMe.20.05.15.Allie.Nicole.Forgot.Stepsis
s.Birthday.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/y9ef9mdppjhz
https://gounlimited.to/y9ef9mdppjhz/_FemaleFakeTaxi_Jasmine_Jae_.mp4
https://gounlimited.to/y9k54yvwuk8q/Look_At_Her_Now_-_Kimmy_Granger.mp4
https://gounlimited.to/y9kbui8wjrir/dontbreakme.20.06.05.pamela.morrison.breaking.pamela.mp4
https://gounlimited.to/y9p7hpinquad/BrazzersExxtra.20.05.13.Serena.Santos.And.Vanessa.Sky.The.Threesome.
Tutorial.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/y9ubwg1nqdte/DaneJones.20.06.07.Best.Of.Creampies.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/y9wls6850rwk/girlsgonepink.20.03.10.jade.baker.and.winter.jade.looking.out.for.each.ot
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https://gounlimited.to/y9yhruew7h5e/MilfHunter_-_Olivia_Austin_(Produce_Aisle_Poonani).mp4
https://gounlimited.to/yafe8mt6b5qc/BrazzersExxtra.20.03.10.Khloe.Kapri.Checkmate.XXX.MP4-
SDCLiP.mp4
https://gounlimited.to/yagmg162qevd/RealityKings_-_Carolina_Sweets,_Cadey_Mercury_-
_Hide_That_Big_Booty_(16_06_2018).mp4
https://gounlimited.to/yasu08mvi3b5/Www.brazzersbox.in_Private.20.06.03.Briana.Banderas.Maid.On.A.Missi
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https://gounlimited.to/yb2gc6otzya4/DayWithAPornstar_-Victoria_June_[720p_HD].mp4
https://gounlimited.to/yb36oohtapri
https://gounlimited.to/yb36oohtapri/BrazzersExxtra_Ms_Yummy_ALLWAYSWELL.mp4
https://gounlimited.to/yb6y0h17szpk/RKPrime.20.03.11.Brooklyn.Gray.Brooklyns.Got.Brains.XXX.1080p.MP
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https://gounlimited.to/ybb83kprxbs7
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https://gounlimited.to/ybukpv1esxry/fakehuboriginals.20.03.21.lexi.dona.and.asia.rae.mp4
https://gounlimited.to/yc33uy1shrio/Lesbea.20.04.19.Lady.Dee.And.Atlanta.Moreno.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/yc88f2nz7i72/StrandedTeens.20.05.13.Briana.Banderas.Stranded.Briana.XXX.1080p.MP
4-KTR.mp4
https://gounlimited.to/yc8l4307tn8d/rkprime.20.06.09.angela.white.vs.rob.piper.mp4
https://gounlimited.to/ycajtiupsoqm/Pornstars_Like_It_Big_20_05_01_Nicolette_Shea_Sheas_Got_The_Look.
mp4
https://gounlimited.to/ycfz9oqk8u2l/TransAngels_presents_Casey_Kisses_Spring_Cleaning_Part_2___29.05.2
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https://gounlimited.to/ycgacw77f442/DirtyMasseur_-_Elsa_Jean_-
_Hippie_Ending_Massage_(23_07_2018).mp4
https://gounlimited.to/yckhfmbbmmbj/fakehuboriginals.20.05.07.best.of.creampies.mp4
https://gounlimited.to/yco73ho7cmy7/Fake.Driving.School.-
.Lady.Dee.Suck.My.Disinfected.Burning.Cock.mp4
https://gounlimited.to/yd0mhh8zhqnx/DayWithAPornstar.20.04.11.Phoenix.Marie.Feeling.Up.Phoenix.XXX.10
80p.MP4-KTR_[Pornxbit.com].mp4
https://gounlimited.to/yd0vlsrw94mn/Www.brazzersbox.in_wicked.20.05.22.victoria.vo.swipe.right.mp4

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https://gounlimited.to/yd1uqgvqkg2r/PublicAgent.20.02.27.Sabrina.Spice.XXX.1080p.MP4-
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https://gounlimited.to/yd5s3wt8wnqf/sharemybf.20.03.14.savannah.sixx.and.morgan.rain.roommate.thief.shares
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https://gounlimited.to/yd66lj0gltne/_RKPrime_Nicolette_Shea_Big_Dick_Energy_.mp4
https://gounlimited.to/ydb3jxfswu6n/MofosBSides.20.06.02.Lexie.Fux.Porn.Pleasure.XXX.1080p.MP4-
KTR.mp4
https://gounlimited.to/ydpunk0mpxsk/StrandedTeens.20.04.01.Mackenzie.Mace.Tipping.The.Waitress.XXX.10
80p.MP4-KTR_[Pornxbit.com].mp4
https://gounlimited.to/ydq8t4b846gx/www.0xxx.ws_BrazzersExxtra.20.06.09.Best.Of.Brazzers.Sharing.Stepsib
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https://gounlimited.to/ydv1tyth7flq/www.0xxx.ws_BrazzersExxtra.20.05.12.Best.Of.Brazzers.Titty.Tuesday.X
XX.1080p.MP4-KTR.mp4
https://gounlimited.to/ye2a6voai3cn/Www.brazzersbox.in_LegalPorno.2020.Nicole.Love.Gets.Dylan.Brown.U
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https://gounlimited.to/yehsl27fzpet/transangels.19.06.01.yulia.masakowa.amicable.exes.mp4
https://gounlimited.to/yem8aox8pbfk/BrazzersExxtra.20.05.03.Madison.Ivy.Revel.In.A.Blue.Dress.XXX.MP4-
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Face.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/yfbaz09h1y0l/trueamateurs.20.06.01.mia.bandini.mp4
https://gounlimited.to/yfnjvpr4wj1q/transangels.20.03.07.bianca.demarchi.and.alice.marques.lucky.lurker.mp4
https://gounlimited.to/yfrc1pj5dgwj/publicagent.20.03.12.kinuski.mp4
https://gounlimited.to/yfu7i5txjsqa/Bella.Rolland.and.Scarlit.Scandal.Rough.And.Raunchy.Group.Fuck.Brazzer
sExxtra.threesome.mp4
https://gounlimited.to/ygnzb74e30lq/Realitykings_-
_The_Pirate_Gets_The_Booty_porn_%E2%80%93_Pornmz.mp4
https://gounlimited.to/ygspvjkwln7u/[RKDupes]_Candice_Dare_(Lesbehonest_Part_2_/_06.05.2020).mp4
https://gounlimited.to/ygyqzovuhi7w/twistys.20.03.01.gianna.dior.totm.march.2020.mp4
https://gounlimited.to/yh8lh81wztr3/DirtyMasseur.20.05.05.Karma.RX.How.To.Fuck.Your.Masseur.XXX.MP4
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https://gounlimited.to/yhajq5krads6/DayWithAPornstar.20.04.14.Josephine.Jackson.Josephines.Intense.Workou
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https://gounlimited.to/yhxjc0nefuvg/HotAndMean_Bridgette_B_.mp4
https://gounlimited.to/yhzw515bwerf/Take_Notes_-_Bridgette_B_-_SneakySex_-_RealityKings.mp4
https://gounlimited.to/yi53su1mbk4l/Mommy_Got_Boobs_?__Liza_Del_Sierra_-_Giving_Him_The_Talk.mp4
https://gounlimited.to/yi7ttupsjuzl
https://gounlimited.to/yia4vbe8645h/Autumn.Falls.Vip.Treatment.BabyGotBoobs.bigtits.mp4
https://gounlimited.to/yifqv26o3120/Public_Agent_-_Jimena_Lago.mp4
https://gounlimited.to/yiqzgkhgygl5
https://gounlimited.to/yit81fqikm4h/faketaxi.20.06.01.mia.rose.mp4
https://gounlimited.to/yitlfadj1sx3/Milfs_Like_it_Big_Alexis_Fawx_ALLWAYSWELL.mp4
https://gounlimited.to/yizob225yrfr/rkprime.20.06.01.asia.rae.boyfriend.snatcher.mp4
https://gounlimited.to/yj0uewha4jty/Www.brazzersbox.in_HandsOnHardcore.20.05.19.Angelika.Grays.Dirty.N
urse.On.Duty.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/yj3hh3azxhrd/BigWetButts.20.05.29.Keira.Croft.Keiras.Ass.Craves.Cock.XXX.1080p.M
P4-KTR.mp4
https://gounlimited.to/yj622t8746j4/Www.brazzersbox.in__Private.20.04.23.Lulu.Love.The.Apartment.XXX.2
160p.MP4-KTR.mp4

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KTR.mp4
https://gounlimited.to/yj9pawmksai7/MomXXX.20.06.13.Florane.Russell.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/yju3toufzxyh/Adriana_Chechik_&_Franceska_Jaimes_&_Holly_Hendrix_&_Isis_Love_
&_Kayla_Kayden_&_Mandy_Muse_%E2%80%93_Best_Of_Brazzers_Anal_Extravaganza.mp4
https://gounlimited.to/yjudk7mcm0ix/[RKPrime]_Oxana_Chic_(Play_And_Get_Played_/_03.06.2020).mp4
https://gounlimited.to/yjuo7tttxmoz/RKPrime.20.01.10.Ember.Snow.Rainy.Day.Rescue.XXX.1080p.MP4-
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https://gounlimited.to/yjv6zzfvm89f/RKPrime.20.01.06.Abella.Danger.Bus.N.Nut.XXX.1080p.MP4-KTR.mp4
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https://gounlimited.to/yk0dddmh6x49/www.0xxx.ws_DaneJones.20.06.04.Kaisa.Nord.XXX.1080p.MP4-
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https://gounlimited.to/ykj1hoqlkb1s/Adriana_Chechik,_Alexis_Fawx,_Ashley_Graham,_Bonnie_Rotten,_Cyth
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https://gounlimited.to/ykn0x55r2e2s/WhenGirlsPlay.20.05.15.Demi.Sutra.Molly.Stewart.And.Desiree.Dulce.Sk
y.Bound.Part.4.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/ykpsk2ylw5rc/TrueAmateurs_-_Reislin.mp4
https://gounlimited.to/yl9pp9hjwc71
https://gounlimited.to/ylgvuy1h19v8/[Fakehub_Originals]_Best_Of_Ebony_Babes_(31.05.2020).mp4
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https://gounlimited.to/ymftwsreeop4/trueamateurs.20.04.26.portia.paris.mp4
https://gounlimited.to/ymilh6s2zgu5/DigitalPlayground.20.01.29.Lena.Paul.Sleepless.Nights.Part.1.XXX.1080p
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https://gounlimited.to/ymkduzk4dsew/Ariella_Ferrera_&_Eva_Notty_&_Jasmine_James_&_Misty_Stone_&_
Nicolette_Shea_&_Sarah_Banks_&_Skyler_Mckay_-_Best_Of_Brazzers_Sneakiest_Moments.mp4
https://gounlimited.to/ymlidjlcy84a/www.0xxx.ws_DayWithAPornstar.20.06.07.Rebecca.More.Rebeccas.Show
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https://gounlimited.to/ymlsiejflpnw/[LookAtHerNow]_Gabriella_Paltrova,_Candice_Dare_-
_Lesbehonest_Part_1_(02.06.2020).mp4
https://gounlimited.to/ympbks7m2jq6/Www.brazzersbox.in__RKPrime.20.04.04.Aubree.Valentine.Panty.Obses
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https://gounlimited.to/ymq3d8en84l1
https://gounlimited.to/ymrbnx7nlwgb/wankitnow.20.03.11.lucy.alexandra.milf.next.door.4k.mp4
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https://gounlimited.to/ymv6azaeotid/Www.brazzersbox.in__AllBlackX.20.03.22.Jada.Doll.Hot.Ebony.School.
Girl.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/ynmztr53ck91
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mp4
https://gounlimited.to/ynnvlg1ocya9/BrazzersExxtra_-_Desiree_Dulce_Out_From_The_Deep_[720p_HD].mp4
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XX.1080p.MP4-KTR_[Pornxbit.com].mp4

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https://gounlimited.to/yo3px2xkj4to/BigWetButts.20.05.31.Kagney.Linn.Karter.Anally.Reamed.In.Her.Jeans.X
XX.MP4-SDCLiP.mp4
https://gounlimited.to/yo9mdb2i1ull
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https://gounlimited.to/yop6qbz5fhmc/momxxx.20.03.21.isabella.deltore.mp4
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https://gounlimited.to/yptzl1go8e23/RKPrime.20.06.16.Anya.Ivy.One.Day.Fare.XXX.SD.MP4-
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https://gounlimited.to/ypuf6qv6fuuk/BrazzersExxtra.20.06.04.Aubree.Valentine.Soaking.Wet.And.Fully.Satisfi
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https://gounlimited.to/yqpjml77brvc/[BigWetButts]_Abella_Danger_(The_Artist_Is_Fucking_Present_/_03.01.
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https://gounlimited.to/yrgnxod3fxlr/[FakeAgent]_Adara_Love_(Spanish_babe_rides_agent's_cock_/_04.05.202
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https://gounlimited.to/yrt9piwhh6xg
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https://gounlimited.to/yscrfnbeae48/Trueamateurs_-_Hayliexo_[720p_HD].mp4
https://gounlimited.to/ysfau18wpbfj/iknowthatgirl.20.02.04.skylar.vox.domestic.rewards.mp4
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https://gounlimited.to/ytm6q2cxnodm/[RKPrime]_Jane_Wilde,_Emily_Willis_-_Face-To-
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https://gounlimited.to/ytougeiu39kl/Alice_March_&_Dillion_Harper_&_Staci_Silverstone_-
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https://gounlimited.to/yttm5481fqk8/Fake.Taxi.-.Mia.Rose.4.Loads.Of.Spunk.For.Teen.mp4
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https://gounlimited.to/yudntpfmrk7c
https://gounlimited.to/yughbzawy8l4/MomXXX.20.06.13.Florane.Russell.XXX.SD.MP4-.mp4
https://gounlimited.to/yuj0r6r7slkx/Brazzers_Exxtra_-_Katrina_Jade_-_Pornstar_Of_My_Dreams.mp4
https://gounlimited.to/yujeif5hjh0t/[Mom_XXX]_Florane_Russel:_Naughty_couple_break_lockdown_rules_(P
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https://gounlimited.to/yujyp04txvj1/Day.With.A.Pornstar.Joanna.Angel.Getting.Joanna.Out.Of.The.Shower.PO
V.MILF.Jewish.BigTits.Tits.Ass.Booty.Whooty.BubbleButt.Butt.Doggy.Doggystyle.Backshots.CumInMouth.F
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https://gounlimited.to/yuwjg3x697ew
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https://gounlimited.to/yvdr6gdg80ks/Brazzers_Exxtra.20.05.15.Abigail.Mac.And.Azul.Hermosa.A.Mistress.For
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h.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/ywgzl7xn5oo5/Www.brazzersbox.in__MonstersOfCock.20.03.22.Valentina.Nappi.XXX.
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https://gounlimited.to/ywq69k680e3a/BrazzersExxtra.20.03.27.Gabbie.Carter.Easy.Ride-Her.XXX.1080p.MP4-
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https://gounlimited.to/ywqp4xiuwtn7
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DPd.In.The.Office.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/yx4wsdpjnk8q/DaneJones.20.06.09.Alexis.Crystal.XXX.1080p.MP4-KTR.mp4
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https://gounlimited.to/yx9agoapw7yd/Www.brazzersbox.in_[HandsOnHardcore]_Josephine_Jackson_-
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https://gounlimited.to/yxb5ysgaf4dx/True_Amateurs.20.04.24.Molly.Pills.XXX.1080p.mp4
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https://gounlimited.to/yxk8sf388utt/www.0xxx.ws_SneakySex.20.06.01.Gabriela.Lopez.Family.Road.Trip.Dick
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_Ariella_Ferrera,_Eva_Notty,_Jasmine_James,_Misty_Stone,_Nicolette_Shea,_Sarah_Banks,_Skyler_Mckay.
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https://gounlimited.to/yxsqcpjt833e/Nathaly.Cherie.FakeTaxi.bigtits.mp4
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https://gounlimited.to/yydgkfcbd39o/Stacy_Cruz_-_Massage_Rooms.mp4
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https://gounlimited.to/yzcb6fwjo5hu
https://gounlimited.to/yzfim65082z4/[AnalMom]_Dana_Dearmond_(The_Anal_MILF_Next_Door_/_03.22.20
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https://gounlimited.to/yzk2aqy1zwxg/Www.brazzersbox.in_FosterTapes.20.03.22.Hazel.Moore.Foster.Daughte
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https://gounlimited.to/yzo2j8mmbep4
https://gounlimited.to/yzvltatnes1c/[Public_Pick_Ups]_Martina_Smeraldi_-
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https://gounlimited.to/z07ql8jg4ag6/Www.brazzersbox.in__Deeper.20.04.16.Dixie.Lynn.XXX.2160p.MP4-
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https://gounlimited.to/z08eydqpkisv/TurningTwistys.20.06.01.Sabina.Rouge.And.Liv.Wild.Even.Cowgirls.Get.
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https://gounlimited.to/z0svdpyutv1o/LetsTryAnal.20.05.29.Mia.Bandini.Come.In.For.Some.Tea.And.Anal.XX
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https://gounlimited.to/z145ksm8db2d/Www.brazzersbox.in_BigTitsAtSchool.20.05.02.Stacy.Cruz.A.D.Well.Ea
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https://gounlimited.to/z18d6lgqyvsx/strandedteens.20.04.15.binky.beaz.cheating.binky.tied.up.mp4
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https://gounlimited.to/z1n8vo3g51ed/Www.brazzersbox.in__AssholeFever.20.04.18.Angie.Lynx.Playing.Innoc
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https://gounlimited.to/z20mg2b8t74z/BrazzersExxtra_720p-_Kendra_Sunderland,_Madison_Ivy_-
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https://gounlimited.to/z20z0cic0g5j/dontbreakme.20.05.15.natalie.knight.petite.blonde.cutie.mp4
https://gounlimited.to/z21rfckodzlg/Www.brazzersbox.in_DevilsFilm.20.06.07.Mckenzie.Lee.Touching.Reunio
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https://gounlimited.to/z2cdlg1u0y4w/Nicolette_Shea,_Van_Wylde_-_Big_Dick_Energy_-_RK_Prime_-
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https://gounlimited.to/z2mrj1hk6g75/Best_Of_Brazzers_Peta_Jensen_-_Peta_Jensen,_Valentina_Nappi.mp4
https://gounlimited.to/z2ypuetsu4sd/RKDupes.20.05.26.Humped.And.Focused.XXX.MP4-SDCLiP.mp4
https://gounlimited.to/z3clh9ibixn9/www.0xxx.ws_FakeTaxi.20.06.15.Nathaly.Cherie.XXX.1080p.MP4-
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https://gounlimited.to/z3ozyvknqy74/DirtyMasseur.20.05.22.Anissa.Kate.One.Tight.Ass.Client.XXX.1080p.M
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https://gounlimited.to/z3rgo4e4bsvc/LetsTryAnal_Purple_Bitch.mp4
https://gounlimited.to/z3ryy8z04kw8/Who_Owns_Whom_-_Tru_Kait_-_BrazzersExxtra_-_Brazzers.mp4
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https://gounlimited.to/z3y7iealmnuz/Martina_Smeraldi_-_New_Study_Buddies.mp4
https://gounlimited.to/z4my1k0gfpvq
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https://gounlimited.to/z4xwpcle5h93/_HotAndMean_Madison_Ivy_.mp4
https://gounlimited.to/z58u3xb9h67f/[TeensLoveHugeCocks]_Dolly_Little_(A_Little_Love_/_06.11.2020).mp
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https://gounlimited.to/z5hopjmthqub/Www.brazzersbox.in__HandsOnHardcore.20.04.01.Mia.Split.Babe.Sprea
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https://gounlimited.to/z6bl32l6mqn9/MassageRooms.20.04.29.Scarlet.Rebel.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/z6mrlzrkahli/DaneJones.20.05.29.Aislin.XXX.1080p.MP4-KTR.mp4
https://gounlimited.to/z6n2j61xzest/Fuck_My_Girl_-_Luna_Star_-_RKPrime_-_RealityKings.mp4
https://gounlimited.to/z6xm2ekrj9s8/[BrazzersExxtra]_Havana_Bleu_(Destination_Pleasure_/_03.05.2020).mp
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https://gounlimited.to/z6xp4zu1bmtk/RealityKings_-_TeensLoveHugeCocks_presents_Dolly_Little_-
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https://gounlimited.to/z7bw8e72jbix/MilfsLikeItBig.19.11.02.Ava.Addams.Red.Carpet.Streaker.XXX.1080p.M
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https://gounlimited.to/z7h6yfsnlk9b
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P4-KTR.mp4
https://gounlimited.to/z8agfubuzqdo
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XX.1080p.MP4-KTR.mp4
https://gounlimited.to/z9mip0chv0st
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https://gounlimited.to/z9ufpyq4nhff/Share_My_BF_20_04_21_Alice_Bong_And_Leah_Meow_Unfaithful_Tur
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https://gounlimited.to/zacs8mdscbvl/rkprime.20.05.23.alexis.fawx.honey.tonk.hottie.mp4
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https://gounlimited.to/zbjdz9i9uqor/Www.brazzersbox.in_BlackedRaw_-_Alex_Coal_-_Double_Tap.mp4
https://gounlimited.to/zbuhh61piux2/[TeensLikeItBig]_Avery_Black_(My_Boss's_Daughter_/_02.19.2020).mp
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https://gounlimited.to/zc3m983rjq6m/[FakeTaxi]_Tiny_Tina_(Lesbian_tries_cock_for_first_time_/_03.04.2020
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https://gounlimited.to/zc43ue9e12o1
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https://gounlimited.to/zc67dgntse35/TrueAmateurs.20.05.02.GiveMeYourSoul.XXX.SD.MP4-KLEENEX.mp4
https://gounlimited.to/zcbd48lnt6sp/MomsInControl_-_Alexis_Fawx,_Aubree_Valentine_-
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https://gounlimited.to/zco35l9va3fr/RKPrime_Bailey_Brooke_.mp4
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https://gounlimited.to/zjrssr36288s/Www.brazzersbox.in__TeamSkeetDupes.20.04.21.Hippie.Love.XXX.INTE
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X.1080p.MP4-KTR.mp4
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https://gounlimited.to/zwanzb9ela7r/BrazzersExxtra_Milly_Marks_Grinding_A_Gamer.mp4
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https://gounlimited.to/zz2ogy4g55mo/FakeHostel.19.10.31.Katy.Rose.And.Charlie.Red.XXX.1080p.MP4-
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